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        EXHIBIT A
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Exhibit No.   Description                                                           Beginning Bates      End Bates
PX-0001       FILING - USA v. Fields, Guilty Plea Form (Federal)                    318cr1100000312      318cr1100000312
PX-0002       FILING - Photo of James Fields' bedroom                               318cr1100000331      318cr1100000331
PX-0003       FILING - Photo of James Fields' bedroom                               318cr1100000353      318cr1100000353
PX-0004       FILING - USA v. Fields, Statement of Offense (Federal)                318cr1100000375      318cr1100000378
PX-0005       FILING - FBI document                                                 318cr1100000409      318cr1100000411
PX-0006       INTENTIONALLY LEFT BLANK
PX-0007       FILING - USA v. Fields, Transcript of May 9, 2018 Hearing             318cr1100000457      318cr1100000461
PX-0008       FILING - Federal Indictment Against James Alex Fields                 318cr1100000536      318cr1100000545
PX-0009       FILING - USA v. Fields, Sentencing Memorandum of the United States    318cr1100000607      318cr100000656

PX-0010       FILING - USA v. Fields, Transcript of June 28, 2019 Sentencing        318cr1100000665      318cr1100000850
              Hearing
PX-0011       FILING - USA v. Fields, Exhibit and Witness List                      318cr1100000897      318cr1100001037
PX-0012       INTENTIONALLY LEFT BLANK
PX-0013       VID - Video recording of James Fields on August 12, 2017              318cr1100001042      318cr1100001042
PX-0014       VID - Video recording of Redpump Video                                318cr1100001043      318cr1100001043
PX-0015       PHOTO - Photo of events after car attack                              ALVARADO00000016     ALVARADO00000016
PX-0016       EMAIL - Email from Fairfax Oral & Maxillofacial Surgery to Chelsea    ALVARADO00000233-C   ALVARADO00000233-C
              Alvarado
PX-0017       EMAIL - Email from Fairfax Oral & Maxillofacial Surgery billing to    ALVARADO00000234-C   ALVARADO00000234-C
              Chelsea Alvarado
PX-0018       SMS - Chelsea Alvarado to Mami                                        ALVARADO00000249-C   ALVARADO00000249-C
PX-0019       SMS - Chelsea Alvarado to Jessica                                     ALVARADO00000255-C   ALVARADO00000255-C
PX-0020       SMS - Chelsea Alvarado to Dr. P.                                      ALVARADO00000258-C   ALVARADO00000258-C
PX-0021       SMS - Chelsea Alvarado to Dr. P.                                      ALVARADO00000259-C   ALVARADO00000259-C
PX-0022       SMS - Chelsea Alvarado to Aubreisha H.                                ALVARADO00000269-C   ALVARADO00000269-C
PX-0023       EMAIL - Email from Chelsea Alvarado to Joseph T.                      ALVARADO00000270-C   ALVARADO00000278-C
PX-0024       MEDICAL - Billing record for Chelsea X. Alvarado from Memorial        ALVARADO00000279-C   ALVARADO00000279-C
              Regional Medical Center
PX-0025       MEDICAL - Receipt for Chelsea X. Alvarado from Neurology Clinic at    ALVARADO00000280-C   ALVARADO00000280-C
              SFMC
PX-0026       MEDICAL - Receipt for Chelsea X. Alvarado from Commonwealth           ALVARADO00000281-C   ALVARADO00000281-C
              Family Practice
PX-0027       MEDICAL - Billing record for Chelsea X. Alvarado from                 ALVARADO00000282-C   ALVARADO00000282-C
              Commonwealth Radiology, PC
PX-0028       MEDICAL - Receipt for Chelsea X. Alvarado from Neurology Clinic at    ALVARADO00000283-C   ALVARADO00000283-C
              SFMC
PX-0029       MEDICAL - Billing record for Chelsea X. Alvarado from Patient First   ALVARADO00000284-C   ALVARADO00000284-C

PX-0030       MEDICAL - Receipt for Chelsea X. Alvarado from Bon Secours Health     ALVARADO00000285-C   ALVARADO00000285-C
              System
PX-0031       MEDICAL - Health record for Chelsea X. Alvarado from Tucker           ALVARADO00000315-C   ALVARADO00000328-C
              Psychiatric Clinic
PX-0032       MEDICAL - Health record for Chelsea X. Alvarado's from Norma M.,      ALVARADO00000329-C   ALVARADO00000356-C
              Ph.D.
PX-0033       MEDICAL - Health record for Chelsea X. Alvarado from Privia Medical   ALVARADO00000357-C   ALVARADO00000365-C
              Group - Commonwealth Medical Practice
PX-0034       MEDICAL - Health record for Chelsea X. Alvarado from Patient First    ALVARADO00000389-C   ALVARADO00000394-C

PX-0035       FINANCIAL - Form W-2, Wage and Tax Statement for 2018 for             ALVARADO00000411-C   ALVARADO00000412-C
              Chelsea Alvarado from Howard Hughes Medical Institute
PX-0036       FINANCIAL - Form W-2, Wage and Tax Statement for 2018 for             ALVARADO00000413-C   ALVARADO00000414-C
              Chelsea Alvarado from A Village Youth & Family Services
PX-0037       MEDICAL - Health record for Chelsea X. Alvarado from Bon Secours      ALVARADO00000417-C   ALVARADO00000417-C

PX-0038       MEDICAL - Health record for Chelsea X. Alvarado from Bon Secours      ALVARADO00000464-C   ALVARADO00000470-C

PX-0039       MEDICAL - Certification for health record for Chelsea X. Alvarado ALVARADO00000471-C       ALVARADO00000472-C
              from Bon Secours
PX-0040       MEDICAL - Communications regarding request for Chelsea X.         ALVARADO00000473-C       ALVARADO00000476-C
              Alvarado’s medical records from Patient First Corp – VA
PX-0041       MEDICAL - Health record for Chelsea X. Alvarado from MCA Network ALVARADO00000477-C        ALVARADO00000485-C

PX-0042       DOC - Offer letter to Chelsea Alvarado from HHMIJ, Janelia Research ALVARADO00000486-C     ALVARADO00000486-C
              Campus
PX-0043       MEDICAL - Health record for Chelsea X. Alvarado from Privia Medical ALVARADO00000487-C     ALVARADO00000508-C
              Group - Commonwealth Family Practice
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Exhibit No.   Description                                                             Beginning Bates      End Bates
PX-0044       MEDICAL - Health record for Chelsea X. Alvarado from Virginia           ALVARADO00000509-C   ALVARADO00000528-C
              Endocrinology Consultants
PX-0045       MEDICAL - Insurance record for Chelsea X. Alvarado from Aetna           ALVARADO00000529-C   ALVARADO00000566-C
PX-0046       MEDICAL - Summary of claims paid by insurance for Chelsea X.            ALVARADO00000567-C   ALVARADO00000699-C
              Alvarado
PX-0047       MEDICAL - Insurance record for Chelsea X. Alvarado from                 ALVARADO00000700-C   ALVARADO00000920-C
              UnitedHealthcare Insurance Company
PX-0048       MEDICAL - Insurance record for Chelsea X. Alvarado from Aetna           ALVARADO00000935-C   ALVARADO00000969-C
PX-0049       MEDICAL - Health record for Chelsea X. Alvarado from Bon Secours        ALVARADO00000970-C   ALVARADO00001013-C

PX-0050       TWITTER – Tweet by Chelsea Alvarado                                     ALVARADO00001173-C   ALVARADO00001173-C
PX-0051       FB - Facebook post by Chelsea Alvarado                                  ALVARADO00001174-C   ALVARADO00001174-C
PX-0052       FB: Direct message from Chelsea Alvarado to Brea                        ALVARADO00001178-C   ALVARADO00001178-C
PX-0053       FB - Direct message from Chelsea Alvarado to Luis                       ALVARADO00001179-C   ALVARADO00001179-C
PX-0054       PHOTO - Photo of Chelsea Alvarado's injuries                            ALVARADO00001201-C   ALVARADO00001201-C
PX-0055       PHOTO - Photo of Chelsea Alvarado's injuries                            ALVARADO00001203-C   ALVARADO00001203-C
PX-0056       PHOTO - Photo of Chelsea Alvarado's injuries                            ALVARADO00001204-C   ALVARADO00001204-C
PX-0057       PHOTO - Photo of Chelsea Alvarado's injuries                            ALVARADO00001209-C   ALVARADO00001209-C
PX-0058       PHOTO - Photo of Chelsea Alvarado's injuries                            ALVARADO00001210-C   ALVARADO00001210-C
PX-0059       FB - Facebook message from Chelsea Alvarado to John G.                  ALVARADO00001362-C   ALVARADO00001362-C
PX-0060       PHOTO - Photo of Natalie Romero's injuries                              ALVARADO00001366-C   ALVARADO00001366-C
PX-0061       PHOTO - Photo of Chelsea Alvarado's injuries                            ALVARADO00001367-C   ALVARADO00001367-C
PX-0062       PHOTO - Photo of Chelsea Alvarado's injuries                            ALVARADO00001367-C   ALVARADO00001367-C
PX-0063       MEDICAL - Health record for Chelsea Alvarado                            ALVARADO00001436     ALVARADO00001448
PX-0064       MEDICAL - Receipt for Chelsea Alvarado from Bon Secours St. Francis     ALVARADO00001449     ALVARADO00001449
              Medical Center
PX-0065       DOC - Letter from Commonwealth Family Practice to Chelsea Alvarado      ALVARADO00001450     ALVARADO00001450

PX-0066       PR - AT&T - Phone Records for Matthew Heimbach (Subscriber              ATT_00000001         ATT_00000009
              Information, Historical Precision Location Information, Wireline
              Information, Response Cover Sheet & Certification, Records Key, and
              International Information)
PX-0067       PR - AT&T - Wireline Information for Nathan Damigo, Michael Hill,       ATT_00000010         ATT_00000010
              League of the South, Elliott Kline, and Robert "Azzmador" Ray
PX-0068       PR - AT&T - Wireless Subscriber Information for League of the South     ATT_00000011         ATT_00000011

PX-0069       PR - AT&T - Historical Precision Location Information for Nathan        ATT_00000012         ATT_00000012
              Damigo, Elliott Kline, and Robert "Azzmador" Ray
PX-0070       PR - AT&T - Phone Records for Nathan Damigo, Michael Hill, League       ATT_00000013         ATT_00000015
              of the South, Elliott Kline, and Robert "Azzmador" Ray (Wireless
              Subscriber Information, International Information, and Records Key)

PX-0071       PR - AT&T - Mobility (with cell location) Information for Nathan        ATT_00000016         ATT_00000016
              Damigo, Michael Hill, League of the South, Elliott Kline, and Robert
              "Azzmador" Ray
PX-0072       PR - AT&T - Phone Records for Elliott Kline (Wireline Information,      ATT_00000017         ATT_00000021
              Records Key, Wireless Subscriber Information, Mobility (with cell
              location), Historical Precision Location Information)
PX-0073       PR - AT&T - Phone Records for Matthew Parrott (Historical Precision     ATT_00000022         ATT_00000029
              Location Information, International Information, Response Cover Sheet
              & Certification, Wireless Subscriber Information, Records Key,
              Wireline Information, Subpoena to AT&T)
PX-0074       PR - AT&T - Phone Records for Michael C. (Response Cover Sheet &        ATT_00000030         ATT_00000035
              Certification, International Information, Wireless Subscriber
              Information, Records Key, and Historical Precision Location
              Information)
PX-0075       PR - AT&T - Historical Precision Location Information for Christopher   ATT_00000036         ATT_00000036
              Cantwell
PX-0076       PR - AT&T - Phone Records for Richard Spencer (Wireless Subscriber      ATT_00000037         ATT_00000039
              Information, International Information)
PX-0077       PR - AT&T - International Information for Matthew Parrott               ATT_00000040         ATT_00000040
PX-0078       PR - AT&T - Wireless Subscriber Information for Richard Spencer         ATT_00000041         ATT_00000041
PX-0079       PR - AT&T - Wireless Subscriber Information for Christopher Cantwell    ATT_00000042         ATT_00000042

PX-0080       PR - AT&T - Response Cover Sheet and Certification for Richard          ATT_00000043         ATT_00000043
              Spencer
PX-0081       PR - AT&T - AT&T Records Key for Matthew Parrott                        ATT_00000044         ATT_00000044
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Exhibit No.   Description                                                          Beginning Bates   End Bates
PX-0082       PR - AT&T - AT&T Records Key & Response Cover Sheet &                ATT_00000045      ATT_00000046
              Certification for Christopher Cantwell
PX-0083       PR - AT&T - AT&T Records Key for Richard Spencer                     ATT_00000047      ATT_00000047
PX-0084       PR - AT&T - Wireline Information for Christopher Cantwell            ATT_00000048      ATT_00000048
PX-0085       PR - AT&T - Wireline Information for Matthew Parrott                 ATT_00000049      ATT_00000049
PX-0086       PR - AT&T - AT&T Records Key for Richard Spencer                     ATT_00000050      ATT_00000050
PX-0087       PR - AT&T - Phone Records for Christopher Cantwell (Mobility (with   ATT_00000051      ATT_00000052
              cell location) Information
PX-0088       PR - AT&T - Response Cover Sheet and Certification for Matthew       ATT_00000053      ATT_00000053
              Parrott
PX-0089       PR - AT&T - Phone Records for Richard Spencer (Wireline              ATT_00000054      ATT_00000058
              Information, Subpoena to AT&T, Historical Precision Location
              Information, Response Cover Sheet & Certification)
PX-0090       PR - AT&T - Mobility (with cell location) Information for Matthew    ATT_00000059      ATT_00000059
              Parrott
PX-0091       PR - AT&T Phone Records for Richard Spencer (Mobility (with cell     ATT_00000060      ATT_00000061
              location) Information)
PX-0092       VID - Video recording of August 12, 2017                             BACHOM00000126    BACHOM00000126
PX-0093       VID - Video recording of August 12, 2017                             BACHOM00000159    BACHOM00000159
PX-0094       SMS - Text Message from Thomas Baker to Phil B.                      BAKER00000171-C   BAKER00000171-C
PX-0095       SMS - Text Message from Thomas Baker to Chris P.                     BAKER00000195-C   BAKER00000195-C
PX-0096       SMS - Text Message from Thomas Baker to Lenny L.                     BAKER00000224-C   BAKER00000224-C
PX-0097       SMS - Text Message from Thomas Baker to Jessey H.                    BAKER00000380-C   BAKER00000380-C
PX-0098       MEDICAL - Health record for Thomas Baker from UVA Health             BAKER00000416-C   BAKER00000417-C
PX-0099       MEDICAL - Health record for Thomas Baker from UVA Health             BAKER00000422-C   BAKER00000423-C
PX-0100       MEDICAL - Health record for Thomas Baker from UVA Health             BAKER00000424-C   BAKER00000425-C
PX-0101       MEDICAL - Health record for Thomas Baker from UVA Health             BAKER00000426-C   BAKER00000427-C
PX-0102       MEDICAL - Health record for Thomas Baker from UVA Health             BAKER00000430-C   BAKER00000431-C
PX-0103       MEDICAL - Health record for Thomas Baker from UVA Health             BAKER00000434-C   BAKER00000435-C
PX-0104       MEDICAL - Health record for Thomas Baker from Sentara Martha         BAKER00000436-C   BAKER00000438-C
              Jefferson Martha Jefferson Family Medicine
PX-0105       MEDICAL - Health record for Thomas Baker from UVA Health             BAKER00000439-C   BAKER00000440-C
PX-0106       MEDICAL - Health record for Thomas Baker from UVA Health             BAKER00000441-C   BAKER00000442-C
PX-0107       MEDICAL - Health record for Thomas Baker from UVA Health             BAKER00000443-C   BAKER00000443-C
PX-0108       MEDICAL - Health record for Thomas Baker from UVA Health             BAKER00000455-C   BAKER00000457-C
PX-0109       MEDICAL - Health record for Thomas Baker from UVA Health             BAKER00000458-C   BAKER00000461-C
PX-0110       MEDICAL - Health record for Thomas Baker from UVA Health             BAKER00000462-C   BAKER00000463-C
PX-0111       MEDICAL - Health record for Thomas Baker from UVA Health             BAKER00000464-C   BAKER00000469-C
PX-0112       MEDICAL - Billing record for Thomas Baker from Charlottesville       BAKER00000483-C   BAKER00000488-C
              Radiology
PX-0113       MEDICAL - Health record for Thomas Baker from UVA Health             BAKER00000494-C   BAKER00000501-C
PX-0114       MEDICAL - Itemized Statement for Thomas Baker from UVA Health        BAKER00000556-C   BAKER00000558-C

PX-0115       MEDICAL - Health record for Thomas Baker from Pivot Physical         BAKER00000559-C   BAKER00000559-C
              Therapy
PX-0116       MEDICAL - Health record for Thomas Baker from UVA Health             BAKER00000560-C   BAKER00000560-C
PX-0117       MEDICAL - Health record for Thomas Baker from UVA Health             BAKER00000561-C   BAKER00000561-C
PX-0118       MEDICAL - Health record for Thomas Baker from UVA Health             BAKER00000562-C   BAKER00000562-C
PX-0119       MEDICAL - Health record for Thomas Baker from UVA Health             BAKER00000563-C   BAKER00000563-C
PX-0120       MEDICAL - Letter requesting medical records for Thomas Baker         BAKER00000564-C   BAKER00000636-C
PX-0121       MEDICAL - Billing record for Thomas Baker from Sentara Martha        BAKER00000637-C   BAKER00000637-C
              Jefferson
PX-0122       MEDICAL - Itemized Statement for Thomas Baker from UVA Health        BAKER00000641-C   BAKER00000653-C

PX-0123       MEDICAL - Health record for Thomas Baker from UVA Health             BAKER00000675-C   BAKER00000676-C
PX-0124       MEDICAL - Email from Common Ground Healing Arts to Thomas            BAKER00001036-C   BAKER00001036-C
              Baker
PX-0125       MEDICAL - Email containing receipt for Thomas Baker from Cavalier    BAKER00001080-C   BAKER00001081-C
              Medical Systems
PX-0126       MEDICAL - Billing record for Thomas Baker from UVA Health            BAKER00001190-C   BAKER00001192-C
PX-0127       MEDICAL - Billing record for Thomas Baker from UVA Health            BAKER00001193-C   BAKER00001196-C
PX-0128       MEDICAL - Billing record for Thomas Baker from UVA Health            BAKER00001197-C   BAKER00001200-C
PX-0129       MEDICAL - Billing record for Thomas Baker from UVA Health            BAKER00001205-C   BAKER00001208-C
PX-0130       MEDICAL - Health record for Thomas Baker from Pivot Physical         BAKER00001218-C   BAKER00001245-C
              Therapy
PX-0131       MEDICAL - Health record for Thomas Baker from Pivot Physical         BAKER00001246-C   BAKER00001266-C
              Therapy
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Exhibit No.   Description                                                           Beginning Bates   End Bates
PX-0132       MEDICAL - Health record for Thomas Baker from Pivot Physical          BAKER00001268-C   BAKER00001298-C
              Therapy
PX-0133       MEDICAL - Health record for Thomas Baker from Pivot Physical          BAKER00001327-C   BAKER00001354-C
              Therapy
PX-0134       MEDICAL - Health record for Thomas Baker from Pivot Physical          BAKER00001376-C   BAKER00001406-C
              Therapy
PX-0135       MEDICAL - Health record for Thomas Baker from UVA Health              BAKER00001435-C   BAKER00001552-C
PX-0136       FINANCIAL - Form W-2, Wage and Tax Statement for 2017 for             BAKER00001553     BAKER00001553
              Thomas Baker from Ivy Nursery
PX-0137       MEDICAL - Receipt for Thomas Baker for Move Massage - Move            BAKER00001554     BAKER00001554
              Medical Massage & Sports Therapy
PX-0138       MEDICAL - Billing record for Thomas Baker from UVA Health             BAKER00001557     BAKER00001560
PX-0139       MEDICAL - Receipt for Thomas Baker for Move Massage - Move            BAKER00001561     BAKER00001561
              Medical Massage & Sports Therapy
PX-0140       MEDICAL - Health record for Thomas Baker from Sentara Martha          BAKER00001601     BAKER00001601
              Jefferson Martha Jefferson Family Medicine
PX-0141       DOC - Marcus Martin Letter regarding Return to Work                   BLAIR00000093-C   BLAIR00000093-C
PX-0142       MEDICAL - Health record for Marcus Martin from Virginia Victims       BLAIR00000624-C   BLAIR00000624-C
              Fund
PX-0143       MEDICAL - Health record for Melissa Blair from Central Virginia       BLAIR00000737-C   BLAIR00000749-C
              Family Physician
PX-0144       MEDICAL - Health record for Marissa Blair from MedExpress Urgent      BLAIR00000769-C   BLAIR00000771-C

PX-0145       MEDICAL - Health record for Marissa Blair from Counseling Alliance    BLAIR00000842-C   BLAIR00000850-C
              of Virginia
PX-0146       MEDICAL - Billing record for Marissa Blair from UVA Health            BLAIR00000851-C   BLAIR00000853-C
PX-0147       MEDICAL - Health record for Marissa Blair from Women's Health         BLAIR00000854-C   BLAIR00000889-C
              Services of Central Virginia
PX-0148       MEDICAL - Marissa Blair Statement of Certification for UHV Health     BLAIR00000890-C   BLAIR00000893-C
PX-0149       MEDICAL - Health record for Marissa Blair from UVA Health             BLAIR00000894-C   BLAIR00000905-C
PX-0150       INTENTIONALLY LEFT BLANK
PX-0151       MEDICAL - Billing record for Marissa Blair from UnitedHealthcare      BLAIR00000954-C   BLAIR00001003-C
PX-0152       MEDICAL - Marissa Blair's Insurance Claims                            BLAIR00001004-C   BLAIR00001017-C
PX-0153       PHOTO - Photo of Marissa Blair's injuries                             BLAIR00001863-C   BLAIR00001863-C
PX-0154       PHOTO - Photo of Marissa Blair's injuries                             BLAIR00001868-C   BLAIR00001868-C
PX-0155       PHOTO - Photo of Marcus Martin's injuries                             BLAIR00001884-C   BLAIR00001884-C
PX-0156       PHOTO - Photo of Marcus Martin's injuries                             BLAIR00001906-C   BLAIR00001906-C
PX-0157       PHOTO - Photo of Marcus Martin's injuries                             BLAIR00001907-C   BLAIR00001907-C
PX-0158       PHOTO - Photo of Marcus Martin in hospital                            BLAIR00001908-C   BLAIR00001908-C
PX-0159       PHOTO - Photo of Marcus Martin in hospital                            BLAIR00001911-C   BLAIR00001911-C
PX-0160       PHOTO - Photo of Marcus Martin's injuries                             BLAIR00001917-C   BLAIR00001917-C
PX-0161       PHOTO - Photo of Marcus Martin and Marissa Blair on August 12, 2017   BLAIR00001922-C   BLAIR00001922-C

PX-0162       PHOTO - Photo of Marcus Martin's injuries                             BLAIR00001927-C   BLAIR00001927-C
PX-0163       PHOTO - Screenshot of Marcus Martin on August 12, 2017                BLAIR00001941-C   BLAIR00001941-C
PX-0164       PHOTO - Photo of Marcus Martin's injuries                             BLAIR00001943-C   BLAIR00001943-C
PX-0165       PHOTO - Photo of Marcus Martin and Marissa Blair on August 12, 2017   BLAIR00001955-C   BLAIR00001955-C

PX-0166       PHOTO - Photo of Marcus Martin in hospital                            BLAIR00001975-C   BLAIR00001975-C
PX-0167       PHOTO - Photo of Marcus Martin on August 12, 2017                     BLAIR00002022-C   BLAIR00002022-C
PX-0168       PHOTO - Photo of Marcus Martin's injuries                             BLAIR00002038-C   BLAIR00002038-C
PX-0169       PHOTO - Photo of Marcus Martin's injuries                             BLAIR00002056-C   BLAIR00002056-C
PX-0170       AUD - Audio recording of Salting the Earth podcast Episode 29 with    BRATHOVD0071      BRATHOVD0071
              Richard Spencer, Elliott Kline, and Robert Azzmador
PX-0171       SMS - Text message conversation with Cesar A.                         CAAS_00000003     CAAS_00000003
PX-0172       SMS - Text message conversation with Cesar A.                         CAAS_00000006     CAAS_00000006
PX-0173       SMS - Text message conversation with Cesar A.                         CAAS_00000011     CAAS_00000011
PX-0174       SMS - Text message conversation with Cesar A.                         CAAS_00000018     CAAS_00000018
PX-0175       SMS - Text message conversation with Cesar A.                         CAAS_00000020     CAAS_00000020
PX-0176       SMS - Text message conversation with Cesar A.                         CAAS_00000032     CAAS_00000032
PX-0177       SMS - Text message conversation with Cesar A.                         CAAS_00000040     CAAS_00000040
PX-0178       SMS - Text message conversation with Cesar A.                         CAAS_00000057     CAAS_00000057
PX-0179       EMAIL - Email from Christopher Cantwell to Vasillios S.               CC00033138        CC00033138
PX-0180       EMAIL - Email from Tony H. to Christopher Cantwell                    CC00049821        CC00049821
PX-0181       EMAIL - Email from Tony H. to Christopher Cantwell                    CC00053223        CC00053223
PX-0182       EMAIL - Email from Enterprise to Christopher Cantwell                 CC00057152        CC00057156
PX-0183       EMAIL - Email from Walmart to Christopher Cantwell                    CC00058313        CC00058318
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Exhibit No.   Description                                                            Beginning Bates   End Bates
PX-0184       EMAIL - Email from Boggs V. to Christopher Cantwell                    CC00077886        CC00077887
PX-0185       EMAIL - Email from Augustus Sol Invictus to Christopher Cantwell       CC00080041        CC00080041
PX-0186       EMAIL - Email from Christopher Cantwell to PJ P.                       CC00083152        CC00083153
PX-0187       EMAIL - Email from Augustus Sol Invictus to Christopher Cantwell       CC00088318        CC00088318
PX-0188       EMAIL - Email from Christopher Cantwell to Jason Kessler               CC00191304        CC00191304
PX-0189       EMAIL - Email from Christopher Cantwell to Jorge C.                    CC00192117        CC00192118
PX-0190       EMAIL - Email from Christopher Cantwell to Jason Kessler               CC00192143        CC00192143
PX-0191       EMAIL - Email from Christopher Cantwell to Krypto K.                   CC00192157        CC00192158
PX-0192       FILING - Commonwealth v. Cantwell, Plea of Guilty to Misdemeanors,     CC00206365        CC00206367
              17-cr-784, 845
PX-0193       VID - Video recording of Leanne C. video                               CHIA0000001       CHIA0000001
PX-0194       DOC - Document regarding League of the South                           City_00000028     City_00000028
PX-0195       FB - Facebook post by Tennessee League of the South                    City_00000125     City_00000125
PX-0196       FB - Facebook post by League of the South                              City_00000155     City_00000155
PX-0197       FB - Facebook post by Virginia League of the South                     City_00000460     City_00000460
PX-0198       DOC - Flyer for Unite the Right                                        City_00000557     City_00000557
PX-0199       PHOTO - Photo taken during police investigation of crash               City_00010549     City_00010549
PX-0200       PHOTO - Photo taken during police investigation of crash               City_00010550     City_00010550
PX-0201       PHOTO - Photo taken during police investigation of crash               City_00010562     City_00010562
PX-0202       AUD - Audio recording of James Fields' voicemails and phone call in    City_00010946     City_00010946
              prison
PX-0203       AUD - Audio recording of James Fields' phone call in prison            City_00010969     City_00010969
PX-0204       AUD - Audio recording of James Fields' phone call in prison            City_00011061     City_00011061
PX-0205       AUD - Audio recording of James Fields' phone call in prison            City_00011068     City_00011068
PX-0206       AUD - Audio recording of James Fields' phone call in prison            City_00011115     City_00011115
PX-0207       AUD - Audio recording of James Fields' phone call in prison            City_00011171     City_00011171
PX-0208       AUD - Audio recording of James Fields' voicemail in prison             City_00011174     City_00011174
PX-0209       AUD - Audio recording of James Fields' phone call in prison            City_00011544     City_00011544
PX-0210       AUD - Audio recording of James Fields' phone call in prison            City_00011613     City_00011613
PX-0211       AUD - Audio recording of James Fields' phone call in prison            City_00011614     City_00011614
PX-0212       AUD - Audio recording of James Fields' phone call in prison            City_00011616     City_00011616
PX-0213       AUD - Audio recording of James Fields' voicemail in prison             City_00011671     City_00011671
PX-0214       AUD - Audio recording of James Fields' voicemail in prison             City_00011809     City_00011809
PX-0215       FB - Facebook Geolocation data for James Fields                        City_00032356     City_00032356
PX-0216       IG - Post by James Fields                                              CITY_00033056     CITY_00033056
PX-0217       IG - Post by James Fields                                              CITY_00033057     CITY_00033057
PX-0218       INTENTIONALLY LEFT BLANK
PX-0219       AUD - Audio recording of James Fields' phone call in prison            City_00033077     City_00033077
PX-0220       PHOTO - Photo of aerial map of James Fields' movements after the car   City_00033079     City_00033079
              attack
PX-0221       PHOTO - Photo of James Fields' driving after the car attack            City_00033085     City_00033085
PX-0222       PHOTO - Photo of James Fields' driving after the car attack            City_00033099     City_00033099
PX-0223       PHOTO - Photo of James Fields' driving after the car attack            City_00033100     City_00033100
PX-0224       PHOTO - Photo of James Fields' driving after the car attack            City_00033102     City_00033102
PX-0225       PHOTO - Photo of James Fields' driving after the car attack            City_00033104     City_00033104
PX-0226       PHOTO - Photo of James Fields' driving after the car attack            City_00033105     City_00033105
PX-0227       PHOTO - Photo of James Fields' driving after the car attack            City_00033106     City_00033106
PX-0228       PHOTO - Photo of James Fields' driving after the car attack            City_00033107     City_00033107
PX-0229       PHOTO - Photo of James Fields' driving after the car attack            City_00033108     City_00033108
PX-0230       PHOTO - Photo of James Fields' driving after the car attack            City_00033109     City_00033109
PX-0231       PHOTO - Photo of James Fields' driving into the crowd                  City_00033110     City_00033110
PX-0232       PHOTO - Photo of James Fields' driving after the car attack            City_00033112     City_00033112
PX-0233       PHOTO - Photo of James Fields' driving after the car attack            City_00033113     City_00033113
PX-0234       PHOTO - Photo of James Fields' driving after the car attack            City_00033114     City_00033114
PX-0235       PHOTO - Photo of James Fields' driving after the car attack            City_00033115     City_00033115
PX-0236       PHOTO - Photo of James Fields' driving after the car attack            City_00033116     City_00033116
PX-0237       PHOTO - Photo of James Fields' driving after the car attack            City_00033117     City_00033117
PX-0238       PHOTO - Photo of James Fields' driving after the car attack            City_00033118     City_00033118
PX-0239       PHOTO - Photo of James Fields' driving after the car attack            City_00033119     City_00033119
PX-0240       PHOTO - Photo of James Fields' driving after the car attack            City_00033120     City_00033120
PX-0241       PHOTO - Photo of James Fields' driving after the car attack            City_00033121     City_00033121
PX-0242       PHOTO - Photo of James Fields' driving after the car attack            City_00033122     City_00033122
PX-0243       PHOTO - Photo of James Fields' driving after the car attack            City_00033123     City_00033123
PX-0244       PHOTO - Photo of James Fields' driving after the car attack            City_00033124     City_00033124
PX-0245       PHOTO - Photo of James Fields' driving after the car attack            City_00033125     City_00033125
PX-0246       PHOTO - Photo of James Fields' driving after the car attack            City_00033126     City_00033126
PX-0247       PHOTO - Photo of James Fields' driving after the car attack            City_00033127     City_00033127
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Exhibit No.   Description                                                   Beginning Bates   End Bates
PX-0248       PHOTO - Photo of James Fields' driving after the car attack   City_00033128     City_00033128
PX-0249       PHOTO - Photo of James Fields' driving after the car attack   City_00033129     City_00033129
PX-0250       PHOTO - Photo of James Fields' driving after the car attack   City_00033130     City_00033130
PX-0251       PHOTO - Photo of James Fields' driving after the car attack   City_00033131     City_00033131
PX-0252       PHOTO - Photo of James Fields' driving after the car attack   City_00033132     City_00033132
PX-0253       PHOTO - Photo of James Fields' driving after the car attack   City_00033133     City_00033133
PX-0254       PHOTO - Photo of James Fields' driving into the crowd         City_00033134     City_00033134
PX-0255       PHOTO - Photo of James Fields' driving into the crowd         City_00033135     City_00033135
PX-0256       PHOTO - Photo of James Fields' driving after the car attack   City_00033136     City_00033136
PX-0257       PHOTO - Photo of James Fields' driving after the car attack   City_00033137     City_00033137
PX-0258       PHOTO - Photo of James Fields' driving after the car attack   City_00033138     City_00033138
PX-0259       PHOTO - Photo of James Fields' driving into the crowd         City_00033139     City_00033139
PX-0260       PHOTO - Photo of James Fields' driving after the car attack   City_00033140     City_00033140
PX-0261       PHOTO - Photo of James Fields' driving into the crowd         City_00033141     City_00033141
PX-0262       PHOTO - Photo of James Fields' driving into the crowd         City_00033142     City_00033142
PX-0263       PHOTO - Photo of James Fields' driving after the car attack   City_00033143     City_00033143
PX-0264       PHOTO - Photo of James Fields' driving into the crowd         City_00033144     City_00033144
PX-0265       PHOTO - Photo of James Fields' driving into the crowd         City_00033145     City_00033145
PX-0266       PHOTO - Photo of James Fields' driving into the crowd         City_00033146     City_00033146
PX-0267       PHOTO - Photo of James Fields' driving into the crowd         City_00033147     City_00033147
PX-0268       PHOTO - Photo of James Fields' driving into the crowd         City_00033148     City_00033148
PX-0269       PHOTO - Photo of James Fields' driving after the car attack   City_00033149     City_00033149
PX-0270       PHOTO - Photo of James Fields' driving after the car attack   City_00033150     City_00033150
PX-0271       PHOTO - Photo of James Fields' driving into the crowd         City_00033151     City_00033151
PX-0272       PHOTO - Photo of James Fields' driving into the crowd         City_00033152     City_00033152
PX-0273       PHOTO - Photo of James Fields' driving into the crowd         City_00033153     City_00033153
PX-0274       PHOTO - Photo of James Fields' driving into the crowd         City_00033154     City_00033154
PX-0275       PHOTO - Photo of James Fields' driving into the crowd         City_00033155     City_00033155
PX-0276       PHOTO - Photo of James Fields' driving into the crowd         City_00033156     City_00033156
PX-0277       PHOTO - Photo of James Fields' driving after the car attack   City_00033157     City_00033157
PX-0278       PHOTO - Photo of James Fields' driving into the crowd         City_00033158     City_00033158
PX-0279       PHOTO - Photo of James Fields' driving into the crowd         City_00033159     City_00033159
PX-0280       PHOTO - Photo of James Fields' driving into the crowd         City_00033160     City_00033160
PX-0281       PHOTO - Photo of James Fields' driving into the crowd         City_00033161     City_00033161
PX-0282       PHOTO - Photo of James Fields' driving into the crowd         City_00033162     City_00033162
PX-0283       PHOTO - Photo of James Fields' driving into the crowd         City_00033163     City_00033163
PX-0284       PHOTO - Photo of James Fields' driving into the crowd         City_00033164     City_00033164
PX-0285       PHOTO - Photo of James Fields' driving into the crowd         City_00033165     City_00033165
PX-0286       PHOTO - Photo of James Fields' driving into the crowd         City_00033166     City_00033166
PX-0287       PHOTO - Photo of James Fields' driving into the crowd         City_00033167     City_00033167
PX-0288       PHOTO - Photo of James Fields' driving into the crowd         City_00033168     City_00033168
PX-0289       PHOTO - Photo of James Fields' driving into the crowd         City_00033170     City_00033170
PX-0290       PHOTO - Photo of James Fields' driving into the crowd         City_00033171     City_00033171
PX-0291       PHOTO - Photo of James Fields' driving into the crowd         City_00033172     City_00033172
PX-0292       PHOTO - Photo of James Fields' driving into the crowd         City_00033173     City_00033173
PX-0293       PHOTO - Photo of James Fields' driving into the crowd         City_00033177     City_00033177
PX-0294       PHOTO - Photo of Thomas Baker in hospital                     City_00033192     City_00033192
PX-0295       PHOTO - Photo of Thomas Baker in hospital                     City_00033197     City_00033197
PX-0296       PHOTO - Photo of James Fields' car after car attack           City_00033203     City_00033203
PX-0297       VID - Video recording of Marissa Blair video                  City_00033216     City_00033216
PX-0298       PHOTO - Photo of James Fields' car after car attack           City_00033226     City_00033226
PX-0299       PHOTO - Photo of cars struck by James Fields                  City_00033229     City_00033229
PX-0300       PHOTO - Photo of James Fields' car after car attack           City_00033230     City_00033230
PX-0301       PHOTO - Photo of cars struck by James Fields                  City_00033238     City_00033238
PX-0302       PHOTO - Photo of James Fields' car after car attack           City_00033244     City_00033244
PX-0303       PHOTO - Photo of crime scene after car attack                 City_00033245     City_00033245
PX-0304       PHOTO - Photo of cars struck by James Fields                  City_00033246     City_00033246
PX-0305       PHOTO - Photo of cars struck by James Fields                  City_00033251     City_00033251
PX-0306       PHOTO - Photo of crime scene after car attack                 City_00033253     City_00033253
PX-0307       PHOTO - Photo of crime scene after car attack                 City_00033259     City_00033259
PX-0308       PHOTO - Photo of cars struck by James Fields                  City_00033260     City_00033260
PX-0309       PHOTO - Photo of Marcus Martin's injuries                     City_00033261     City_00033261
PX-0310       PHOTO - Photo of crime scene after car attack                 City_00033263     City_00033263
PX-0311       VID - Video recording of August 12, 2017                      City_00033265     City_00033265
PX-0312       INTENTIONALLY LEFT BLANK
PX-0313       VID - Video recording by Brennan G. of August 12, 2017        City_00033270     City_00033270
PX-0314       INTENTIONALLY LEFT BLANK
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Exhibit No.   Description                                                         Beginning Bates       End Bates
PX-0315       VID - Video recording of August 12, 2017                            City_00033273         City_00033273
PX-0316       AUD - Audio recording of August 12, 2017                            City_00033275         City_00033275
PX-0317       VID - Video recording of August 12, 2017                            City_00033276         City_00033276
PX-0318       INTENTIONALLY LEFT BLANK
PX-0319       VID - Video recording of August 12, 2017                            City_00033280         City_00033280
PX-0320       DOC - Compilation of documents                                      City_00037511         City_00038495
PX-0321       DOC - Diane D.'s statement of events of the August 11, 2017 Torch   DIANE00001            DIANE00004
              Rally
PX-0322       SMS - Screenshots of Group Me messages                              DIANE00005            DIANE00011
PX-0323       VID - Video recording of Torch Rally taken by Diane D.              DIANE00012            DIANE00012
PX-0324       DISC - Discord Production PA001                                     DIS00000001           DIS00000033
PX-0325       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000001   DISC-IMPACT00000001
PX-0326       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000002   DISC-IMPACT00000002
PX-0327       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000003   DISC-IMPACT00000004
PX-0328       INTENTIONALLY LEFT BLANK
PX-0329       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000006   DISC-IMPACT00000006
PX-0330       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000007   DISC-IMPACT00000012
PX-0331       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000013   DISC-IMPACT00000013
PX-0332       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000014   DISC-IMPACT00000014
PX-0333       INTENTIONALLY LEFT BLANK
PX-0334       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000018   DISC-IMPACT00000018
PX-0335       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000019   DISC-IMPACT00000025
PX-0336       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000026   DISC-IMPACT00000026
PX-0337       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000027   DISC-IMPACT00000027
PX-0338       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000028   DISC-IMPACT00000028
PX-0339       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000029   DISC-IMPACT00000029
PX-0340       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000030   DISC-IMPACT00000032
PX-0341       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000033   DISC-IMPACT00000033
PX-0342       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000034   DISC-IMPACT00000034
PX-0343       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000035   DISC-IMPACT00000035
PX-0344       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000036   DISC-IMPACT00000036
PX-0345       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000037   DISC-IMPACT00000037
PX-0346       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000038   DISC-IMPACT00000038
PX-0347       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000039   DISC-IMPACT00000039
PX-0348       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000040   DISC-IMPACT00000041
PX-0349       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000042   DISC-IMPACT00000042
PX-0350       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000043   DISC-IMPACT00000043
PX-0351       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000044   DISC-IMPACT00000044
PX-0352       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000045   DISC-IMPACT00000045
PX-0353       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000046   DISC-IMPACT00000046
PX-0354       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000047   DISC-IMPACT00000047
PX-0355       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000048   DISC-IMPACT00000048
PX-0356       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000049   DISC-IMPACT00000051
PX-0357       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000052   DISC-IMPACT00000052
PX-0358       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000053   DISC-IMPACT00000053
PX-0359       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000054   DISC-IMPACT00000055
PX-0360       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000056   DISC-IMPACT00000056
PX-0361       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000057   DISC-IMPACT00000057
PX-0362       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000058   DISC-IMPACT00000058
PX-0363       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000059   DISC-IMPACT00000059
PX-0364       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000060   DISC-IMPACT00000061
PX-0365       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000062   DISC-IMPACT00000062
PX-0366       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000063   DISC-IMPACT00000063
PX-0367       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000064   DISC-IMPACT00000065
PX-0368       INTENTIONALLY LEFT BLANK
PX-0369       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000067   DISC-IMPACT00000068
PX-0370       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000069   DISC-IMPACT00000069
PX-0371       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000070   DISC-IMPACT00000070
PX-0372       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000071   DISC-IMPACT00000071
PX-0373       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000072   DISC-IMPACT00000072
PX-0374       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000073   DISC-IMPACT00000074
PX-0375       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000075   DISC-IMPACT00000075
PX-0376       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000076   DISC-IMPACT00000076
PX-0377       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000077   DISC-IMPACT00000079
PX-0378       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000080   DISC-IMPACT00000081
PX-0379       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000082   DISC-IMPACT00000083
PX-0380       DISC - Impact Image of Discord Post                                 DISC-IMPACT00000084   DISC-IMPACT00000084
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Exhibit No.   Description                           Beginning Bates       End Bates
PX-0381       DISC - Impact Image of Discord Post   DISC-IMPACT00000085   DISC-IMPACT00000086
PX-0382       DISC - Impact Image of Discord Post   DISC-IMPACT00000087   DISC-IMPACT00000087
PX-0383       DISC - Impact Image of Discord Post   DISC-IMPACT00000088   DISC-IMPACT00000089
PX-0384       DISC - Impact Image of Discord Post   DISC-IMPACT00000090   DISC-IMPACT00000090
PX-0385       DISC - Impact Image of Discord Post   DISC-IMPACT00000091   DISC-IMPACT00000091
PX-0386       DISC - Impact Image of Discord Post   DISC-IMPACT00000092   DISC-IMPACT00000092
PX-0387       DISC - Impact Image of Discord Post   DISC-IMPACT00000093   DISC-IMPACT00000093
PX-0388       DISC - Impact Image of Discord Post   DISC-IMPACT00000094   DISC-IMPACT00000096
PX-0389       DISC - Impact Image of Discord Post   DISC-IMPACT00000097   DISC-IMPACT00000097
PX-0390       DISC - Impact Image of Discord Post   DISC-IMPACT00000098   DISC-IMPACT00000098
PX-0391       DISC - Impact Image of Discord Post   DISC-IMPACT00000099   DISC-IMPACT00000099
PX-0392       DISC - Impact Image of Discord Post   DISC-IMPACT00000100   DISC-IMPACT00000100
PX-0393       DISC - Impact Image of Discord Post   DISC-IMPACT00000101   DISC-IMPACT00000101
PX-0394       DISC - Impact Image of Discord Post   DISC-IMPACT00000102   DISC-IMPACT00000102
PX-0395       INTENTIONALLY LEFT BLANK
PX-0396       DISC - Impact Image of Discord Post   DISC-IMPACT00000105   DISC-IMPACT00000105
PX-0397       DISC - Impact Image of Discord Post   DISC-IMPACT00000106   DISC-IMPACT00000106
PX-0398       DISC - Impact Image of Discord Post   DISC-IMPACT00000107   DISC-IMPACT00000107
PX-0399       DISC - Impact Image of Discord Post   DISC-IMPACT00000108   DISC-IMPACT00000108
PX-0400       DISC - Impact Image of Discord Post   DISC-IMPACT00000109   DISC-IMPACT00000109
PX-0401       DISC - Impact Image of Discord Post   DISC-IMPACT00000110   DISC-IMPACT00000113
PX-0402       DISC - Impact Image of Discord Post   DISC-IMPACT00000114   DISC-IMPACT00000115
PX-0403       DISC - Impact Image of Discord Post   DISC-IMPACT00000116   DISC-IMPACT00000116
PX-0404       DISC - Impact Image of Discord Post   DISC-IMPACT00000117   DISC-IMPACT00000118
PX-0405       DISC - Impact Image of Discord Post   DISC-IMPACT00000119   DISC-IMPACT00000119
PX-0406       DISC - Impact Image of Discord Post   DISC-IMPACT00000120   DISC-IMPACT00000120
PX-0407       INTENTIONALLY LEFT BLANK
PX-0408       DISC - Impact Image of Discord Post   DISC-IMPACT00000122   DISC-IMPACT00000122
PX-0409       DISC - Impact Image of Discord Post   DISC-IMPACT00000123   DISC-IMPACT00000123
PX-0410       DISC - Impact Image of Discord Post   DISC-IMPACT00000124   DISC-IMPACT00000124
PX-0411       DISC - Impact Image of Discord Post   DISC-IMPACT00000125   DISC-IMPACT00000126
PX-0412       DISC - Impact Image of Discord Post   DISC-IMPACT00000127   DISC-IMPACT00000127
PX-0413       DISC - Impact Image of Discord Post   DISC-IMPACT00000128   DISC-IMPACT00000128
PX-0414       DISC - Impact Image of Discord Post   DISC-IMPACT00000129   DISC-IMPACT00000131
PX-0415       DISC - Impact Image of Discord Post   DISC-IMPACT00000132   DISC-IMPACT00000134
PX-0416       DISC - Impact Image of Discord Post   DISC-IMPACT00000135   DISC-IMPACT00000135
PX-0417       DISC - Impact Image of Discord Post   DISC-IMPACT00000136   DISC-IMPACT00000136
PX-0418       DISC - Impact Image of Discord Post   DISC-IMPACT00000137   DISC-IMPACT00000137
PX-0419       DISC - Impact Image of Discord Post   DISC-IMPACT00000138   DISC-IMPACT00000139
PX-0420       DISC - Impact Image of Discord Post   DISC-IMPACT00000140   DISC-IMPACT00000140
PX-0421       DISC - Impact Image of Discord Post   DISC-IMPACT00000141   DISC-IMPACT00000141
PX-0422       DISC - Impact Image of Discord Post   DISC-IMPACT00000142   DISC-IMPACT00000143
PX-0423       DISC - Impact Image of Discord Post   DISC-IMPACT00000144   DISC-IMPACT00000145
PX-0424       DISC - Impact Image of Discord Post   DISC-IMPACT00000146   DISC-IMPACT00000148
PX-0425       DISC - Impact Image of Discord Post   DISC-IMPACT00000149   DISC-IMPACT00000149
PX-0426       DISC - Impact Image of Discord Post   DISC-IMPACT00000150   DISC-IMPACT00000150
PX-0427       DISC - Impact Image of Discord Post   DISC-IMPACT00000151   DISC-IMPACT00000151
PX-0428       DISC - Impact Image of Discord Post   DISC-IMPACT00000152   DISC-IMPACT00000154
PX-0429       DISC - Impact Image of Discord Post   DISC-IMPACT00000155   DISC-IMPACT00000155
PX-0430       DISC - Impact Image of Discord Post   DISC-IMPACT00000156   DISC-IMPACT00000156
PX-0431       DISC - Impact Image of Discord Post   DISC-IMPACT00000157   DISC-IMPACT00000157
PX-0432       DISC - Impact Image of Discord Post   DISC-IMPACT00000158   DISC-IMPACT00000159
PX-0433       DISC - Impact Image of Discord Post   DISC-IMPACT00000160   DISC-IMPACT00000160
PX-0434       DISC - Impact Image of Discord Post   DISC-IMPACT00000161   DISC-IMPACT00000161
PX-0435       DISC - Impact Image of Discord Post   DISC-IMPACT00000162   DISC-IMPACT00000162
PX-0436       DISC - Impact Image of Discord Post   DISC-IMPACT00000163   DISC-IMPACT00000163
PX-0437       DISC - Impact Image of Discord Post   DISC-IMPACT00000164   DISC-IMPACT00000164
PX-0438       DISC - Impact Image of Discord Post   DISC-IMPACT00000165   DISC-IMPACT00000165
PX-0439       DISC - Impact Image of Discord Post   DISC-IMPACT00000166   DISC-IMPACT00000166
PX-0440       DISC - Impact Image of Discord Post   DISC-IMPACT00000167   DISC-IMPACT00000167
PX-0441       INTENTIONALLY LEFT BLANK
PX-0442       INTENTIONALLY LEFT BLANK
PX-0443       DISC - Impact Image of Discord Post   DISC-IMPACT00000170   DISC-IMPACT00000170
PX-0444       DISC - Impact Image of Discord Post   DISC-IMPACT00000171   DISC-IMPACT00000171
PX-0445       DISC - Impact Image of Discord Post   DISC-IMPACT00000172   DISC-IMPACT00000172
PX-0446       DISC - Impact Image of Discord Post   DISC-IMPACT00000173   DISC-IMPACT00000173
PX-0447       INTENTIONALLY LEFT BLANK
 Case 3:17-cv-00072-NKM-JCH Document 1239-1 Filed 10/15/21 Page 10 of 65 Pageid#:
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Exhibit No.   Description                           Beginning Bates       End Bates
PX-0448       DISC - Impact Image of Discord Post   DISC-IMPACT00000175   DISC-IMPACT00000175
PX-0449       DISC - Impact Image of Discord Post   DISC-IMPACT00000176   DISC-IMPACT00000176
PX-0450       DISC - Impact Image of Discord Post   DISC-IMPACT00000177   DISC-IMPACT00000178
PX-0451       INTENTIONALLY LEFT BLANK
PX-0452       DISC - Impact Image of Discord Post   DISC-IMPACT00000180   DISC-IMPACT00000180
PX-0453       DISC - Impact Image of Discord Post   DISC-IMPACT00000181   DISC-IMPACT00000181
PX-0454       DISC - Impact Image of Discord Post   DISC-IMPACT00000182   DISC-IMPACT00000182
PX-0455       DISC - Impact Image of Discord Post   DISC-IMPACT00000183   DISC-IMPACT00000185
PX-0456       DISC - Impact Image of Discord Post   DISC-IMPACT00000186   DISC-IMPACT00000187
PX-0457       DISC - Impact Image of Discord Post   DISC-IMPACT00000188   DISC-IMPACT00000188
PX-0458       DISC - Impact Image of Discord Post   DISC-IMPACT00000189   DISC-IMPACT00000191
PX-0459       DISC - Impact Image of Discord Post   DISC-IMPACT00000192   DISC-IMPACT00000192
PX-0460       DISC - Impact Image of Discord Post   DISC-IMPACT00000193   DISC-IMPACT00000193
PX-0461       DISC - Impact Image of Discord Post   DISC-IMPACT00000194   DISC-IMPACT00000194
PX-0462       DISC - Impact Image of Discord Post   DISC-IMPACT00000195   DISC-IMPACT00000197
PX-0463       DISC - Impact Image of Discord Post   DISC-IMPACT00000198   DISC-IMPACT00000199
PX-0464       INTENTIONALLY LEFT BLANK
PX-0465       DISC - Impact Image of Discord Post   DISC-IMPACT00000203   DISC-IMPACT00000203
PX-0466       DISC - Impact Image of Discord Post   DISC-IMPACT00000204   DISC-IMPACT00000204
PX-0467       DISC - Impact Image of Discord Post   DISC-IMPACT00000205   DISC-IMPACT00000205
PX-0468       DISC - Impact Image of Discord Post   DISC-IMPACT00000206   DISC-IMPACT00000206
PX-0469       DISC - Impact Image of Discord Post   DISC-IMPACT00000207   DISC-IMPACT00000207
PX-0470       DISC - Impact Image of Discord Post   DISC-IMPACT00000208   DISC-IMPACT00000211
PX-0471       DISC - Impact Image of Discord Post   DISC-IMPACT00000212   DISC-IMPACT00000212
PX-0472       DISC - Impact Image of Discord Post   DISC-IMPACT00000213   DISC-IMPACT00000213
PX-0473       DISC - Impact Image of Discord Post   DISC-IMPACT00000214   DISC-IMPACT00000214
PX-0474       DISC - Impact Image of Discord Post   DISC-IMPACT00000215   DISC-IMPACT00000215
PX-0475       DISC - Impact Image of Discord Post   DISC-IMPACT00000216   DISC-IMPACT00000216
PX-0476       DISC - Impact Image of Discord Post   DISC-IMPACT00000217   DISC-IMPACT00000217
PX-0477       DISC - Impact Image of Discord Post   DISC-IMPACT00000218   DISC-IMPACT00000220
PX-0478       DISC - Impact Image of Discord Post   DISC-IMPACT00000221   DISC-IMPACT00000221
PX-0479       DISC - Impact Image of Discord Post   DISC-IMPACT00000222   DISC-IMPACT00000222
PX-0480       DISC - Impact Image of Discord Post   DISC-IMPACT00000223   DISC-IMPACT00000223
PX-0481       DISC - Impact Image of Discord Post   DISC-IMPACT00000224   DISC-IMPACT00000224
PX-0482       DISC - Impact Image of Discord Post   DISC-IMPACT00000225   DISC-IMPACT00000225
PX-0483       DISC - Impact Image of Discord Post   DISC-IMPACT00000226   DISC-IMPACT00000226
PX-0484       DISC - Impact Image of Discord Post   DISC-IMPACT00000227   DISC-IMPACT00000228
PX-0485       DISC - Impact Image of Discord Post   DISC-IMPACT00000229   DISC-IMPACT00000229
PX-0486       DISC - Impact Image of Discord Post   DISC-IMPACT00000230   DISC-IMPACT00000230
PX-0487       DISC - Impact Image of Discord Post   DISC-IMPACT00000231   DISC-IMPACT00000231
PX-0488       DISC - Impact Image of Discord Post   DISC-IMPACT00000232   DISC-IMPACT00000232
PX-0489       DISC - Impact Image of Discord Post   DISC-IMPACT00000233   DISC-IMPACT00000233
PX-0490       DISC - Impact Image of Discord Post   DISC-IMPACT00000234   DISC-IMPACT00000234
PX-0491       DISC - Impact Image of Discord Post   DISC-IMPACT00000235   DISC-IMPACT00000235
PX-0492       DISC - Impact Image of Discord Post   DISC-IMPACT00000236   DISC-IMPACT00000236
PX-0493       DISC - Impact Image of Discord Post   DISC-IMPACT00000237   DISC-IMPACT00000237
PX-0494       DISC - Impact Image of Discord Post   DISC-IMPACT00000238   DISC-IMPACT00000238
PX-0495       DISC - Impact Image of Discord Post   DISC-IMPACT00000239   DISC-IMPACT00000239
PX-0496       DISC - Impact Image of Discord Post   DISC-IMPACT00000240   DISC-IMPACT00000240
PX-0497       DISC - Impact Image of Discord Post   DISC-IMPACT00000241   DISC-IMPACT00000241
PX-0498       DISC - Impact Image of Discord Post   DISC-IMPACT00000242   DISC-IMPACT00000245
PX-0499       DISC - Impact Image of Discord Post   DISC-IMPACT00000246   DISC-IMPACT00000246
PX-0500       DISC - Impact Image of Discord Post   DISC-IMPACT00000247   DISC-IMPACT00000247
PX-0501       DISC - Impact Image of Discord Post   DISC-IMPACT00000248   DISC-IMPACT00000251
PX-0502       DISC - Impact Image of Discord Post   DISC-IMPACT00000252   DISC-IMPACT00000252
PX-0503       DISC - Impact Image of Discord Post   DISC-IMPACT00000253   DISC-IMPACT00000253
PX-0504       DISC - Impact Image of Discord Post   DISC-IMPACT00000254   DISC-IMPACT00000254
PX-0505       DISC - Impact Image of Discord Post   DISC-IMPACT00000255   DISC-IMPACT00000255
PX-0507       INTENTIONALLY LEFT BLANK
PX-0508       DISC - Impact Image of Discord Post   DISC-IMPACT00000258   DISC-IMPACT00000258
PX-0509       DISC - Impact Image of Discord Post   DISC-IMPACT00000259   DISC-IMPACT00000259
PX-0510       DISC - Impact Image of Discord Post   DISC-IMPACT00000260   DISC-IMPACT00000260
PX-0511       DISC - Impact Image of Discord Post   DISC-IMPACT00000261   DISC-IMPACT00000261
PX-0512       DISC - Impact Image of Discord Post   DISC-IMPACT00000262   DISC-IMPACT00000262
PX-0513       INTENTIONALLY LEFT BLANK
PX-0514       INTENTIONALLY LEFT BLANK
PX-0515       INTENTIONALLY LEFT BLANK
 Case 3:17-cv-00072-NKM-JCH Document 1239-1 Filed 10/15/21 Page 11 of 65 Pageid#:
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Exhibit No.   Description                           Beginning Bates       End Bates
PX-0516       DISC - Impact Image of Discord Post   DISC-IMPACT00000266   DISC-IMPACT00000267
PX-0517       DISC - Impact Image of Discord Post   DISC-IMPACT00000268   DISC-IMPACT00000268
PX-0518       DISC - Impact Image of Discord Post   DISC-IMPACT00000269   DISC-IMPACT00000269
PX-0519       DISC - Impact Image of Discord Post   DISC-IMPACT00000270   DISC-IMPACT00000270
PX-0520       DISC - Impact Image of Discord Post   DISC-IMPACT00000271   DISC-IMPACT00000271
PX-0521       DISC - Impact Image of Discord Post   DISC-IMPACT00000272   DISC-IMPACT00000272
PX-0522       DISC - Impact Image of Discord Post   DISC-IMPACT00000273   DISC-IMPACT00000273
PX-0523       DISC - Impact Image of Discord Post   DISC-IMPACT00000274   DISC-IMPACT00000274
PX-0524       DISC - Impact Image of Discord Post   DISC-IMPACT00000275   DISC-IMPACT00000275
PX-0525       DISC - Impact Image of Discord Post   DISC-IMPACT00000276   DISC-IMPACT00000276
PX-0526       DISC - Impact Image of Discord Post   DISC-IMPACT00000277   DISC-IMPACT00000277
PX-0527       DISC - Impact Image of Discord Post   DISC-IMPACT00000278   DISC-IMPACT00000278
PX-0528       DISC - Impact Image of Discord Post   DISC-IMPACT00000279   DISC-IMPACT00000279
PX-0529       DISC - Impact Image of Discord Post   DISC-IMPACT00000280   DISC-IMPACT00000280
PX-0530       DISC - Impact Image of Discord Post   DISC-IMPACT00000281   DISC-IMPACT00000281
PX-0531       DISC - Impact Image of Discord Post   DISC-IMPACT00000282   DISC-IMPACT00000282
PX-0532       DISC - Impact Image of Discord Post   DISC-IMPACT00000283   DISC-IMPACT00000283
PX-0533       DISC - Impact Image of Discord Post   DISC-IMPACT00000284   DISC-IMPACT00000285
PX-0534       DISC - Impact Image of Discord Post   DISC-IMPACT00000286   DISC-IMPACT00000286
PX-0535       DISC - Impact Image of Discord Post   DISC-IMPACT00000287   DISC-IMPACT00000287
PX-0536       DISC - Impact Image of Discord Post   DISC-IMPACT00000288   DISC-IMPACT00000288
PX-0537       DISC - Impact Image of Discord Post   DISC-IMPACT00000289   DISC-IMPACT00000291
PX-0538       DISC - Impact Image of Discord Post   DISC-IMPACT00000292   DISC-IMPACT00000292
PX-0539       DISC - Impact Image of Discord Post   DISC-IMPACT00000293   DISC-IMPACT00000293
PX-0540       DISC - Impact Image of Discord Post   DISC-IMPACT00000294   DISC-IMPACT00000295
PX-0541       DISC - Impact Image of Discord Post   DISC-IMPACT00000296   DISC-IMPACT00000296
PX-0542       DISC - Impact Image of Discord Post   DISC-IMPACT00000297   DISC-IMPACT00000297
PX-0543       DISC - Impact Image of Discord Post   DISC-IMPACT00000298   DISC-IMPACT00000299
PX-0544       DISC - Impact Image of Discord Post   DISC-IMPACT00000300   DISC-IMPACT00000300
PX-0545       DISC - Impact Image of Discord Post   DISC-IMPACT00000301   DISC-IMPACT00000301
PX-0546       DISC - Impact Image of Discord Post   DISC-IMPACT00000302   DISC-IMPACT00000303
PX-0547       DISC - Impact Image of Discord Post   DISC-IMPACT00000304   DISC-IMPACT00000306
PX-0548       DISC - Impact Image of Discord Post   DISC-IMPACT00000307   DISC-IMPACT00000307
PX-0549       DISC - Impact Image of Discord Post   DISC-IMPACT00000308   DISC-IMPACT00000308
PX-0550       DISC - Impact Image of Discord Post   DISC-IMPACT00000309   DISC-IMPACT00000309
PX-0551       DISC - Impact Image of Discord Post   DISC-IMPACT00000310   DISC-IMPACT00000310
PX-0552       DISC - Impact Image of Discord Post   DISC-IMPACT00000311   DISC-IMPACT00000311
PX-0553       DISC - Impact Image of Discord Post   DISC-IMPACT00000312   DISC-IMPACT00000312
PX-0554       DISC - Impact Image of Discord Post   DISC-IMPACT00000313   DISC-IMPACT00000313
PX-0555       DISC - Impact Image of Discord Post   DISC-IMPACT00000314   DISC-IMPACT00000314
PX-0556       DISC - Impact Image of Discord Post   DISC-IMPACT00000315   DISC-IMPACT00000320
PX-0557       DISC - Impact Image of Discord Post   DISC-IMPACT00000321   DISC-IMPACT00000321
PX-0558       DISC - Impact Image of Discord Post   DISC-IMPACT00000322   DISC-IMPACT00000323
PX-0559       DISC - Impact Image of Discord Post   DISC-IMPACT00000324   DISC-IMPACT00000324
PX-0560       DISC - Impact Image of Discord Post   DISC-IMPACT00000325   DISC-IMPACT00000325
PX-0561       DISC - Impact Image of Discord Post   DISC-IMPACT00000326   DISC-IMPACT00000326
PX-0562       DISC - Impact Image of Discord Post   DISC-IMPACT00000327   DISC-IMPACT00000327
PX-0563       DISC - Impact Image of Discord Post   DISC-IMPACT00000328   DISC-IMPACT00000328
PX-0564       DISC - Impact Image of Discord Post   DISC-IMPACT00000329   DISC-IMPACT00000336
PX-0565       DISC - Impact Image of Discord Post   DISC-IMPACT00000337   DISC-IMPACT00000337
PX-0566       DISC - Impact Image of Discord Post   DISC-IMPACT00000338   DISC-IMPACT00000338
PX-0567       DISC - Impact Image of Discord Post   DISC-IMPACT00000339   DISC-IMPACT00000339
PX-0568       DISC - Impact Image of Discord Post   DISC-IMPACT00000340   DISC-IMPACT00000340
PX-0569       DISC - Impact Image of Discord Post   DISC-IMPACT00000341   DISC-IMPACT00000341
PX-0570       DISC - Impact Image of Discord Post   DISC-IMPACT00000342   DISC-IMPACT00000342
PX-0571       DISC - Impact Image of Discord Post   DISC-IMPACT00000343   DISC-IMPACT00000343
PX-0572       DISC - Impact Image of Discord Post   DISC-IMPACT00000344   DISC-IMPACT00000344
PX-0573       DISC - Impact Image of Discord Post   DISC-IMPACT00000345   DISC-IMPACT00000346
PX-0574       DISC - Impact Image of Discord Post   DISC-IMPACT00000347   DISC-IMPACT00000348
PX-0575       DISC - Impact Image of Discord Post   DISC-IMPACT00000349   DISC-IMPACT00000349
PX-0576       DISC - Impact Image of Discord Post   DISC-IMPACT00000350   DISC-IMPACT00000350
PX-0577       DISC - Impact Image of Discord Post   DISC-IMPACT00000351   DISC-IMPACT00000351
PX-0578       DISC - Impact Image of Discord Post   DISC-IMPACT00000352   DISC-IMPACT00000352
PX-0579       DISC - Impact Image of Discord Post   DISC-IMPACT00000353   DISC-IMPACT00000356
PX-0580       DISC - Impact Image of Discord Post   DISC-IMPACT00000357   DISC-IMPACT00000358
PX-0581       DISC - Impact Image of Discord Post   DISC-IMPACT00000359   DISC-IMPACT00000360
PX-0582       DISC - Impact Image of Discord Post   DISC-IMPACT00000361   DISC-IMPACT00000367
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Exhibit No.   Description                           Beginning Bates       End Bates
PX-0583       DISC - Impact Image of Discord Post   DISC-IMPACT00000368   DISC-IMPACT00000368
PX-0584       DISC - Impact Image of Discord Post   DISC-IMPACT00000369   DISC-IMPACT00000373
PX-0585       DISC - Impact Image of Discord Post   DISC-IMPACT00000374   DISC-IMPACT00000375
PX-0586       DISC - Impact Image of Discord Post   DISC-IMPACT00000376   DISC-IMPACT00000378
PX-0587       DISC - Impact Image of Discord Post   DISC-IMPACT00000379   DISC-IMPACT00000380
PX-0588       DISC - Impact Image of Discord Post   DISC-IMPACT00000381   DISC-IMPACT00000382
PX-0589       DISC - Impact Image of Discord Post   DISC-IMPACT00000383   DISC-IMPACT00000384
PX-0590       DISC - Impact Image of Discord Post   DISC-IMPACT00000385   DISC-IMPACT00000385
PX-0591       DISC - Impact Image of Discord Post   DISC-IMPACT00000386   DISC-IMPACT00000386
PX-0592       DISC - Impact Image of Discord Post   DISC-IMPACT00000387   DISC-IMPACT00000387
PX-0593       DISC - Impact Image of Discord Post   DISC-IMPACT00000388   DISC-IMPACT00000388
PX-0594       DISC - Impact Image of Discord Post   DISC-IMPACT00000389   DISC-IMPACT00000391
PX-0595       DISC - Impact Image of Discord Post   DISC-IMPACT00000392   DISC-IMPACT00000392
PX-0596       DISC - Impact Image of Discord Post   DISC-IMPACT00000393   DISC-IMPACT00000393
PX-0597       DISC - Impact Image of Discord Post   DISC-IMPACT00000394   DISC-IMPACT00000407
PX-0598       DISC - Impact Image of Discord Post   DISC-IMPACT00000408   DISC-IMPACT00000413
PX-0599       INTENTIONALLY LEFT BLANK
PX-0600       DISC - Impact Image of Discord Post   DISC-IMPACT00000416   DISC-IMPACT00000416
PX-0601       DISC - Impact Image of Discord Post   DISC-IMPACT00000417   DISC-IMPACT00000418
PX-0602       DISC - Impact Image of Discord Post   DISC-IMPACT00000419   DISC-IMPACT00000425
PX-0603       DISC - Impact Image of Discord Post   DISC-IMPACT00000426   DISC-IMPACT00000426
PX-0604       DISC - Impact Image of Discord Post   DISC-IMPACT00000427   DISC-IMPACT00000429
PX-0605       DISC - Impact Image of Discord Post   DISC-IMPACT00000430   DISC-IMPACT00000430
PX-0606       DISC - Impact Image of Discord Post   DISC-IMPACT00000431   DISC-IMPACT00000432
PX-0607       DISC - Impact Image of Discord Post   DISC-IMPACT00000433   DISC-IMPACT00000434
PX-0608       DISC - Impact Image of Discord Post   DISC-IMPACT00000435   DISC-IMPACT00000435
PX-0609       INTENTIONALLY LEFT BLANK
PX-0610       INTENTIONALLY LEFT BLANK
PX-0611       DISC - Impact Image of Discord Post   DISC-IMPACT00000440   DISC-IMPACT00000440
PX-0612       DISC - Impact Image of Discord Post   DISC-IMPACT00000441   DISC-IMPACT00000448
PX-0613       DISC - Impact Image of Discord Post   DISC-IMPACT00000449   DISC-IMPACT00000449
PX-0614       DISC - Impact Image of Discord Post   DISC-IMPACT00000450   DISC-IMPACT00000450
PX-0615       DISC - Impact Image of Discord Post   DISC-IMPACT00000451   DISC-IMPACT00000452
PX-0616       DISC - Impact Image of Discord Post   DISC-IMPACT00000453   DISC-IMPACT00000453
PX-0617       DISC - Impact Image of Discord Post   DISC-IMPACT00000454   DISC-IMPACT00000454
PX-0618       DISC - Impact Image of Discord Post   DISC-IMPACT00000455   DISC-IMPACT00000457
PX-0619       DISC - Impact Image of Discord Post   DISC-IMPACT00000458   DISC-IMPACT00000461
PX-0620       DISC - Impact Image of Discord Post   DISC-IMPACT00000462   DISC-IMPACT00000462
PX-0621       DISC - Impact Image of Discord Post   DISC-IMPACT00000463   DISC-IMPACT00000465
PX-0622       DISC - Impact Image of Discord Post   DISC-IMPACT00000466   DISC-IMPACT00000466
PX-0623       DISC - Impact Image of Discord Post   DISC-IMPACT00000467   DISC-IMPACT00000467
PX-0624       DISC - Impact Image of Discord Post   DISC-IMPACT00000468   DISC-IMPACT00000468
PX-0625       DISC - Impact Image of Discord Post   DISC-IMPACT00000469   DISC-IMPACT00000469
PX-0626       DISC - Impact Image of Discord Post   DISC-IMPACT00000470   DISC-IMPACT00000471
PX-0627       DISC - Impact Image of Discord Post   DISC-IMPACT00000472   DISC-IMPACT00000472
PX-0628       DISC - Impact Image of Discord Post   DISC-IMPACT00000473   DISC-IMPACT00000475
PX-0629       DISC - Impact Image of Discord Post   DISC-IMPACT00000476   DISC-IMPACT00000476
PX-0630       DISC - Impact Image of Discord Post   DISC-IMPACT00000477   DISC-IMPACT00000477
PX-0631       DISC - Impact Image of Discord Post   DISC-IMPACT00000478   DISC-IMPACT00000478
PX-0632       DISC - Impact Image of Discord Post   DISC-IMPACT00000479   DISC-IMPACT00000479
PX-0633       DISC - Impact Image of Discord Post   DISC-IMPACT00000480   DISC-IMPACT00000483
PX-0634       DISC - Impact Image of Discord Post   DISC-IMPACT00000484   DISC-IMPACT00000485
PX-0635       DISC - Impact Image of Discord Post   DISC-IMPACT00000486   DISC-IMPACT00000488
PX-0636       DISC - Impact Image of Discord Post   DISC-IMPACT00000489   DISC-IMPACT00000489
PX-0637       DISC - Impact Image of Discord Post   DISC-IMPACT00000490   DISC-IMPACT00000490
PX-0638       DISC - Impact Image of Discord Post   DISC-IMPACT00000491   DISC-IMPACT00000492
PX-0639       DISC - Impact Image of Discord Post   DISC-IMPACT00000493   DISC-IMPACT00000493
PX-0640       DISC - Impact Image of Discord Post   DISC-IMPACT00000494   DISC-IMPACT00000495
PX-0641       DISC - Impact Image of Discord Post   DISC-IMPACT00000496   DISC-IMPACT00000498
PX-0642       DISC - Impact Image of Discord Post   DISC-IMPACT00000499   DISC-IMPACT00000501
PX-0643       DISC - Impact Image of Discord Post   DISC-IMPACT00000502   DISC-IMPACT00000502
PX-0644       DISC - Impact Image of Discord Post   DISC-IMPACT00000503   DISC-IMPACT00000505
PX-0645       DISC - Impact Image of Discord Post   DISC-IMPACT00000506   DISC-IMPACT00000507
PX-0646       DISC - Impact Image of Discord Post   DISC-IMPACT00000508   DISC-IMPACT00000508
PX-0647       DISC - Impact Image of Discord Post   DISC-IMPACT00000509   DISC-IMPACT00000509
PX-0648       DISC - Impact Image of Discord Post   DISC-IMPACT00000510   DISC-IMPACT00000511
PX-0649       DISC - Impact Image of Discord Post   DISC-IMPACT00000512   DISC-IMPACT00000513
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Exhibit No.   Description                           Beginning Bates       End Bates
PX-0650       DISC - Impact Image of Discord Post   DISC-IMPACT00000514   DISC-IMPACT00000514
PX-0651       DISC - Impact Image of Discord Post   DISC-IMPACT00000515   DISC-IMPACT00000516
PX-0652       DISC - Impact Image of Discord Post   DISC-IMPACT00000517   DISC-IMPACT00000518
PX-0653       DISC - Impact Image of Discord Post   DISC-IMPACT00000519   DISC-IMPACT00000520
PX-0654       DISC - Impact Image of Discord Post   DISC-IMPACT00000521   DISC-IMPACT00000523
PX-0655       DISC - Impact Image of Discord Post   DISC-IMPACT00000524   DISC-IMPACT00000525
PX-0656       DISC - Impact Image of Discord Post   DISC-IMPACT00000526   DISC-IMPACT00000528
PX-0657       DISC - Impact Image of Discord Post   DISC-IMPACT00000529   DISC-IMPACT00000529
PX-0658       DISC - Impact Image of Discord Post   DISC-IMPACT00000530   DISC-IMPACT00000531
PX-0659       INTENTIONALLY LEFT BLANK
PX-0660       DISC - Impact Image of Discord Post   DISC-IMPACT00000534   DISC-IMPACT00000534
PX-0661       DISC - Impact Image of Discord Post   DISC-IMPACT00000535   DISC-IMPACT00000535
PX-0662       DISC - Impact Image of Discord Post   DISC-IMPACT00000536   DISC-IMPACT00000536
PX-0663       DISC - Impact Image of Discord Post   DISC-IMPACT00000537   DISC-IMPACT00000537
PX-0664       DISC - Impact Image of Discord Post   DISC-IMPACT00000538   DISC-IMPACT00000538
PX-0665       DISC - Impact Image of Discord Post   DISC-IMPACT00000539   DISC-IMPACT00000539
PX-0666       DISC - Impact Image of Discord Post   DISC-IMPACT00000540   DISC-IMPACT00000540
PX-0667       DISC - Impact Image of Discord Post   DISC-IMPACT00000541   DISC-IMPACT00000541
PX-0668       DISC - Impact Image of Discord Post   DISC-IMPACT00000542   DISC-IMPACT00000542
PX-0669       DISC - Impact Image of Discord Post   DISC-IMPACT00000543   DISC-IMPACT00000543
PX-0670       DISC - Impact Image of Discord Post   DISC-IMPACT00000544   DISC-IMPACT00000546
PX-0671       DISC - Impact Image of Discord Post   DISC-IMPACT00000547   DISC-IMPACT00000548
PX-0672       DISC - Impact Image of Discord Post   DISC-IMPACT00000549   DISC-IMPACT00000553
PX-0673       DISC - Impact Image of Discord Post   DISC-IMPACT00000554   DISC-IMPACT00000554
PX-0674       DISC - Impact Image of Discord Post   DISC-IMPACT00000555   DISC-IMPACT00000555
PX-0675       DISC - Impact Image of Discord Post   DISC-IMPACT00000556   DISC-IMPACT00000556
PX-0676       DISC - Impact Image of Discord Post   DISC-IMPACT00000557   DISC-IMPACT00000557
PX-0677       DISC - Impact Image of Discord Post   DISC-IMPACT00000558   DISC-IMPACT00000558
PX-0678       DISC - Impact Image of Discord Post   DISC-IMPACT00000559   DISC-IMPACT00000559
PX-0679       DISC - Impact Image of Discord Post   DISC-IMPACT00000560   DISC-IMPACT00000561
PX-0680       DISC - Impact Image of Discord Post   DISC-IMPACT00000562   DISC-IMPACT00000568
PX-0681       DISC - Impact Image of Discord Post   DISC-IMPACT00000569   DISC-IMPACT00000572
PX-0682       DISC - Impact Image of Discord Post   DISC-IMPACT00000573   DISC-IMPACT00000573
PX-0683       DISC - Impact Image of Discord Post   DISC-IMPACT00000574   DISC-IMPACT00000575
PX-0684       DISC - Impact Image of Discord Post   DISC-IMPACT00000576   DISC-IMPACT00000577
PX-0685       DISC - Impact Image of Discord Post   DISC-IMPACT00000578   DISC-IMPACT00000596
PX-0686       DISC - Impact Image of Discord Post   DISC-IMPACT00000597   DISC-IMPACT00000597
PX-0687       DISC - Impact Image of Discord Post   DISC-IMPACT00000598   DISC-IMPACT00000598
PX-0688       DISC - Impact Image of Discord Post   DISC-IMPACT00000599   DISC-IMPACT00000599
PX-0689       DISC - Impact Image of Discord Post   DISC-IMPACT00000600   DISC-IMPACT00000600
PX-0690       DISC - Impact Image of Discord Post   DISC-IMPACT00000601   DISC-IMPACT00000601
PX-0691       DISC - Impact Image of Discord Post   DISC-IMPACT00000602   DISC-IMPACT00000602
PX-0692       DISC - Impact Image of Discord Post   DISC-IMPACT00000603   DISC-IMPACT00000603
PX-0693       DISC - Impact Image of Discord Post   DISC-IMPACT00000604   DISC-IMPACT00000604
PX-0694       DISC - Impact Image of Discord Post   DISC-IMPACT00000605   DISC-IMPACT00000605
PX-0695       DISC - Impact Image of Discord Post   DISC-IMPACT00000606   DISC-IMPACT00000606
PX-0696       DISC - Impact Image of Discord Post   DISC-IMPACT00000607   DISC-IMPACT00000607
PX-0697       DISC - Impact Image of Discord Post   DISC-IMPACT00000608   DISC-IMPACT00000608
PX-0698       DISC - Impact Image of Discord Post   DISC-IMPACT00000609   DISC-IMPACT00000609
PX-0699       DISC - Impact Image of Discord Post   DISC-IMPACT00000610   DISC-IMPACT00000610
PX-0700       DISC - Impact Image of Discord Post   DISC-IMPACT00000611   DISC-IMPACT00000611
PX-0701       DISC - Impact Image of Discord Post   DISC-IMPACT00000612   DISC-IMPACT00000612
PX-0702       DISC - Impact Image of Discord Post   DISC-IMPACT00000613   DISC-IMPACT00000613
PX-0703       DISC - Impact Image of Discord Post   DISC-IMPACT00000614   DISC-IMPACT00000614
PX-0704       DISC - Impact Image of Discord Post   DISC-IMPACT00000615   DISC-IMPACT00000616
PX-0705       DISC - Impact Image of Discord Post   DISC-IMPACT00000617   DISC-IMPACT00000617
PX-0706       DISC - Impact Image of Discord Post   DISC-IMPACT00000618   DISC-IMPACT00000618
PX-0707       DISC - Impact Image of Discord Post   DISC-IMPACT00000619   DISC-IMPACT00000621
PX-0708       DISC - Impact Image of Discord Post   DISC-IMPACT00000622   DISC-IMPACT00000623
PX-0709       DISC - Impact Image of Discord Post   DISC-IMPACT00000624   DISC-IMPACT00000625
PX-0710       DISC - Impact Image of Discord Post   DISC-IMPACT00000626   DISC-IMPACT00000626
PX-0711       DISC - Impact Image of Discord Post   DISC-IMPACT00000627   DISC-IMPACT00000627
PX-0712       DISC - Impact Image of Discord Post   DISC-IMPACT00000628   DISC-IMPACT00000628
PX-0713       DISC - Impact Image of Discord Post   DISC-IMPACT00000629   DISC-IMPACT00000629
PX-0714       DISC - Impact Image of Discord Post   DISC-IMPACT00000630   DISC-IMPACT00000631
PX-0715       DISC - Impact Image of Discord Post   DISC-IMPACT00000632   DISC-IMPACT00000633
PX-0716       DISC - Impact Image of Discord Post   DISC-IMPACT00000634   DISC-IMPACT00000634
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Exhibit No.   Description                           Beginning Bates       End Bates
PX-0717       DISC - Impact Image of Discord Post   DISC-IMPACT00000635   DISC-IMPACT00000635
PX-0718       DISC - Impact Image of Discord Post   DISC-IMPACT00000636   DISC-IMPACT00000636
PX-0719       DISC - Impact Image of Discord Post   DISC-IMPACT00000637   DISC-IMPACT00000637
PX-0720       DISC - Impact Image of Discord Post   DISC-IMPACT00000638   DISC-IMPACT00000639
PX-0721       DISC - Impact Image of Discord Post   DISC-IMPACT00000640   DISC-IMPACT00000640
PX-0722       DISC - Impact Image of Discord Post   DISC-IMPACT00000641   DISC-IMPACT00000641
PX-0723       DISC - Impact Image of Discord Post   DISC-IMPACT00000642   DISC-IMPACT00000642
PX-0724       DISC - Impact Image of Discord Post   DISC-IMPACT00000643   DISC-IMPACT00000652
PX-0725       DISC - Impact Image of Discord Post   DISC-IMPACT00000653   DISC-IMPACT00000653
PX-0726       DISC - Impact Image of Discord Post   DISC-IMPACT00000654   DISC-IMPACT00000654
PX-0727       DISC - Impact Image of Discord Post   DISC-IMPACT00000655   DISC-IMPACT00000655
PX-0728       DISC - Impact Image of Discord Post   DISC-IMPACT00000656   DISC-IMPACT00000656
PX-0729       DISC - Impact Image of Discord Post   DISC-IMPACT00000657   DISC-IMPACT00000657
PX-0730       DISC - Impact Image of Discord Post   DISC-IMPACT00000658   DISC-IMPACT00000658
PX-0731       DISC - Impact Image of Discord Post   DISC-IMPACT00000659   DISC-IMPACT00000659
PX-0732       DISC - Impact Image of Discord Post   DISC-IMPACT00000660   DISC-IMPACT00000660
PX-0733       DISC - Impact Image of Discord Post   DISC-IMPACT00000661   DISC-IMPACT00000661
PX-0734       DISC - Impact Image of Discord Post   DISC-IMPACT00000662   DISC-IMPACT00000662
PX-0735       DISC - Impact Image of Discord Post   DISC-IMPACT00000663   DISC-IMPACT00000663
PX-0736       DISC - Impact Image of Discord Post   DISC-IMPACT00000664   DISC-IMPACT00000664
PX-0737       DISC - Impact Image of Discord Post   DISC-IMPACT00000665   DISC-IMPACT00000665
PX-0738       DISC - Impact Image of Discord Post   DISC-IMPACT00000666   DISC-IMPACT00000666
PX-0739       DISC - Impact Image of Discord Post   DISC-IMPACT00000667   DISC-IMPACT00000667
PX-0740       DISC - Impact Image of Discord Post   DISC-IMPACT00000668   DISC-IMPACT00000668
PX-0741       DISC - Impact Image of Discord Post   DISC-IMPACT00000669   DISC-IMPACT00000669
PX-0742       DISC - Impact Image of Discord Post   DISC-IMPACT00000670   DISC-IMPACT00000670
PX-0743       DISC - Impact Image of Discord Post   DISC-IMPACT00000671   DISC-IMPACT00000671
PX-0744       DISC - Impact Image of Discord Post   DISC-IMPACT00000672   DISC-IMPACT00000672
PX-0745       DISC - Impact Image of Discord Post   DISC-IMPACT00000673   DISC-IMPACT00000673
PX-0746       DISC - Impact Image of Discord Post   DISC-IMPACT00000674   DISC-IMPACT00000674
PX-0747       DISC - Impact Image of Discord Post   DISC-IMPACT00000675   DISC-IMPACT00000675
PX-0748       DISC - Impact Image of Discord Post   DISC-IMPACT00000676   DISC-IMPACT00000676
PX-0749       DISC - Impact Image of Discord Post   DISC-IMPACT00000677   DISC-IMPACT00000677
PX-0750       DISC - Impact Image of Discord Post   DISC-IMPACT00000678   DISC-IMPACT00000678
PX-0751       DISC - Impact Image of Discord Post   DISC-IMPACT00000679   DISC-IMPACT00000679
PX-0752       DISC - Impact Image of Discord Post   DISC-IMPACT00000680   DISC-IMPACT00000680
PX-0753       DISC - Impact Image of Discord Post   DISC-IMPACT00000681   DISC-IMPACT00000681
PX-0754       DISC - Impact Image of Discord Post   DISC-IMPACT00000682   DISC-IMPACT00000682
PX-0755       DISC - Impact Image of Discord Post   DISC-IMPACT00000683   DISC-IMPACT00000683
PX-0756       DISC - Impact Image of Discord Post   DISC-IMPACT00000684   DISC-IMPACT00000684
PX-0757       DISC - Impact Image of Discord Post   DISC-IMPACT00000685   DISC-IMPACT00000685
PX-0758       DISC - Impact Image of Discord Post   DISC-IMPACT00000686   DISC-IMPACT00000686
PX-0759       DISC - Impact Image of Discord Post   DISC-IMPACT00000687   DISC-IMPACT00000687
PX-0760       DISC - Impact Image of Discord Post   DISC-IMPACT00000688   DISC-IMPACT00000688
PX-0761       DISC - Impact Image of Discord Post   DISC-IMPACT00000689   DISC-IMPACT00000689
PX-0762       DISC - Impact Image of Discord Post   DISC-IMPACT00000690   DISC-IMPACT00000690
PX-0763       DISC - Impact Image of Discord Post   DISC-IMPACT00000691   DISC-IMPACT00000691
PX-0764       DISC - Impact Image of Discord Post   DISC-IMPACT00000692   DISC-IMPACT00000692
PX-0765       DISC - Impact Image of Discord Post   DISC-IMPACT00000693   DISC-IMPACT00000693
PX-0766       DISC - Impact Image of Discord Post   DISC-IMPACT00000694   DISC-IMPACT00000694
PX-0767       DISC - Impact Image of Discord Post   DISC-IMPACT00000695   DISC-IMPACT00000695
PX-0768       DISC - Impact Image of Discord Post   DISC-IMPACT00000696   DISC-IMPACT00000696
PX-0769       DISC - Impact Image of Discord Post   DISC-IMPACT00000697   DISC-IMPACT00000697
PX-0770       DISC - Impact Image of Discord Post   DISC-IMPACT00000698   DISC-IMPACT00000698
PX-0771       DISC - Impact Image of Discord Post   DISC-IMPACT00000699   DISC-IMPACT00000699
PX-0772       DISC - Impact Image of Discord Post   DISC-IMPACT00000700   DISC-IMPACT00000700
PX-0773       DISC - Impact Image of Discord Post   DISC-IMPACT00000701   DISC-IMPACT00000701
PX-0774       DISC - Impact Image of Discord Post   DISC-IMPACT00000702   DISC-IMPACT00000702
PX-0775       DISC - Impact Image of Discord Post   DISC-IMPACT00000703   DISC-IMPACT00000703
PX-0776       DISC - Impact Image of Discord Post   DISC-IMPACT00000704   DISC-IMPACT00000704
PX-0777       DISC - Impact Image of Discord Post   DISC-IMPACT00000705   DISC-IMPACT00000705
PX-0778       DISC - Impact Image of Discord Post   DISC-IMPACT00000706   DISC-IMPACT00000706
PX-0779       DISC - Impact Image of Discord Post   DISC-IMPACT00000707   DISC-IMPACT00000707
PX-0780       DISC - Impact Image of Discord Post   DISC-IMPACT00000708   DISC-IMPACT00000708
PX-0781       DISC - Impact Image of Discord Post   DISC-IMPACT00000709   DISC-IMPACT00000709
PX-0782       DISC - Impact Image of Discord Post   DISC-IMPACT00000710   DISC-IMPACT00000710
PX-0783       DISC - Impact Image of Discord Post   DISC-IMPACT00000711   DISC-IMPACT00000711
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Exhibit No.   Description                           Beginning Bates       End Bates
PX-0784       DISC - Impact Image of Discord Post   DISC-IMPACT00000712   DISC-IMPACT00000712
PX-0785       DISC - Impact Image of Discord Post   DISC-IMPACT00000713   DISC-IMPACT00000713
PX-0786       DISC - Impact Image of Discord Post   DISC-IMPACT00000714   DISC-IMPACT00000714
PX-0787       DISC - Impact Image of Discord Post   DISC-IMPACT00000715   DISC-IMPACT00000715
PX-0788       DISC - Impact Image of Discord Post   DISC-IMPACT00000716   DISC-IMPACT00000716
PX-0789       DISC - Impact Image of Discord Post   DISC-IMPACT00000717   DISC-IMPACT00000717
PX-0790       DISC - Impact Image of Discord Post   DISC-IMPACT00000718   DISC-IMPACT00000718
PX-0791       DISC - Impact Image of Discord Post   DISC-IMPACT00000719   DISC-IMPACT00000719
PX-0792       DISC - Impact Image of Discord Post   DISC-IMPACT00000720   DISC-IMPACT00000720
PX-0793       DISC - Impact Image of Discord Post   DISC-IMPACT00000721   DISC-IMPACT00000721
PX-0794       DISC - Impact Image of Discord Post   DISC-IMPACT00000722   DISC-IMPACT00000722
PX-0795       DISC - Impact Image of Discord Post   DISC-IMPACT00000723   DISC-IMPACT00000723
PX-0796       DISC - Impact Image of Discord Post   DISC-IMPACT00000724   DISC-IMPACT00000724
PX-0797       DISC - Impact Image of Discord Post   DISC-IMPACT00000725   DISC-IMPACT00000725
PX-0798       DISC - Impact Image of Discord Post   DISC-IMPACT00000726   DISC-IMPACT00000726
PX-0799       DISC - Impact Image of Discord Post   DISC-IMPACT00000727   DISC-IMPACT00000727
PX-0800       DISC - Impact Image of Discord Post   DISC-IMPACT00000728   DISC-IMPACT00000728
PX-0801       DISC - Impact Image of Discord Post   DISC-IMPACT00000729   DISC-IMPACT00000729
PX-0802       DISC - Impact Image of Discord Post   DISC-IMPACT00000730   DISC-IMPACT00000730
PX-0803       DISC - Impact Image of Discord Post   DISC-IMPACT00000731   DISC-IMPACT00000731
PX-0804       DISC - Impact Image of Discord Post   DISC-IMPACT00000732   DISC-IMPACT00000732
PX-0805       DISC - Impact Image of Discord Post   DISC-IMPACT00000733   DISC-IMPACT00000733
PX-0806       DISC - Impact Image of Discord Post   DISC-IMPACT00000734   DISC-IMPACT00000734
PX-0807       DISC - Impact Image of Discord Post   DISC-IMPACT00000735   DISC-IMPACT00000735
PX-0808       DISC - Impact Image of Discord Post   DISC-IMPACT00000736   DISC-IMPACT00000736
PX-0809       DISC - Impact Image of Discord Post   DISC-IMPACT00000737   DISC-IMPACT00000737
PX-0810       DISC - Impact Image of Discord Post   DISC-IMPACT00000738   DISC-IMPACT00000738
PX-0811       DISC - Impact Image of Discord Post   DISC-IMPACT00000739   DISC-IMPACT00000739
PX-0812       DISC - Impact Image of Discord Post   DISC-IMPACT00000740   DISC-IMPACT00000740
PX-0813       DISC - Impact Image of Discord Post   DISC-IMPACT00000741   DISC-IMPACT00000741
PX-0814       DISC - Impact Image of Discord Post   DISC-IMPACT00000742   DISC-IMPACT00000742
PX-0815       DISC - Impact Image of Discord Post   DISC-IMPACT00000743   DISC-IMPACT00000743
PX-0816       DISC - Impact Image of Discord Post   DISC-IMPACT00000744   DISC-IMPACT00000744
PX-0817       DISC - Impact Image of Discord Post   DISC-IMPACT00000745   DISC-IMPACT00000745
PX-0818       DISC - Impact Image of Discord Post   DISC-IMPACT00000746   DISC-IMPACT00000746
PX-0819       DISC - Impact Image of Discord Post   DISC-IMPACT00000747   DISC-IMPACT00000748
PX-0820       DISC - Impact Image of Discord Post   DISC-IMPACT00000749   DISC-IMPACT00000749
PX-0821       DISC - Impact Image of Discord Post   DISC-IMPACT00000750   DISC-IMPACT00000750
PX-0822       DISC - Impact Image of Discord Post   DISC-IMPACT00000751   DISC-IMPACT00000757
PX-0823       DISC - Impact Image of Discord Post   DISC-IMPACT00000758   DISC-IMPACT00000758
PX-0824       DISC - Impact Image of Discord Post   DISC-IMPACT00000759   DISC-IMPACT00000759
PX-0825       DISC - Impact Image of Discord Post   DISC-IMPACT00000760   DISC-IMPACT00000760
PX-0826       DISC - Impact Image of Discord Post   DISC-IMPACT00000761   DISC-IMPACT00000761
PX-0827       DISC - Impact Image of Discord Post   DISC-IMPACT00000762   DISC-IMPACT00000762
PX-0828       DISC - Impact Image of Discord Post   DISC-IMPACT00000763   DISC-IMPACT00000768
PX-0829       DISC - Impact Image of Discord Post   DISC-IMPACT00000769   DISC-IMPACT00000769
PX-0830       DISC - Impact Image of Discord Post   DISC-IMPACT00000770   DISC-IMPACT00000770
PX-0831       DISC - Impact Image of Discord Post   DISC-IMPACT00000771   DISC-IMPACT00000772
PX-0832       DISC - Impact Image of Discord Post   DISC-IMPACT00000773   DISC-IMPACT00000773
PX-0833       DISC - Impact Image of Discord Post   DISC-IMPACT00000774   DISC-IMPACT00000774
PX-0834       DISC - Impact Image of Discord Post   DISC-IMPACT00000775   DISC-IMPACT00000775
PX-0835       DISC - Impact Image of Discord Post   DISC-IMPACT00000776   DISC-IMPACT00000776
PX-0836       DISC - Impact Image of Discord Post   DISC-IMPACT00000777   DISC-IMPACT00000778
PX-0837       DISC - Impact Image of Discord Post   DISC-IMPACT00000779   DISC-IMPACT00000779
PX-0838       DISC - Impact Image of Discord Post   DISC-IMPACT00000780   DISC-IMPACT00000780
PX-0839       DISC - Impact Image of Discord Post   DISC-IMPACT00000781   DISC-IMPACT00000781
PX-0840       DISC - Impact Image of Discord Post   DISC-IMPACT00000782   DISC-IMPACT00000782
PX-0841       DISC - Impact Image of Discord Post   DISC-IMPACT00000783   DISC-IMPACT00000783
PX-0842       DISC - Impact Image of Discord Post   DISC-IMPACT00000784   DISC-IMPACT00000784
PX-0843       DISC - Impact Image of Discord Post   DISC-IMPACT00000785   DISC-IMPACT00000785
PX-0844       DISC - Impact Image of Discord Post   DISC-IMPACT00000786   DISC-IMPACT00000786
PX-0845       DISC - Impact Image of Discord Post   DISC-IMPACT00000787   DISC-IMPACT00000787
PX-0846       DISC - Impact Image of Discord Post   DISC-IMPACT00000788   DISC-IMPACT00000788
PX-0847       DISC - Impact Image of Discord Post   DISC-IMPACT00000789   DISC-IMPACT00000789
PX-0848       DISC - Impact Image of Discord Post   DISC-IMPACT00000790   DISC-IMPACT00000790
PX-0849       DISC - Impact Image of Discord Post   DISC-IMPACT00000791   DISC-IMPACT00000791
PX-0850       DISC - Impact Image of Discord Post   DISC-IMPACT00000792   DISC-IMPACT00000792
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Exhibit No.   Description                           Beginning Bates       End Bates
PX-0851       DISC - Impact Image of Discord Post   DISC-IMPACT00000793   DISC-IMPACT00000793
PX-0852       DISC - Impact Image of Discord Post   DISC-IMPACT00000794   DISC-IMPACT00000794
PX-0853       DISC - Impact Image of Discord Post   DISC-IMPACT00000795   DISC-IMPACT00000795
PX-0854       DISC - Impact Image of Discord Post   DISC-IMPACT00000796   DISC-IMPACT00000796
PX-0855       DISC - Impact Image of Discord Post   DISC-IMPACT00000797   DISC-IMPACT00000797
PX-0856       DISC - Impact Image of Discord Post   DISC-IMPACT00000798   DISC-IMPACT00000798
PX-0857       DISC - Impact Image of Discord Post   DISC-IMPACT00000799   DISC-IMPACT00000799
PX-0858       DISC - Impact Image of Discord Post   DISC-IMPACT00000800   DISC-IMPACT00000800
PX-0859       DISC - Impact Image of Discord Post   DISC-IMPACT00000801   DISC-IMPACT00000801
PX-0860       DISC - Impact Image of Discord Post   DISC-IMPACT00000802   DISC-IMPACT00000802
PX-0861       DISC - Impact Image of Discord Post   DISC-IMPACT00000803   DISC-IMPACT00000803
PX-0862       DISC - Impact Image of Discord Post   DISC-IMPACT00000804   DISC-IMPACT00000805
PX-0863       DISC - Impact Image of Discord Post   DISC-IMPACT00000806   DISC-IMPACT00000806
PX-0864       DISC - Impact Image of Discord Post   DISC-IMPACT00000807   DISC-IMPACT00000807
PX-0865       DISC - Impact Image of Discord Post   DISC-IMPACT00000808   DISC-IMPACT00000808
PX-0866       DISC - Impact Image of Discord Post   DISC-IMPACT00000809   DISC-IMPACT00000809
PX-0867       DISC - Impact Image of Discord Post   DISC-IMPACT00000810   DISC-IMPACT00000810
PX-0868       DISC - Impact Image of Discord Post   DISC-IMPACT00000811   DISC-IMPACT00000811
PX-0869       DISC - Impact Image of Discord Post   DISC-IMPACT00000812   DISC-IMPACT00000812
PX-0870       DISC - Impact Image of Discord Post   DISC-IMPACT00000813   DISC-IMPACT00000813
PX-0871       DISC - Impact Image of Discord Post   DISC-IMPACT00000814   DISC-IMPACT00000814
PX-0872       DISC - Impact Image of Discord Post   DISC-IMPACT00000815   DISC-IMPACT00000815
PX-0873       DISC - Impact Image of Discord Post   DISC-IMPACT00000816   DISC-IMPACT00000816
PX-0874       DISC - Impact Image of Discord Post   DISC-IMPACT00000817   DISC-IMPACT00000817
PX-0875       DISC - Impact Image of Discord Post   DISC-IMPACT00000818   DISC-IMPACT00000818
PX-0876       DISC - Impact Image of Discord Post   DISC-IMPACT00000819   DISC-IMPACT00000819
PX-0877       DISC - Impact Image of Discord Post   DISC-IMPACT00000820   DISC-IMPACT00000820
PX-0878       DISC - Impact Image of Discord Post   DISC-IMPACT00000821   DISC-IMPACT00000821
PX-0879       DISC - Impact Image of Discord Post   DISC-IMPACT00000822   DISC-IMPACT00000822
PX-0880       DISC - Impact Image of Discord Post   DISC-IMPACT00000823   DISC-IMPACT00000823
PX-0881       DISC - Impact Image of Discord Post   DISC-IMPACT00000824   DISC-IMPACT00000824
PX-0882       DISC - Impact Image of Discord Post   DISC-IMPACT00000825   DISC-IMPACT00000825
PX-0883       DISC - Impact Image of Discord Post   DISC-IMPACT00000826   DISC-IMPACT00000826
PX-0884       DISC - Impact Image of Discord Post   DISC-IMPACT00000827   DISC-IMPACT00000827
PX-0885       DISC - Impact Image of Discord Post   DISC-IMPACT00000828   DISC-IMPACT00000828
PX-0886       DISC - Impact Image of Discord Post   DISC-IMPACT00000829   DISC-IMPACT00000829
PX-0887       DISC - Impact Image of Discord Post   DISC-IMPACT00000830   DISC-IMPACT00000830
PX-0888       DISC - Impact Image of Discord Post   DISC-IMPACT00000831   DISC-IMPACT00000831
PX-0889       DISC - Impact Image of Discord Post   DISC-IMPACT00000832   DISC-IMPACT00000832
PX-0890       DISC - Impact Image of Discord Post   DISC-IMPACT00000833   DISC-IMPACT00000833
PX-0891       DISC - Impact Image of Discord Post   DISC-IMPACT00000834   DISC-IMPACT00000834
PX-0892       DISC - Impact Image of Discord Post   DISC-IMPACT00000835   DISC-IMPACT00000835
PX-0893       DISC - Impact Image of Discord Post   DISC-IMPACT00000836   DISC-IMPACT00000836
PX-0894       DISC - Impact Image of Discord Post   DISC-IMPACT00000837   DISC-IMPACT00000837
PX-0895       DISC - Impact Image of Discord Post   DISC-IMPACT00000838   DISC-IMPACT00000838
PX-0896       DISC - Impact Image of Discord Post   DISC-IMPACT00000839   DISC-IMPACT00000839
PX-0897       DISC - Impact Image of Discord Post   DISC-IMPACT00000840   DISC-IMPACT00000840
PX-0898       DISC - Impact Image of Discord Post   DISC-IMPACT00000841   DISC-IMPACT00000841
PX-0899       DISC - Impact Image of Discord Post   DISC-IMPACT00000842   DISC-IMPACT00000842
PX-0900       DISC - Impact Image of Discord Post   DISC-IMPACT00000843   DISC-IMPACT00000843
PX-0901       DISC - Impact Image of Discord Post   DISC-IMPACT00000844   DISC-IMPACT00000844
PX-0902       DISC - Impact Image of Discord Post   DISC-IMPACT00000845   DISC-IMPACT00000845
PX-0903       DISC - Impact Image of Discord Post   DISC-IMPACT00000846   DISC-IMPACT00000846
PX-0904       DISC - Impact Image of Discord Post   DISC-IMPACT00000847   DISC-IMPACT00000847
PX-0905       DISC - Impact Image of Discord Post   DISC-IMPACT00000848   DISC-IMPACT00000848
PX-0906       DISC - Impact Image of Discord Post   DISC-IMPACT00000849   DISC-IMPACT00000849
PX-0907       DISC - Impact Image of Discord Post   DISC-IMPACT00000850   DISC-IMPACT00000850
PX-0908       DISC - Impact Image of Discord Post   DISC-IMPACT00000851   DISC-IMPACT00000851
PX-0909       DISC - Impact Image of Discord Post   DISC-IMPACT00000852   DISC-IMPACT00000852
PX-0910       DISC - Impact Image of Discord Post   DISC-IMPACT00000853   DISC-IMPACT00000853
PX-0911       DISC - Impact Image of Discord Post   DISC-IMPACT00000854   DISC-IMPACT00000854
PX-0912       DISC - Impact Image of Discord Post   DISC-IMPACT00000855   DISC-IMPACT00000857
PX-0913       DISC - Impact Image of Discord Post   DISC-IMPACT00000858   DISC-IMPACT00000859
PX-0914       DISC - Impact Image of Discord Post   DISC-IMPACT00000860   DISC-IMPACT00000860
PX-0915       DISC - Impact Image of Discord Post   DISC-IMPACT00000861   DISC-IMPACT00000861
PX-0916       DISC - Impact Image of Discord Post   DISC-IMPACT00000862   DISC-IMPACT00000862
PX-0917       DISC - Impact Image of Discord Post   DISC-IMPACT00000863   DISC-IMPACT00000863
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Exhibit No.   Description                           Beginning Bates       End Bates
PX-0918       DISC - Impact Image of Discord Post   DISC-IMPACT00000864   DISC-IMPACT00000864
PX-0919       DISC - Impact Image of Discord Post   DISC-IMPACT00000865   DISC-IMPACT00000865
PX-0920       DISC - Impact Image of Discord Post   DISC-IMPACT00000866   DISC-IMPACT00000867
PX-0921       DISC - Impact Image of Discord Post   DISC-IMPACT00000868   DISC-IMPACT00000868
PX-0922       DISC - Impact Image of Discord Post   DISC-IMPACT00000869   DISC-IMPACT00000869
PX-0923       DISC - Impact Image of Discord Post   DISC-IMPACT00000870   DISC-IMPACT00000871
PX-0924       DISC - Impact Image of Discord Post   DISC-IMPACT00000872   DISC-IMPACT00000872
PX-0925       DISC - Impact Image of Discord Post   DISC-IMPACT00000873   DISC-IMPACT00000873
PX-0926       DISC - Impact Image of Discord Post   DISC-IMPACT00000874   DISC-IMPACT00000874
PX-0927       DISC - Impact Image of Discord Post   DISC-IMPACT00000875   DISC-IMPACT00000876
PX-0928       DISC - Impact Image of Discord Post   DISC-IMPACT00000877   DISC-IMPACT00000877
PX-0929       DISC - Impact Image of Discord Post   DISC-IMPACT00000878   DISC-IMPACT00000878
PX-0930       DISC - Impact Image of Discord Post   DISC-IMPACT00000879   DISC-IMPACT00000879
PX-0931       DISC - Impact Image of Discord Post   DISC-IMPACT00000880   DISC-IMPACT00000880
PX-0932       DISC - Impact Image of Discord Post   DISC-IMPACT00000881   DISC-IMPACT00000881
PX-0933       DISC - Impact Image of Discord Post   DISC-IMPACT00000882   DISC-IMPACT00000882
PX-0934       DISC - Impact Image of Discord Post   DISC-IMPACT00000883   DISC-IMPACT00000883
PX-0935       DISC - Impact Image of Discord Post   DISC-IMPACT00000884   DISC-IMPACT00000884
PX-0936       DISC - Impact Image of Discord Post   DISC-IMPACT00000885   DISC-IMPACT00000885
PX-0937       DISC - Impact Image of Discord Post   DISC-IMPACT00000886   DISC-IMPACT00000888
PX-0938       DISC - Impact Image of Discord Post   DISC-IMPACT00000889   DISC-IMPACT00000889
PX-0939       DISC - Impact Image of Discord Post   DISC-IMPACT00000890   DISC-IMPACT00000890
PX-0940       DISC - Impact Image of Discord Post   DISC-IMPACT00000891   DISC-IMPACT00000891
PX-0941       DISC - Impact Image of Discord Post   DISC-IMPACT00000892   DISC-IMPACT00000892
PX-0942       DISC - Impact Image of Discord Post   DISC-IMPACT00000893   DISC-IMPACT00000893
PX-0943       DISC - Impact Image of Discord Post   DISC-IMPACT00000894   DISC-IMPACT00000894
PX-0944       DISC - Impact Image of Discord Post   DISC-IMPACT00000895   DISC-IMPACT00000895
PX-0945       DISC - Impact Image of Discord Post   DISC-IMPACT00000896   DISC-IMPACT00000896
PX-0946       DISC - Impact Image of Discord Post   DISC-IMPACT00000897   DISC-IMPACT00000899
PX-0947       DISC - Impact Image of Discord Post   DISC-IMPACT00000900   DISC-IMPACT00000900
PX-0948       DISC - Impact Image of Discord Post   DISC-IMPACT00000901   DISC-IMPACT00000901
PX-0949       DISC - Impact Image of Discord Post   DISC-IMPACT00000902   DISC-IMPACT00000906
PX-0950       DISC - Impact Image of Discord Post   DISC-IMPACT00000907   DISC-IMPACT00000907
PX-0951       DISC - Impact Image of Discord Post   DISC-IMPACT00000908   DISC-IMPACT00000908
PX-0952       DISC - Impact Image of Discord Post   DISC-IMPACT00000909   DISC-IMPACT00000915
PX-0953       DISC - Impact Image of Discord Post   DISC-IMPACT00000916   DISC-IMPACT00000917
PX-0954       DISC - Impact Image of Discord Post   DISC-IMPACT00000918   DISC-IMPACT00000918
PX-0955       DISC - Impact Image of Discord Post   DISC-IMPACT00000919   DISC-IMPACT00000919
PX-0956       DISC - Impact Image of Discord Post   DISC-IMPACT00000920   DISC-IMPACT00000920
PX-0957       DISC - Impact Image of Discord Post   DISC-IMPACT00000921   DISC-IMPACT00000921
PX-0958       DISC - Impact Image of Discord Post   DISC-IMPACT00000922   DISC-IMPACT00000922
PX-0959       DISC - Impact Image of Discord Post   DISC-IMPACT00000923   DISC-IMPACT00000923
PX-0960       DISC - Impact Image of Discord Post   DISC-IMPACT00000924   DISC-IMPACT00000924
PX-0961       DISC - Impact Image of Discord Post   DISC-IMPACT00000925   DISC-IMPACT00000926
PX-0962       DISC - Impact Image of Discord Post   DISC-IMPACT00000927   DISC-IMPACT00000931
PX-0963       DISC - Impact Image of Discord Post   DISC-IMPACT00000932   DISC-IMPACT00000932
PX-0964       DISC - Impact Image of Discord Post   DISC-IMPACT00000933   DISC-IMPACT00000933
PX-0965       DISC - Impact Image of Discord Post   DISC-IMPACT00000934   DISC-IMPACT00000934
PX-0966       DISC - Impact Image of Discord Post   DISC-IMPACT00000935   DISC-IMPACT00000937
PX-0967       DISC - Impact Image of Discord Post   DISC-IMPACT00000938   DISC-IMPACT00000939
PX-0968       DISC - Impact Image of Discord Post   DISC-IMPACT00000940   DISC-IMPACT00000940
PX-0969       DISC - Impact Image of Discord Post   DISC-IMPACT00000941   DISC-IMPACT00000942
PX-0970       DISC - Impact Image of Discord Post   DISC-IMPACT00000943   DISC-IMPACT00000943
PX-0971       DISC - Impact Image of Discord Post   DISC-IMPACT00000944   DISC-IMPACT00000944
PX-0972       DISC - Impact Image of Discord Post   DISC-IMPACT00000945   DISC-IMPACT00000945
PX-0973       DISC - Impact Image of Discord Post   DISC-IMPACT00000946   DISC-IMPACT00000946
PX-0974       DISC - Impact Image of Discord Post   DISC-IMPACT00000947   DISC-IMPACT00000951
PX-0975       DISC - Impact Image of Discord Post   DISC-IMPACT00000952   DISC-IMPACT00000954
PX-0976       DISC - Impact Image of Discord Post   DISC-IMPACT00000955   DISC-IMPACT00000955
PX-0977       DISC - Impact Image of Discord Post   DISC-IMPACT00000956   DISC-IMPACT00000956
PX-0978       DISC - Impact Image of Discord Post   DISC-IMPACT00000957   DISC-IMPACT00000958
PX-0979       DISC - Impact Image of Discord Post   DISC-IMPACT00000959   DISC-IMPACT00000959
PX-0980       DISC - Impact Image of Discord Post   DISC-IMPACT00000960   DISC-IMPACT00000961
PX-0981       DISC - Impact Image of Discord Post   DISC-IMPACT00000962   DISC-IMPACT00000963
PX-0982       DISC - Impact Image of Discord Post   DISC-IMPACT00000964   DISC-IMPACT00000968
PX-0983       DISC - Impact Image of Discord Post   DISC-IMPACT00000969   DISC-IMPACT00000969
PX-0984       DISC - Impact Image of Discord Post   DISC-IMPACT00000970   DISC-IMPACT00000970
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Exhibit No.   Description                           Beginning Bates       End Bates
PX-0985       DISC - Impact Image of Discord Post   DISC-IMPACT00000971   DISC-IMPACT00000971
PX-0986       DISC - Impact Image of Discord Post   DISC-IMPACT00000972   DISC-IMPACT00000972
PX-0987       DISC - Impact Image of Discord Post   DISC-IMPACT00000973   DISC-IMPACT00000973
PX-0988       DISC - Impact Image of Discord Post   DISC-IMPACT00000974   DISC-IMPACT00000974
PX-0989       DISC - Impact Image of Discord Post   DISC-IMPACT00000975   DISC-IMPACT00000975
PX-0990       DISC - Impact Image of Discord Post   DISC-IMPACT00000976   DISC-IMPACT00000976
PX-0991       DISC - Impact Image of Discord Post   DISC-IMPACT00000977   DISC-IMPACT00000978
PX-0992       DISC - Impact Image of Discord Post   DISC-IMPACT00000979   DISC-IMPACT00000980
PX-0993       DISC - Impact Image of Discord Post   DISC-IMPACT00000981   DISC-IMPACT00000981
PX-0994       DISC - Impact Image of Discord Post   DISC-IMPACT00000982   DISC-IMPACT00000982
PX-0995       DISC - Impact Image of Discord Post   DISC-IMPACT00000983   DISC-IMPACT00000983
PX-0996       DISC - Impact Image of Discord Post   DISC-IMPACT00000984   DISC-IMPACT00000984
PX-0997       DISC - Impact Image of Discord Post   DISC-IMPACT00000985   DISC-IMPACT00000987
PX-0998       DISC - Impact Image of Discord Post   DISC-IMPACT00000988   DISC-IMPACT00000988
PX-0999       DISC - Impact Image of Discord Post   DISC-IMPACT00000989   DISC-IMPACT00000999
PX-1000       DISC - Impact Image of Discord Post   DISC-IMPACT00001000   DISC-IMPACT00001000
PX-1001       DISC - Impact Image of Discord Post   DISC-IMPACT00001001   DISC-IMPACT00001001
PX-1002       DISC - Impact Image of Discord Post   DISC-IMPACT00001002   DISC-IMPACT00001002
PX-1003       DISC - Impact Image of Discord Post   DISC-IMPACT00001003   DISC-IMPACT00001010
PX-1004       DISC - Impact Image of Discord Post   DISC-IMPACT00001011   DISC-IMPACT00001011
PX-1005       DISC - Impact Image of Discord Post   DISC-IMPACT00001012   DISC-IMPACT00001014
PX-1006       DISC - Impact Image of Discord Post   DISC-IMPACT00001015   DISC-IMPACT00001015
PX-1007       DISC - Impact Image of Discord Post   DISC-IMPACT00001016   DISC-IMPACT00001018
PX-1008       DISC - Impact Image of Discord Post   DISC-IMPACT00001019   DISC-IMPACT00001019
PX-1009       DISC - Impact Image of Discord Post   DISC-IMPACT00001020   DISC-IMPACT00001020
PX-1010       DISC - Impact Image of Discord Post   DISC-IMPACT00001021   DISC-IMPACT00001021
PX-1011       DISC - Impact Image of Discord Post   DISC-IMPACT00001022   DISC-IMPACT00001022
PX-1012       DISC - Impact Image of Discord Post   DISC-IMPACT00001023   DISC-IMPACT00001027
PX-1013       DISC - Impact Image of Discord Post   DISC-IMPACT00001028   DISC-IMPACT00001028
PX-1014       DISC - Impact Image of Discord Post   DISC-IMPACT00001029   DISC-IMPACT00001033
PX-1015       DISC - Impact Image of Discord Post   DISC-IMPACT00001034   DISC-IMPACT00001034
PX-1016       DISC - Impact Image of Discord Post   DISC-IMPACT00001035   DISC-IMPACT00001035
PX-1017       DISC - Impact Image of Discord Post   DISC-IMPACT00001036   DISC-IMPACT00001037
PX-1018       DISC - Impact Image of Discord Post   DISC-IMPACT00001038   DISC-IMPACT00001038
PX-1019       DISC - Impact Image of Discord Post   DISC-IMPACT00001039   DISC-IMPACT00001039
PX-1020       DISC - Impact Image of Discord Post   DISC-IMPACT00001040   DISC-IMPACT00001040
PX-1021       DISC - Impact Image of Discord Post   DISC-IMPACT00001041   DISC-IMPACT00001041
PX-1022       DISC - Impact Image of Discord Post   DISC-IMPACT00001042   DISC-IMPACT00001044
PX-1023       DISC - Impact Image of Discord Post   DISC-IMPACT00001045   DISC-IMPACT00001049
PX-1024       DISC - Impact Image of Discord Post   DISC-IMPACT00001050   DISC-IMPACT00001052
PX-1025       DISC - Impact Image of Discord Post   DISC-IMPACT00001053   DISC-IMPACT00001053
PX-1026       DISC - Impact Image of Discord Post   DISC-IMPACT00001054   DISC-IMPACT00001054
PX-1027       DISC - Impact Image of Discord Post   DISC-IMPACT00001055   DISC-IMPACT00001055
PX-1028       DISC - Impact Image of Discord Post   DISC-IMPACT00001056   DISC-IMPACT00001056
PX-1029       DISC - Impact Image of Discord Post   DISC-IMPACT00001057   DISC-IMPACT00001057
PX-1030       DISC - Impact Image of Discord Post   DISC-IMPACT00001058   DISC-IMPACT00001058
PX-1031       DISC - Impact Image of Discord Post   DISC-IMPACT00001059   DISC-IMPACT00001060
PX-1032       DISC - Impact Image of Discord Post   DISC-IMPACT00001061   DISC-IMPACT00001061
PX-1033       DISC - Impact Image of Discord Post   DISC-IMPACT00001062   DISC-IMPACT00001062
PX-1034       DISC - Impact Image of Discord Post   DISC-IMPACT00001063   DISC-IMPACT00001063
PX-1035       DISC - Impact Image of Discord Post   DISC-IMPACT00001064   DISC-IMPACT00001065
PX-1036       DISC - Impact Image of Discord Post   DISC-IMPACT00001066   DISC-IMPACT00001066
PX-1037       DISC - Impact Image of Discord Post   DISC-IMPACT00001067   DISC-IMPACT00001067
PX-1038       DISC - Impact Image of Discord Post   DISC-IMPACT00001068   DISC-IMPACT00001068
PX-1039       DISC - Impact Image of Discord Post   DISC-IMPACT00001069   DISC-IMPACT00001069
PX-1040       DISC - Impact Image of Discord Post   DISC-IMPACT00001070   DISC-IMPACT00001070
PX-1041       DISC - Impact Image of Discord Post   DISC-IMPACT00001071   DISC-IMPACT00001071
PX-1042       DISC - Impact Image of Discord Post   DISC-IMPACT00001072   DISC-IMPACT00001072
PX-1043       DISC - Impact Image of Discord Post   DISC-IMPACT00001073   DISC-IMPACT00001073
PX-1044       DISC - Impact Image of Discord Post   DISC-IMPACT00001074   DISC-IMPACT00001074
PX-1045       DISC - Impact Image of Discord Post   DISC-IMPACT00001075   DISC-IMPACT00001075
PX-1046       DISC - Impact Image of Discord Post   DISC-IMPACT00001076   DISC-IMPACT00001080
PX-1047       DISC - Impact Image of Discord Post   DISC-IMPACT00001081   DISC-IMPACT00001081
PX-1048       DISC - Impact Image of Discord Post   DISC-IMPACT00001082   DISC-IMPACT00001082
PX-1049       DISC - Impact Image of Discord Post   DISC-IMPACT00001083   DISC-IMPACT00001083
PX-1050       DISC - Impact Image of Discord Post   DISC-IMPACT00001084   DISC-IMPACT00001084
PX-1051       DISC - Impact Image of Discord Post   DISC-IMPACT00001085   DISC-IMPACT00001086
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Exhibit No.   Description                           Beginning Bates       End Bates
PX-1052       DISC - Impact Image of Discord Post   DISC-IMPACT00001087   DISC-IMPACT00001087
PX-1053       DISC - Impact Image of Discord Post   DISC-IMPACT00001088   DISC-IMPACT00001089
PX-1054       DISC - Impact Image of Discord Post   DISC-IMPACT00001090   DISC-IMPACT00001090
PX-1055       DISC - Impact Image of Discord Post   DISC-IMPACT00001091   DISC-IMPACT00001091
PX-1056       DISC - Impact Image of Discord Post   DISC-IMPACT00001092   DISC-IMPACT00001092
PX-1057       DISC - Impact Image of Discord Post   DISC-IMPACT00001093   DISC-IMPACT00001094
PX-1058       DISC - Impact Image of Discord Post   DISC-IMPACT00001095   DISC-IMPACT00001097
PX-1059       DISC - Impact Image of Discord Post   DISC-IMPACT00001098   DISC-IMPACT00001098
PX-1060       DISC - Impact Image of Discord Post   DISC-IMPACT00001099   DISC-IMPACT00001102
PX-1061       DISC - Impact Image of Discord Post   DISC-IMPACT00001103   DISC-IMPACT00001103
PX-1062       DISC - Impact Image of Discord Post   DISC-IMPACT00001104   DISC-IMPACT00001108
PX-1063       DISC - Impact Image of Discord Post   DISC-IMPACT00001109   DISC-IMPACT00001109
PX-1064       DISC - Impact Image of Discord Post   DISC-IMPACT00001110   DISC-IMPACT00001110
PX-1065       DISC - Impact Image of Discord Post   DISC-IMPACT00001111   DISC-IMPACT00001111
PX-1066       DISC - Impact Image of Discord Post   DISC-IMPACT00001112   DISC-IMPACT00001112
PX-1067       DISC - Impact Image of Discord Post   DISC-IMPACT00001113   DISC-IMPACT00001114
PX-1068       DISC - Impact Image of Discord Post   DISC-IMPACT00001115   DISC-IMPACT00001115
PX-1069       DISC - Impact Image of Discord Post   DISC-IMPACT00001116   DISC-IMPACT00001116
PX-1070       DISC - Impact Image of Discord Post   DISC-IMPACT00001117   DISC-IMPACT00001117
PX-1071       DISC - Impact Image of Discord Post   DISC-IMPACT00001118   DISC-IMPACT00001119
PX-1072       DISC - Impact Image of Discord Post   DISC-IMPACT00001120   DISC-IMPACT00001121
PX-1073       DISC - Impact Image of Discord Post   DISC-IMPACT00001122   DISC-IMPACT00001122
PX-1074       DISC - Impact Image of Discord Post   DISC-IMPACT00001123   DISC-IMPACT00001125
PX-1075       DISC - Impact Image of Discord Post   DISC-IMPACT00001126   DISC-IMPACT00001128
PX-1076       DISC - Impact Image of Discord Post   DISC-IMPACT00001129   DISC-IMPACT00001133
PX-1077       DISC - Impact Image of Discord Post   DISC-IMPACT00001134   DISC-IMPACT00001135
PX-1078       DISC - Impact Image of Discord Post   DISC-IMPACT00001136   DISC-IMPACT00001136
PX-1079       DISC - Impact Image of Discord Post   DISC-IMPACT00001137   DISC-IMPACT00001137
PX-1080       DISC - Impact Image of Discord Post   DISC-IMPACT00001138   DISC-IMPACT00001138
PX-1081       DISC - Impact Image of Discord Post   DISC-IMPACT00001139   DISC-IMPACT00001139
PX-1082       DISC - Impact Image of Discord Post   DISC-IMPACT00001140   DISC-IMPACT00001140
PX-1083       DISC - Impact Image of Discord Post   DISC-IMPACT00001141   DISC-IMPACT00001141
PX-1084       DISC - Impact Image of Discord Post   DISC-IMPACT00001142   DISC-IMPACT00001142
PX-1085       DISC - Impact Image of Discord Post   DISC-IMPACT00001143   DISC-IMPACT00001143
PX-1086       DISC - Impact Image of Discord Post   DISC-IMPACT00001144   DISC-IMPACT00001144
PX-1087       DISC - Impact Image of Discord Post   DISC-IMPACT00001145   DISC-IMPACT00001145
PX-1088       DISC - Impact Image of Discord Post   DISC-IMPACT00001146   DISC-IMPACT00001146
PX-1089       DISC - Impact Image of Discord Post   DISC-IMPACT00001147   DISC-IMPACT00001147
PX-1090       DISC - Impact Image of Discord Post   DISC-IMPACT00001148   DISC-IMPACT00001148
PX-1091       DISC - Impact Image of Discord Post   DISC-IMPACT00001149   DISC-IMPACT00001149
PX-1092       DISC - Impact Image of Discord Post   DISC-IMPACT00001150   DISC-IMPACT00001150
PX-1093       DISC - Impact Image of Discord Post   DISC-IMPACT00001151   DISC-IMPACT00001151
PX-1094       DISC - Impact Image of Discord Post   DISC-IMPACT00001152   DISC-IMPACT00001152
PX-1095       DISC - Impact Image of Discord Post   DISC-IMPACT00001153   DISC-IMPACT00001153
PX-1096       DISC - Impact Image of Discord Post   DISC-IMPACT00001154   DISC-IMPACT00001154
PX-1097       DISC - Impact Image of Discord Post   DISC-IMPACT00001155   DISC-IMPACT00001156
PX-1098       DISC - Impact Image of Discord Post   DISC-IMPACT00001157   DISC-IMPACT00001157
PX-1099       DISC - Impact Image of Discord Post   DISC-IMPACT00001158   DISC-IMPACT00001158
PX-1100       DISC - Impact Image of Discord Post   DISC-IMPACT00001159   DISC-IMPACT00001159
PX-1101       DISC - Impact Image of Discord Post   DISC-IMPACT00001160   DISC-IMPACT00001160
PX-1102       DISC - Impact Image of Discord Post   DISC-IMPACT00001161   DISC-IMPACT00001164
PX-1103       DISC - Impact Image of Discord Post   DISC-IMPACT00001165   DISC-IMPACT00001165
PX-1104       DISC - Impact Image of Discord Post   DISC-IMPACT00001166   DISC-IMPACT00001166
PX-1105       DISC - Impact Image of Discord Post   DISC-IMPACT00001167   DISC-IMPACT00001167
PX-1106       DISC - Impact Image of Discord Post   DISC-IMPACT00001168   DISC-IMPACT00001168
PX-1107       DISC - Impact Image of Discord Post   DISC-IMPACT00001169   DISC-IMPACT00001169
PX-1108       DISC - Impact Image of Discord Post   DISC-IMPACT00001170   DISC-IMPACT00001170
PX-1109       DISC - Impact Image of Discord Post   DISC-IMPACT00001171   DISC-IMPACT00001171
PX-1110       DISC - Impact Image of Discord Post   DISC-IMPACT00001172   DISC-IMPACT00001172
PX-1111       DISC - Impact Image of Discord Post   DISC-IMPACT00001173   DISC-IMPACT00001173
PX-1112       DISC - Impact Image of Discord Post   DISC-IMPACT00001174   DISC-IMPACT00001174
PX-1113       DISC - Impact Image of Discord Post   DISC-IMPACT00001175   DISC-IMPACT00001175
PX-1114       DISC - Impact Image of Discord Post   DISC-IMPACT00001176   DISC-IMPACT00001177
PX-1115       DISC - Impact Image of Discord Post   DISC-IMPACT00001178   DISC-IMPACT00001179
PX-1116       DISC - Impact Image of Discord Post   DISC-IMPACT00001180   DISC-IMPACT00001180
PX-1117       DISC - Impact Image of Discord Post   DISC-IMPACT00001181   DISC-IMPACT00001182
PX-1118       DISC - Impact Image of Discord Post   DISC-IMPACT00001183   DISC-IMPACT00001183
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Exhibit No.   Description                           Beginning Bates       End Bates
PX-1119       DISC - Impact Image of Discord Post   DISC-IMPACT00001184   DISC-IMPACT00001184
PX-1120       DISC - Impact Image of Discord Post   DISC-IMPACT00001185   DISC-IMPACT00001185
PX-1121       DISC - Impact Image of Discord Post   DISC-IMPACT00001186   DISC-IMPACT00001186
PX-1122       DISC - Impact Image of Discord Post   DISC-IMPACT00001187   DISC-IMPACT00001187
PX-1123       DISC - Impact Image of Discord Post   DISC-IMPACT00001188   DISC-IMPACT00001188
PX-1124       DISC - Impact Image of Discord Post   DISC-IMPACT00001189   DISC-IMPACT00001189
PX-1125       DISC - Impact Image of Discord Post   DISC-IMPACT00001190   DISC-IMPACT00001190
PX-1126       DISC - Impact Image of Discord Post   DISC-IMPACT00001191   DISC-IMPACT00001191
PX-1127       DISC - Impact Image of Discord Post   DISC-IMPACT00001192   DISC-IMPACT00001192
PX-1128       DISC - Impact Image of Discord Post   DISC-IMPACT00001193   DISC-IMPACT00001193
PX-1129       DISC - Impact Image of Discord Post   DISC-IMPACT00001194   DISC-IMPACT00001194
PX-1130       DISC - Impact Image of Discord Post   DISC-IMPACT00001195   DISC-IMPACT00001196
PX-1131       DISC - Impact Image of Discord Post   DISC-IMPACT00001197   DISC-IMPACT00001199
PX-1132       DISC - Impact Image of Discord Post   DISC-IMPACT00001200   DISC-IMPACT00001200
PX-1133       DISC - Impact Image of Discord Post   DISC-IMPACT00001201   DISC-IMPACT00001201
PX-1134       DISC - Impact Image of Discord Post   DISC-IMPACT00001202   DISC-IMPACT00001202
PX-1135       DISC - Impact Image of Discord Post   DISC-IMPACT00001203   DISC-IMPACT00001203
PX-1136       DISC - Impact Image of Discord Post   DISC-IMPACT00001204   DISC-IMPACT00001204
PX-1137       DISC - Impact Image of Discord Post   DISC-IMPACT00001205   DISC-IMPACT00001205
PX-1138       DISC - Impact Image of Discord Post   DISC-IMPACT00001206   DISC-IMPACT00001206
PX-1139       DISC - Impact Image of Discord Post   DISC-IMPACT00001207   DISC-IMPACT00001207
PX-1140       DISC - Impact Image of Discord Post   DISC-IMPACT00001208   DISC-IMPACT00001208
PX-1141       DISC - Impact Image of Discord Post   DISC-IMPACT00001209   DISC-IMPACT00001209
PX-1142       DISC - Impact Image of Discord Post   DISC-IMPACT00001210   DISC-IMPACT00001210
PX-1143       DISC - Impact Image of Discord Post   DISC-IMPACT00001211   DISC-IMPACT00001212
PX-1144       DISC - Impact Image of Discord Post   DISC-IMPACT00001213   DISC-IMPACT00001214
PX-1145       DISC - Impact Image of Discord Post   DISC-IMPACT00001215   DISC-IMPACT00001215
PX-1146       DISC - Impact Image of Discord Post   DISC-IMPACT00001216   DISC-IMPACT00001216
PX-1147       DISC - Impact Image of Discord Post   DISC-IMPACT00001217   DISC-IMPACT00001217
PX-1148       DISC - Impact Image of Discord Post   DISC-IMPACT00001218   DISC-IMPACT00001219
PX-1149       DISC - Impact Image of Discord Post   DISC-IMPACT00001220   DISC-IMPACT00001221
PX-1150       DISC - Impact Image of Discord Post   DISC-IMPACT00001222   DISC-IMPACT00001222
PX-1151       DISC - Impact Image of Discord Post   DISC-IMPACT00001223   DISC-IMPACT00001223
PX-1152       DISC - Impact Image of Discord Post   DISC-IMPACT00001224   DISC-IMPACT00001225
PX-1153       DISC - Impact Image of Discord Post   DISC-IMPACT00001226   DISC-IMPACT00001226
PX-1154       DISC - Impact Image of Discord Post   DISC-IMPACT00001227   DISC-IMPACT00001229
PX-1155       DISC - Impact Image of Discord Post   DISC-IMPACT00001230   DISC-IMPACT00001230
PX-1156       DISC - Impact Image of Discord Post   DISC-IMPACT00001231   DISC-IMPACT00001231
PX-1157       DISC - Impact Image of Discord Post   DISC-IMPACT00001232   DISC-IMPACT00001234
PX-1158       DISC - Impact Image of Discord Post   DISC-IMPACT00001235   DISC-IMPACT00001236
PX-1159       DISC - Impact Image of Discord Post   DISC-IMPACT00001237   DISC-IMPACT00001237
PX-1160       DISC - Impact Image of Discord Post   DISC-IMPACT00001238   DISC-IMPACT00001239
PX-1161       DISC - Impact Image of Discord Post   DISC-IMPACT00001240   DISC-IMPACT00001240
PX-1162       DISC - Impact Image of Discord Post   DISC-IMPACT00001241   DISC-IMPACT00001241
PX-1163       DISC - Impact Image of Discord Post   DISC-IMPACT00001242   DISC-IMPACT00001243
PX-1164       DISC - Impact Image of Discord Post   DISC-IMPACT00001244   DISC-IMPACT00001244
PX-1165       DISC - Impact Image of Discord Post   DISC-IMPACT00001245   DISC-IMPACT00001245
PX-1166       DISC - Impact Image of Discord Post   DISC-IMPACT00001246   DISC-IMPACT00001246
PX-1167       DISC - Impact Image of Discord Post   DISC-IMPACT00001247   DISC-IMPACT00001247
PX-1168       DISC - Impact Image of Discord Post   DISC-IMPACT00001248   DISC-IMPACT00001252
PX-1169       DISC - Impact Image of Discord Post   DISC-IMPACT00001253   DISC-IMPACT00001253
PX-1170       DISC - Impact Image of Discord Post   DISC-IMPACT00001254   DISC-IMPACT00001254
PX-1171       DISC - Impact Image of Discord Post   DISC-IMPACT00001255   DISC-IMPACT00001255
PX-1172       DISC - Impact Image of Discord Post   DISC-IMPACT00001256   DISC-IMPACT00001256
PX-1173       DISC - Impact Image of Discord Post   DISC-IMPACT00001257   DISC-IMPACT00001257
PX-1174       DISC - Impact Image of Discord Post   DISC-IMPACT00001258   DISC-IMPACT00001259
PX-1175       DISC - Impact Image of Discord Post   DISC-IMPACT00001260   DISC-IMPACT00001260
PX-1176       DISC - Impact Image of Discord Post   DISC-IMPACT00001261   DISC-IMPACT00001264
PX-1177       DISC - Impact Image of Discord Post   DISC-IMPACT00001265   DISC-IMPACT00001265
PX-1178       DISC - Impact Image of Discord Post   DISC-IMPACT00001266   DISC-IMPACT00001266
PX-1179       DISC - Impact Image of Discord Post   DISC-IMPACT00001267   DISC-IMPACT00001267
PX-1180       DISC - Impact Image of Discord Post   DISC-IMPACT00001268   DISC-IMPACT00001268
PX-1181       DISC - Impact Image of Discord Post   DISC-IMPACT00001269   DISC-IMPACT00001269
PX-1182       DISC - Impact Image of Discord Post   DISC-IMPACT00001270   DISC-IMPACT00001270
PX-1183       DISC - Impact Image of Discord Post   DISC-IMPACT00001271   DISC-IMPACT00001271
PX-1184       DISC - Impact Image of Discord Post   DISC-IMPACT00001272   DISC-IMPACT00001275
PX-1185       DISC - Impact Image of Discord Post   DISC-IMPACT00001276   DISC-IMPACT00001278
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Exhibit No.   Description                                                            Beginning Bates       End Bates
PX-1186       DISC - Impact Image of Discord Post                                    DISC-IMPACT00001279   DISC-IMPACT00001289
PX-1187       DISC - Impact Image of Discord Post                                    DISC-IMPACT00001290   DISC-IMPACT00001290
PX-1188       DISC - Impact Image of Discord Post                                    DISC-IMPACT00001291   DISC-IMPACT00001296
PX-1189       DISC - Impact Image of Discord Post                                    DISC-IMPACT00001297   DISC-IMPACT00001297
PX-1190       DISC - Impact Image of Discord Post                                    DISC-IMPACT00001298   DISC-IMPACT00001298
PX-1191       DISC - Impact Image of Discord Post                                    DISC-IMPACT00001299   DISC-IMPACT00001299
PX-1192       DISC - Impact Image of Discord Post                                    DISC-IMPACT00001300   DISC-IMPACT00001301
PX-1193       DISC - Impact Image of Discord Post                                    DISC-IMPACT00001302   DISC-IMPACT00001303
PX-1194       DISC - Impact Image of Discord Post                                    DISC-IMPACT00001304   DISC-IMPACT00001304
PX-1195       DISC - Impact Image of Discord Post                                    DISC-IMPACT00001305   DISC-IMPACT00001305
PX-1196       DISC - Impact Image of Discord Post                                    DISC-IMPACT00001306   DISC-IMPACT00001308
PX-1197       DISC - Impact Image of Discord Post                                    DISC-IMPACT00001309   DISC-IMPACT00001309
PX-1198       DISC - Discord Production PA004 - PA005                                DISCORD-0002920       DISCORD-0005616
PX-1199       DISC - Discord Production PA008 - PA011                                DISCORD-0005617       DISCORD-0008322
PX-1200       DISC - Discord Production PA007                                        DISCORD-0008323       DISCORD-0008323
PX-1201       DISC - Discord Production PA012 - PA013                                DISCORD-0008324       DISCORD-0011370
PX-1202       PHOTO - Photo of Hitler that James Fields sent to his mother           DOJ00000021245        DOJ00000021245
PX-1203       PHOTO - Photo of August 11, 2017, torch march that James Fields sent   DOJ00000021246        DOJ00000021246
              to his mother
PX-1204       PHOTO - Photo of August 11, 2017, torch march that James Fields sent   DOJ00000021247        DOJ00000021247
              to his mother
PX-1205       SMS - Samsung Return - Text Message from James Fields to his Mother    DOJ00000021248        DOJ00000021248

PX-1206       TWITTER – Image tweeted by James Fields                                DOJ00000184           DOJ00000184
PX-1207       TWITTER – Image tweeted by James Fields                                DOJ00000369           DOJ00000369
PX-1208       TWITTER – Image tweeted by James Fields                                DOJ00000585           DOJ00000585
PX-1209       TWITTER – Image tweeted by James Fields                                DOJ00000687           DOJ00000687
PX-1210       TWITTER – Image tweeted by James Fields                                DOJ00000698           DOJ00000698
PX-1211       TWITTER – Image tweeted by James Fields                                DOJ00000741           DOJ00000741
PX-1212       TWITTER – Image tweeted by James Fields                                DOJ00001021           DOJ00001021
PX-1213       TWITTER – Image tweeted by James Fields                                DOJ00001271           DOJ00001271
PX-1214       TWITTER – Image tweeted by James Fields                                DOJ00001958           DOJ00001958
PX-1215       TWITTER – Image tweeted by James Fields                                DOJ00002026           DOJ00002026
PX-1216       TWITTER – Image tweeted by James Fields                                DOJ00002294           DOJ00002294
PX-1217       TWITTER – Image tweeted by James Fields                                DOJ00002809           DOJ00002809
PX-1218       TWITTER – Image tweeted by James Fields                                DOJ00002905           DOJ00002905
PX-1219       TWITTER – Image tweeted by James Fields                                DOJ00002958           DOJ00002958
PX-1220       TWITTER – Image tweeted by James Fields                                DOJ00003097           DOJ00003097
PX-1221       TWITTER – Image tweeted by James Fields                                DOJ00003146           DOJ00003146
PX-1222       TWITTER – Image tweeted by James Fields                                DOJ00003210           DOJ00003210
PX-1223       TWITTER – Image tweeted by James Fields                                DOJ00003223           DOJ00003223
PX-1224       TWITTER – Image tweeted by James Fields                                DOJ00003427           DOJ00003427
PX-1225       TWITTER – Image tweeted by James Fields                                DOJ00003734           DOJ00003734
PX-1226       TWITTER – Image tweeted by James Fields                                DOJ00003741           DOJ00003741
PX-1227       TWITTER – Image tweeted by James Fields                                DOJ00003765           DOJ00003765
PX-1228       TWITTER – Image tweeted by James Fields                                DOJ00003778           DOJ00003778
PX-1229       TWITTER – Image tweeted by James Fields                                DOJ00004000           DOJ00004000
PX-1230       TWITTER – Image tweeted by James Fields                                DOJ00004146           DOJ00004146
PX-1231       TWITTER – Image tweeted by James Fields                                DOJ00004148           DOJ00004148
PX-1232       TWITTER – Image tweeted by James Fields                                DOJ00004310           DOJ00004310
PX-1233       TWITTER – Image tweeted by James Fields                                DOJ00004347           DOJ00004347
PX-1234       TWITTER – Image tweeted by James Fields                                DOJ00004614           DOJ00004614
PX-1235       TWITTER – Image tweeted by James Fields                                DOJ00004720           DOJ00004720
PX-1236       TWITTER – Image tweeted by James Fields                                DOJ00005076           DOJ00005076
PX-1237       TWITTER – Image tweeted by James Fields                                DOJ00005311           DOJ00005311
PX-1238       TWITTER – Image tweeted by James Fields                                DOJ00005344           DOJ00005344
PX-1239       TWITTER – Image tweeted by James Fields                                DOJ00005493           DOJ00005493
PX-1240       TWITTER – Image tweeted by James Fields                                DOJ00005599           DOJ00005599
PX-1241       TWITTER – Tweets by James Fields                                       DOJ00005615           DOJ00005916
PX-1242       TWITTER – Tweets by James Fields                                       DOJ00006273           DOJ00006807
PX-1243       TWITTER – Video tweeted by James Fields                                DOJ00006937           DOJ00006937
PX-1244       DOC - Instagram Business Record for James Fields                       DOJ00007916           DOJ00008450
PX-1245       DOC - Facebook Business Record for James Fields                        DOJ00010957           DOJ00017007
PX-1246       DOC - Extraction Report for James Fields' phone                        DOJ00017008           DOJ00021244
PX-1247       TWITTER - UVA BSA Twitter                                              WILLIS_00001321-C     WILLIS_00001322-C
PX-1248       SMS - Text message from Elliott Kline to Bree                          EK00000180            EK00000180
PX-1249       SMS - Text message from Elliott Kline to Patrick C.                    EK00000406            EK00000406
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Exhibit No.   Description                                                             Beginning Bates   End Bates
PX-1250       SMS - Text message conversation between "Coach" to Bree                 EK00000733        EK00000733
PX-1251       SMS - Text message conversation between "Coach" to Bree                 EK00000733        EK00000733
PX-1252       SMS - Text message from Elliott Kline to "Antifa Cat Lady"              EK00001146        EK00001146
PX-1253       SMS - Text message from "Coach" to "Antifa Cat Lady"                    EK00001556        EK00001556
PX-1254       SMS - Text message from "Coach" to "Antifa Cat Lady"                    EK00001740        EK00001740
PX-1255       SMS - Text message from "Coach" to "Antifa Cat Lady"                    EK00001912        EK00001912
PX-1256       SMS - Text message from Antifa Cat Lady to Elliott Kline                EK00002237        EK00002237
PX-1257       SMS - Text message from "Coach" to "Antifa Cat Lady"                    EK00003983        EK00003983
PX-1258       SMS - Text message from Elliott Kline to "Antifa Cat Lady"              EK00004004        EK00004004
PX-1259       SMS - Text message from "Coach" to "Jayoh"                              EK00004334        EK00004334
PX-1260       SMS - Text from "Coach"                                                 EK00004434        EK00004434
PX-1261       SMS - Text message from Augustus Invictus to "Coach"                    EK00004644        EK00004644
PX-1262       SMS - Text message conversation between Elliott Kline and August        EK00004647        EK00004648
              Invictus
PX-1263       SMS - Text message from August Invictus to Elliott Kline                EK00004651        EK00004651
PX-1264       SMS - Text message conversation between Elliott Kline, Jason Kessler,   EK00004708        EK00004709
              and Erica
PX-1265       SMS - Text message from Elliott Kline to Jason Kessler and Erica        EK00004724        EK00004724
PX-1266       SMS - Text message from Erica to Jason Kessler and "Coach"              EK00004731        EK00004731
PX-1267       SMS - Text message from "Coach" to Jason Kessler and Erica              EK00004737        EK00004737
PX-1268       SMS - Text message from Elliott Kline to Balabon                        EK00004838        EK00004838
PX-1269       SMS - Text message from Mathias to Elliott Kline                        EK00004975        EK00004975
PX-1270       SMS - Text message from Elliott Kline to Nathan Damigo                  EK00005141        EK00005142
PX-1271       SMS - Text message between "Coach" and Damigo                           EK00005165        EK00005165
PX-1272       SMS - Text message from Elliott Kline to Nathan Damigo                  EK00005232        EK00005233
PX-1273       SMS - Text message conversation between Elliott Kline and Nathan        EK00005283        EK00005285
              Damigo
PX-1274       SMS - Text message from Nathan Damigo to Elliott Kline                  EK00005285        EK00005285
PX-1275       SMS - Text message between Nathan Damigo and Elliott Kline              EK00005322        EK00005335
PX-1276       SMS - Text message from Nathan Damigo                                   EK00005330        EK00005330
PX-1277       SMS - Text message from Nathan Damigo                                   EK00005331        EK00005331
PX-1278       SMS - Text message from Nathan Damigo to "Coach"                        EK00005341        EK00005342
PX-1279       SMS - Text message from Nathan Damigo to "Coach"                        EK00005616        EK00005616
PX-1280       SMS - Text message from "Coach" to Nathan Damigo                        EK00005680        EK00005680
PX-1281       SMS - Text message conversation between "Coach" and Nathan Damigo       EK00005746        EK00005751

PX-1282       SMS - Text message conversation between "Coach" and Nathan Damigo EK00005763              EK00005768

PX-1283       SMS - Text message from Elliott Kline                                   EK00005778        EK00005778
PX-1284       SMS - Text message from Elliott Kline                                   EK00006036        EK00006036
PX-1285       SMS - Text message from Elliott Kline to Richard Spencer                EK00006529        EK00006529
PX-1286       SMS - Text message from Elliott Kline to Richard Spencer                EK00006531        EK00006531
PX-1287       SMS - Text message from Richard Spencer to Elliott Kline                EK00006532        EK00006532
PX-1288       SMS - Text message from Elliott Kline to Richard Spencer                EK00006584        EK00006584
PX-1289       SMS - Text message from Elliott Kline to Richard Spencer                EK00006617        EK00006617
PX-1290       SMS - Text message conversation between Richard Spencer and             EK00006993        EK00006999
              "Coach"
PX-1291       SMS - Text message from Richard Spencer to "Coach"                      EK00007004        EK00007004
PX-1292       SMS - Text message from Richard Spencer to "Coach"                      EK00007008        EK00007008
PX-1293       TWITTER - Screenshot of Jason Kessler quote retweet                     EK00007011        EK00007011
PX-1294       SMS - Text message from "Coach" to Richard Spencer                      EK00007022        EK00007022
PX-1295       SMS - Text message from "Coach" to Richard Spencer                      EK00007033        EK00007033
PX-1296       SMS - Text message from "Coach" to Richard Spencer                      EK00007042        EK00007042
PX-1297       SMS - Text message from Richard Spencer to "Coach"                      EK00007258        EK00007258
PX-1298       SMS - Text message from Elliott Kline                                   EK00009163        EK00009163
PX-1299       SMS - Text message from Erica to Elliott Kline                          EK00009502        EK00009502
PX-1300       SMS - Text message from "Coach" to Jason Kessler                        EK00009654        EK00009654
PX-1301       SMS - Text message from Elliott Kline to Jason Kessler                  EK00009660        EK00009660
PX-1302       SMS - Text message from "Coach" to Jason Kessler                        EK00009661        EK00009661
PX-1303       SMS - Text message from Jason Kessler to Elliott Kline                  EK00009692        EK00009693
PX-1304       SMS - Text message conversation between "Coach" and Jason Kessler       EK00009712        EK00009714

PX-1305       SMS - Text message from Jason Kessler to Elliott Kline                  EK00009720        EK00009720
PX-1306       SMS - Text message conversation between "Coach" and Jason Kessler       EK00009832        EK00009834

PX-1307       SMS - Text message from Elliott Kline to Jason Kessler                  EK00009854        EK00009854
PX-1308       SMS - Text message from Jason Kessler to Elliott Kline                  EK00009861        EK00009861
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Exhibit No.   Description                                                              Beginning Bates   End Bates
PX-1309       SMS - Text message conversation between "Coach" and Jason Kessler        EK00009866        EK00009867

PX-1310       SMS - Text message from "Coach" to Jason Kessler                         EK00010045        EK00010045
PX-1311       SMS - Text message from "Coach" to Jason Kessler                         EK00010134        EK00010134
PX-1312       SMS - Text message from "Coach" to Jason Kessler                         EK00010219        EK00010219
PX-1313       SMS - Text message conversation between Jason Kessler and "Coach"        EK00010238        EK00010241

PX-1314       SMS - Text message from "Coach" to Jason Kessler                         EK00010246        EK00010246
PX-1315       SMS - Text message from Jason Kessler to "Coach"                         EK00010259        EK00010259
PX-1316       SMS - Text message from "Coach" to Jason Kessler                         EK00010263        EK00010263
PX-1317       SMS - Text message from "Coach" to Jason Kessler                         EK00010273        EK00010273
PX-1318       SMS - Text message from "Coach" to Jason Kessler                         EK00010317        EK00010317
PX-1319       SMS - Text message from "Coach" to Jason Kessler                         EK00010325        EK00010325
PX-1320       SMS - Text message from "Coach" to Jason Kessler                         EK00010334        EK00010334
PX-1321       SMS - Text message from Elliott Kline                                    EK00010631        EK00010631
PX-1322       SMS - Text message conversation between "Coach" and Tom K.               EK00010770        EK00010771
PX-1323       SMS - Text message from Elliott Kline to Jason Kessler                   EK00011009        EK00011009
PX-1324       SMS - Text message from "Coach"                                          EK00011180        EK00011180
PX-1325       SMS - Text message from Elliott Kline to Gavin M.                        EK00011362        EK00011362
PX-1326       SMS - Text message from Coach to Rob S.                                  EK00011588        EK00011588
PX-1327       SMS - Text message from Elliott Kline                                    EK00013007        EK00013007
PX-1328       SMS - Text message from Christopher Cantwell to Elliott Kline            EK00013304        EK00013304
PX-1329       SMS - Text message from Christopher Cantwell to Elliott Kline            EK00013963        EK00013963
PX-1330       SMS - Text message from Matthew Heimbach to Elliott Kline                EK00014221        EK00014221
PX-1331       SMS - Text message from Matthew Heimbach to Elliott Kline                EK00014263        EK00014263
PX-1332       SMS - Text message from Matthew Heimbach to Elliott Kline                EK00014271        EK00014271
PX-1333       SMS - Text message from Jason Kessler to Elliott Kline                   EK00014323        EK00014323
PX-1334       SMS - Text message to Elliott Kline                                      EK00014485        EK00014485
PX-1335       EMAIL - Email from Identity Evropa to undisclosed-recipients and         EK00018581        EK00018581
              bcc'ing deplorabletruth
PX-1336       DOC - Document regarding security orders for Unite the Right             EK00018968        EK00018981
PX-1337       DOC - Document regarding security orders for Unite the Right             EK00018984        EK00018994
PX-1338       DOC - Document regarding operational orders for Unite the Right          EK00019001        EK00019010
PX-1339       DOC - Document regarding nondisclosure agreement                         EK00019582        EK00019589
PX-1340       EMAIL - Email from Elliott Kline to Tim P.                               EK00019694        EK00019695
PX-1341       EMAIL - Email from Robert C. to Elliott Kline                            EK00019775        EK00019784
PX-1342       DOC - Document regarding rally in Auburn                                 EK00020187        EK00020191
PX-1343       DOC - Document regarding Robert E. Lee statute                           EK00021006        EK00021007
PX-1344       EMAIL - Email from Deplorable Truth to Evan M.                           EK00021522        EK00021523
PX-1345       DOC - Document regarding general orders for Unite the Right              EK00021867        EK00021875
PX-1346       TWITTER - Tweet by Elliott Kline                                         EK00024359        EK00024359
PX-1347       DOC - Document regarding initial operational order for Unite the Right   EK00024796        EK00024803

PX-1348       EMAIL - Email from Identity Evropa to Elliott Kline                      EK00070628        EK00070629
PX-1349       PHOTO - Photo of Red Pump video (Fed 39)                                 FENTON00005330    FENTON00005330
PX-1350       PHOTO - Photo of Red Pump video (Fed 39)                                 FENTON00005845    FENTON00005845
PX-1351       PHOTO - Photo of Red Pump video (Fed 39)                                 FENTON00005939    FENTON00005939
PX-1352       PHOTO - Photo of Red Pump video (Fed 39)                                 FENTON00006109    FENTON00006109
PX-1353       PHOTO - Photo of police helicopter video (Fed 37)                        FENTON00011015    FENTON00011015
PX-1354       PHOTO - Photo of police helicopter video (Fed 37)                        FENTON00011060    FENTON00011060
PX-1355       PHOTO - Photo of police helicopter video (Fed 37)                        FENTON00011763    FENTON00011763
PX-1356       PHOTO - Photo of Challenger (Fed 41)                                     FENTON00013428    FENTON00013428
PX-1357       PHOTO - Photo of James Fields' driving into the crowd (Fed 41)           FENTON00013731    FENTON00013731
PX-1358       PHOTO - Photo of Challenger (Fed 41)                                     FENTON00013778    FENTON00013778
PX-1359       PHOTO - Photo of James Fields' driving into the crowd (Fed 41)           FENTON00013843    FENTON00013843
PX-1360       PHOTO - Photo of marchers along 2nd Street (Fed 40)                      FENTON00016495    FENTON00016495
PX-1361       PHOTO - Photo of southbound intersection of crime scene                  FENTON00017320    FENTON00017320
PX-1362       PHOTO - Photo of James Fields's car                                      FENTON00017447    FENTON00017447
PX-1363       PHOTO - Photo of northbound intersection of crime scene                  FENTON00017513    FENTON00017513
PX-1364       PHOTO - Photo of Southbound intersection of crime scene                  FENTON00017548    FENTON00017548
PX-1365       PHOTO - Photo of James Fields' car after car attack                      FENTON00017615    FENTON00017615
PX-1366       PHOTO - Photo of northbound intersection of crime scene                  FENTON00017723    FENTON00017723
PX-1367       PHOTO - Photo of James Fields' car after car attack                      FENTON00017734    FENTON00017734
PX-1368       VID - Video reconstruction of the car attack                             FENTON00017870    FENTON00017870
PX-1369       VID - Video reconstruction of the car attack                             FENTON00017881    FENTON00017881
PX-1370       VID - Video reconstruction of the car attack                             FENTON00017882    FENTON00017882
PX-1371       VID - Video reconstruction of the car attack                             FENTON00017902    FENTON00017902
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Exhibit No.   Description                                                            Beginning Bates   End Bates
PX-1372       VID - Video reconstruction of the car attack                           FENTON00017904    FENTON00017904
PX-1373       VID - Video reconstruction of the car attack                           FENTON00017905    FENTON00017905
PX-1374       VID - Video reconstruction of the car attack                           FENTON00017937    FENTON00017937
PX-1375       PR - Google - Phone Records for Elliott Kline                          GOOGLE00000001    GOOGLE00000002
PX-1376       PR - GOOGLE - Phone Records for Christopher Cantwell (Certification    GOOGLE00000003    GOOGLE00000004
              & Google Voice Records)
PX-1377       PR - GOOGLE - Phone Records for Matthew Parrott (Certification &       GOOGLE00000005    GOOGLE00000006
              Google Voice Records)
PX-1378       AUD - Audio recording of Southern Nationalist Radio Podcast, Episode
              63
PX-1379       AUD - Audio recording of Southern Nationalist Radio Podcast, Episode
              48 with Michael Hill
PX-1380       TWITTER - Tweet by Identity Evropa                                     IE00000770        IE00000770
PX-1381       TWITTER - Tweet by Identity Evropa                                     IE00000808        IE00000808
PX-1382       FB - Facebook post by Jason Kessler
PX-1383       PHOTO - Photo of Hitler
PX-1384       INTENTIONALLY LEFT BLANK
PX-1385       INTENTIONALLY LEFT BLANK
PX-1386       SMS - Text message from Jason Kessler to Davy C.                       JK00026615        JK00026616
PX-1387       SMS - Text Message from Jason Kessler to Nathan Damigo                 JK00026799        JK00026799
PX-1388       SMS - Text Message from Jason Kessler to Nathan Damigo                 JK00026808        JK00026808
PX-1389       SMS - Text message from Jason Kessler to Richard Spencer               JK00027294        JK00027294
PX-1390       SMS - Text message from Jason Kessler to Richard Spencer               JK00027314        JK00027314
PX-1391       SMS - Text message from Richard Spencer to Jason Kessler               JK00027326        JK00027326
PX-1392       SMS - Text message from Jason Kessler to Richard Spencer               JK00027398        JK00027398
PX-1393       SMS - Text message from Jason Kessler to Richard Spencer               JK00027419        JK00027419
PX-1394       SMS - Text message conversation between Baked Alaska and Jason         JK00027707        JK00027707
              Kessler
PX-1395       SMS - Text message from Jason Kessler                                  JK00027721        JK00027721
PX-1396       SMS - Text message from Jason Kessler to August Invictus               JK00028420        JK00028421
PX-1397       SMS - Text message from Jason Kessler to Elliott Kline                 JK00030136        JK00030136
PX-1398       SMS - Text message conversation with Elliott Kline                     JK00030159        JK00030163
PX-1399       SMS - Text message from Jason Kessler to Elliott Kline                 JK00030207        JK00030208
PX-1400       SMS - Text message from Jason Kessler to Elliott Kline                 JK00030209        JK00030210
PX-1401       SMS - Text message from Jason Kessler to Elliott Kline                 JK00030593        JK00030593
PX-1402       DOC - Document regarding white genocide                                JK00053125        JK00053129
PX-1403       EMAIL - Email from Burt to Jason Kessler                               JK00059738        JK00059738
PX-1404       EMAIL - Email from Jason Kessler                                       JK00064301        JK00064302
PX-1405       EMAIL - Email from NSM to Jason Kessler                                JK00064894        JK00064895
PX-1406       AUD - Audio recording of conversation between Jason Kessler and        JK00067288        JK00067288
              Christopher Cantwell about August 11, 2017
PX-1407       ARTICLE - Press release regarding marches on Charlottesville, VA       JK00072011        JK00072012
PX-1408       EMAIL - Email from Dennis D. to Jason H.                               JK00072017        JK00072018
PX-1409       AUD - Audio recording of Robert B. speech                              JK00077263        JK00077263
PX-1410       EMAIL - Email from Jason Kessler to Jeff Schoep                        JK00084126        JK00084129
PX-1411       EMAIL - Email from Jason Kessler to Tony H.                            JK00096649        JK00096650
PX-1412       SMS - Text message conversation between Jason Kessler and Augustus     JK00102914        JK00102939
              Invictus
PX-1413       INTENTIONALLY LEFT BLANK
PX-1414       SMS - Text message conversation between individuals including Jason    JK00103324        JK00103324
              Kessler and Elliott Kline
PX-1415       SMS - Text message conversation between Jason Kessler, "Erica," and    JK00103342        JK00103349
              Elliott Kline
PX-1416       SMS - Text message conversation between Matthew Heimbach and           JK00103534        JK00103546
              Jason Kessler
PX-1417       SMS - Text message conversation between Jason Kessler and Michael      JK00103547        JK00103547
              Hill
PX-1418       DOC - Document regarding schedule for Unite the Right                  JK00106550        JK00106550
PX-1419       DISC - Discord post                                                    JK00112807        JK00112807
PX-1420       DISC - Unicorn Riot Discord Leaks                                      JK00113563        JK00113761
PX-1421       DOC - Document regarding operational order for Unite the Right         JK00113770        JK00113779
PX-1422       DOC – Document regarding speech for Charlottesville                    JK00115181        JK00115185
PX-1423       SMS - Text message conversation between Jason Kessler and              JK00121377        JK00121378
              Christopher Cantwell
PX-1424       SMS - Text message conversation with Jeff Schoep                       JK00121736        JK00121736
PX-1425       SMS – Text message conversation between Matthew Heimbach and           JK00121798        JK00121807
              Jason Kessler
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Exhibit No.   Description                                                               Beginning Bates   End Bates
PX-1426       SMS - Text messages between Jason Kessler and T. H.                       JK00121935        JK00121941
PX-1427       DOC - Affidavit of Angela T.                                              JK00122085        JK00122089
PX-1428       DOC - Document regarding initial operational order for Unite the Right    JK00396590        JK00396596

PX-1429       FB – Facebook conversation with Nathan Damigo, Augustus Invictus          JK00397727        JK00397728
              and 3 others
PX-1430       FB – Facebook conversation with Hunter S. and 11 others                   JK00397729        JK00397871
PX-1431       FB – Facebook conversation including Jason Kessler                        JK00398901        JK00398923
PX-1432       FB – Facebook conversation including Jason Kessler                        JK00398954        JK00398970
PX-1433       FB – Facebook conversation including Jason Kessler                        JK00398995        JK00399487
PX-1434       FB – Facebook conversation including Jason Kessler                        JK00400437        JK00400620
PX-1435       FB - Facebook conversation between Matthew Parrott and Ambien             JK00401140        JK00401143
              Falcon
PX-1436       INTENTIONALLY LEFT BLANK
PX-1437       FB - Facebook conversation between Ambien Falcon and Colton M.            JK00401619        JK00401632
PX-1438       FB - Facebook conversation between Ambien Falcon and Sacco V.             JK00401639        JK00401643
PX-1439       FB - Facebook conversation between Ambien Falcon and Erika                JK00402454        JK00402455
PX-1440       FB - Facebook conversation between Ambien Falcon and Denny D.             JK00402666        JK00402686
PX-1441       FB - Facebook conversation between Jason Kessler and James M.             JK00402752        JK00402753
PX-1442       FB - Facebook conversation between Ambien Falcon and Michael Hill         JK00403531        JK00403531

PX-1443       FB – Facebook conversation with Vasillios P.                              JK00403614        JK00403614
PX-1444       FB - Facebook conversation between Ambien Falcon and Derrick D.           JK00403988        JK00404041
PX-1445       PHOTO - Photo of Michael Tubbs                                            JK00413451        JK00413451
PX-1446       PHOTO - Photo of Jason Kessler                                            JK00414325        JK00414325
PX-1447       POST - Screenshot of Comment by Matthew Heimbach on Daily Stormer         JK00418645        JK00418645

PX-1448       TWITTER – Tweet by Jason Kessler                                          JK00419079        JK00419079
PX-1449       TWITTER – Tweet by Jason Kessler                                          JK00420433        JK00420433
PX-1450       SMS - Text message conversation including Jason Kessler, Elliott Kline,   JK00437186        JK00437187
              Richard Spencer, Michael Hill, and Augustus Invictus
PX-1451       SMS - Text message from Jason Kessler to Pat D.                           JK00437206        JK00437206
PX-1452       SMS - Text message conversation between Jason Kessler and Robert          JK00437246        JK00437246
              "Azzmador" Ray
PX-1453       SMS – Text message from Jason Kessler to Christopher Cantwell             JK00437309        JK00437309
PX-1454       SMS – Text message conversation between Elliott Kline and Jason           JK00449118        JK00449211
              Kessler
PX-1455       SMS - Text message conversation between Jason Kessler and Richard         JK00449275        JK00449290
              Spencer:
PX-1456       FB - Facebook conversation between Jason Kessler and Karl K.              JK00449339        JK00449532
PX-1457       TWITTER – Tweets by Jason Kessler                                         JK00449926        JK00449926
PX-1458       SMS - Text Messages between Jason Kessler and Elliott Kline               JK00450844        JK00450916
PX-1459       FB - "Ambien Falcon" timeline                                             JK00451093        JK00451233
PX-1460       FB - Facebook conversation between Ambien Falcon and deleted              JK00451236        JK00451306
              accounts by Richard Spencer and others
PX-1461       FB - Facebook conversation between Ambien Falcon and others               JK00451310        JK00451310
PX-1462       FB - Facebook conversation between Ambien Falcon and Brad G.              JK00451738        JK00451754
PX-1463       FB - Facebook post by Tim R.                                              JK00462023        JK00462023
PX-1464       FB - Facebook conversation between Jason Kessler and JC H.                JK00649067        JK00649070
PX-1465       FB - Facebook conversation between Jason Kessler and Michael Hill         JK00650839        JK00650839
PX-1466       DOC - National Socialist Movement document regarding Pikeville            JS00000347        JS00000348
PX-1467       DOC - National Socialist Movement after action report                     JS00000350        JS00000351
PX-1468       DOC - National Social Movement after action report for Unite the Right    JS00000352        JS00000354

PX-1469       INTENTIONALLY LEFT BLANK
PX-1470       DOC - National Socialist Movement press release                           JS00000365        JS00000366
PX-1471       DOC - National Socialist Movement press release                           JS00000368        JS00000369
PX-1472       DOC - National Socialist Movement regarding joining NSM                   JS00000370        JS00000371
PX-1473       DOC - National Socialist Movement Membership Application                  JS00000372        JS00000372
PX-1474       DOC - National Socialist Movement document regarding new standards        JS00000374        JS00000376

PX-1475       INTENTIONALLY LEFT BLANK
PX-1476       DOC - NSM Document regarding principles                                   JS00000803        JS00000809
PX-1477       DOC - Document explaining national socialism                              JS00000819        JS00000829
PX-1478       INTENTIONALLY LEFT BLANK
PX-1479       DOC - National Socialist Movement announcement                            JS00001144        JS00001144
PX-1480       INTENTIONALLY LEFT BLANK
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Exhibit No.   Description                                                          Beginning Bates    End Bates
PX-1481       DOC - National Socialist Movement announcement                       JS00004596         JS00004597
PX-1482       INTENTIONALLY LEFT BLANK
PX-1483       VK - VK conversation between Jeff Schoep and Ike B.                  JS00007637         JS00007637
PX-1484       VK - VK conversation between Jeff Schoep and Richard                 JS00007638         JS00007640
PX-1485       VK - VK conversation between Jeff Schoep and James C.                JS00007642         JS00007642
PX-1486       VK - VK conversation between the Irish Bostonian and Jeff Schoep     JS00007643         JS00007643
PX-1487       VK - VK conversation between Chad B. and Jeff Schoep                 JS00007645         JS00007647
PX-1488       VK - VK conversation between Chad R. and Jeff Schoep                 JS00007648         JS00007649
PX-1489       VK - VK conversation between Gerin A. and Jeff Schoep                JS00007650         JS00007650
PX-1490       INTENTIONALLY LEFT BLANK
PX-1491       INTENTIONALLY LEFT BLANK
PX-1492       VK - VK posts by Jeff Schoep                                         JS00007666         JS00007680
PX-1493       SMS - Text message conversation between Melissa and Jeff Schoep      JS00010407         JS00010451
PX-1494       EMAIL – Email from VK to Brad G.                                     LOS00053882        LOS00053882
PX-1495       EMAIL - Email from Hunter W. to Robert Z.                            LOS00065122        LOS00065123
PX-1496       EMAIL - Email from Andrew A. to Hunter W.                            LOS00066780        LOS00066791
PX-1497       DOC - Transcript of speech                                           LOS00569941        LOS00569963
PX-1498       EMAIL - Email from Michael Hill to League of the South               LOS00798046        LOS00798046
PX-1499       EMAIL - Email from Michael Hill to League of the South               LOS00801134        LOS00801134
PX-1500       EMAIL - Email from Michael Hill to League of the South               LOS00801530        LOS00801530
PX-1501       SMS - Text message from James Fields to his Mother                   Lunsford00012914   Lunsford00012991
PX-1502       VID - Video recording of events after the car attack                 Lunsford00021320   Lunsford00021320
PX-1503       VID - Video recording by Thomas P. of August 12, 2017                Lunsford00056683   Lunsford00056683
PX-1504       VID - Video recording by Faith G. of August 12, 2017                 Lunsford00056822   Lunsford00056822
PX-1505       VID - Video recording of Fields car attack                           Lunsford00056859   Lunsford00056859
PX-1506       MEDICAL - Receipt for Marcus Martin from Roberts Home Medical,       MARTIN00000017-C   MARTIN00000019-C
              Inc.
PX-1507       MEDICAL - Health record for Marcus Martin from UVA Health            MARTIN00000020-C   MARTIN00000023-C
PX-1508       MEDICAL - Billing record for Marcus Martin from UVA Imaging          MARTIN00000024-C   MARTIN00000024-C
PX-1509       MEDICAL - Billing record from Roberts Home Medical, Inc.             MARTIN00000025-C   MARTIN00000025-C
PX-1510       MEDICAL - Health record for Marcus Martin from UVA Health            MARTIN00000026-C   MARTIN00000035-C
PX-1511       SMS - Text Message from Marcus Martin to Ma                          MARTIN00000037-C   MARTIN00000037-C
PX-1512       SMS - Text Message from Marcus Martin to Marissa Blair               MARTIN00000072-C   MARTIN00000072-C
PX-1513       MEDICAL - Health record for Marcus Martin from various facilities    MARTIN00000097-C   MARTIN00000501-C
PX-1514       SMS - Text Message from Marcus Martin to Marissa Blair               MARTIN00000506-C   MARTIN00000506-C
PX-1515       DOC - Marcus Martin Employment History                               MARTIN00000509-C   MARTIN00000509-C
PX-1516       MEDICAL - Marcus Martin Statement of Certification for UHV Health    MARTIN00000510-C   MARTIN00000510-C

PX-1517       FINANCIAL - Paystub for Marcus Martin from J.W. Townsend             MARTIN00000514-C   MARTIN00000519-C
PX-1518       MEDICAL - Billing record for Marcus Martin from Roberts Home         MARTIN00000520-C   MARTIN00000522-C
              Medical, Inc.
PX-1519       MEDICAL - Billing record for Marcus Martin from Roberts Home         MARTIN00000523-C   MARTIN00000523-C
              Medical, Inc.
PX-1520       FINANCIAL - Form 1040, U.S. Individual Tax Return for 2017 for       MARTIN00000524-C   MARTIN00000527-C
              Marcus Martin
PX-1521       FINANCIAL - Monetary Determination re Loss Wages for 2019 for        MARTIN00000535-C   MARTIN00000535-C
              Marcus Martin
PX-1522       FINANCIAL - Form 1040, U.S. Individual Tax Return for 2018 for       MARTIN00000537-C   MARTIN00000537-C
              Marcus Martin
PX-1523       MEDICAL - Billing record for Marcus Martin from UVA Health           MARTIN00000549-C   MARTIN00000549-C
PX-1524       MEDICAL - Billing record for Marcus Martin from UVA Health           MARTIN00000550-C   MARTIN00000567-C
PX-1525       MEDICAL - Health record for Marcus Martin - UVA Health               MARTIN00000568-C   MARTIN00000635-C
PX-1526       MEDICAL - Billing record for Marcus Martin from OptimaHealth         MARTIN00000636-C   MARTIN00000651-C
PX-1527       MEDICAL - Health record for Marcus Martin from Counseling Alliance   MARTIN00000652-C   MARTIN00000658-C
              of Virginia
PX-1528       PHOTO - Photo of Marcus Martin's injuries                            MARTIN00000990-C   MARTIN00000990-C
PX-1529       MEDICAL - Marcus Martin Health Record from UVA Health                MARTIN00001523     MARTIN00001574
PX-1530       MEDICAL - Marcus Martin Health Record from UVA Health                MARTIN00001575     MARTIN00001623
PX-1531       MEDICAL - Marcus Martin Health Record from UVA Health                MARTIN00001624     MARTIN00001624
PX-1532       MEDICAL - Marcus Martin Health Record from UVA Health                MARTIN00001625     MARTIN00001625
PX-1533       MEDICAL - Marcus Martin Billing Detail from UVA Health               MARTIN00001626     MARTIN00001651
PX-1534       EMAIL - Email to Michael Tubbs, Pat H., Paul L., and Gordie L.       MH00000016         MH00000016
PX-1535       EMAIL - Email from Jason Kessler                                     MH00000135         MH00000142
PX-1536       EMAIL - Email from Commander Schoep to NSM World                     MH00003377         MH00003377
PX-1537       EMAIL - Email from Michael Hill                                      MH00003422         MH00003422
PX-1538       SMS - Text message from Jason Kessler to Michael Hill                MH00007396         MH00007396
PX-1539       SMS - Text message from Michael Hill to Michael Tubbs                MH00007408         MH00007408
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Exhibit No.   Description                                                           Beginning Bates   End Bates
PX-1540       SMS - Text message from Michael Hill to Michael Tubbs                 MH00007410        MH00007410
PX-1541       EMAIL - Email regarding updated resources list                        MH00013868        MH00013868
PX-1542       EMAIL - Email regarding security updates                              MH00014494        MH00014516
PX-1543       EMAIL – Email from KyLS_Man to LSPres                                 MH00014517        MH00014519
PX-1544       EMAIL – Email from KyLS_Man to LSPres                                 MH00014517        MH00014519
PX-1545       EMAIL – Email from KyLS_Man to LSPres                                 MH00014520        MH00014522
PX-1546       EMAIL - Email from Mark T. to League Security & Intel Chief           MH00014542        MH00014544
PX-1547       EMAIL - Email from LSCoc to LSPres                                    MH00014556        MH00014557
PX-1548       EMAIL - Email from LSPres to Michael Tubbs                            MH00014869        MH00014869
PX-1549       EMAIL - Email from LSPres to KyLS_Man                                 MH00014984        MH00014984
PX-1550       EMAIL - Email from LSPres to Gordon L.                                MH00015437        MH00015437
PX-1551       EMAIL - Email from LSPres to Michael Tubbs                            MH00015493        MH00015493
PX-1552       EMAIL - Email from LSPres to KyLS_Man                                 MH00015502        MH00015506
PX-1553       INTENTIONALLY LEFT BLANK
PX-1554       EMAIL - Email from LSPres to KyLS_Man                                 MH00015534        MH00015534
PX-1555       EMAIL - Email from LSPres to Michael Tubbs, Pat H., and others        MH00015558        MH00015558
PX-1556       EMAIL - Email from Michael Hill to LSBOD and LSStaff                  MH00022155        MH00022155
PX-1557       EMAIL - Email from Michael Hill to Anthony C.                         MH00026385        MH00026385
PX-1558       EMAIL - Email from Michael Hill                                       MH00026423        MH00026423
PX-1559       EMAIL - Email from Michael Hill to Jason B.                           MH00026678        MH00026679
PX-1560       EMAIL - Email from Michael Hill to JCLSbiz, LSCoC, and kyls_man       MH00026903        MH00026905
PX-1561       EMAIL - Email from Michael Hill                                       MH00026984        MH00026984
PX-1562       EMAIL - Email from Michael Hill to webmaster                          MH00027089        MH00027089
PX-1563       EMAIL - Email from Michael Hill to commander                          MH00027375        MH00027377
PX-1564       EMAIL - Email from Michael Hill                                       MH00027697        MH00027698
PX-1565       EMAIL - Email from Michael Hill                                       MH00027967        MH00027967
PX-1566       EMAIL - Email from Michael Hill                                       MH00028288        MH00028288
PX-1567       EMAIL - Email from Michael Hill to LSBOD and LSStaff                  MH00028698        MH00028698
PX-1568       EMAIL - Email from Michael Hill                                       MH00030593        MH00030596
PX-1569       EMAIL - Email from VK to Matthew Parrott                              MP00002280        MP00002280
PX-1570       EMAIL - Email from Matthew Heimbach to Matthew Parrott                MP00002370        MP00002370
PX-1571       DOC - FEC Form 1 - Statement of Organization "Traditionalist Worker   MP00004862        MP00004865
              Party National Committee"
PX-1572       EMAIL - Email from Shane D. to Matthew Parrott                        MP00014367        MP00014367
PX-1573       EMAIL - Email from Matthew Heimbach to Matthew Parrott                MP00015215        MP00015215
PX-1574       EMAIL - Email to Matthew Parrott                                      MP00015277        MP00015277
PX-1575       EMAIL - Email to Matthew Parrott                                      MP00015322        MP00015322
PX-1576       EMAIL - Email from Nationalist Front to parrott.matt@gmail.com        MP00015775        MP00015775
              regarding "Test"
PX-1577       EMAIL - Email from Disqus to Matthew Parrott                          MP00015779        MP00015779
PX-1578       EMAIL - Email from Nationalist Front to Matthew Parrott               MP00016250        MP00016250
PX-1579       EMAIL - Email to Matthew Parrott                                      MP00016268        MP00016268
PX-1580       EMAIL - Email from Matthew Parrott to Jeff Schoep                     MP00020788        MP00020789
PX-1581       EMAIL - Email from Matthew Parrott                                    MP00021375        MP00021376
PX-1582       EMAIL - Email from Matthew Parrott to Tony H.                         MP00021386        MP00021390
PX-1583       EMAIL - Email from Hunter W. to Matthew Parrott                       MP00021411        MP00021412
PX-1584       EMAIL - Email from TradWorker to Matthew Parrott                      MP00046670        MP00046670
PX-1585       EMAIL - Email from service@paypal.com to Matthew Parrott              MP00047187        MP00047188
PX-1586       EMAIL - Email from Cesar A. to Matthew Parrott                        MP00047209        MP00047212
PX-1587       EMAIL - Email from Nidhi P. to Matthew Heimbach                       MP00061105        MP00061106
PX-1588       DOC - Document written by Matthew Heimbach regarding Unite the        MP00061570        MP00061570
              Right
PX-1589       EMAIL – Email from Damon S. to Matt Parrot                            MP00061588        MP00061589
PX-1590       EMAIL - Email from Twitter to Nationalist Front                       MP00079015        MP00079016
PX-1591       DOC - Nationalist Front flyer regarding Unite the Right               MP00080241        MP00080241
PX-1592       INTENTIONALLY LEFT BLANK
PX-1593       INTENTIONALLY LEFT BLANK
PX-1594       DOC - NSM Magazine Fall/Winter 2017                                   MP00086445        MP00086492
PX-1595       DOC - National Socialist Movement application form                    MP00086492        MP00086492
PX-1596       DOC - NSM Magazine Spring/Summer 2018                                 MP00086493        MP00086530
PX-1597       SMS - Text message from Michael Tubbs to Michelle T.                  MT00000076        MT00000076
PX-1598       VK - Messages between Michael Tubbs and Brian M.                      MT00000218        MT00000220
PX-1599       VK - Messages between Michael Tubbs and Jessica R.                    MT00000243        MT00000245
PX-1600       VK - Messages between Michael Tubbs and Charleen B.                   MT00000250        MT00000261
PX-1601       INTENTIONALLY LEFT BLANK
PX-1602       MEDICAL - Receipt for April Muniz from Cranio Sacral Therapy          MUNIZ00001088-C   MUNIZ00001090-C
PX-1603       EMAIL - Email from April Muniz to Aaron K.                            MUNIZ00001091-C   MUNIZ00001092-C
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Exhibit No.   Description                                                          Beginning Bates   End Bates
PX-1604       PHOTO - Personal photo                                               MUNIZ00001145-C   MUNIZ00001145-C
PX-1605       PHOTO - Photo of protestors marching along the road                  MUNIZ00001599-C   MUNIZ00001599-C
PX-1606       DOC - Security & CCTV System for April Muniz from Mechums River      MUNIZ00001679-C   MUNIZ00001679-C
              Security Concepts
PX-1607       DOC - Memo from Julie C., LCSW to Stephanie R.                       MUNIZ00001691-C   MUNIZ00001691-C
PX-1608       MEDICAL - Receipt for April Muniz from Flourish Physical Therapy     MUNIZ00001694-C   MUNIZ00001695-C
PX-1609       DOC - Mechums River Security Concepts Residential Security           MUNIZ00001712-C   MUNIZ00001716-C
              Agreement for April Muniz
PX-1610       EMAIL - Email from April Muniz to Julie C.                           MUNIZ00001722-C   MUNIZ00001722-C
PX-1611       EMAIL - Email from Julie C. to April Muniz                           MUNIZ00001758-C   MUNIZ00001758-C
PX-1612       MEDICAL - Julie C., LCSW Treatment Agreement and Informed            MUNIZ00001759-C   MUNIZ00001762-C
              Consent form (blank)
PX-1613       EMAIL - Email from April Muniz to Julie C.                           MUNIZ00001790-C   MUNIZ00001791-C
PX-1614       DOC - Letter from Stephanie R. to Paylocity                          MUNIZ00001821-C   MUNIZ00001822-C
PX-1615       MEDICAL - Receipt for April Muniz from Passages Physical Therapy,    MUNIZ00001828-C   MUNIZ00001828-C
              PLC
PX-1616       EMAIL - Email from Julie C. to April Muniz                           MUNIZ00001830-C   MUNIZ00001833-C
PX-1617       EMAIL - Email from RingCentral to April Muniz                        MUNIZ00001846-C   MUNIZ00001846-C
PX-1618       MEDICAL - Billing record for April Muniz from Julie C., LCSW         MUNIZ00001847-C   MUNIZ00001848-C
PX-1619       MEDICAL - Short Term Disability Claim April Muniz from Guardian      MUNIZ00001862-C   MUNIZ00001863-C
              Life Insurance
PX-1620       EMAIL - Email from Tom C. to April Muniz                             MUNIZ00001902-C   MUNIZ00001903-C
PX-1621       EMAIL - Email from April Muniz to Shay B.                            MUNIZ00001913-C   MUNIZ00001914-C
PX-1622       MEDICAL - National Compassion Fund Charlottesville - Mental Health   MUNIZ00001968-C   MUNIZ00001968-C
              Provider Verification Form for April Muniz
PX-1623       EMAIL - Email from Julie C. to April Muniz                           MUNIZ00001977-C   MUNIZ00001977-C
PX-1624       MEDICAL - Julie C., LCSW handwritten notes and forms regarding       MUNIZ00001988-C   MUNIZ00001994-C
              April Muniz
PX-1625       EMAIL - Email from April Muniz to Aaron K.                           MUNIZ00002031-C   MUNIZ00002031-C
PX-1626       MEDICAL - Virginia Victims Fund Mental Health Treatment Report for   MUNIZ00002105-C   MUNIZ00002108-C
              April Muniz
PX-1627       EMAIL - Email from April Muniz to American Airlines Refunds          MUNIZ00002119-C   MUNIZ00002119-C
PX-1628       EMAIL - Email from April Muniz to Stephanie R. and Shay B.           MUNIZ00002120-C   MUNIZ00002121-C
PX-1629       EMAIL - Email from Shay B. to April Muniz                            MUNIZ00002134-C   MUNIZ00002135-C
PX-1630       MEDICAL - Receipt for April Muniz from Cranio Sacral Therapy         MUNIZ00002183-C   MUNIZ00002183-C
PX-1631       MEDICAL - Billing record for April Muniz from Julie C., LCSW         MUNIZ00002187-C   MUNIZ00002188-C
PX-1632       MEDICAL - Check by April Muniz to Marla P.                           MUNIZ00002189-C   MUNIZ00002189-C
PX-1633       MEDICAL - Check by April Muniz to Marla P.                           MUNIZ00002190-C   MUNIZ00002190-C
PX-1634       MEDICAL - Check by April Muniz to Marla P.                           MUNIZ00002191-C   MUNIZ00002191-C
PX-1635       MEDICAL - Check by April Muniz to Marla P.                           MUNIZ00002192-C   MUNIZ00002192-C
PX-1636       MEDICAL - Check by April Muniz to Marla P.                           MUNIZ00002193-C   MUNIZ00002193-C
PX-1637       MEDICAL - Billing record for April Muniz from Julie C., LCSW         MUNIZ00002194-C   MUNIZ00002194-C
PX-1638       MEDICAL - April Muniz Invoice from Julie C., LCSW                    MUNIZ00002198-C   MUNIZ00002198-C
PX-1639       MEDICAL - Billing record for April Muniz from Julie C., LCSW         MUNIZ00002199-C   MUNIZ00002199-C
PX-1640       MEDICAL - Billing record for April Muniz from Marla P.               MUNIZ00002202-C   MUNIZ00002202-C
PX-1641       MEDICAL - National Compassion Fund Charlottesville - Mental Health   MUNIZ00002203-C   MUNIZ00002203-C
              Provider Verification Form for April Muniz
PX-1642       MEDICAL - National Compassion Fund Charlottesville - Mental Health   MUNIZ00002204-C   MUNIZ00002204-C
              Provider Verification Form for April Muniz
PX-1643       EMAIL - Email from April Muniz to Stephanie R.                       MUNIZ00002205-C   MUNIZ00002206-C
PX-1644       MEDICAL - Receipt for April Muniz from Passages Physical Therapy,    MUNIZ00002207-C   MUNIZ00002207-C
              PLC
PX-1645       DOC – Document written by April Muniz                                MUNIZ00002243-C   MUNIZ00002245-C
PX-1646       DOC – Document written by April Muniz                                MUNIZ00002243-C   MUNIZ00002245-C
PX-1647       DOC - Calendar invitation from April Muniz                           MUNIZ00002284-C   MUNIZ00002285-C
PX-1648       SMS - Text Messages between Shay B. and Tom                          MUNIZ00002286-C   MUNIZ00002303-C
PX-1649       EMAIL - Email from April Muniz to Shay B.                            MUNIZ00002322-C   MUNIZ00002322-C
PX-1650       DOC - Document regarding response to Lyle                            MUNIZ00002326-C   MUNIZ00002327-C
PX-1651       EMAIL - Email from April Muniz to April Muniz                        MUNIZ00002328-C   MUNIZ00002329-C
PX-1652       EMAIL - Email from April Muniz to Whitney M.                         MUNIZ00002342-C   MUNIZ00002344-C
PX-1653       EMAIL - Email from April Muniz to Julie C.                           MUNIZ00002348-C   MUNIZ00002350-C
PX-1654       EMAIL - Email from April Muniz to Ann Marie C.                       MUNIZ00002351-C   MUNIZ00002352-C
PX-1655       EMAIL - Email from Julie C. to April Muniz                           MUNIZ00002353-C   MUNIZ00002355-C
PX-1656       EMAIL - Email from April Muniz to Margreta S.                        MUNIZ00002371-C   MUNIZ00002373-C
PX-1657       EMAIL - Email from April Muniz to Aaron K.                           MUNIZ00002378-C   MUNIZ00002379-C
PX-1658       EMAIL - Email from April Muniz to Pat H.                             MUNIZ00002428-C   MUNIZ00002428-C
PX-1659       EMAIL - Email from Rebecca M. to April Muniz                         MUNIZ00002446-C   MUNIZ00002446-C
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Exhibit No.   Description                                                            Beginning Bates   End Bates
PX-1660       EMAIL - Email from April Muniz to Meredith P.                          MUNIZ00002480-C   MUNIZ00002482-C
PX-1661       EMAIL - Email from Garrett T. to April Muniz                           MUNIZ00002506-C   MUNIZ00002508-C
PX-1662       EMAIL - Email from April Muniz to Dave T.                              MUNIZ00002517-C   MUNIZ00002517-C
PX-1663       EMAIL - Email from April Muniz to Shay B.                              MUNIZ00002519-C   MUNIZ00002520-C
PX-1664       EMAIL - Email from April Muniz to Katie P.                             MUNIZ00002561-C   MUNIZ00002561-C
PX-1665       EMAIL - Email from April Muniz to Julie C.                             MUNIZ00002608-C   MUNIZ00002609-C
PX-1666       EMAIL - Email from Julie C. to April Muniz                             MUNIZ00002641-C   MUNIZ00002643-C
PX-1667       EMAIL - Email from April Muniz to Julie C.                             MUNIZ00002647-C   MUNIZ00002647-C
PX-1668       MEDICAL - Billing record for April Muniz from Mechums River            MUNIZ00002890-C   MUNIZ00002890-C
              Security Concepts
PX-1669       DOC - Receipt for April Muniz from Mechums River Security Concepts     MUNIZ00002911-C   MUNIZ00002911-C

PX-1670       DOC - Receipt for April Muniz from Mechums River Security Concepts MUNIZ00002912-C       MUNIZ00002912-C

PX-1671       MEDICAL - Billing record for April Muniz from Julie C., LCSW           MUNIZ00002914-C   MUNIZ00002916-C
PX-1672       MEDICAL - Billing record for April Muniz from Julie C., LCSW           MUNIZ00002914-C   MUNIZ00002914-C
PX-1673       MEDICAL - Billing record for April Muniz from Julie C., LCSW           MUNIZ00002915-C   MUNIZ00002915-C
PX-1674       MEDICAL - Billing record for April Muniz from Julie C., LCSW           MUNIZ00002916-C   MUNIZ00002916-C
PX-1675       DOC - Document regarding meeting with Shay B.                          MUNIZ00002924-C   MUNIZ00002924-C
PX-1676       MEDICAL - Health record for April Muniz from Passages Physical         MUNIZ00002949-C   MUNIZ00003005-C
              Therapy
PX-1677       FINANCIAL - Direct deposit voucher for April Muniz from Atlantic       MUNIZ00003100-C   MUNIZ00003100-C
              Research Group
PX-1678       PHOTO - Photo of protestors marching along the road                    MUNIZ00003145-C   MUNIZ00003145-C
PX-1679       FINANCIAL - Direct deposit voucher for April Muniz from Atlantic       MUNIZ00003152-C   MUNIZ00003152-C
              Research Group
PX-1680       FINANCIAL - Direct deposit voucher for April Muniz from Atlantic       MUNIZ00003152-C   MUNIZ00003152-C
              Research Group
PX-1681       FINANCIAL - Direct deposit voucher for April Muniz from Atlantic       MUNIZ00003153-C   MUNIZ00003153-C
              Research Group
PX-1682       DOC - Document regarding April Muniz's offer                           MUNIZ00003154-C   MUNIZ00003155-C
PX-1683       FINANCIAL - Direct deposit voucher for April Muniz from Atlantic       MUNIZ00003158-C   MUNIZ00003158-C
              Research Group
PX-1684       FINANCIAL - Paystub For April Muniz from Atlantic Research Group       MUNIZ00003159-C   MUNIZ00003159-C

PX-1685       FINANCIAL - Paystubs For April Muniz from Atlantic Research Group      MUNIZ00003159-C   MUNIZ00003164-C

PX-1686       FINANCIAL - Paystub For April Muniz from Atlantic Research Group       MUNIZ00003160-C   MUNIZ00003160-C

PX-1687       FINANCIAL - Paystub For April Muniz from Atlantic Research Group       MUNIZ00003161-C   MUNIZ00003161-C

PX-1688       FINANCIAL - Paystub For April Muniz from Atlantic Research Group       MUNIZ00003162-C   MUNIZ00003162-C

PX-1689       FINANCIAL - Paystub For April Muniz from Atlantic Research Group       MUNIZ00003163-C   MUNIZ00003163-C

PX-1690       FINANCIAL - Paystub For April Muniz from Atlantic Research Group       MUNIZ00003164-C   MUNIZ00003164-C

PX-1691       MEDICAL - Letter from Julie C., LCSW                                   MUNIZ00003241-C   MUNIZ00003241-C
PX-1692       PHOTO - Photo of James Fields' driving into the crowd                  MUNIZ00003247-C   MUNIZ00003247-C
PX-1693       PHOTO - Photo of James Fields' car after car attack                    MUNIZ00003251-C   MUNIZ00003251-C
PX-1694       PHOTO - Photo of crowd before car attack                               MUNIZ00003252-C   MUNIZ00003252-C
PX-1695       EMAIL - Email from April Muniz to Steve M.                             MUNIZ00003255-C   MUNIZ00003255-C
PX-1696       MEDICAL - Health record for April Muniz from University of Virginia    MUNIZ00003279-C   MUNIZ00003298-C
              Health System
PX-1697       FINANCIAL - TurboTax electronic filing instructions for 2018 Federal   MUNIZ00003299-C   MUNIZ00003311-C
              Tax Return for April Muniz
PX-1698       FINANCIAL - Form W-2, Wage and Tax Statement for 2018 for              MUNIZ00003316-C   MUNIZ00003317-C
              Chelsea Alvarado from A1000 Rector/Board of Visitors
PX-1699       FINANCIAL - Paystub For April Muniz from Atlantic Research Group       MUNIZ00003318-C   MUNIZ00003319-C

PX-1700       FINANCIAL - Paystub For April Muniz from Atlantic Research Group       MUNIZ00003320-C   MUNIZ00003321-C

PX-1701       FINANCIAL - Paystub For April Muniz from Atlantic Research Group       MUNIZ00003322-C   MUNIZ00003323-C

PX-1702       FINANCIAL - Paystub For April Muniz from Atlantic Research Group       MUNIZ00003324-C   MUNIZ00003325-C
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Exhibit No.   Description                                                        Beginning Bates   End Bates
PX-1703       FINANCIAL - Paystub For April Muniz from Atlantic Research Group   MUNIZ00003326-C   MUNIZ00003328-C

PX-1704       FINANCIAL - Paystub For April Muniz from Atlantic Research Group   MUNIZ00003329-C   MUNIZ00003330-C

PX-1705       FINANCIAL - Paystub For April Muniz from Atlantic Research Group   MUNIZ00003331-C   MUNIZ00003332-C

PX-1706       FINANCIAL - Paystub For April Muniz from Atlantic Research Group   MUNIZ00003333-C   MUNIZ00003335-C

PX-1707       FINANCIAL - Paystub For April Muniz from Atlantic Research Group   MUNIZ00003336-C   MUNIZ00003337-C

PX-1708       FINANCIAL - Paystub For April Muniz from Atlantic Research Group   MUNIZ00003338-C   MUNIZ00003340-C

PX-1709       FINANCIAL - Paystub For April Muniz from Atlantic Research Group   MUNIZ00003341-C   MUNIZ00003343-C

PX-1710       FINANCIAL - Paystub For April Muniz from Atlantic Research Group   MUNIZ00003344-C   MUNIZ00003346-C

PX-1711       FINANCIAL - Paystub For April Muniz from Atlantic Research Group   MUNIZ00003347-C   MUNIZ00003349-C

PX-1712       FINANCIAL - Paystub For April Muniz from Atlantic Research Group   MUNIZ00003350-C   MUNIZ00003351-C

PX-1713       FINANCIAL - Paystub For April Muniz from Atlantic Research Group   MUNIZ00003352-C   MUNIZ00003354-C

PX-1714       FINANCIAL - Paystub For April Muniz from Atlantic Research Group   MUNIZ00003355-C   MUNIZ00003357-C

PX-1715       FINANCIAL - Paystub For April Muniz from Atlantic Research Group   MUNIZ00003364-C   MUNIZ00003366-C

PX-1716       FINANCIAL - Paystub For April Muniz from Atlantic Research Group   MUNIZ00003367-C   MUNIZ00003369-C

PX-1717       FINANCIAL - Paystub For April Muniz from Atlantic Research Group   MUNIZ00003370-C   MUNIZ00003372-C

PX-1718       FINANCIAL - Paystub For April Muniz from Atlantic Research Group   MUNIZ00003373-C   MUNIZ00003375-C

PX-1719       FINANCIAL - Paystub For April Muniz from Atlantic Research Group   MUNIZ00003379-C   MUNIZ00003381-C

PX-1720       FINANCIAL - Paystub For April Muniz from Atlantic Research Group   MUNIZ00003385-C   MUNIZ00003387-C

PX-1721       FINANCIAL - Paystub For April Muniz from Atlantic Research Group   MUNIZ00003388-C   MUNIZ00003390-C

PX-1722       FINANCIAL - Paystub For April Muniz from Atlantic Research Group   MUNIZ00003397-C   MUNIZ00003399-C

PX-1723       FINANCIAL - Paystub for April Muniz from UVA                       MUNIZ00003424-C   MUNIZ00003425-C
PX-1724       FINANCIAL - Paystub for April Muniz from UVA                       MUNIZ00003434-C   MUNIZ00003435-C
PX-1725       FINANCIAL - Paystub for April Muniz from UVA                       MUNIZ00003436-C   MUNIZ00003437-C
PX-1726       FINANCIAL - Severance Agreement for April Muniz from Atlantic      MUNIZ00003438-C   MUNIZ00003441-C
              Research Group
PX-1727       DOC - Document regarding April Muniz's offer                       MUNIZ00003442-C   MUNIZ00003443-C
PX-1728       FINANCIAL - Paystub for April Muniz from UVA                       MUNIZ00003446-C   MUNIZ00003446-C
PX-1729       FINANCIAL - Paystub for April Muniz from UVA                       MUNIZ00003447-C   MUNIZ00003447-C
PX-1730       FINANCIAL - Form W-2, Wage and Tax Statement for April Muniz       MUNIZ00003448-C   MUNIZ00003448-C
              from Hahn Gustafson Catering
PX-1731       FINANCIAL - Form W-2, Wage and Tax Statement for 2010 for April    MUNIZ00003449-C   MUNIZ00003449-C
              Muniz from Cha Chas
PX-1732       FINANCIAL - Form W-2, Wage and Tax Statement for 2010 for April    MUNIZ00003450-C   MUNIZ00003450-C
              Muniz from La Taza Coffee House
PX-1733       FINANCIAL - Form W-2, Wage and Tax Statement for April Muniz       MUNIZ00003451-C   MUNIZ00003451-C
              from Thomas Jefferson Area Coalition for the Homeless
PX-1734       FINANCIAL - Form W-2, Wage and Tax Statement for 2011 for April    MUNIZ00003452-C   MUNIZ00003452-C
              Muniz from Peace Corps
PX-1735       FINANCIAL - Form W-2, Wage and Tax Statement for 2010 for April    MUNIZ00003453-C   MUNIZ00003453-C
              Muniz from Peace Corps
PX-1736       FINANCIAL - Form W-2, Wage and Tax Statement for 2012 for April    MUNIZ00003454-C   MUNIZ00003454-C
              Muniz from Peace Corps
PX-1737       MEDICAL - Insurance record for April Muniz from Anthem             MUNIZ00003455-C   MUNIZ00003470-C
PX-1738       FINANCIAL - Form W-2, Wage and Tax Statement for 2013 for April    MUNIZ00003471-C   MUNIZ00003471-C
              Muniz
PX-1739       FINANCIAL - Form W-2, Wage and Tax Statement for 2012 for April    MUNIZ00003472-C   MUNIZ00003472-C
              Muniz
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Exhibit No.   Description                                                            Beginning Bates   End Bates
PX-1740       FINANCIAL - Form W-2, Wage and Tax Statement for April Muniz           MUNIZ00003473-C   MUNIZ00003473-C
PX-1741       FINANCIAL - Form W-2, Wage and Tax Statement for April Muniz           MUNIZ00003474-C   MUNIZ00003474-C
PX-1742       MEDICAL - Billing record for April Muniz from Julie C., LCSW           MUNIZ00003475-C   MUNIZ00003480-C
PX-1743       MEDICAL - Statement of Certification and Letter Requesting Medical     MUNIZ00003631-C   MUNIZ00003634-C
              Records for April Muniz from Univeristy of Virginia Health System

PX-1744       MEDICAL - Health record for April Muniz from Jefferson Obstetrics      MUNIZ00003635-C   MUNIZ00003700-C
              and Gynecology Ltd
PX-1745       MEDICAL - Health record for April Muniz from Julie C.                  MUNIZ00003701-C   MUNIZ00003763-C
PX-1746       FINANCIAL - Paystub for April Muniz from Atlantic Research Group       MUNIZ00003767-C   MUNIZ00003767-C

PX-1747       FINANCIAL - Paystub for April Muniz from Atlantic Research Group       MUNIZ00003768-C   MUNIZ00003768-C

PX-1748       FINANCIAL - Paystub for April Muniz from Atlantic Research Group       MUNIZ00003770-C   MUNIZ00003770-C

PX-1749       FINANCIAL - Paystub for April Muniz from Atlantic Research Group       MUNIZ00003771-C   MUNIZ00003771-C

PX-1750       FINANCIAL - Federal Income Tax Return for 2017 for April Muniz         MUNIZ00003772-C   MUNIZ00003773-C
              from Atlantic Research Group
PX-1751       FINANCIAL - TurboTax electronic filing instructions for 2016 Federal   MUNIZ00003774-C   MUNIZ00003847-C
              Tax Return for April Muniz
PX-1752       DOC - Document regarding testimonial in support of SB 285              MUNIZ00003848-C   MUNIZ00003852-C
PX-1753       PHOTO – Photo of crowd before car attack                               MUNIZ00003854-C   MUNIZ00003854-C
PX-1754       PHOTO – Photo of crowd before car attack                               MUNIZ00003854-C   MUNIZ00003854-C
PX-1755       PHOTO - Photo of James Fields' driving into the crowd                  MUNIZ00003860-C   MUNIZ00003860-C
PX-1756       MEDICAL - Health record for April Muniz from Passages Physical         MUNIZ00003864-C   MUNIZ00003908-C
              Therapy
PX-1757       MEDICAL - Health record for April Muniz from Marla P.                  MUNIZ00003909-C   MUNIZ00003910-C
PX-1758       MEDICAL - Health record for April Muniz from Pantops Family            MUNIZ00003911-C   MUNIZ00003982-C
              Medicine
PX-1759       MEDICAL - Insurance record for April Muniz from Anthem                 MUNIZ00003983-C   MUNIZ00003998-C
PX-1760       MEDICAL - Insurance record for April Muniz from Anthem                 MUNIZ00003999-C   MUNIZ00004006-C
              HealthKeepers
PX-1761       MEDICAL - Insurance record for April Muniz from Anthem                 MUNIZ00004007-C   MUNIZ00004014-C
              HealthKeepers
PX-1762       MEDICAL - Insurance record for April Muniz from Anthem                 MUNIZ00004015-C   MUNIZ00004140-C
PX-1763       MEDICAL - Insurance record for April Muniz from Aetna Life             MUNIZ00004141-C   MUNIZ00004145-C
              Insurance Company
PX-1764       MEDICAL - Insurance record for April Muniz from Aetna Life             MUNIZ00004147-C   MUNIZ00004150-C
              Insurance Company
PX-1765       MEDICAL - April Muniz list of charges                                  MUNIZ00004153-C   MUNIZ00004153-C
PX-1766       MEDICAL - Insurance record for April Muniz from Anthem                 MUNIZ00004154-C   MUNIZ00004196-C
PX-1767       MEDICAL - Insurance record for April Muniz from Anthem                 MUNIZ00004197-C   MUNIZ00004239-C
PX-1768       MEDICAL - Insurance record for April Muniz from Anthem                 MUNIZ00004241-C   MUNIZ00004279-C
PX-1769       MEDICAL - Insurance record for April Muniz from Anthem                 MUNIZ00004280-C   MUNIZ00004318-C
PX-1770       MEDICAL - Insurance record for April Muniz from Anthem                 MUNIZ00004319-C   MUNIZ00004357-C
PX-1771       MEDICAL - Insurance record for April Muniz from Anthem                 MUNIZ00004358-C   MUNIZ00004364-C
PX-1772       EMAIL - Email from April Muniz to Julie C.                             MUNIZ00004365-C   MUNIZ00004365-C
PX-1773       INTENTIONALLY LEFT BLANK
PX-1774       MEDICAL - Health record for April Muniz from Pantops Family            MUNIZ00004381-C   MUNIZ00004453-C
              Medicine
PX-1775       FILING - USA v. Fields, Victim Impact Statement - April Muniz          MUNIZ00004454-C   MUNIZ00004455-C
PX-1776       EMAIL - Email from April Muniz to Julie C.                             MUNIZ00004456-C   MUNIZ00004456-C
PX-1777       EMAIL - Email from April Muniz to Julie C.                             MUNIZ00004457-C   MUNIZ00004457-C
PX-1778       PHOTO - Photo of counter-protestors                                    MUNIZ00005349-C   MUNIZ00005349-C
PX-1779       FB - Facebook post by April Muniz                                      MUNIZ00005810-C   MUNIZ00005812-C
PX-1780       FB - April Muniz to Anne C.                                            MUNIZ00005814-C   MUNIZ00005814-C
PX-1781       FINANCIAL - Corrected Form W-2, Wage and Tax Statement for 2017        MUNIZ00006442     MUNIZ00006444
              for April Muniz from Atlantic Research Group
PX-1782       PHOTO - Photo of crowd before car attack                               MUNIZ00006445     MUNIZ00006445
PX-1783       MEDICAL - Statement of Certification for April Muniz from Passages     MUNIZ00006448     MUNIZ00006448
              Physical Therapy
PX-1784       FINANCIAL - Form W-2, Wage and Tax Statement for 2018 for April        MUNIZ00006449     MUNIZ00006450
              Muniz from Atlantic Research Group
PX-1785       MEDICAL - Billing record for April Muniz from Julie C.                 MUNIZ00006451     MUNIZ00006451
PX-1786       DOC - Document regarding April Muniz's offer                           MUNIZ00006452     MUNIZ00006452
PX-1787       FINANCIAL - Amended Form 1040 X for 2017 for April Muniz               MUNIZ00006456     MUNIZ00006466
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Exhibit No.   Description                                                            Beginning Bates   End Bates
PX-1788       FINANCIAL - Form W-2, Wage and Tax Statement for 2020 for April        MUNIZ00006468     MUNIZ00006468
              Muniz from the Rector and Visitor of the University of Virginia
PX-1789       FINANCIAL - Form 1040 for 2019 for April Muniz                         MUNIZ00006469     MUNIZ00006494
PX-1790       FINANCIAL - Form 1040 for 2020 for April Muniz                         MUNIZ00006495     MUNIZ00006521
PX-1791       FINANCIAL - Paystub for April Muniz from Allscripts                    MUNIZ00006522     MUNIZ00006522
PX-1792       FINANCIAL - Form 1040 for 2017 for April Muniz                         MUNIZ00006569     MUNIZ00006591
PX-1793       FINANCIAL - Form W-2, Wage and Tax Statement for 2019 for April        MUNIZ00006592     MUNIZ00006592
              Muniz from the Rector and Visitor of the University of Virginia
PX-1794       MEDICAL - Health record for April Muniz from Julie C.                  MUNIZ00006593     MUNIZ00006593
PX-1795       EMAIL - Email from Julie C. to April Muniz                             MUNIZ00006594     MUNIZ00006596
PX-1796       MEDICAL - Health record for April Muniz from Julie C.                  MUNIZ00006597     MUNIZ00006597
PX-1797       EMAIL - Email from Pat H. to Makiko Hiromi and Jessica Phillips        MUNIZ00006598     MUNIZ00006598
              regarding "Certifying Records"
PX-1798       MEDICAL - Health records for April Muniz from Passages Physical        MUNIZ00006599     MUNIZ00006644
              Therapy
PX-1799       MEDICAL - Health and billing records for April Muniz from Passages     MUNIZ00006645     MUNIZ00006701
              Physical Therapy
PX-1800       MEDICAL - Statement of Certification for April Muniz from Passages     MUNIZ00006702     MUNIZ00006702
              Physical Therapy
PX-1801       EMAIL - Email from James K. to Matthew Heimbach                        MWH00006169       MWH00006169
PX-1802       EMAIL - Email from KJ to Burt, Resistance, Matthew Heimbach, Jeff      MWH00006493       MWH00006494
              Schoep, and Harry H.
PX-1803       DOC - National Socialist Movement's press release on the addition of   MWH00006495       MWH00006495
              Matthew Heimbach as the Director of Community Outreach
PX-1804       EMAIL - Email from Christopher Cantwell to Matthew Heimbach            MWH00006844       MWH00006844
PX-1805       EMAIL - Email from Nick T. to Matthew Heimbach                         MWH00011431       MWH00011431
PX-1806       EMAIL - Email from James W. to Matthew Heimbach                        MWH00014118       MWH00014118
PX-1807       EMAIL - Email to Jeff Schoep, and Matthew Heimbach                     MWH00014635       MWH00014635
PX-1808       EMAIL - Email from Gunther R. to Matthew Heimbach                      MWH00014912       MWH00014912
PX-1809       EMAIL - Email from Facebook Ads Team to Matthew Heimbach               MWH00015132       MWH00015132
PX-1810       EMAIL - Email from Jeff Schoep to Matthew Heimbach                     MWH00015137       MWH00015138
PX-1811       EMAIL - Email from Facebook Ads Team to Matthew Heimbach               MWH00015168       MWH00015168
PX-1812       EMAIL - Email to Matthew Heimbach                                      MWH00015207       MWH00015208
PX-1813       EMAIL - Email from Cesar A. to Matthew Heimbach copying Matthew        MWH00015341       MWH00015341
              Parrott
PX-1814       EMAIL - Email from Jeff Schoep to Steve R. and Matthew Heimbach        MWH00015492       MWH00015493

PX-1815       EMAIL - Email from Discord to Matthew Heimbach                         MWH00016158       MWH00016161
PX-1816       EMAIL - Email from Brian C. to Jeff Schoep, copying Matthew            MWH00016495       MWH00016495
              Heimbach
PX-1817       DOC - Document written by Matthew Heimbach                             MWH00018901       MWH00018914
PX-1818       EMAIL - Email from Jeff Schoep to Matthew Heimbach and Butch U.        MWH00020048       MWH00020049

PX-1819       INTENTIONALLY LEFT BLANK
PX-1820       EMAIL - Email from Vegas T. to Matthew Heimbach                        MWH00020293       MWH00020295
PX-1821       INTENTIONALLY LEFT BLANK
PX-1822       DOC - Document written by Matthew Heimbach                             MWH00035252       MWH00035254
PX-1823       DOC - Document regarding rally in Pikeville                            MWH00035261       MWH00035264
PX-1824       DOC - Document regarding national socialist vision                     MWH00035265       MWH00035398
PX-1825       EMAIL - Email from Matthew Heimbach to Michael Bloch                   MWH00035583       MWH00035584
PX-1826       EMAIL - Email from Matthew Heimbach to Richard Spencer                 MWH00036714       MWH00036714
PX-1827       DOC - Document regarding Unite the Right rally                         MWH00040549       MWH00040551
PX-1828       DOC - Document regarding interracial violence                          MWH00040996       MWH00040999
PX-1829       DOC - Letter from Matthew Heimbach to Alex R.                          MWH00041051       MWH00041052
PX-1830       DOC - Letter from Matthew Heimbach to Dan B.                           MWH00041127       MWH00041129
PX-1831       DOC - Letter from Matthew Heimbach to Dylann R.                        MWH00041130       MWH00041131
PX-1832       DOC - Letter from Matthew Heimbach to Jacob G.                         MWH00041133       MWH00041134
PX-1833       DOC - Letter from Matthew Heimbach to James Fields                     MWH00041135       MWH00041137
PX-1834       DOC - Document regarding The Nationalist Front                         MWH00041357       MWH00041372
PX-1835       DOC - Document regarding The Nationalist Front                         MWH00041398       MWH00041398
PX-1836       DOC - Document listing international allies of the Nationalist Front   MWH00041399       MWH00041399
PX-1837       DOC - Letter from Matthew Heimbach to Traditionalist Worker Party      MWH00041531       MWH00041532

PX-1838       DOC - Letter from Matthew Heimbach to Kashiya N.                       MWH00041648       MWH00041649
PX-1839       DOC - Document listing region names                                    MWH00041650       MWH00041650
PX-1840       DOC - Document written by Matthew Heimbach                             MWH00041954       MWH00041956
PX-1841       DOC - Document regarding TWP membership guide                          MWH00042026       MWH00042064
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Exhibit No.   Description                                                               Beginning Bates       End Bates
PX-1842       DOC - Document regarding rank structure of TWP                            MWH00042175           MWH00042176
PX-1843       INTENTIONALLY LEFT BLANK
PX-1844       SMS - Text message from Nathan Damigo                                     ND00001346            ND00001346
PX-1845       SMS - Text message conversation with Nathan Damigo                        ND00003130            ND00003133
PX-1846       SMS - Text Message from Jason Kessler to Nathan Damigo                    ND00005694            ND00005694
PX-1847       SMS - Text message conversation between Nathan Damigo and Richard         ND00005791            ND00005796
              Spencer
PX-1848       SMS - Text message from Nathan Damigo                                     ND00005858            ND00005858
PX-1849       SMS - Text message to Nathan Damigo                                       ND00006087            ND00006087
PX-1850       SMS - Text message to Nathan Damigo                                       ND00006089            ND00006089
PX-1851       SMS - Text message conversation between Patrick C. and Nathan             ND00006999            ND00007002
              Damigo
PX-1852       SMS - Text message from Nathan Damigo                                     ND00008970            ND00008970
PX-1853       SMS - Text message conversation between Nathan Damigo and Elliott         ND00009886            ND00009887
              Kline
PX-1854       SMS - Text message conversation between Elliott Kline and Nathan          ND00010165            ND00010166
              Damigo
PX-1855       SMS - Text message from Nathan Damigo                                     ND00010552            ND00010552
PX-1856       SMS - Text message conversation with Nathan Damigo                        ND00010834            ND00010835
PX-1857       DOC - Articles of Incorporation - Nonprofit Corporation application for   ND00016678            ND00016684
              Foundation for Identity Evropa
PX-1858       DOC - Document regarding coordinator overview of Identity Evropa          ND00017739            ND00017739
PX-1859       EMAIL - Email from YouTube to Nathan Damigo                               ND00021323            ND00021323
PX-1860       EMAIL - Email from YouTube to Nathan Damigo                               ND00021323            ND00021323
PX-1861       EMAIL - Email from Identity Evropa to Nathan Damigo                       ND00021393            ND00021394
PX-1862       EMAIL - Email from Identity Evropa to Nathan Damigo                       ND00024066            ND00024068
PX-1863       EMAIL - Email from YouTube to Nathan Damigo                               ND00025127            ND00025127
PX-1864       EMAIL - Email to Nathan Damigo                                            ND00025312            ND00025312
PX-1865       EMAIL - Email from Twitter to Nathan Damigo                               ND00035059            ND00035059
PX-1866       DOC - Document regarding passwords and accounts for Identity Evropa       ND00036353            ND00036355

PX-1867       EMAIL - Email from Robert "Azzmador" Ray to Nathan Damigo                 ND00036752            ND00036753
PX-1868       EMAIL - Email from Nathan Damigo                                          ND00044698            ND00044700
PX-1869       SMS - Email between Nathan G. and Nathan Damigo                           ND00375622            ND00375622
PX-1870       DOC - Mutual Nondisclosure Agreement between Elliott Kline and            ND00380865            ND00380872
              Nathan Damigo
PX-1871       DOC - Secretary of State Nonprofit Certificate of Dissolution             ND00398173            ND00398175
              Application (California Nonprofit Corporation Only) for Identity
              Evropa, Inc.
PX-1872       DOC - Letter from Nathan Damigo to California Attorney General's          ND00398177            ND00398178
              Office
PX-1873       DOC - Stock Transfer agreement between Nathan Damigo and Patrick          ND00398180            ND00398181
              C.
PX-1874       DOC - Document regarding timeline of events                               ND00398202            ND00398203
PX-1875       TWITTER - Tweet by Matthew Parrott                                        NOCUSTODIAN00000168   NOCUSTODIAN00000168
PX-1876       GAB - Post by Matthew Parrott                                             NOCUSTODIAN00000248   NOCUSTODIAN00000248
PX-1877       ARTICLE - Article by Denise Lavoie entitled, "Man who drove into          NOCUSTODIAN00000279   NOCUSTODIAN00000283
              crowd convicted of first-degree murder"
PX-1878       INTENTIONALLY LEFT BLANK
PX-1879       TWITTER - Tweet by Matthew Heimbach                                       NOCUSTODIAN00000508   NOCUSTODIAN00000508
PX-1880       VK - VK post by Matthew Heimbach                                          NOCUSTODIAN00000683   NOCUSTODIAN00000683
PX-1881       ARTICLE - Radical Agenda website article by Christopher Cantwell          NOCUSTODIAN00000817   NOCUSTODIAN00000833
              entitled, "The Coming Alt Tech Boom"
PX-1882       ARTICLE - TradWorker article by David Matthew Parrott entitled,           NOCUSTODIAN00000869   NOCUSTODIAN00000878
              "Lessons Learned From Trump"
PX-1883       DOC - Document written by Tony H. entitled "Action! Episode 8_ The        NOCUSTODIAN00000951   NOCUSTODIAN00000958
              Clappening"
PX-1884       ARTICLE - Radical Agenda website article by Christopher Cantwell          NOCUSTODIAN00001118   NOCUSTODIAN00001129
              entitled, "The Optics Debate"
PX-1885       ARTICLE - Article by David Matthew Parrott entitled, "Catcher in the      NOCUSTODIAN00001367   NOCUSTODIAN00001376
              Reich: My Account of my Experience in Charlottesville"
PX-1886       ARTICLE - Radical Agenda website article by Christopher Cantwell          NOCUSTODIAN00001842   NOCUSTODIAN00001844
              entitled, "Radical Agenda S04E010 - Taxing Truth"
PX-1887       ARTICLE - Daily Stormer article by Andrew Anglin entitled, "Official      NOCUSTODIAN00001932   NOCUSTODIAN00001939
              Daily Stormer Position: Don't Go to 'Unite the Right 2' – We Disavow"

PX-1888       VID - Video recording of violence at Lee Park                             NOCUSTODIAN00002012   NOCUSTODIAN00002012
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Exhibit No.   Description                                                             Beginning Bates       End Bates
PX-1889       VID - Video recording of Richard Spencer, It’s Going South, Periscope   NOCUSTODIAN00002014   NOCUSTODIAN00002014

PX-1890       GAB - Post by Matthew Parrott                                           NOCUSTODIAN00002146   NOCUSTODIAN00002146
PX-1891       TWITTER - Tweet by Matthew Parrott                                      NOCUSTODIAN00002267   NOCUSTODIAN00002267
PX-1892       TWITTER - Tweet by Matthew Parrott                                      NOCUSTODIAN00002420   NOCUSTODIAN00002420
PX-1893       ARTICLE - Occidental Dissent article by Matthew Parrott entitled "The   NOCUSTODIAN00002612   NOCUSTODIAN00002616
              Foundry #3: William Planer Did Nothing Wrong"
PX-1894       ARTICLE - Counter-Currents Publishing article by Matthew Parrott        NOCUSTODIAN00002617   NOCUSTODIAN00002639
              entitled, "Never Leave a Fallen Comrade"
PX-1895       TWITTER - Post by Elliott Kline                                         NOCUSTODIAN00003351
                                                                                                            NOCUSTODIAN00003351
PX-1896       INTENTIONALLY LEFT BLANK
PX-1897       INTENTIONALLY LEFT BLANK
PX-1898       DOC - National Socialist Movement - National Officers & Departments     NOCUSTODIAN00003700   NOCUSTODIAN00003701

PX-1899       ARTICLE - League of the South article by Michael Hill entitled, "The    NOCUSTODIAN00003779   NOCUSTODIAN00003780
              League on Unite the Right"
PX-1900       PHOTO - Photo of Profile update by Michael Tubbs                        NOCUSTODIAN00003861   NOCUSTODIAN00003861
PX-1901       TWITTER – Tweet by Jason Kessler                                        NOCUSTODIAN00003863   NOCUSTODIAN00003863
PX-1902       TWITTER - Tweet by Michael Hill                                         NOCUSTODIAN00004000   NOCUSTODIAN00004000
PX-1903       ARTICLE - The New York Times Article by Emma Cott entitled, "How        NOCUSTODIAN00004061   NOCUSTODIAN00004065
              Our Reporter Uncovered a Lie That Propelled an Alt-Right Extremist's
              Rise"
PX-1904       TWITTER – Tweets regarding violence on August 12, 2017                  NOCUSTODIAN00004260   NOCUSTODIAN00004260
PX-1905       ARTICLE - Christopher Cantwell website article by Christopher           NOCUSTODIAN00048940   NOCUSTODIAN00048944
              Cantwell entitled, "Goodbye Cuck Talk Live"
PX-1906       ARTICLE - Christopher Cantwell website article by Christopher           NOCUSTODIAN00048945   NOCUSTODIAN00048949
              Cantwell entitled, "Dead Men Don't Start Revolutions"
PX-1907       GAB - Posts by Christopher Cantwell                                     NOCUSTODIAN00048950   NOCUSTODIAN00048950
PX-1908       VID - Video recording of church service in Charlottesville with Seth    NOCUSTODIAN00048951   NOCUSTODIAN00048951
              Wispelwey
PX-1909       VID - Video recording of car attack                                     NOCUSTODIAN00048952   NOCUSTODIAN00048952
PX-1910       VID - Video recording of car attack                                     NOCUSTODIAN00048952   NOCUSTODIAN00048952
PX-1911       GAB - Posts by Hunter W.                                                NOCUSTODIAN00048953   NOCUSTODIAN00048953
PX-1912       VID - Video recording of August 12, 2017                                NOCUSTODIAN00048954   NOCUSTODIAN00048954
PX-1913       ARTICLE - League of The South article by Michael Hill entitled, "Ls     NOCUSTODIAN00048955   NOCUSTODIAN00048956
              Statement on Southern/White Nationalism"
PX-1914       TWITTER - Retweet by Michael Tubbs                                      NOCUSTODIAN00048957   NOCUSTODIAN00048957
PX-1915       GAB – Post by Hunter W.                                                 NOCUSTODIAN00048958   NOCUSTODIAN00048958
PX-1916       GAB - Posts by Hunter W.                                                NOCUSTODIAN00048959   NOCUSTODIAN00048959
PX-1917       TWITTER - Tweets by Baron S. and Michael Tubbs                          NOCUSTODIAN00048960   NOCUSTODIAN00048960
PX-1918       ARTICLE - League of the South article by Michael Hill entitled,         NOCUSTODIAN00048961   NOCUSTODIAN00048962
              "Working with nationalist allies"
PX-1919       ARTICLE - cville article by Samantha Baars entitled, "Last man in       NOCUSTODIAN00048963   NOCUSTODIAN00048964
              August 12 parking garage beating pleads guilty"
PX-1920       PHOTO - Photo of August 12, 2017                                        NOCUSTODIAN00048965   NOCUSTODIAN00048965
PX-1921       VID - Video recording of RWW News: League of the South President        NOCUSTODIAN00048966   NOCUSTODIAN00048966
              Burns Talmud, Israeli Flag
PX-1922       VID - YouTube video regarding violence on August 12, 2017               NOCUSTODIAN00048967   NOCUSTODIAN00048967
PX-1923       VID - Video recording of The Florida League of the South 2018 State     NOCUSTODIAN00048968   NOCUSTODIAN00048968
              Conference
PX-1924       EMAIL - Email from M. Heimbach to M. Bloch re Sines v. Kessler,         NOCUSTODIAN00048972   NOCUSTODIAN00048975
              Case No. 17-cv-00072
PX-1925       VID - Video of August 12, 2017                                          NOCUSTODIAN00049022   NOCUSTODIAN00049022
PX-1926       ARTICLE - The New York Times article entitled, "2 Soldiers and 2        NOCUSTODIAN00049023   NOCUSTODIAN00049025
              Civilians Arrested in Theft of Huge Weapons Cache"
PX-1927       FILING - United States of America v. Benjamin D., Photo of Benjamin     NOCUSTODIAN00049027   NOCUSTODIAN00049027
              D. in Kiev
PX-1928       FILING - United States of America v. Benjamin D., Tweet by R.A.M.       NOCUSTODIAN00049028   NOCUSTODIAN00049028

PX-1929       FILING - United States of America v. Benjamin D., Criminal Minutes -    NOCUSTODIAN00049029   NOCUSTODIAN00049029
              Guilty Plea Hearing
PX-1930       FILING - United States of America v. Benjamin D., Photo of Benjamin     NOCUSTODIAN00049030   NOCUSTODIAN00049030
              D. in Kiev
PX-1931       FILING - United States of America v. Benjamin D., Photo of Benjamin     NOCUSTODIAN00049031   NOCUSTODIAN00049031
              D. in a bar in California
PX-1932       DOC - Receipt from Benjamin D.                                          NOCUSTODIAN00049032   NOCUSTODIAN00049032
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Exhibit No.   Description                                                             Beginning Bates       End Bates
PX-1933       FILING - Arrest Warrant of Benjamin D., United States of America v.     NOCUSTODIAN00049033   NOCUSTODIAN00049033
              Benjamin D.
PX-1934       FILING - United States of America v. Benjamin D., Motion in Support     NOCUSTODIAN00049035   NOCUSTODIAN00049044
              of Release from Detention
PX-1935       FILING - United States of America v. Benjamin D., Photo of Benjamin     NOCUSTODIAN00049045   NOCUSTODIAN00049045
              D. in Berkeley
PX-1936       FB - Facebook post by Benjamin D.                                       NOCUSTODIAN00049046   NOCUSTODIAN00049046
PX-1937       FILING - United States of America v. Benjamin D., Photo of Notebook     NOCUSTODIAN00049047   NOCUSTODIAN00049047
              with R.A.M. Goals
PX-1938       DOC - Receipt from Benjamin D.                                          NOCUSTODIAN00049050   NOCUSTODIAN00049050
PX-1939       FILING - United States of America v. Benjamin D., Photo of Benjamin     NOCUSTODIAN00049051   NOCUSTODIAN00049051
              D. in Berkeley
PX-1940       FILING - United States of America v. Benjamin D., Photo of Benjamin     NOCUSTODIAN00049051   NOCUSTODIAN00049051
              D. in Berkeley
PX-1941       PHOTO - Photo of Benjamin D.                                            NOCUSTODIAN00049059   NOCUSTODIAN00049059
PX-1942       PHOTO - Photo of Benjamin D.                                            NOCUSTODIAN00049060   NOCUSTODIAN00049060
PX-1943       PHOTO - Photo of Benjamin D.                                            NOCUSTODIAN00049062   NOCUSTODIAN00049062
PX-1944       DOC - Airline Ticket from Benjamin D.                                   NOCUSTODIAN00049063   NOCUSTODIAN00049063
PX-1945       PHOTO - Photo of Benjamin D.                                            NOCUSTODIAN00049065   NOCUSTODIAN00049065
PX-1946       PHOTO - Photo of Benjamin D. on August 12, 2017, with Elliot Kline      NOCUSTODIAN00049071   NOCUSTODIAN00049071

PX-1947       PHOTO - Photos of Thomas G. in white robes                              NOCUSTODIAN00049072   NOCUSTODIAN00049072
PX-1948       PHOTO - Photos of Michael M. on August 12, 2017                         NOCUSTODIAN00049073   NOCUSTODIAN00049073
PX-1949       FILING - Statement of Offense, United States of America v. Benjamin     NOCUSTODIAN00049074   NOCUSTODIAN00049078
              D.
PX-1950       PHOTO - Photo of Hammerskin Nation Logo                                 NOCUSTODIAN00049079   NOCUSTODIAN00049079
PX-1951       FILING - Detention Hearing Transcript in the United States of America   NOCUSTODIAN00049080   NOCUSTODIAN00049130
              v. Benjamin D.
PX-1952       PHOTO - Photo of protestors                                             NOCUSTODIAN00049131   NOCUSTODIAN00049131
PX-1953       PHOTO - Photo of woman bleeding                                         NOCUSTODIAN00049132   NOCUSTODIAN00049132
PX-1954       PHOTO - Photo of Benjamin D.                                            NOCUSTODIAN00049133   NOCUSTODIAN00049133
PX-1955       PHOTO - Photo of woman bleeding from head on August 12, 2017            NOCUSTODIAN00049134   NOCUSTODIAN00049134
PX-1956       DOC - Transcript from United States of America v. Benjamin D.           NOCUSTODIAN00049135   NOCUSTODIAN00049144
PX-1957       FILING - United States of America v. Benjamin D., Bank Statement of     NOCUSTODIAN00049145   NOCUSTODIAN00049151
              Benjamin D.
PX-1958       PHOTO - Photo of Benjamin D. in Berkeley                                NOCUSTODIAN00049152   NOCUSTODIAN00049152
PX-1959       PHOTO - Photo of Benjamin D. on August 12, 2017, with Cole W.,          NOCUSTODIAN00049155   NOCUSTODIAN00049155
              Michael M., and Thomas G.
PX-1960       FB - Facebook post by Johnny B.                                         NOCUSTODIAN00049157   NOCUSTODIAN00049157
PX-1961       PHOTO - Photo of Benjamin D.                                            NOCUSTODIAN00049158   NOCUSTODIAN00049158
PX-1962       PHOTO - Photo of Benjamin D. on August 11, 2017                         NOCUSTODIAN00049159   NOCUSTODIAN00049159
PX-1963       FILING - United States of America v. Benjamin D., Defendant's           NOCUSTODIAN00049160   NOCUSTODIAN00049188
              Sentencing Memorandum
PX-1964       PHOTO - Photo of Nathan Damigo punching a person in Berkeley            NOCUSTODIAN00049189   NOCUSTODIAN00049189
PX-1965       PHOTO - Photo of Benjamin D.                                            NOCUSTODIAN00049190   NOCUSTODIAN00049190
PX-1966       PHOTO - Photo of James Fields, Dillon H. and Thomas G. on August        NOCUSTODIAN00049191   NOCUSTODIAN00049191
              12, 2017
PX-1967       FILING - Affidavit, United States of America v. Benjamin D.             NOCUSTODIAN00049192   NOCUSTODIAN00049214
PX-1968       TWITTER - Tweet by Patrick C.                                           NOCUSTODIAN00005205   NOCUSTODIAN00005205
PX-1969       PHOTO - Photo of Nathan Damigo punching woman at Battle of              NOCUSTODIAN00049278   NOCUSTODIAN00049278
              Berkeley
PX-1970       PHOTO - Photo of Ken P., League of the South and others.                NOCUSTODIAN00049279   NOCUSTODIAN00049279
PX-1971       PHOTO - Photo of woman punched by Nathan Damigo during Battle of        NOCUSTODIAN00049280   NOCUSTODIAN00049280
              Berkeley
PX-1972       PHOTO - Photo of Hitler Salute                                          NOCUSTODIAN00049281   NOCUSTODIAN00049281
PX-1973       DISCOVERY - Nathan Damigo's usernames and devices                       NOCUSTODIAN00049282   NOCUSTODIAN00049283
PX-1974       PHOTO - Photo of Nathan Damigo and others during Battle of Berkeley     NOCUSTODIAN00049284   NOCUSTODIAN00049284

PX-1975       PHOTO - Photo of Nathan Damigo and others during Battle of Berkeley NOCUSTODIAN00049285       NOCUSTODIAN00049285

PX-1976       PHOTO - Photo of Elliot Kline and others                                NOCUSTODIAN00049287   NOCUSTODIAN00049287
PX-1977       TWITTER - Tweet by Vasillios P.                                         NOCUSTODIAN00049288   NOCUSTODIAN00049288
PX-1978       DISCOVERY - Jeff Schoep's usernames and devices                         NOCUSTODIAN00049290   NOCUSTODIAN00049291
PX-1979       PHOTO - Photo of NSM Members                                            NOCUSTODIAN00049293   NOCUSTODIAN00049293
PX-1980       VK - VK Post by Burt C.                                                 NOCUSTODIAN00049294   NOCUSTODIAN00049294
PX-1981       PHOTO - Photo of Christopher Cantwell and Matthew Heimbach              NOCUSTODIAN00049295   NOCUSTODIAN00049295
PX-1982       PHOTO - Photo of NSM Members                                            NOCUSTODIAN00049296   NOCUSTODIAN00049296
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Exhibit No.   Description                                                             Beginning Bates       End Bates
PX-1983       DISCOVERY - Matthew Parrott's supplemental ESI Declaration              NOCUSTODIAN00049298   NOCUSTODIAN00049298
PX-1984       AUD - Audio recording of conversation between Christopher Cantwell      NOCUSTODIAN00049299   NOCUSTODIAN00049299
              and Charlottesville Police Department (Detective W.)
PX-1985       VID - Video recording of Vanguard America and Elliot Kline marching     NOCUSTODIAN00049301   NOCUSTODIAN00049301

PX-1986       VID - Video recording of events on August 12, 2017                      NOCUSTODIAN00049303   NOCUSTODIAN00049303
PX-1987       VID - Video recording of Benjamin D. and Michael M. Charlottesville     NOCUSTODIAN00049304   NOCUSTODIAN00049304
              assaults
PX-1988       VID - Video recording by Sandi B. of August 12, 2017                    NOCUSTODIAN00049305   NOCUSTODIAN00049305
PX-1989       VID - Video recording of Thomas M. on August 11, 2017                   NOCUSTODIAN00049306   NOCUSTODIAN00049306
PX-1990       AUD - Audio recording of Salting the Earth podcast with Elliott Kline   NOCUSTODIAN00049307   NOCUSTODIAN00049307
PX-1991       VID - Video recording of events on August 12, 2017 (VICE)               NOCUSTODIAN00049308   NOCUSTODIAN00049308
PX-1992       INTENTIONALLY LEFT BLANK
PX-1993       INTENTIONALLY LEFT BLANK
PX-1994       AUD - Audio recording of Radical Agenda S03E021 - With Andrew           NOCUSTODIAN00049311   NOCUSTODIAN00049311
              Anglin
PX-1995       VID - Video recording by The New York Times                             NOCUSTODIAN00049313   NOCUSTODIAN00049313
PX-1996       VID - Video recording by Sandi B. of August 12, 2017                    NOCUSTODIAN00049314   NOCUSTODIAN00049314
PX-1997       VID - Video recording of Nathan G.                                      NOCUSTODIAN00049316   NOCUSTODIAN00049316
PX-1998       VID - Video recording of Battle of Berkeley                             NOCUSTODIAN00049317   NOCUSTODIAN00049317
PX-1999       DOC - Document regarding high value target list                         NOCUSTODIAN00049319   NOCUSTODIAN00049325
PX-2000       INTENTIONALLY LEFT BLANK
PX-2001       VID - Video recording of Michael Tubbs on August 12, 2017               NOCUSTODIAN00005729   NOCUSTODIAN00005729
PX-2002       TWITTER - Tweet by Matthew Parrott                                      NOCUSTODIAN00000618   NOCUSTODIAN00000618
PX-2003       VK - VK profile of Burt C.                                              NOCUSTODIAN00007398   NOCUSTODIAN00007607
PX-2004       TWITTER – Tweet by Richard Spencer                                      NOCUSTODIAN00008636   NOCUSTODIAN00008637
PX-2005       TRANSCRIPT - Transcript of Jason Kessler's speech at Pen Park           NOCUSTODIAN00008644   NOCUSTODIAN00008644
PX-2006       TWITTER - Tweet of man brandishing gun                                  NOCUSTODIAN00008653   NOCUSTODIAN00008653
PX-2007       INTENTIONALLY LEFT BLANK
PX-2008       DISC - Unicorn Riot Discord Leaks                                       NOCUSTODIAN00008724   NOCUSTODIAN00008729
PX-2009       ARTICLE - Daily Progress article by Bob Gibson entitled,                NOCUSTODIAN00008730   NOCUSTODIAN00008734
              "Opinion/Commentary: Even before the torch march, white supremacy
              took the stage"
PX-2010       ARTICLE - Daily Stormer article entitled, "Charlottesville Ground       NOCUSTODIAN00008740   NOCUSTODIAN00008745
              Report: Nazi Occultists Resurrect Spirit of Confederacy"
PX-2011       ARTICLE - Southern Poverty Law Center article entitled, "Jason          NOCUSTODIAN00008749   NOCUSTODIAN00008753
              Kessler"
PX-2012       ARTICLE - Daily Progress article entitled, "Torch-wielding Protesters   NOCUSTODIAN00008781   NOCUSTODIAN00008790
              Gather at Lee Park"
PX-2013       ARTICLE - Daily Caller article by Jason Kessler entitled, "Richard      NOCUSTODIAN00008800   NOCUSTODIAN00008807
              Spencer Leads White Nationalist Demonstration in Front of Virginia
              Robert E. Lee Monument"
PX-2014       DISC - Unicorn Riot Discord Leaks                                       NOCUSTODIAN00008823   NOCUSTODIAN00008837
PX-2015       SMS - Text message conversation between Matthew Heimbach and            NOCUSTODIAN00008838   NOCUSTODIAN00008845
              Thomas R.
PX-2016       TWITTER - Twitter Feed of Jason Kessler                                 NOCUSTODIAN00008875   NOCUSTODIAN00008911
PX-2017       INTENTIONALLY LEFT BLANK
PX-2018       ARTICLE - Vanguard America, Bloodandsoil.org webpages                   NOCUSTODIAN00008968   NOCUSTODIAN00008983
PX-2019       DISC - Unicorn Riot Discord Leaks                                       NOCUSTODIAN00008984   NOCUSTODIAN00009052
PX-2020       DISC - Unicorn Riot Discord Leaks                                       NOCUSTODIAN00009917   NOCUSTODIAN00010203
PX-2021       DISC - Unicorn Riot Discord Leaks                                       NOCUSTODIAN00010204   NOCUSTODIAN00010491
PX-2022       DISC - Unicorn Riot Discord Leaks                                       NOCUSTODIAN00010204   NOCUSTODIAN00010491
PX-2023       DISC - Unicorn Riot Discord Leaks                                       NOCUSTODIAN00010492   NOCUSTODIAN00010782
PX-2024       DISC - Unicorn Riot Discord Leaks                                       NOCUSTODIAN00010492   NOCUSTODIAN00010782
PX-2025       DISC - Unicorn Riot Discord Leaks                                       NOCUSTODIAN00010783   NOCUSTODIAN00011073
PX-2026       DISC - Unicorn Riot Discord Leaks                                       NOCUSTODIAN00011074   NOCUSTODIAN00011368
PX-2027       SMS - Text message conversation between Jason Kessler and David D.      NOCUSTODIAN00011369   NOCUSTODIAN00011369

PX-2028       SMS - Text message conversation between Elliott Kline, Jason Kessler,   NOCUSTODIAN00011373   NOCUSTODIAN00011378
              and Erica
PX-2029       SMS - Text message conversation between Elliott Kline and Jason         NOCUSTODIAN00011379   NOCUSTODIAN00011452
              Kessler
PX-2030       TWITTER – Tweet by Michael Hill                                         NOCUSTODIAN00011479   NOCUSTODIAN00011479
PX-2031       INTENTIONALLY LEFT BLANK
PX-2032       EMAIL - Email from Karen D. to Gabrielle T., Eli M., and Matthew        NOCUSTODIAN00011562   NOCUSTODIAN00011562
              Heimbach
PX-2033       DOC - Daily Stormer, “Style Guide”                                      NOCUSTODIAN00011563   NOCUSTODIAN00011579
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Exhibit No.   Description                                                             Beginning Bates       End Bates
PX-2034       TWITTER – Tweets by Elliott Kline                                       NOCUSTODIAN00011586   NOCUSTODIAN00011586
PX-2035       GAB - Post by Matthew Heimbach                                          NOCUSTODIAN00011593   NOCUSTODIAN00011593
PX-2036       DISC - Discord post                                                     NOCUSTODIAN00011603   NOCUSTODIAN00011603
PX-2037       EMAIL - Email from James Kolenich to Karen D.                           NOCUSTODIAN00011619   NOCUSTODIAN00011619
PX-2038       DOC - Document regarding membership information                         NOCUSTODIAN00011649   NOCUSTODIAN00011649
PX-2039       DISC - Discord post                                                     NOCUSTODIAN00011652   NOCUSTODIAN00011652
PX-2040       DISC - Discord post                                                     NOCUSTODIAN00011690
                                                                                                            NOCUSTODIAN00011690
PX-2041       DISC - Discord post                                                     NOCUSTODIAN00011691   NOCUSTODIAN00011691
PX-2042       DISC - Discord post                                                     NOCUSTODIAN00011699   NOCUSTODIAN00011699
PX-2043       DISC - Discord post                                                     NOCUSTODIAN00011704   NOCUSTODIAN00011704
PX-2044       DISC - Discord post                                                     NOCUSTODIAN00011711   NOCUSTODIAN00011711
PX-2045       DISC - Discord post                                                     NOCUSTODIAN00011718   NOCUSTODIAN00011718
PX-2046       TWITTER - Tweets by Matthew Heimbach                                    NOCUSTODIAN00011724   NOCUSTODIAN00011724
PX-2047       DISC - Discord post                                                     NOCUSTODIAN00011728   NOCUSTODIAN00011728
PX-2048       DISC - Discord post                                                     NOCUSTODIAN00011744   NOCUSTODIAN00011744
PX-2049       DISC - Discord post                                                     NOCUSTODIAN00011745   NOCUSTODIAN00011745
PX-2050       DISC - Discord post                                                     NOCUSTODIAN00011757   NOCUSTODIAN00011757
PX-2051       VK - TWP Page                                                           NOCUSTODIAN00011774   NOCUSTODIAN00011774
PX-2052       DISC - Discord post                                                     NOCUSTODIAN00011783   NOCUSTODIAN00011783
PX-2053       DISC - Discord post                                                     NOCUSTODIAN00011808   NOCUSTODIAN00011808
PX-2054       VK - TWP Page                                                           NOCUSTODIAN00011867   NOCUSTODIAN00011867
PX-2055       VK - TWP Post                                                           NOCUSTODIAN00011920   NOCUSTODIAN00011920
PX-2056       ARTICLE - The Atlantic article by Edna Friedberg entitled, "Why They    NOCUSTODIAN00012043   NOCUSTODIAN00012046
              Parade by Torchlight"
PX-2057       POST - Post by Matthew Heimbach                                         NOCUSTODIAN00012058   NOCUSTODIAN00012058
PX-2058       DISC - Discord post                                                     NOCUSTODIAN00012084   NOCUSTODIAN00012084
PX-2059       DOC - Daily Stormer Home Page                                           NOCUSTODIAN00012222   NOCUSTODIAN00012222
PX-2060       ARTICLE - Southern Poverty Law Center entitled, "Michael 'Enoch'        NOCUSTODIAN00012233   NOCUSTODIAN00012238
              Peinovich"
PX-2061       DISC - Discord post                                                     NOCUSTODIAN00012252   NOCUSTODIAN00012253
PX-2062       TWITTER – Tweet by Jason Kessler                                        NOCUSTODIAN00012667   NOCUSTODIAN00012667
PX-2063       TWITTER – Tweets by Michael Hill                                        NOCUSTODIAN00012704   NOCUSTODIAN00012704
PX-2064       TWITTER - Tweets regarding white people becoming minorities             NOCUSTODIAN00013172   NOCUSTODIAN00013172
PX-2065       ARTICLE - Southern Poverty Law Center article entitled, "Meet the       NOCUSTODIAN00013425   NOCUSTODIAN00013433
              League: State Chairmen and Organizers of the League of the South"
PX-2066       TWITTER - Tweet by Jeff Schoep                                          NOCUSTODIAN00013566   NOCUSTODIAN00013566
PX-2067       TWITTER – Tweet regarding Richard Spencer speech                        NOCUSTODIAN00013643   NOCUSTODIAN00013643
PX-2068       TWITTER – Tweet by Jeff Schoep                                          NOCUSTODIAN00013644   NOCUSTODIAN00013644
PX-2069       ARTICLE - Daily Stormer article by Andrew Anglin entitled, "Summer      NOCUSTODIAN00014249   NOCUSTODIAN00014253
              of Hate: Black Sun to Cross America This August"
PX-2070       ARTICLE - Altright.com article by Richard Spencer entitled, "What it    NOCUSTODIAN00014590   NOCUSTODIAN00014601
              Means To Be Alt-Right"
PX-2071       VID - Video recording of Robert "Azzmador" Ray Charlottesville speech   NOCUSTODIAN00015226   NOCUSTODIAN00015226

PX-2072       GAB - Post by Christopher Cantwell                                      NOCUSTODIAN00015364   NOCUSTODIAN00015364
PX-2073       FILING - Commonwealth of Virginia v. Christopher Cantwell, Plea of      NOCUSTODIAN00015477
              Guilty to Misdemeanors, 17-cr-784, 845                                                        NOCUSTODIAN00015480
PX-2074       DOC - Document regarding Department of Transportation information       NOCUSTODIAN00015513   NOCUSTODIAN00015513
              for business
PX-2075       WEB - Webpage regarding details for a business                          NOCUSTODIAN00016110   NOCUSTODIAN00016110
PX-2076       VK - Post by Matthew Parrott                                            NOCUSTODIAN00016410
                                                                                                            NOCUSTODIAN00016410
PX-2077       POST - Post by Christopher Cantwell                                     NOCUSTODIAN00016484   NOCUSTODIAN00016484
PX-2078       TWITTER – Tweet regarding car attack                                    NOCUSTODIAN00016591   NOCUSTODIAN00016591
PX-2079       TWITTER – Tweet regarding car attack                                    NOCUSTODIAN00016591   NOCUSTODIAN00016591
PX-2080       ARTICLE - The Times News article by Natalie Allison Janicello           NOCUSTODIAN00016949   NOCUSTODIAN00016957
              entitled, "Corps condemns Marines' behavior"
PX-2081       TWITTER - Twitter Profile for Michael C.                                NOCUSTODIAN00017053
                                                                                                            NOCUSTODIAN00017053
PX-2082       TWITTER – Tweets by Jason Kessler                                       NOCUSTODIAN00017309   NOCUSTODIAN00017309
PX-2083       PHOTO - Photo of Michael C. at rally in Pikeville                       NOCUSTODIAN00017413   NOCUSTODIAN00017413
PX-2084       PHOTO - Photo of Michael C. at rally in Pikeville                       NOCUSTODIAN00017658   NOCUSTODIAN00017658
PX-2085       PHOTO - Photo regarding reversing white genocide                        NOCUSTODIAN00017700   NOCUSTODIAN00017700
PX-2086       ARTICLE - Radical Agenda website article by Christopher Cantwell        NOCUSTODIAN00017753   NOCUSTODIAN00017755
              entitled, "Gassing Kikes and Trannies (Song)"
PX-2087       PHOTO - Photo of Michael C. getting arrested                            NOCUSTODIAN00017804   NOCUSTODIAN00017804
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PX-2088       PHOTO - Photos of Michael C. in Charlottesville on August 12, 2017      NOCUSTODIAN00017807   NOCUSTODIAN00017807

PX-2089       ARTICLE - TWP Article by Matthew Parrott entitled, "Proud Boys Are      NOCUSTODIAN00017945   NOCUSTODIAN00017961
              Cordially Invited to Unite The Right"
PX-2090       ARTICLE - Alt Right.com article by Vincent Law entitled, "The 'Unite    NOCUSTODIAN00017977   NOCUSTODIAN00017987
              The Right' Rally Is Going To Be A Turning Point For White Identity In
              America"
PX-2091       DISC - Discord post                                                     NOCUSTODIAN00018237   NOCUSTODIAN00018246
PX-2092       ARTICLE - TradWorker article by Matthew Parrott entitled,               NOCUSTODIAN00018446   NOCUSTODIAN00018448
              "Christopher Cantwell Did Nothing Wrong"
PX-2093       FB - Facebook post by Matthew Parrott                                   NOCUSTODIAN00018950   NOCUSTODIAN00018950
PX-2094       DOC - Document regarding security orders for Unite the Right            NOCUSTODIAN00019386   NOCUSTODIAN00019396
PX-2095       ARTICLE - Daily Stormer article by Benjamin Garland entitled,           NOCUSTODIAN00020010   NOCUSTODIAN00020027
              "Charlottesville 2.0: Be There or Be Square"
PX-2096       WEB - Webpage for leaked audio of Richard Spencer recording             NOCUSTODIAN00020684   NOCUSTODIAN00020685
PX-2097       DOC - Arrest Record for Michael C.                                      NOCUSTODIAN00021136   NOCUSTODIAN00021156
PX-2098       TWITTER - Twitter Feed of Jason Kessler                                 NOCUSTODIAN00022111   NOCUSTODIAN00022414
PX-2099       VID - Video recording of Matthew Heimbach Interview with ABC News       NOCUSTODIAN00022889   NOCUSTODIAN00022889


PX-2100       VID - Video recording of pre-game torch march                           NOCUSTODIAN00023810   NOCUSTODIAN00023810
PX-2101       TWITTER – Tweets by Michael Hill                                        NOCUSTODIAN00049399   NOCUSTODIAN00049399
PX-2102       VID - Video of Nathan Damigo                                            NOCUSTODIAN00028701   NOCUSTODIAN00028701
PX-2103       VID - Video recording of VICE News, Charlottesville Race and Terror     NOCUSTODIAN00028711   NOCUSTODIAN00028711

PX-2104       VID - Video recording of Katie Couric, See the Sparks That Set Off      NOCUSTODIAN00028717   NOCUSTODIAN00028717
              Violence in Charlottesville, National Geographic (Aug 19, 2017)
PX-2105       VID - Katie Couric National Geographic, America Inside Out, S1E1, Re-   NOCUSTODIAN00028726   NOCUSTODIAN00028726
              Righting History
PX-2106       VID - Aaron Sankin & Scott Pham, In chat rooms, Unite the Right         NOCUSTODIAN00028728   NOCUSTODIAN00028728
              organizers planned to obscure their racism, REVEAL NEWS
PX-2107       VID - Video recording of Michael Tubbs on August 12, 2017               NOCUSTODIAN00032993   NOCUSTODIAN00032993
PX-2108       VID - Video recording of August 12, 2017                                NOCUSTODIAN00033076   NOCUSTODIAN00033076
PX-2109       VID - Video recording of August 11, 2017                                NOCUSTODIAN00033112   NOCUSTODIAN00033112
PX-2110       AUD - Audio recording of individuals honoring James Fields and Dylan    NOCUSTODIAN00033114   NOCUSTODIAN00033114
              R.
PX-2111       VID - Video recording of Will P. stick attack at Sacramento riot        NOCUSTODIAN00033124   NOCUSTODIAN00033124
PX-2112       VID - Video recording of Robert "Azzmador" Ray                          NOCUSTODIAN00033136   NOCUSTODIAN00033136
PX-2113       VID - Video recording of Matthew Heimbach                               NOCUSTODIAN00033140   NOCUSTODIAN00033140
PX-2114       VID - Video recording of Berkeley Trump Rally                           NOCUSTODIAN00033231   NOCUSTODIAN00033231
PX-2115       VID - Video recording of ABC News coverage of August 11 and 12,         NOCUSTODIAN00033232   NOCUSTODIAN00033232
              2017
PX-2116       VID - Video recording of August 11, 2017                                NOCUSTODIAN00033236   NOCUSTODIAN00033236
PX-2117       VID - Video recording of August 11, 2017                                NOCUSTODIAN00033246   NOCUSTODIAN00033246
PX-2118       VID - Video recording of Berkeley Trump Rally                           NOCUSTODIAN00033250   NOCUSTODIAN00033250
PX-2119       VID - Video recording of August 11, 2017                                NOCUSTODIAN00033254   NOCUSTODIAN00033254
PX-2120       AUD - Audio recording of Action! Podcast, Episode 3                     NOCUSTODIAN00033313   NOCUSTODIAN00033313
PX-2121       VID - Video recording of Richard Spencer after torch march              NOCUSTODIAN00033335   NOCUSTODIAN00033335
PX-2122       AUD - Audio recording of GoyTalk Live! podcast with Matthew Parrott     NOCUSTODIAN00033348   NOCUSTODIAN00033348

PX-2123       VID - Video recording of August 11, 2017                                NOCUSTODIAN00033357   NOCUSTODIAN00033357
PX-2124       VID - Video recording of August 11 and 12, 2017                         NOCUSTODIAN00033360   NOCUSTODIAN00033360
PX-2125       VID - Video recording of August 11, 2017                                NOCUSTODIAN00033364   NOCUSTODIAN00033364
PX-2126       AUD - Audio recording of Nordic Frontier #31: Matthew Heimbach and      NOCUSTODIAN00033365   NOCUSTODIAN00033365
              the Charlottesville Aftermath
PX-2127       VID - Video recording by Ford F. of August 11, 2017                     NOCUSTODIAN00033366   NOCUSTODIAN00033366
PX-2128       AUD - Audio recording of The Southern AF Podcast with Christopher       NOCUSTODIAN00033373   NOCUSTODIAN00033373
              Cantwell
PX-2129       VID - Video recording of GoyTalk Live! podcast With Matthew Parrott     NOCUSTODIAN00033374   NOCUSTODIAN00033374

PX-2130       PHOTO - Nationalist Front Logo                                          NOCUSTODIAN00033514   NOCUSTODIAN00033514
PX-2131       PHOTO - TWP Logo                                                        NOCUSTODIAN00033545   NOCUSTODIAN00033545
PX-2132       PHOTO - Photo regarding status of arrested individuals                  NOCUSTODIAN00033708   NOCUSTODIAN00033708
PX-2133       POST - Post by Matthew Parrott                                          NOCUSTODIAN00034767   NOCUSTODIAN00034767
PX-2134       POST – Post by Jason Kessler                                            NOCUSTODIAN00034811   NOCUSTODIAN00034811
PX-2135       TWITTER - Tweets by Christopher Cantwell                                NOCUSTODIAN00035034   NOCUSTODIAN00035034
PX-2136       TWITTER - Tweets by Christopher Cantwell                                NOCUSTODIAN00035082   NOCUSTODIAN00035082
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PX-2137       POST - Post by Christopher Cantwell                                   NOCUSTODIAN00035287   NOCUSTODIAN00035287
PX-2138       PHOTO - Photo of Christopher Cantwell on August 11, 2017              NOCUSTODIAN00035297   NOCUSTODIAN00035297
PX-2139       POST - Post by Christopher Cantwell                                   NOCUSTODIAN00035353   NOCUSTODIAN00035353
PX-2140       TWITTER - Tweet regarding Matthew Heimbach speech                     NOCUSTODIAN00035490   NOCUSTODIAN00035490
PX-2141       PHOTO - Photo of The Daily Stormer webpage                            NOCUSTODIAN00035555   NOCUSTODIAN00035555
PX-2142       PHOTO - Photo of torch march on August 11, 2017                       NOCUSTODIAN00035618   NOCUSTODIAN00035618
PX-2143       PHOTO - Photo of Robert "Azzmador" Ray on August 11, 2017             NOCUSTODIAN00035637   NOCUSTODIAN00035637
PX-2144       POST - Post by Christopher Cantwell                                   NOCUSTODIAN00035677   NOCUSTODIAN00035677
PX-2145       PHOTO - Photo of Weev with a swastika tattoo on his chest             NOCUSTODIAN00035796   NOCUSTODIAN00035796
PX-2146       POST - Post by Matthew Heimbach                                       NOCUSTODIAN00035797   NOCUSTODIAN00035797
PX-2147       VK - VK post by Jeff Schoep                                           NOCUSTODIAN00035799   NOCUSTODIAN00035799
PX-2148       POST - Post by Matthew Heimbach in the Daily Stormer "The Next        NOCUSTODIAN00035806   NOCUSTODIAN00035806
              Step of the Revolution: April Rally in Pikeville, Kentucky"
PX-2149       DOC - Document regarding Christopher Cantwell's conversation with     NOCUSTODIAN00035811   NOCUSTODIAN00035817
              Jody U.
PX-2150       DISC - Discord post                                                   NOCUSTODIAN00035822   NOCUSTODIAN00035822
PX-2151       PHOTO - Photo of Christopher Cantwell on August 11, 2017              NOCUSTODIAN00035838   NOCUSTODIAN00035838
PX-2152       POST - Post by Weev                                                   NOCUSTODIAN00035934   NOCUSTODIAN00035934
PX-2153       GAB - Post by Matthew Heimbach                                        NOCUSTODIAN00035969   NOCUSTODIAN00035969
PX-2154       DOC - Document showing bitcoin payment                                NOCUSTODIAN00036088   NOCUSTODIAN00036088
PX-2155       PHOTO - Photo of Elliott Kline, Michael M. and Benjamin D. on         NOCUSTODIAN00036089   NOCUSTODIAN00036089
              August 12, 2017
PX-2156       PHOTO - Photo of Christopher Cantwell at torch march on August 11,    NOCUSTODIAN00036265   NOCUSTODIAN00036265
              2017
PX-2157       PHOTO - Photo of Daily Stormer Flyer                                  NOCUSTODIAN00036282   NOCUSTODIAN00036282
PX-2158       PHOTO - R.A.M promo                                                   NOCUSTODIAN00036287   NOCUSTODIAN00036287
PX-2159       POST - Post by Christopher Cantwell                                   NOCUSTODIAN00036310   NOCUSTODIAN00036310
PX-2160       POST - Post by Matthew Heimbach                                       NOCUSTODIAN00036315   NOCUSTODIAN00036315
PX-2161       GAB - Post by Matthew Heimbach                                        NOCUSTODIAN00036334   NOCUSTODIAN00036334
PX-2162       PHOTO - Unite the Right Flyer with a list of speakers                 NOCUSTODIAN00036345   NOCUSTODIAN00036345
PX-2163       DOC - Document regarding supporting killing of minorities             NOCUSTODIAN00036356   NOCUSTODIAN00036356
PX-2164       PHOTO - Photo of End White Genocide                                   NOCUSTODIAN00036408   NOCUSTODIAN00036408
PX-2165       PHOTO - Photo of Elliott Kline and Jason Kessler on August 12, 2017   NOCUSTODIAN00036412   NOCUSTODIAN00036412

PX-2166       POST - Post by Matthew Heimbach                                       NOCUSTODIAN00036416   NOCUSTODIAN00036416
PX-2167       POST - Post by Burt C.                                                NOCUSTODIAN00036429   NOCUSTODIAN00036429
PX-2168       POST - Post by Matthew Heimbach                                       NOCUSTODIAN00036434   NOCUSTODIAN00036434
PX-2169       TWITTER – Tweet by Michael Hill                                       NOCUSTODIAN00036446   NOCUSTODIAN00036446
PX-2170       VK - Post by Jeff Schoep                                              NOCUSTODIAN00036458   NOCUSTODIAN00036458
PX-2171       PHOTO - Photo of rotunda and Thomas Jefferson statue                  NOCUSTODIAN00036462   NOCUSTODIAN00036462
PX-2172       DISC - Discord post                                                   NOCUSTODIAN00036463   NOCUSTODIAN00036463
PX-2173       POST - Post by Matthew Heimbach                                       NOCUSTODIAN00036464   NOCUSTODIAN00036464
PX-2174       PHOTO - Photo of violence at the torch march on August 11, 2017       NOCUSTODIAN00036476   NOCUSTODIAN00036476
PX-2175       PHOTO - Photo of Elliott Kline and James Fields on August 12, 2017    NOCUSTODIAN00036482   NOCUSTODIAN00036482

PX-2176       TWITTER – Tweets by Matthew Parrott                                   NOCUSTODIAN00036502   NOCUSTODIAN00036502
PX-2177       GAB - Post by Matthew Heimbach                                        NOCUSTODIAN00036507   NOCUSTODIAN00036507
PX-2178       DOC - Document memorializing Jeff Schoep interview                    NOCUSTODIAN00036551   NOCUSTODIAN00036551
PX-2179       PHOTO - Photo of various items                                        NOCUSTODIAN00036558   NOCUSTODIAN00036558
PX-2180       PHOTO - Photo regarding racism                                        NOCUSTODIAN00036559   NOCUSTODIAN00036559
PX-2181       GAB - Matthew Heimbach post                                           NOCUSTODIAN00036599   NOCUSTODIAN00036599
PX-2182       POST - Post by Jeff Schoep                                            NOCUSTODIAN00036644   NOCUSTODIAN00036644
PX-2183       PHOTO - Photo of graffiti                                             NOCUSTODIAN00036783   NOCUSTODIAN00036783
PX-2184       POST - Post by Christopher Cantwell                                   NOCUSTODIAN00036787   NOCUSTODIAN00036787
PX-2185       FB - Matthew-John Heimbach cover page                                 NOCUSTODIAN00036797   NOCUSTODIAN00036797
PX-2186       GAB - Post regarding James Fields                                     NOCUSTODIAN00036854   NOCUSTODIAN00036854
PX-2187       VK - Post by Burt C.                                                  NOCUSTODIAN00036857   NOCUSTODIAN00036857
PX-2188       SMS - Text message conversation with Christopher Cantwell             NOCUSTODIAN00036874   NOCUSTODIAN00036874
PX-2189       SMS - Text message conversation with Christopher Cantwell             NOCUSTODIAN00036910   NOCUSTODIAN00036910
PX-2190       GAB - Post by Matthew Heimbach                                        NOCUSTODIAN00036911   NOCUSTODIAN00036911
PX-2191       POST - Post by Christopher Cantwell                                   NOCUSTODIAN00036918   NOCUSTODIAN00036918
PX-2192       TWITTER - Tweets by Matthew Parrott                                   NOCUSTODIAN00036959   NOCUSTODIAN00036959
PX-2193       POST - Post by Christopher Cantwell                                   NOCUSTODIAN00036971   NOCUSTODIAN00036971
PX-2194       PHOTO - Photo of Matthew Parrott on August 12, 2017                   NOCUSTODIAN00036980   NOCUSTODIAN00036980
PX-2195       POST - Post by Dillon H.                                              NOCUSTODIAN00037028   NOCUSTODIAN00037028
PX-2196       PHOTO - Photo of torch march on August 11, 2017                       NOCUSTODIAN00037166   NOCUSTODIAN00037166
PX-2197       TWITTER – Tweets regarding Jeff Schoep                                NOCUSTODIAN00037209   NOCUSTODIAN00037209
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Exhibit No.   Description                                                          Beginning Bates       End Bates
PX-2198       PHOTO - Photo of donations to Andrew Anglin                          NOCUSTODIAN00037220   NOCUSTODIAN00037220
PX-2199       TWITTER – Tweets regarding Jeff Schoep                               NOCUSTODIAN00037252   NOCUSTODIAN00037252
PX-2200       POST - National Socialist Movement group page                        NOCUSTODIAN00037255   NOCUSTODIAN00037255
PX-2201       PHOTO - Photo of interview with Jeff Schoep                          NOCUSTODIAN00037265   NOCUSTODIAN00037265
PX-2202       TWITTER – Tweets by Jeff Schoep                                      NOCUSTODIAN00037384   NOCUSTODIAN00037384
PX-2203       POST - Post by Jeff Schoep                                           NOCUSTODIAN00037409   NOCUSTODIAN00037409
PX-2204       POST - Post by Christopher Cantwell                                  NOCUSTODIAN00037459   NOCUSTODIAN00037459
PX-2205       POST - Post by Robert S.                                             NOCUSTODIAN00037472   NOCUSTODIAN00037472
PX-2206       TWITTER – Tweets regarding Jeff Schoep                               NOCUSTODIAN00037496   NOCUSTODIAN00037496
PX-2207       PHOTO - Photo of Christopher Cantwell at torch march on August 11,   NOCUSTODIAN00037545   NOCUSTODIAN00037545
              2017
PX-2208       GAB - Post by Matthew Heimbach                                       NOCUSTODIAN00037546   NOCUSTODIAN00037546
PX-2209       GAB - Post by Matthew Heimbach                                       NOCUSTODIAN00037548   NOCUSTODIAN00037548
PX-2210       PHOTO - Photo of Nathan Damigo at Battle of Berkeley                 NOCUSTODIAN00037647   NOCUSTODIAN00037647
PX-2211       GAB - Matthew Heimbach profile page                                  NOCUSTODIAN00037674   NOCUSTODIAN00037674
PX-2212       PHOTO - Photo of torch march on August 11, 2017                      NOCUSTODIAN00037689   NOCUSTODIAN00037689
PX-2213       POST - Post by Matthew Heimbach                                      NOCUSTODIAN00037820   NOCUSTODIAN00037820
PX-2214       PHOTO - Unite the Right Flyer - "Join or Die."                       NOCUSTODIAN00037821   NOCUSTODIAN00037821
PX-2215       POST - Post by Matthew Heimbach                                      NOCUSTODIAN00038015   NOCUSTODIAN00038015
PX-2216       POST - Post by Christopher Cantwell                                  NOCUSTODIAN00038048   NOCUSTODIAN00038048
PX-2217       PHOTO - Photo of TWP members on August 12, 2017                      NOCUSTODIAN00038062   NOCUSTODIAN00038062
PX-2218       GAB - Traditionalist Worker Party (@tradworker) post                 NOCUSTODIAN00038082   NOCUSTODIAN00038082
PX-2219       GAB - Post by Matthew Heimbach                                       NOCUSTODIAN00038092   NOCUSTODIAN00038092
PX-2220       POST - Post by Matthew Heimbach                                      NOCUSTODIAN00038104   NOCUSTODIAN00038104
PX-2221       POST - Post by Matthew Heimbach                                      NOCUSTODIAN00038105   NOCUSTODIAN00038105
PX-2222       GAB - Post by TradWorker                                             NOCUSTODIAN00038107   NOCUSTODIAN00038107
PX-2223       GAB - Post by Matthew Heimbach                                       NOCUSTODIAN00038115   NOCUSTODIAN00038115
PX-2224       GAB - Post by Matthew Heimbach                                       NOCUSTODIAN00038120   NOCUSTODIAN00038120
PX-2225       GAB - Post by Matthew Heimbach                                       NOCUSTODIAN00038139   NOCUSTODIAN00038139
PX-2226       PHOTO - Unite the Right Flyer - "They will not replace us"           NOCUSTODIAN00038226   NOCUSTODIAN00038226
PX-2227       POST - Post by Matthew Heimbach                                      NOCUSTODIAN00038285   NOCUSTODIAN00038293
PX-2228       GAB - Post by Matthew Heimbach                                       NOCUSTODIAN00038348   NOCUSTODIAN00038348
PX-2229       GAB - Post by Matthew Heimbach                                       NOCUSTODIAN00038416   NOCUSTODIAN00038416
PX-2230       PHOTO - Photo of torch march on August 11, 2017                      NOCUSTODIAN00038427   NOCUSTODIAN00038427
PX-2231       TWITTER - Tweet by Christopher Cantwell to Molly C.                  NOCUSTODIAN00038496   NOCUSTODIAN00038496
PX-2232       VK - Post by Matthew Heimbach                                        NOCUSTODIAN00038556   NOCUSTODIAN00038556
PX-2233       GAB - Post by Matthew Heimbach                                       NOCUSTODIAN00038625   NOCUSTODIAN00038625
PX-2234       GAB - Post by Matthew Heimbach                                       NOCUSTODIAN00038628   NOCUSTODIAN00038628
PX-2235       GAB - Post by Matthew Heimbach                                       NOCUSTODIAN00038632   NOCUSTODIAN00038632
PX-2236       VK - Post by Matthew Heimbach                                        NOCUSTODIAN00038633   NOCUSTODIAN00038633
PX-2237       DISQUS - Cantwell Discord profile and discussion                     NOCUSTODIAN00038635   NOCUSTODIAN00038642
PX-2238       GAB - Post by Matthew Heimbach                                       NOCUSTODIAN00038708   NOCUSTODIAN00038708
PX-2239       PHOTO - Photo of August 11, 2017                                     NOCUSTODIAN00038712   NOCUSTODIAN00038712
PX-2240       GAB - Post by Matthew Heimbach                                       NOCUSTODIAN00038724   NOCUSTODIAN00038724
PX-2241       GAB - Post by Matthew Heimbach                                       NOCUSTODIAN00038726   NOCUSTODIAN00038726
PX-2242       GAB - Post by Matthew Heimbach                                       NOCUSTODIAN00038727   NOCUSTODIAN00038727
PX-2243       POST - Post by Christopher Cantwell                                  NOCUSTODIAN00038733   NOCUSTODIAN00038733
PX-2244       GAB - Post by Matthew Heimbach                                       NOCUSTODIAN00038734   NOCUSTODIAN00038734
PX-2245       TWITTER - Twitter Feed of Radical Agenda                             NOCUSTODIAN00038807   NOCUSTODIAN00038813
PX-2246       VK - Post by Matthew Heimbach                                        NOCUSTODIAN00038814   NOCUSTODIAN00038814
PX-2247       GAB - Post by Matthew Heimbach                                       NOCUSTODIAN00038844   NOCUSTODIAN00038844
PX-2248       GAB - Post by Matthew Heimbach                                       NOCUSTODIAN00038845   NOCUSTODIAN00038845
PX-2249       GAB - Post by Matthew Heimbach                                       NOCUSTODIAN00038921   NOCUSTODIAN00038921
PX-2250       FB - Facebook post by Christopher Cantwell                           NOCUSTODIAN00038946   NOCUSTODIAN00038946
PX-2251       GAB - Post by Matthew Heimbach                                       NOCUSTODIAN00038950   NOCUSTODIAN00038950
PX-2252       GAB - Post by Matthew Heimbach                                       NOCUSTODIAN00039049   NOCUSTODIAN00039049
PX-2253       TWITTER - Twitter Feed of @voteforcantwell                           NOCUSTODIAN00039058   NOCUSTODIAN00039061
PX-2254       GAB - Post by Matthew Heimbach                                       NOCUSTODIAN00039065   NOCUSTODIAN00039065
PX-2255       GAB - Post by Matthew Heimbach                                       NOCUSTODIAN00039146   NOCUSTODIAN00039146
PX-2256       PHOTO - Photo of Nathan Damigo at Berkeley                           NOCUSTODIAN00039147   NOCUSTODIAN00039147
PX-2257       FB - Facebook post by Steve M.                                       NOCUSTODIAN00039157   NOCUSTODIAN00039157
PX-2258       TWITTER – Tweet by Schoep                                            NOCUSTODIAN00039225   NOCUSTODIAN00039225
PX-2259       POST - Posts by Christopher Cantwell                                 NOCUSTODIAN00039261   NOCUSTODIAN00039314
PX-2260       TWITTER - Tweet by Commander Davis                                   NOCUSTODIAN00039319   NOCUSTODIAN00039319
PX-2261       TWITTER - Tweets by Christopher Cantwell                             NOCUSTODIAN00039333   NOCUSTODIAN00039333
PX-2262       TWITTER – Tweet by Matthew Heimbach                                  NOCUSTODIAN00039335   NOCUSTODIAN00039335
PX-2263       PHOTO - Photo of Matthew Heimbach                                    NOCUSTODIAN00039344   NOCUSTODIAN00039344
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Exhibit No.   Description                                                             Beginning Bates       End Bates
PX-2264       TWITTER – Tweet by Jeff Schoep                                          NOCUSTODIAN00039348   NOCUSTODIAN00039348
PX-2265       PHOTO - Photo of Logo for Southern Nationalist Radio - Official         NOCUSTODIAN00039351   NOCUSTODIAN00039351
              Podcast of the League of the South
PX-2266       POST - Posts by Christopher Cantwell and others                         NOCUSTODIAN00039355   NOCUSTODIAN00039355
PX-2267       VK - VK post by Jeff Schoep                                             NOCUSTODIAN00039357   NOCUSTODIAN00039357
PX-2268       TWITTER – Tweet by Matthew Heimbach                                     NOCUSTODIAN00039377   NOCUSTODIAN00039377
PX-2269       VK - VK post by Jeff Schoep                                             NOCUSTODIAN00047795   NOCUSTODIAN00047801
PX-2270       DISC - Discord post with photo of individual in mask & helmet holding   NOCUSTODIAN00039398   NOCUSTODIAN00039398
              a shield
PX-2271       PHOTO - Unite the Right Flyer                                           NOCUSTODIAN00039400   NOCUSTODIAN00039405
PX-2272       PHOTO - Photo of Jeff Schoep                                            NOCUSTODIAN00039413   NOCUSTODIAN00039413
PX-2273       TWITTER - Social Media account home page for Matthew Heimbach           NOCUSTODIAN00039417   NOCUSTODIAN00039417

PX-2274       PHOTO - Photo of torch march on August 11, 2017                         NOCUSTODIAN00039429   NOCUSTODIAN00039429
PX-2275       PHOTO - Photo of TWP members on August 12, 2017                         NOCUSTODIAN00039430   NOCUSTODIAN00039430
PX-2276       IG - Christopher Cantwell Instagram page                                NOCUSTODIAN00039431   NOCUSTODIAN00039432
PX-2277       PHOTO - Photo of torch march on August 11, 2017                         NOCUSTODIAN00039436   NOCUSTODIAN00039436
PX-2278       PHOTO - Photo of TWP members on August 12, 2017                         NOCUSTODIAN00039457   NOCUSTODIAN00039457
PX-2279       PHOTO - Photo of protestors on August 12, 2017                          NOCUSTODIAN00039460   NOCUSTODIAN00039460
PX-2280       PHOTO - Photo of Michael Hill on August 12, 2017                        NOCUSTODIAN00039788   NOCUSTODIAN00039788
PX-2281       POST - Post by Matthew Heimbach                                         NOCUSTODIAN00039789   NOCUSTODIAN00039789
PX-2282       PHOTO - Photo of August 11, 2017                                        NOCUSTODIAN00039790   NOCUSTODIAN00039790
PX-2283       PHOTO - Photo of car attack                                             NOCUSTODIAN00039794   NOCUSTODIAN00039794
PX-2284       PHOTO - Photo of Elliott Kline on August 12, 2017                       NOCUSTODIAN00039795   NOCUSTODIAN00039795
PX-2285       POST - Post by Matthew Parrott                                          NOCUSTODIAN00039797   NOCUSTODIAN00039836
PX-2286       PHOTO - Photo of protestors on August 12, 2017                          NOCUSTODIAN00039837   NOCUSTODIAN00039837
PX-2287       PHOTO - Photo of riot police on August 12, 2017                         NOCUSTODIAN00039873   NOCUSTODIAN00039873
PX-2288       PHOTO - Photo of torch march on August 11, 2017                         NOCUSTODIAN00039875   NOCUSTODIAN00039875
PX-2289       PHOTO - Photo of Elliott Kline on August 12, 2017                       NOCUSTODIAN00039886   NOCUSTODIAN00039886
PX-2290       PHOTO - Photo of Elliott Kline on August 12, 2017                       NOCUSTODIAN00039887   NOCUSTODIAN00039887
PX-2291       PHOTO - Photo of August 12, 2017                                        NOCUSTODIAN00039894   NOCUSTODIAN00039894
PX-2292       PHOTO - Photo of August 12, 2017                                        NOCUSTODIAN00039895   NOCUSTODIAN00039895
PX-2293       PHOTO - Photo of torch march on August 11, 2017                         NOCUSTODIAN00039896   NOCUSTODIAN00039896
PX-2294       PHOTO - Photo of August 12, 2017                                        NOCUSTODIAN00039897   NOCUSTODIAN00039897
PX-2295       PHOTO - Photo of August 12, 2017                                        NOCUSTODIAN00039900   NOCUSTODIAN00039900
PX-2296       PHOTO - Photo of torch march on August 11, 2017                         NOCUSTODIAN00043002   NOCUSTODIAN00043002
PX-2297       PHOTO - Photo of torch march on August 11, 2017                         NOCUSTODIAN00043004   NOCUSTODIAN00043004
PX-2298       PHOTO - Photo of protestors on August 12, 2017                          NOCUSTODIAN00043010   NOCUSTODIAN00043010
PX-2299       PHOTO - Photo of August 12, 2017                                        NOCUSTODIAN00043013   NOCUSTODIAN00043013
PX-2300       PHOTO - Photo of torch march on August 11, 2017                         NOCUSTODIAN00043016   NOCUSTODIAN00043016
PX-2301       PHOTO - Photo of protestors on August 12, 2017                          NOCUSTODIAN00043022   NOCUSTODIAN00043022
PX-2302       TWITTER - Twitter Account for Christopher Cantwell                      NOCUSTODIAN00043025   NOCUSTODIAN00043121
PX-2303       PHOTO - Photo of August 12, 2017                                        NOCUSTODIAN00043131   NOCUSTODIAN00043131
PX-2304       PHOTO - Photo of August 12, 2017                                        NOCUSTODIAN00043560   NOCUSTODIAN00043560
PX-2305       PHOTO - Photo of August 12, 2017                                        NOCUSTODIAN00043578   NOCUSTODIAN00043578
PX-2306       PHOTO - Photo of Elliott Kline on August 12, 2017                       NOCUSTODIAN00043589   NOCUSTODIAN00043589
PX-2307       PHOTO - Photo of August 12, 2017                                        NOCUSTODIAN00043604   NOCUSTODIAN00043604
PX-2308       PHOTO - Photo of counter-protestors on August 12, 2017                  NOCUSTODIAN00043621   NOCUSTODIAN00043621
PX-2309       PHOTO - Photo of torch march on August 11, 2017                         NOCUSTODIAN00043631   NOCUSTODIAN00043631
PX-2310       PHOTO - Photo of August 12, 2017                                        NOCUSTODIAN00043652   NOCUSTODIAN00043652
PX-2311       PHOTO - Photo of counter-protestors on August 12, 2017                  NOCUSTODIAN00043749   NOCUSTODIAN00043749
PX-2312       PHOTO - Photo of August 12, 2017                                        NOCUSTODIAN00043760   NOCUSTODIAN00043760
PX-2313       PHOTO - Photo of torch march on August 11, 2017                         NOCUSTODIAN00043830   NOCUSTODIAN00043830
PX-2314       PHOTO - Photo of torch march on August 11, 2017                         NOCUSTODIAN00043834   NOCUSTODIAN00043834
PX-2315       PHOTO - Photo of August 12, 2017                                        NOCUSTODIAN00043844   NOCUSTODIAN00043844
PX-2316       PHOTO - Photo of August 12, 2017                                        NOCUSTODIAN00043845   NOCUSTODIAN00043845
PX-2317       PHOTO - Photo of protestors on August 12, 2017                          NOCUSTODIAN00043846   NOCUSTODIAN00043846
PX-2318       PHOTO - Photo of protestors on August 12, 2017                          NOCUSTODIAN00043852   NOCUSTODIAN00043852
PX-2319       PHOTO - Photo of August 12, 2017                                        NOCUSTODIAN00043854   NOCUSTODIAN00043854
PX-2320       PHOTO - Photo of counter-protestors on August 12, 2017                  NOCUSTODIAN00043860   NOCUSTODIAN00043860
PX-2321       PHOTO - Photo of August 12, 2017                                        NOCUSTODIAN00043870   NOCUSTODIAN00043870
PX-2322       PHOTO - Photo of counter-protestors on August 12, 2017                  NOCUSTODIAN00043872   NOCUSTODIAN00043872
PX-2323       PHOTO - Photo of torch march on August 11, 2017                         NOCUSTODIAN00043888   NOCUSTODIAN00043888
PX-2324       PHOTO - Photo of Elliott Kline on August 12, 2017                       NOCUSTODIAN00043897   NOCUSTODIAN00043897
PX-2325       PHOTO - Photo of torch march on August 11, 2017                         NOCUSTODIAN00043900   NOCUSTODIAN00043900
PX-2326       PHOTO - Photo of August 12, 2017                                        NOCUSTODIAN00043902   NOCUSTODIAN00043902
PX-2327       PHOTO - Photo of August 12, 2017                                        NOCUSTODIAN00043911   NOCUSTODIAN00043911
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Exhibit No.   Description                                                           Beginning Bates       End Bates
PX-2328       PHOTO - Photo of Rotunda at the University of Virginia                NOCUSTODIAN00043917   NOCUSTODIAN00043917
PX-2329       INTENTIONALLY LEFT BLANK
PX-2330       PHOTO - Photo of Elliott Kline on August 12, 2017                     NOCUSTODIAN00043931   NOCUSTODIAN00043931
PX-2331       PHOTO - Photo of August 12, 2017                                      NOCUSTODIAN00043938   NOCUSTODIAN00043938
PX-2332       PHOTO - Photo of August 12, 2017                                      NOCUSTODIAN00043945   NOCUSTODIAN00043945
PX-2333       PHOTO - Photo of riot police on August 12, 2017                       NOCUSTODIAN00043968   NOCUSTODIAN00043968
PX-2334       PHOTO - Photo of torch march on August 11, 2017                       NOCUSTODIAN00043977   NOCUSTODIAN00043977
PX-2335       PHOTO - Photo of August 12, 2017                                      NOCUSTODIAN00043978   NOCUSTODIAN00043978
PX-2336       PHOTO - Photo of August 12, 2017                                      NOCUSTODIAN00043979   NOCUSTODIAN00043979
PX-2337       PHOTO - Photo of counter-protestors on August 12, 2017                NOCUSTODIAN00043981   NOCUSTODIAN00043981
PX-2338       PHOTO - Photo of August 12, 2017                                      NOCUSTODIAN00043982   NOCUSTODIAN00043982
PX-2339       PHOTO - Photo of riot police on August 12, 2017                       NOCUSTODIAN00044001   NOCUSTODIAN00044001
PX-2340       PHOTO - Photo of torch march on August 11, 2017                       NOCUSTODIAN00044010   NOCUSTODIAN00044010
PX-2341       PHOTO - Photo of torch march on August 11, 2017                       NOCUSTODIAN00044016   NOCUSTODIAN00044016
PX-2342       PHOTO - Photo of torch march on August 11, 2017                       NOCUSTODIAN00044022   NOCUSTODIAN00044022
PX-2343       PHOTO - Photo of torch march on August 11, 2017                       NOCUSTODIAN00044030   NOCUSTODIAN00044030
PX-2344       PHOTO - Photo of torches at Thomas Jefferson statute                  NOCUSTODIAN00044032   NOCUSTODIAN00044032
PX-2345       PHOTO - Photo of Jason Kessler at torch march on August 11, 2017      NOCUSTODIAN00044043   NOCUSTODIAN00044043

PX-2346       PHOTO - Photo of torch march on August 11, 2017                       NOCUSTODIAN00044044   NOCUSTODIAN00044044
PX-2347       PHOTO - Photo of torch march on August 11, 2017                       NOCUSTODIAN00044070   NOCUSTODIAN00044070
PX-2348       PHOTO - Photo of torch march on August 11, 2017                       NOCUSTODIAN00044075   NOCUSTODIAN00044075
PX-2349       PHOTO - Photo of August 12, 2017                                      NOCUSTODIAN00044077   NOCUSTODIAN00044077
PX-2350       PHOTO - Photo of "VA Students Act Against White Supremacy"            NOCUSTODIAN00044091   NOCUSTODIAN00044091
PX-2351       PHOTO - Photo of torch march on August 11, 2017                       NOCUSTODIAN00044114   NOCUSTODIAN00044114
PX-2352       PHOTO - Photo of torch march on August 11, 2017                       NOCUSTODIAN00044123   NOCUSTODIAN00044123
PX-2353       PHOTO - Photo of torches at Thomas Jefferson statute                  NOCUSTODIAN00044154   NOCUSTODIAN00044154
PX-2354       PHOTO - Photo of police at Thomas Jefferson statute                   NOCUSTODIAN00044157   NOCUSTODIAN00044157
PX-2355       PHOTO - Photo of torch march on August 11, 2017                       NOCUSTODIAN00044180   NOCUSTODIAN00044180
PX-2356       PHOTO - Photo of torch march on August 11, 2017                       NOCUSTODIAN00044182   NOCUSTODIAN00044182
PX-2357       PHOTO - Photo of torch march on August 11, 2017                       NOCUSTODIAN00044185   NOCUSTODIAN00044185
PX-2358       PHOTO - Photo of torch march on August 11, 2017                       NOCUSTODIAN00044189   NOCUSTODIAN00044189
PX-2359       PHOTO - Photo of torch march on August 11, 2017                       NOCUSTODIAN00044194   NOCUSTODIAN00044194
PX-2360       PHOTO - Photo of torch march on August 11, 2017                       NOCUSTODIAN00044197   NOCUSTODIAN00044197
PX-2361       PHOTO - Photo of torch march on August 11, 2017                       NOCUSTODIAN00044199   NOCUSTODIAN00044199
PX-2362       PHOTO - Photo of torches at Thomas Jefferson statute                  NOCUSTODIAN00044200   NOCUSTODIAN00044200
PX-2363       VID - Video recording of Kline Red Ice Interview                      NOCUSTODIAN00044657   NOCUSTODIAN00044657
PX-2364       PHOTO - Photo of Nathan Damigo and RAM at Battle of Berkeley          NOCUSTODIAN00044661   NOCUSTODIAN00044661
PX-2365       PHOTO - Photo of Nathan Damigo at Battle of Berkeley                  NOCUSTODIAN00044663   NOCUSTODIAN00044663
PX-2366       PHOTO - Photo of Nathan Damigo at Battle of Berkeley                  NOCUSTODIAN00044665   NOCUSTODIAN00044665
PX-2367       ARTICLE - Radical Agenda website article by Christopher Cantwell      NOCUSTODIAN00044666   NOCUSTODIAN00044675
              entitled, "I Need a Break, and Your Help"
PX-2368       VID - Video recording of League of the South members                  NOCUSTODIAN00044677   NOCUSTODIAN00044677
PX-2369       POST - Post by Matthew Parrott                                        NOCUSTODIAN00044680   NOCUSTODIAN00044680
PX-2370       POST - Post by Matthew Parrott                                        NOCUSTODIAN00044681   NOCUSTODIAN00044681
PX-2371       POST - Post by Matthew Parrott                                        NOCUSTODIAN00044682   NOCUSTODIAN00044682
PX-2372       TWITTER - Tweet by @TradWorker                                        NOCUSTODIAN00044683   NOCUSTODIAN00044683
PX-2373       PHOTO - Photo of Matthew Parrott on August 12, 2017                   NOCUSTODIAN00044686   NOCUSTODIAN00044686
PX-2374       POST - Post by Matthew Parrott                                        NOCUSTODIAN00044687   NOCUSTODIAN00044687
PX-2375       VK - Post by Matthew Parrott                                          NOCUSTODIAN00044688   NOCUSTODIAN00044688
PX-2376       POST - Post by Matthew Parrott                                        NOCUSTODIAN00044689   NOCUSTODIAN00044689
PX-2377       ARTICLE - KPCC article by Olga R. Rodriguez entitled "White           NOCUSTODIAN00044691   NOCUSTODIAN00044693
              nationalists, protesters clash in Sacramento; 10 hurt"
PX-2378       VK - Post by Matthew Parrott                                          NOCUSTODIAN00044694   NOCUSTODIAN00044694
PX-2379       ARTICLE - TradWorker article by Matthew Parrott entitled, "Power      NOCUSTODIAN00044697   NOCUSTODIAN00044703
              Dynamics, Strategy and Charlottesville"
PX-2380       ARTICLE - Traditionalist Youth Network article by Matthew Parrott     NOCUSTODIAN00044705   NOCUSTODIAN00044707
              entitled, "RE: Kevin D. Williamson's Angry White Boys"
PX-2381       AUD - Audio recording of The Foundry Podcast, Episode 5               NOCUSTODIAN00044728   NOCUSTODIAN00044728
PX-2382       AUD - Audio recording of Mysterium Fasces podcast, Episode 35 -       NOCUSTODIAN00044729   NOCUSTODIAN00044729
              Charlottesville
PX-2383       AUD - Audio recording of The Foundry Podcast, Episode 10              NOCUSTODIAN00044731   NOCUSTODIAN00044731
PX-2384       VID - Video recording of GoyTalk Live! podcast with Matthew Parrott   NOCUSTODIAN00044733   NOCUSTODIAN00044733

PX-2385       ARTICLE - Vanguard America, Bloodandsoil.org article entitled,        NOCUSTODIAN00044734   NOCUSTODIAN00044737
              "America is Under Attack"
PX-2386       POST - Posts by white_powerstroke                                     NOCUSTODIAN00044738   NOCUSTODIAN00044738
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PX-2387       ARTICLE - Vanguard America, Bloodandsoil.org article entitled, “On        NOCUSTODIAN00044741   NOCUSTODIAN00044745
              Charlottesville – why we fight”
PX-2388       ARTICLE - Vanguard America, Bloodandsoil.org article entitled             NOCUSTODIAN00044753   NOCUSTODIAN00044755
              “Vanguard Manifesto – Points of the Vanguard”
PX-2389       PHOTO - Photo of James Fields with Vanguard members on August 12,         NOCUSTODIAN00044763   NOCUSTODIAN00044763
              2017
PX-2390       PHOTO - Photo of James Fields with Vanguard members on August 12,         NOCUSTODIAN00044781   NOCUSTODIAN00044781
              2017
PX-2391       VID - Video recording of Fields driving on 4th Street                     NOCUSTODIAN00044810   NOCUSTODIAN00044810
PX-2392       VID - Video recording from August 12, 2017                                NOCUSTODIAN00044815   NOCUSTODIAN00044815
PX-2393       DOC - State of North Carolina Limited Liability Company Annual            NOCUSTODIAN00044954   NOCUSTODIAN00044954
              Report form for Traditionalist Worker Party National Committee, LLC

PX-2394       TWITTER – Tweet by Matthew Parrott                                        NOCUSTODIAN00044955   NOCUSTODIAN00044955
PX-2395       DOC - Excel spreadsheet regarding Traditionalist Worker Party             NOCUSTODIAN00044956   NOCUSTODIAN00044956
PX-2396       GAB - Post by Tony H.                                                     NOCUSTODIAN00044957   NOCUSTODIAN00044957
PX-2397       TWITTER - Retweets by @Tradworker                                         NOCUSTODIAN00044958   NOCUSTODIAN00044958
PX-2398       DOC - State of North Carolina Certificate of Administrative Dissolution   NOCUSTODIAN00044960   NOCUSTODIAN00044960
              of Traditionalist Worker Party National Committee, LLC
PX-2399       TWITTER - Tweet by Richard Spencer                                        NOCUSTODIAN00044962
                                                                                                              NOCUSTODIAN00044962
PX-2400       PHOTO - Photo of Richard Spencer                                          NOCUSTODIAN00044963
                                                                                                              NOCUSTODIAN00044963
PX-2401       TWITTER - Tweet by Richard Spencer                                        NOCUSTODIAN00044964   NOCUSTODIAN00044964
PX-2402       GAB - Conversation between Tony H. and Robert "Azzmador" Ray              NOCUSTODIAN00044965
                                                                                                              NOCUSTODIAN00044965
PX-2403       TWITTER - Tweet by Richard Spencer                                        NOCUSTODIAN00044966
                                                                                                              NOCUSTODIAN00044966
PX-2404       PHOTO - Photo of Richard Spencer                                          NOCUSTODIAN00044967
                                                                                                              NOCUSTODIAN00044967
PX-2405       TWITTER - Tweet by Richard Spencer                                        NOCUSTODIAN00044968
                                                                                                              NOCUSTODIAN00044968
PX-2406       TWITTER - Tweet by Tony H.                                                NOCUSTODIAN00044969   NOCUSTODIAN00044969
PX-2407       TWITTER - Posts by Matthew Parrott                                        NOCUSTODIAN00044970   NOCUSTODIAN00044970
PX-2408       TWITTER - Tweet by Richard Spencer                                        NOCUSTODIAN00044971   NOCUSTODIAN00044971
PX-2409       TWITTER - Tweet by Richard Spencer                                        NOCUSTODIAN00044972
                                                                                                              NOCUSTODIAN00044972
PX-2410       TWITTER - Posts by Matthew Parrott                                        NOCUSTODIAN00044973   NOCUSTODIAN00044973
PX-2411       DOC - Document containing list of Traditionalist Worker Party             NOCUSTODIAN00044974   NOCUSTODIAN00044976
              contributors from 2016
PX-2412       TWITTER - Tweet by Richard Spencer                                        NOCUSTODIAN00044977
                                                                                                              NOCUSTODIAN00044977
PX-2413       DOC - State of North Carolina Limited Liability Company Articles of       NOCUSTODIAN00044978   NOCUSTODIAN00044979
              Organization form for Traditionalist Worker Party National Committee,
              LLC
PX-2414       PHOTO - Photo of Richard Spencer doing the Nazi salute                    NOCUSTODIAN00044981   NOCUSTODIAN00044981
PX-2415       TWITTER – Tweet by Tony H.                                                NOCUSTODIAN00044982   NOCUSTODIAN00044982
PX-2416       DISC - Discord post                                                       NOCUSTODIAN00044983   NOCUSTODIAN00044983
PX-2417       PHOTO - Photo of Richard Spencer and Matthew Heimbach on August           NOCUSTODIAN00044985   NOCUSTODIAN00044985
              12, 2017
PX-2418       GAB - Post by Tony H.                                                     NOCUSTODIAN00044986   NOCUSTODIAN00044986
PX-2419       PHOTO - Photo of individuals doing the Nazi salute                        NOCUSTODIAN00044987   NOCUSTODIAN00044987
PX-2420       TWITTER - Tweet by Richard Spencer                                        NOCUSTODIAN00044988
                                                                                                              NOCUSTODIAN00044988
PX-2421       TWITTER - Retweet by @Tradworker                                          NOCUSTODIAN00044989   NOCUSTODIAN00044989
PX-2422       FB - Posts by Derrick D. and Matthew Heimbach                             NOCUSTODIAN00044990   NOCUSTODIAN00044990
PX-2423       PHOTO - Photo of torch march on August 11, 2017                           NOCUSTODIAN00044992
                                                                                                              NOCUSTODIAN00044992
PX-2424       TWITTER – Tweet by Matthew Heimbach                                       NOCUSTODIAN00044994   NOCUSTODIAN00044994
PX-2425       PHOTO - Photo of Richard Spencer and Elliott Kline at DC Rally            NOCUSTODIAN00044995
                                                                                                              NOCUSTODIAN00044995
PX-2426       DISC - Discord post                                                       NOCUSTODIAN00044996   NOCUSTODIAN00044996
PX-2427       TWITTER – Tweet by Matthew Parrott                                        NOCUSTODIAN00044998   NOCUSTODIAN00044998
PX-2428       TWITTER – Tweet by Richard Spencer                                        NOCUSTODIAN00045000   NOCUSTODIAN00045000
PX-2429       FILING - C.D. Cal Detention Hearing Minutes, United States v. Cole W.     NOCUSTODIAN00045005   NOCUSTODIAN00045005

PX-2430       PHOTO - Photo of Thomas G. at Battle of Berkeley                          NOCUSTODIAN00045007   NOCUSTODIAN00045007
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Exhibit No.   Description                                                            Beginning Bates       End Bates
PX-2431       PHOTO - Photos of Michael M. on August 12, 2017                        NOCUSTODIAN00045010
                                                                                                           NOCUSTODIAN00045010
PX-2432       TWITTER – Tweet regarding Pikeville rally                              NOCUSTODIAN00045016   NOCUSTODIAN00045016
PX-2433       DISC - Discord post                                                    NOCUSTODIAN00045019   NOCUSTODIAN00045019
PX-2434       TWITTER - Tweet by Evan M.                                             NOCUSTODIAN00045020   NOCUSTODIAN00045020
PX-2435       PHOTO - Photo of Matthew Heimbach with League of South                 NOCUSTODIAN00045025   NOCUSTODIAN00045025
PX-2436       DISC - Discord post                                                    NOCUSTODIAN00045026   NOCUSTODIAN00045026
PX-2437       POST - Post by Matthew Heimbach                                        NOCUSTODIAN00045027   NOCUSTODIAN00045027
PX-2438       PHOTO - Photo of Elliott Kline, Richard Spencer, and Nathan Damigo     NOCUSTODIAN00045028
              at Charlottesville 1.0                                                                       NOCUSTODIAN00045028
PX-2439       PHOTO - Screenshot of Matthew Heimbach YouTube video "Unite the        NOCUSTODIAN00045034   NOCUSTODIAN00045034
              Right! August 12"
PX-2440       DOC - FEC Form 1 - Statement of Organization - Traditionalist Worker   NOCUSTODIAN00045035   NOCUSTODIAN00045040
              Party National Committee
PX-2441       ARTICLE - Southern Poverty Law Center article by Ryan Lenz entitled,   NOCUSTODIAN00045042   NOCUSTODIAN00045045
              "Hatewatch Exclusive: Heimbach says white nationalist ranks plagued
              by 'cowardice'"
PX-2442       TWITTER - Tweet by RAM                                                 NOCUSTODIAN00045046   NOCUSTODIAN00045046
PX-2443       TWITTER - Tweets by Richard Spencer                                    NOCUSTODIAN00045048
                                                                                                           NOCUSTODIAN00045048
PX-2444       DOC - FEC Form 1 - Statement of Organization - Traditionalist Worker   NOCUSTODIAN00045049   NOCUSTODIAN00045055
              Party National Committee
PX-2445       DOC - FEC Form 1 - Statement of Organization - Traditionalist Worker   NOCUSTODIAN00045056   NOCUSTODIAN00045061
              Party National Committee
PX-2446       TWITTER – Tweet by Tony H.                                             NOCUSTODIAN00045062   NOCUSTODIAN00045062
PX-2447       FILING - USA v. Cole W. - Statement of Offense                         NOCUSTODIAN00045063   NOCUSTODIAN00045066
PX-2448       GAB - Post by Matthew Parrott                                          NOCUSTODIAN00045067   NOCUSTODIAN00045067
PX-2449       TWITTER – Tweet by Matthew Heimbach                                    NOCUSTODIAN00045071   NOCUSTODIAN00045071
PX-2450       SMS - Text message from Richard Spencer to Wife                        NOCUSTODIAN00045072   NOCUSTODIAN00045072
PX-2451       TWITTER – Tweet by Matthew Heimbach                                    NOCUSTODIAN00045073   NOCUSTODIAN00045073
PX-2452       AUD - Audio recording of conversation between Sergeant Tony N. and     NOCUSTODIAN00045076   NOCUSTODIAN00045076
              Jack P.
PX-2453       GAB - Post by Tony H.                                                  NOCUSTODIAN00045077   NOCUSTODIAN00045078
PX-2454       PHOTO - Photo of Matthew Heimbach at Michigan rally                    NOCUSTODIAN00045093   NOCUSTODIAN00045093
PX-2455       DOC - Document regarding Rise Above Movement                           NOCUSTODIAN00045095   NOCUSTODIAN00045095
PX-2456       FB - Facebook post by Matthew Parrott                                  NOCUSTODIAN00045096   NOCUSTODIAN00045096
PX-2457       SMS - Text message from Richard Spencer to his wife                    NOCUSTODIAN00045100
                                                                                                           NOCUSTODIAN00045100
PX-2458       ARTICLE - Altright.com article entitled, "Masthead: Richard Spencer"   NOCUSTODIAN00045102
                                                                                                           NOCUSTODIAN00045105
PX-2459       PHOTO - Photo of Matthew Heimbach at Michigan rally                    NOCUSTODIAN00045109   NOCUSTODIAN00045109
PX-2460       DOC - Document by The Nationalist Front                                NOCUSTODIAN00045110   NOCUSTODIAN00045110
PX-2461       INTENTIONALLY LEFT BLANK
PX-2462       DOC - FEC Form 3X for Traditionalist Worker Party National             NOCUSTODIAN00045114   NOCUSTODIAN00045120
              Committee
PX-2463       TWITTER – Tweet by @Tradworker                                         NOCUSTODIAN00045121   NOCUSTODIAN00045121
PX-2464       PHOTO - Photo of TWP at rally in Pikeville                             NOCUSTODIAN00045122   NOCUSTODIAN00045122
PX-2465       SMS - Text message from Richard Spencer to his wife                    NOCUSTODIAN00045123
                                                                                                           NOCUSTODIAN00045123
PX-2466       FILING - USA v. Benjamin D., Michael M., Thomas G., and Cole W. -      NOCUSTODIAN00045124   NOCUSTODIAN00045130
              Indictment
PX-2467       ARTICLE - Courier Journal article by Matthew Glowicki entitled,        NOCUSTODIAN00045131   NOCUSTODIAN00045133
              "White nationalist has 'no regrets,' pleads not guilty to harassment
              charge at Donald Trump rally"
PX-2468       PHOTO - Photo of torch march on August 11, 2017                        NOCUSTODIAN00045134   NOCUSTODIAN00045134
PX-2469       PHOTO - Screenshot of video of Richard Spencer and others              NOCUSTODIAN00045137
                                                                                                           NOCUSTODIAN00045137
PX-2470       DOC - YouTube Page archive of "TWP Mid-Atlantic Chapter Meeting -      NOCUSTODIAN00045139   NOCUSTODIAN00045139
              Paddy T."
PX-2471       INTENTIONALLY LEFT BLANK
PX-2472       DOC - Document regarding Traditionalist Worker Party                   NOCUSTODIAN00045160   NOCUSTODIAN00045160
PX-2473       PHOTO - Screenshot of Matthew Heimbach YouTube video "Unite the        NOCUSTODIAN00045161   NOCUSTODIAN00045161
              Right! August 12"
PX-2474       GAB - Post by Matthew Parrott                                          NOCUSTODIAN00045162   NOCUSTODIAN00045162
PX-2475       PHOTO - Photo of Matthew Heimbach holding wooden cross                 NOCUSTODIAN00045163   NOCUSTODIAN00045163
PX-2476       GAB - Matthew Parrott's profile as of 3/19/2018                        NOCUSTODIAN00045164   NOCUSTODIAN00045164
PX-2477       PHOTO - Photo of Benjamin D.                                           NOCUSTODIAN00045165   NOCUSTODIAN00045165
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Exhibit No.   Description                                                             Beginning Bates       End Bates
PX-2478       PHOTO - Photo of Cole W. on August 12, 2017                             NOCUSTODIAN00045166   NOCUSTODIAN00045166
PX-2479       PHOTO - Photo of Joseph J. on August 12, 2017                           NOCUSTODIAN00045167   NOCUSTODIAN00045167
PX-2480       ARTICLE - Herald Times Online article by Lauren Bavis entitled,         NOCUSTODIAN00045170   NOCUSTODIAN00045176
              "White nationalist group seeks to form separate community in Paoli"
PX-2481       TWITTER – Tweet regarding Pikeville rally                               NOCUSTODIAN00045177   NOCUSTODIAN00045177
PX-2482       FB - Facebook post by Traditionalist Youth Network                      NOCUSTODIAN00045178   NOCUSTODIAN00045178
PX-2483       PHOTO - Photo of Benjamin D. and Nathan Damigo                          NOCUSTODIAN00045181   NOCUSTODIAN00045181
PX-2484       VK - VK page for Tradworker                                             NOCUSTODIAN00045182   NOCUSTODIAN00045182
PX-2485       TWITTER – Tweet by @Tradworker                                          NOCUSTODIAN00045183   NOCUSTODIAN00045183
PX-2486       FILING - Attachment to Answer of Matthew Warren Heimbach                NOCUSTODIAN00045184   NOCUSTODIAN00045210
PX-2487       ARTICLE - Altright.com article by Richard Spencer entitled, "What It    NOCUSTODIAN00045211   NOCUSTODIAN00045222
              Means To Be Alt-Right"
PX-2488       PHOTO - Photo of men standing in "military formation"                   NOCUSTODIAN00045229   NOCUSTODIAN00045229
PX-2489       AUD - Audio recording of Richard Spencer after A12                      NOCUSTODIAN00045233   NOCUSTODIAN00045233
PX-2490       POST - Post by RAM (RiseAboveMovement)                                  NOCUSTODIAN00045234   NOCUSTODIAN00045234
PX-2491       DOC - Virginia Uniform Summons for David P.                             NOCUSTODIAN00045235   NOCUSTODIAN00045235
PX-2492       PHOTO - Photo of Vasillios P. on August 12, 2017                        NOCUSTODIAN00045236   NOCUSTODIAN00045236
PX-2493       INTENTIONALLY LEFT BLANK
PX-2494       ARTICLE - National Policy Institute article by Richard Spencer and      NOCUSTODIAN00045249
              Evan M. entitled, "A Statement on Eli Mosley"                                                 NOCUSTODIAN00045251
PX-2495       TWITTER – Tweet by Matthew Heimbach                                     NOCUSTODIAN00045253   NOCUSTODIAN00045253
PX-2496       ARTICLE - Altright.com article by Vincent Law entitled, "The 'Unite     NOCUSTODIAN00045264   NOCUSTODIAN00045274
              The Right' Rally Is Going To Be A Turning Point For White Identity In
              America"
PX-2497       ARTICLE - National Policy Institute article by Roger Devlin and         NOCUSTODIAN00045289   NOCUSTODIAN00045306
              Richard Spencer entitled, "Race 101"
PX-2498       ARTICLE - AltRight.com article by Vincent Law entitled, "The Alt-       NOCUSTODIAN00045307
              Right Is Finished Debating"                                                                   NOCUSTODIAN00045316
PX-2499       DISC - Discord post                                                     NOCUSTODIAN00045317   NOCUSTODIAN00045317
PX-2500       TWITTER - Tweets by Richard Spencer                                     NOCUSTODIAN00045318   NOCUSTODIAN00045318
PX-2501       DISC - Discord post                                                     NOCUSTODIAN00045326   NOCUSTODIAN00045326
PX-2502       PHOTO - Photos of Cole W. at Battle of Berkeley                         NOCUSTODIAN00045327   NOCUSTODIAN00045327
PX-2503       PHOTO - Screenshot of video from August 12, 2017                        NOCUSTODIAN00045343   NOCUSTODIAN00045343
PX-2504       PHOTO - Photo of Vasillios P.                                           NOCUSTODIAN00045344   NOCUSTODIAN00045344
PX-2505       TWITTER - Tweet by Chris S. about Richard Spencer giving speech         NOCUSTODIAN00045345   NOCUSTODIAN00045345
PX-2506       VID - Video recording of violence at DC rally                           NOCUSTODIAN00045347   NOCUSTODIAN00045347
PX-2507       ARTICLE - Light Upon Light article by Matthew Heimbach entitled, "In    NOCUSTODIAN00045378   NOCUSTODIAN00045386
              From the Cold: Why I Left White Nationalism"
PX-2508       PHOTO - Photo of NSM members holding banner                             NOCUSTODIAN00045399   NOCUSTODIAN00045399
PX-2509       VID - Video recording of Richard Spencer's Periscope                    NOCUSTODIAN00045400   NOCUSTODIAN00045400
PX-2510       TWITTER – Tweet by Matthew Heimbach                                     NOCUSTODIAN00045401   NOCUSTODIAN00045401
PX-2511       VID - Video recording of White supremacists at Michigan State           NOCUSTODIAN00045402   NOCUSTODIAN00045402
              University
PX-2512       PHOTO - Photo of August 11, 2017 torch march                            NOCUSTODIAN00045447   NOCUSTODIAN00045447
PX-2513       WEB - Radio Albion - The Daily Traditionalist: Jewish Drug Peddlers     NOCUSTODIAN00045448   NOCUSTODIAN00045450
              in Modern Medicine
PX-2514       VID - Video recording of Richard Spencer                                NOCUSTODIAN00045451   NOCUSTODIAN00045451
PX-2515       VID - Video recording of Richard Spencer - Periscope Broadcast          NOCUSTODIAN00045452   NOCUSTODIAN00045452
PX-2516       VID - Video recording of August 12, 2017                                NOCUSTODIAN00045453   NOCUSTODIAN00045453
PX-2517       AUD - Audio recording of RWW News with Richard Spencer                  NOCUSTODIAN00045456   NOCUSTODIAN00045456
PX-2518       WEB - Radio Albion - The Daily Traditionalist: Capitalism is the New    NOCUSTODIAN00045458   NOCUSTODIAN00045459
              Colonialism
PX-2519       PHOTO - Screenshot of video of Sean N.                                  NOCUSTODIAN00045527   NOCUSTODIAN00045527
PX-2520       PHOTO - Screenshot of video of Pikesville rally                         NOCUSTODIAN00045528   NOCUSTODIAN00045528
PX-2521       VID - Video recording of Richard Spencer's Periscope                    NOCUSTODIAN00045529   NOCUSTODIAN00045529
PX-2522       VID - Video recording of Richard Spencer interview                      NOCUSTODIAN00045542   NOCUSTODIAN00045542
PX-2523       VID - Video recording of Torch March                                    NOCUSTODIAN00045543   NOCUSTODIAN00045543
PX-2524       ARTICLE - The New York Times article entitled, "Far-Right Groups        NOCUSTODIAN00045544   NOCUSTODIAN00045548
              Surge Into National View in Charlottesville" by Richard Fausset and
              Alan Feuer
PX-2525       ARTICLE - AltRight.com article by Richard Spencer entitled, "A Note     NOCUSTODIAN00045549
              On The Charlottesville Statement"                                                             NOCUSTODIAN00045556
PX-2526       VID - Video recording of Richard Spencer posting on Discord (from       NOCUSTODIAN00045557   NOCUSTODIAN00045557
              Periscope)
PX-2527       VID - Video recording of Richard Spencer                                NOCUSTODIAN00045625   NOCUSTODIAN00045625
PX-2528       AUD - Audio recording of Reveal podcast with Richard Spencer            NOCUSTODIAN00045626   NOCUSTODIAN00045626
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Exhibit No.   Description                                                                Beginning Bates       End Bates
PX-2529       VID - Video recording of young Black woman pushed by attendees at          NOCUSTODIAN00045627   NOCUSTODIAN00045627
              Trump rally
PX-2530       VID - Video recording of Unicorn Riot video, rapid questions with          NOCUSTODIAN00045628   NOCUSTODIAN00045628
              Matthew Heimbach
PX-2531       VID - Video recording of Local 12 (Cincinnati) report on "White            NOCUSTODIAN00045629   NOCUSTODIAN00045629
              separatist from Cincinnati calls for more protests after Charlottesville
              terror"
PX-2532       VID - Video recording of Richard Spencer                                   NOCUSTODIAN00045630   NOCUSTODIAN00045630
PX-2533       VID - Video recording of August 12, 2017                                   NOCUSTODIAN00045631   NOCUSTODIAN00045631
PX-2534       VID - Video recording of interview with Matthew Heimbach                   NOCUSTODIAN00045632   NOCUSTODIAN00045632
PX-2535       AUD - Audio recording of Alt-Right Politics podcast with Richard           NOCUSTODIAN00045633   NOCUSTODIAN00045633
              Spencer
PX-2536       AUD - Audio recording of The Daily Traditionalist podcast with             NOCUSTODIAN00045634   NOCUSTODIAN00045634
              Matthew Heimbach and Tony Hovater
PX-2537       FILING - Commonwealth vs. Heimbach - Compilation of filings in             NOCUSTODIAN00045635   NOCUSTODIAN00045744
              criminal case
PX-2538       VID - Video recording of August 12, 2017                                   NOCUSTODIAN00045745   NOCUSTODIAN00045745
PX-2539       AUD - Audio recording on AltRight.com: "What Berkeley Means"               NOCUSTODIAN00045746   NOCUSTODIAN00045746
PX-2540       VID - Video recording by Washington Post                                   NOCUSTODIAN00045747   NOCUSTODIAN00045747
PX-2541       VID - Video recording of ABC News coverage                                 NOCUSTODIAN00045748   NOCUSTODIAN00045748
PX-2542       VID - Video recording of NowThis - "Who is Richard Spencer"                NOCUSTODIAN00045749   NOCUSTODIAN00045749
PX-2543       VID - Video recording of Light Upon Light                                  NOCUSTODIAN00045750   NOCUSTODIAN00045750
PX-2544       VID - Video recording of Richard Spencer                                   NOCUSTODIAN00045751   NOCUSTODIAN00045751
PX-2545       VID - Video recording of 20/20                                             NOCUSTODIAN00045752   NOCUSTODIAN00045752
PX-2546       AUD - Audio recording of The War Room podcast, Episode 49                  NOCUSTODIAN00045753   NOCUSTODIAN00045753
PX-2547       AUD - Audio recording of Action! Podcast, Episode 4                        NOCUSTODIAN00045754   NOCUSTODIAN00045754
PX-2548       AUD - Audio recording of Action! Podcast, Episode 7                        NOCUSTODIAN00045755   NOCUSTODIAN00045755
PX-2549       AUD - Audio recording of Action! Podcast, Episode 5                        NOCUSTODIAN00045757   NOCUSTODIAN00045757
PX-2550       VID - Video recording by Augustus Invictus of August 11, 2017              NOCUSTODIAN00045758   NOCUSTODIAN00045758
PX-2551       VID - Video recording of Richard Spencer                                   NOCUSTODIAN00045759   NOCUSTODIAN00045759
PX-2552       AUD - Audio recording of Action! Podcast, Episode 2                        NOCUSTODIAN00045760   NOCUSTODIAN00045760
PX-2553       AUD - Audio recording of The Spencer's Clubhouse                           NOCUSTODIAN00045761   NOCUSTODIAN00045761
PX-2554       VID - Video recording of ABC 20/20 Fractured America: Extremism In         NOCUSTODIAN00045762   NOCUSTODIAN00045762
              the Streets
PX-2555       AUD - Audio recording of Action! Podcast, Episode 8                        NOCUSTODIAN00045763   NOCUSTODIAN00045763
PX-2556       AUD - Audio recording of Between Two Lampshades                            NOCUSTODIAN00045764   NOCUSTODIAN00045764
PX-2557       AUD - Audio recording of The Right Voice podcast                           NOCUSTODIAN00045765   NOCUSTODIAN00045765
PX-2558       AUD - Audio recording of Action! Podcast, Episode 6                        NOCUSTODIAN00045766   NOCUSTODIAN00045766
PX-2559       VID - Video recording of Charlottesville 1.0                               NOCUSTODIAN00045767   NOCUSTODIAN00045767
PX-2560       VID - Video recording of ABC Nightly News - "Young and Racist              NOCUSTODIAN00045768   NOCUSTODIAN00045768
              White Separatist Movement's Rising Star"
PX-2561       VID - Video recording of ABC News "Who are white nationalists and          NOCUSTODIAN00045771   NOCUSTODIAN00045771
              antifa?"
PX-2562       VID - Video recording of speeches at the DC rally                          NOCUSTODIAN00045772   NOCUSTODIAN00045772
PX-2563       VID - Video recording of Richard Spencer                                   NOCUSTODIAN00045773   NOCUSTODIAN00045773
PX-2564       VID - Video recording of The Foundry Episode 9 featuring Will P.           NOCUSTODIAN00045776   NOCUSTODIAN00045776
PX-2565       VID - Video recording of Richard Spencer                                   NOCUSTODIAN00045777   NOCUSTODIAN00045777
PX-2566       AUD - Audio recording of Nordic Frontier #31: Matthew Heimbach and         NOCUSTODIAN00045778   NOCUSTODIAN00045778
              the Charlottesville Aftermath
PX-2567       VID - Video recording of main speech under tent, Charlottesville 1.0       NOCUSTODIAN00045781   NOCUSTODIAN00045781
PX-2568       VID - Video recording of Richard Spencer                                   NOCUSTODIAN00045782   NOCUSTODIAN00045782
PX-2569       VID - Video recording of Goy Talk LIVE Ft Augustus Sol Invictus and        NOCUSTODIAN00045783   NOCUSTODIAN00045783
              Richard Spencer
PX-2570       VID - Video recording of Alldayeveryday Film "Age of Rage"                 NOCUSTODIAN00045784   NOCUSTODIAN00045784
PX-2571       POST - Post by Christopher Cantwell                                        NOCUSTODIAN00045786   NOCUSTODIAN00045786
PX-2572       TWITTER – Tweet by Vasillios P.                                            NOCUSTODIAN00045787   NOCUSTODIAN00045787
PX-2573       TWITTER – Tweet regarding Heather Heyer                                    NOCUSTODIAN00045788   NOCUSTODIAN00045788
PX-2574       POST - Post by Christopher Cantwell                                        NOCUSTODIAN00045790   NOCUSTODIAN00045790
PX-2575       GAB - Post by Christopher Cantwell                                         NOCUSTODIAN00045791   NOCUSTODIAN00045791
PX-2576       DISC - Discord post                                                        NOCUSTODIAN00045793   NOCUSTODIAN00045793
PX-2577       PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00045794   NOCUSTODIAN00045794
PX-2578       FB - Facebook post by Christopher Cantwell                                 NOCUSTODIAN00045795   NOCUSTODIAN00045795
PX-2579       PHOTO - Photo of Benjamin D.                                               NOCUSTODIAN00045796   NOCUSTODIAN00045796
PX-2580       PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00045797   NOCUSTODIAN00045797
PX-2581       GAB - Post by Christopher Cantwell                                         NOCUSTODIAN00045800   NOCUSTODIAN00045800
PX-2582       GAB - Post by Christopher Cantwell                                         NOCUSTODIAN00045802   NOCUSTODIAN00045802
PX-2583       PHOTO - Photo of Benjamin D.                                               NOCUSTODIAN00045803   NOCUSTODIAN00045803
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Exhibit No.   Description                                                             Beginning Bates       End Bates
PX-2584       GAB - Post by Christopher Cantwell                                      NOCUSTODIAN00045806   NOCUSTODIAN00045806
PX-2585       GAB - Post by Christopher Cantwell                                      NOCUSTODIAN00045807   NOCUSTODIAN00045807
PX-2586       ARTICLE - Anti-Defamation League article entitled, "88"                 NOCUSTODIAN00045808   NOCUSTODIAN00045809
PX-2587       DISC - Discord post                                                     NOCUSTODIAN00045810   NOCUSTODIAN00045810
PX-2588       GAB - Post by Rise Above Movement (RAM)                                 NOCUSTODIAN00045812   NOCUSTODIAN00045812
PX-2589       DISC - Discord post                                                     NOCUSTODIAN00045813   NOCUSTODIAN00045813
PX-2590       GAB - Post by Christopher Cantwell                                      NOCUSTODIAN00045816   NOCUSTODIAN00045816
PX-2591       GAB - Post by Christopher Cantwell                                      NOCUSTODIAN00045817   NOCUSTODIAN00045817
PX-2592       PHOTO - Photo of James Fields with Vanguard members on August 12,       NOCUSTODIAN00045821   NOCUSTODIAN00045821
              2017
PX-2593       PHOTO - Photo of James Fields with Vanguard members on August 12,       NOCUSTODIAN00045823   NOCUSTODIAN00045823
              2017
PX-2594       PHOTO - Photo of Christopher Cantwell on August 11, 2017                NOCUSTODIAN00045824   NOCUSTODIAN00045824
PX-2595       POST - Post by Christopher Cantwell                                     NOCUSTODIAN00045825   NOCUSTODIAN00045825
PX-2596       POST - Post by Vasillios P.                                             NOCUSTODIAN00045827   NOCUSTODIAN00045827
PX-2597       PHOTO - Photo of Nigel K. on August 12, 2017                            NOCUSTODIAN00045828   NOCUSTODIAN00045828
PX-2598       ARTICLE - Anti-Defamation League article entitled, "Atomwaffen          NOCUSTODIAN00045829   NOCUSTODIAN00045830
              Division"
PX-2599       TWITTER - Tweet by Vasillios P.                                         NOCUSTODIAN00045831   NOCUSTODIAN00045831
PX-2600       PHOTO - Photo of Benjamin D.                                            NOCUSTODIAN00045832   NOCUSTODIAN00045832
PX-2601       DOC - Document entitled "Our Fight Clothing Co.: American &             NOCUSTODIAN00045833   NOCUSTODIAN00045838
              European Brands"
PX-2602       PHOTO - Photo of Benjamin D.                                            NOCUSTODIAN00045839   NOCUSTODIAN00045839
PX-2603       DISC - Discord post                                                     NOCUSTODIAN00045840   NOCUSTODIAN00045840
PX-2604       DISC - Discord post                                                     NOCUSTODIAN00045841   NOCUSTODIAN00045841
PX-2605       DISC - Discord post                                                     NOCUSTODIAN00045844   NOCUSTODIAN00045844
PX-2606       POST - Post by Christopher Cantwell                                     NOCUSTODIAN00045845   NOCUSTODIAN00045845
PX-2607       PHOTO - Photo of Vasillios P. on August 12, 2017                        NOCUSTODIAN00045846   NOCUSTODIAN00045846
PX-2608       DISQUS - Profile of "Vasillios" on Disqus                               NOCUSTODIAN00045847   NOCUSTODIAN00045847
PX-2609       PHOTO - Screenshot of VICE video of Christopher Cantwell                NOCUSTODIAN00045848   NOCUSTODIAN00045848
PX-2610       PHOTO - Screenshot of Radical Agenda Podcast, Episode 318 -             NOCUSTODIAN00045849   NOCUSTODIAN00045849
              Political Violence
PX-2611       POST - Post by Christopher Cantwell                                     NOCUSTODIAN00045858   NOCUSTODIAN00045858
PX-2612       POST - Post by Christopher Cantwell                                     NOCUSTODIAN00045859   NOCUSTODIAN00045859
PX-2613       TWITTER - Tweet by Vasillios P.                                         NOCUSTODIAN00045860   NOCUSTODIAN00045860
PX-2614       PHOTO - Mugshot for Michael C.                                          NOCUSTODIAN00045862
                                                                                                            NOCUSTODIAN00045862
PX-2615       POST - Post by Christopher Cantwell                                     NOCUSTODIAN00045863   NOCUSTODIAN00045863
PX-2616       PHOTO - Photo of Benjamin D.                                            NOCUSTODIAN00045864   NOCUSTODIAN00045864
PX-2617       PHOTO - Photo of Benjamin D.                                            NOCUSTODIAN00045865   NOCUSTODIAN00045865
PX-2618       PHOTO - Photo of Benjamin D.                                            NOCUSTODIAN00045866   NOCUSTODIAN00045866
PX-2619       POST - Post by Christopher Cantwell                                     NOCUSTODIAN00045892   NOCUSTODIAN00045892
PX-2620       PHOTO - Photo of Benjamin D.                                            NOCUSTODIAN00045895   NOCUSTODIAN00045895
PX-2621       TWITTER - Tweets by Vasillios P.                                        NOCUSTODIAN00045896   NOCUSTODIAN00045896
PX-2622       GAB - Post by Vasillios P.                                              NOCUSTODIAN00045910   NOCUSTODIAN00045910
PX-2623       POST - Post by Vasillios P.                                             NOCUSTODIAN00045912   NOCUSTODIAN00045912
PX-2624       FILING - Judgment, United States of America v. Benjamin D.              NOCUSTODIAN00045913
                                                                                                            NOCUSTODIAN00045919
PX-2625       ARTICLE - Radical Agenda website article by Christopher Cantwell        NOCUSTODIAN00045920   NOCUSTODIAN00045925
              entitled, "Radical Agenda S05E030 - A Violent Clash Ensued"
PX-2626       PHOTO - Photo of Benjamin D., Elliott Kline, and Michael M. on          NOCUSTODIAN00045933   NOCUSTODIAN00045933
              August 12, 2017
PX-2627       ARTICLE - Radical Agenda website article by Christopher Cantwell        NOCUSTODIAN00045934   NOCUSTODIAN00045935
              entitled, "Letters from a Virginia Prison - Alex Michael R. 20181210"
PX-2628       ARTICLE - Radical Agenda website article by Christopher Cantwell        NOCUSTODIAN00045936   NOCUSTODIAN00045946
              entitled, "Radical Agenda S05E024 - Libertarian White Supremacy"
PX-2629       PHOTO - Photo of August 12, 2017                                        NOCUSTODIAN00045947   NOCUSTODIAN00045947
PX-2630       GAB - Post by Christopher Cantwell                                      NOCUSTODIAN00045957   NOCUSTODIAN00045957
PX-2631       TWITTER - Tweets by Vasillios P.                                        NOCUSTODIAN00045958   NOCUSTODIAN00045958
PX-2632       POST - Posts by Christopher Cantwell                                    NOCUSTODIAN00045959   NOCUSTODIAN00045959
PX-2633       ARTICLE - Southern Poverty Law Center article entitled, "Christopher    NOCUSTODIAN00045965   NOCUSTODIAN00045973
              Cantwell"
PX-2634       FB - Facebook post by Christopher Cantwell                              NOCUSTODIAN00045974
                                                                                                            NOCUSTODIAN00045974
PX-2635       TWITTER - Tweets by Vasillios P.                                        NOCUSTODIAN00045975   NOCUSTODIAN00045975
PX-2636       PHOTO - Photo of Benjamin D., Elliott Kline, and Michael M. on          NOCUSTODIAN00045976   NOCUSTODIAN00045976
              August 12, 2017
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Exhibit No.   Description                                                            Beginning Bates       End Bates
PX-2637       PHOTO - Photo of Michael C. in Court                                   NOCUSTODIAN00045977
                                                                                                           NOCUSTODIAN00045977
PX-2638       TWITTER - Tweets by Vasillios P.                                       NOCUSTODIAN00045978   NOCUSTODIAN00045978
PX-2639       TWITTER - Tweets by Vasillios P.                                       NOCUSTODIAN00045979   NOCUSTODIAN00045979
PX-2640       FB - Facebook post with message to Nigel K.                            NOCUSTODIAN00045980   NOCUSTODIAN00045980
PX-2641       ARTICLE - PBS article by A.C. Thompson entitled, "An Alarming Tip      NOCUSTODIAN00045984   NOCUSTODIAN00045988
              About a Neo-Nazi Marine, Then an Uncertain Response"
PX-2642       PHOTO - Photo of Benjamin D.                                           NOCUSTODIAN00045990   NOCUSTODIAN00045990
PX-2643       ARTICLE - Daily Stormer article by Robert "Azzmador" Ray entitled,     NOCUSTODIAN00045991   NOCUSTODIAN00045997
              "The Krypto Report - Episode XXII: The Charlottesville Putsch
              [UPDATE: RE-UPLOADED]"
PX-2644       POST - Post by Christopher Cantwell                                    NOCUSTODIAN00045999   NOCUSTODIAN00045999
PX-2645       TWITTER - Tweets by Vasillios P.                                       NOCUSTODIAN00046000   NOCUSTODIAN00046000
PX-2646       POST - Post by Christopher Cantwell                                    NOCUSTODIAN00046001   NOCUSTODIAN00046001
PX-2647       TWITTER - Tweets by Vasillios P.                                       NOCUSTODIAN00046002   NOCUSTODIAN00046002
PX-2648       TWITTER - Tweets by Vasillios P.                                       NOCUSTODIAN00046003   NOCUSTODIAN00046003
PX-2649       TWITTER - Tweets by Vasillios P.                                       NOCUSTODIAN00046005   NOCUSTODIAN00046005
PX-2650       ARTICLE - Radical Agenda website article by Christopher Cantwell       NOCUSTODIAN00046006
              entitled, "Radical Agenda EP315 - Tara McCarthy & Azzmador"                                  NOCUSTODIAN00046014
PX-2651       PHOTO - Screenshot of video game                                       NOCUSTODIAN00046015   NOCUSTODIAN00046015
PX-2652       FB - Facebook profile of Vasillios P.                                  NOCUSTODIAN00046016   NOCUSTODIAN00046016
PX-2653       ARTICLE - Radical Agenda website article by Christopher Cantwell       NOCUSTODIAN00046017   NOCUSTODIAN00046019
              entitled, "Radical Agenda S04E010 - Taxing Truth"
PX-2654       TWITTER - Tweets by Vasillios P.                                       NOCUSTODIAN00046020   NOCUSTODIAN00046020
PX-2655       FILING - Plea Agreement, United States of America v. Benjamin D.       NOCUSTODIAN00046022   NOCUSTODIAN00046033
PX-2656       ARTICLE - Radical Agenda website article by Christopher Cantwell       NOCUSTODIAN00046034   NOCUSTODIAN00046038
              entitled, "Agreeing With Liberals Blitzkrieg"
PX-2657       ARTICLE - Anti-Defamation League article entitled, "Daily Stormer      NOCUSTODIAN00046041   NOCUSTODIAN00046054
              Book Clubs (SBC)"
PX-2658       ARTICLE - Radical Agenda website article by Christopher Cantwell       NOCUSTODIAN00046055   NOCUSTODIAN00046066
              entitled, "Radical Agenda S05E031 - Cowards"
PX-2659       TWITTER - Tweet from Rise Above Movement (RAM)                         NOCUSTODIAN00046067   NOCUSTODIAN00046067
PX-2660       FB - Facebook post by Vasillios P.                                     NOCUSTODIAN00046084   NOCUSTODIAN00046084
PX-2661       PHOTO - Photo of torch march on August 11, 2017                        NOCUSTODIAN00046085   NOCUSTODIAN00046085
PX-2662       TWITTER - Account Header for Vasillios P.                              NOCUSTODIAN00046086   NOCUSTODIAN00046086
PX-2663       ARTICLE - Radical Agenda website article by Christopher Cantwell       NOCUSTODIAN00046115   NOCUSTODIAN00046124
              entitled, "Outlaw Conservative S01E000 Introduction"
PX-2664       ARTICLE - Radical Agenda website article by Christopher Cantwell       NOCUSTODIAN00046125
              entitled, "This is Not About Optics"                                                         NOCUSTODIAN00046128
PX-2665       ARTICLE - Daily Stormer article by Andrew Anglin entitled,             NOCUSTODIAN00046152   NOCUSTODIAN00046179
              "Regarding Tennessee White Lives Matter March Tomorrow (And the
              Drama Surrounding It)"
PX-2666       PHOTO - Photo of torch march on August 11, 2017                        NOCUSTODIAN00046180   NOCUSTODIAN00046180
PX-2667       ARTICLE - Radical Agenda article by Christopher Cantwell entitled,     NOCUSTODIAN00046182   NOCUSTODIAN00046186
              "The Contents of My Body Camera From Charlottesville"
PX-2668       ARTICLE - Daily Stormer article by Robert "Azzmador" Ray (with         NOCUSTODIAN00046190   NOCUSTODIAN00046208
              Andrew Anglin) entitled, "Charlottesville: Why You Must Attend and
              What to Bring and Not to Bring!"
PX-2669       PHOTO - Photo of torch march on August 11, 2017                        NOCUSTODIAN00046209   NOCUSTODIAN00046209
PX-2670       DISC - Discord post                                                    NOCUSTODIAN00046211   NOCUSTODIAN00046211
PX-2671       ARTICLE - Daily Stormer article by Robert "Azzmador" Ray entitled,     NOCUSTODIAN00046212   NOCUSTODIAN00046223
              "The Road to Charlottesville and the Shuttening"
PX-2672       PHOTO - Photo of Matthew Heimbach                                      NOCUSTODIAN00046224   NOCUSTODIAN00046224
PX-2673       DOC - Exhibit List of the United States, United States of America v.   NOCUSTODIAN00046225   NOCUSTODIAN00046243
              Benjamin D.
PX-2674       PHOTO - Photo of Benjamin D.                                           NOCUSTODIAN00046244   NOCUSTODIAN00046244
PX-2675       PHOTO - Photo of Benjamin D.                                           NOCUSTODIAN00046245   NOCUSTODIAN00046245
PX-2676       PHOTO – Photo of August 11, 2017                                       NOCUSTODIAN00046247   NOCUSTODIAN00046247
PX-2677       PHOTO - Photo of Vasillios P. on August 12, 2017                       NOCUSTODIAN00046249   NOCUSTODIAN00046249
PX-2678       PHOTO - Photo of August 12, 2017                                       NOCUSTODIAN00046253   NOCUSTODIAN00046253
PX-2679       PHOTO - Screenshot of video of Christopher Cantwell                    NOCUSTODIAN00046254
                                                                                                           NOCUSTODIAN00046254
PX-2680       PHOTO - Photo of torch march on August 11, 2017                        NOCUSTODIAN00046255   NOCUSTODIAN00046255
PX-2681       PHOTO - Photo of Benjamin D. at torch march on August 11, 2017         NOCUSTODIAN00046256   NOCUSTODIAN00046256
PX-2682       PHOTO - Photo of torch march on August 11, 2017                        NOCUSTODIAN00046258   NOCUSTODIAN00046258
PX-2683       PHOTO - Photo of Vasillios P.                                          NOCUSTODIAN00046259   NOCUSTODIAN00046259
PX-2684       PHOTO - Photo of Benjamin D.                                           NOCUSTODIAN00046260   NOCUSTODIAN00046260
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Exhibit No.   Description                                                               Beginning Bates       End Bates
PX-2685       PHOTO - Photo of Vasillios P. on August 11, 2017                          NOCUSTODIAN00046273   NOCUSTODIAN00046273
PX-2686       PHOTO - Photo of Vasillios P. on August 12, 2017                          NOCUSTODIAN00046274   NOCUSTODIAN00046274
PX-2687       PHOTO - Photo of Vasillios P. on August 11, 2017                          NOCUSTODIAN00046275   NOCUSTODIAN00046275
PX-2688       PHOTO - Photo of Vasillios P. on August 12, 2017                          NOCUSTODIAN00046277   NOCUSTODIAN00046277
PX-2689       PHOTO - Screenshot of VICE video of torch march at Thomas Jefferson       NOCUSTODIAN00046278   NOCUSTODIAN00046278
              statute
PX-2690       ARTICLE - Daily Stormer article by Andrew Anglin entitled, "Daily         NOCUSTODIAN00046279   NOCUSTODIAN00046312
              Stormer's Top 20 Stories of 2017"
PX-2691       FILING - Photos contained in Sentencing Memorandum of the United          NOCUSTODIAN00046314   NOCUSTODIAN00046353
              States, United States of America v. Benjamin D.
PX-2692       PHOTO - Photo of August 12, 2017                                          NOCUSTODIAN00046354   NOCUSTODIAN00046354
PX-2693       PHOTO - Photo of August 12, 2017                                          NOCUSTODIAN00046355   NOCUSTODIAN00046355
PX-2694       PHOTO - Photo of August 12, 2017                                          NOCUSTODIAN00046356   NOCUSTODIAN00046356
PX-2695       PHOTO - Photo of counter-protestors on August 11, 2017                    NOCUSTODIAN00046357
                                                                                                              NOCUSTODIAN00046357
PX-2696       PHOTO - Photo of Vasillios P. on August 12, 2017                          NOCUSTODIAN00046358   NOCUSTODIAN00046358
PX-2697       ARTICLE - PBS article by A.C. Thompson entitled, "Ranks of                NOCUSTODIAN00046364   NOCUSTODIAN00046372
              Notorious Hate Group Include Active-Duty Military"
PX-2698       VID - Video recording of Christopher Cantwell                             NOCUSTODIAN00046374   NOCUSTODIAN00046374
PX-2699       FILING - Exhibit List of the United States, United States of America v.   NOCUSTODIAN00046595   NOCUSTODIAN00046712
              Benjamin D.
PX-2700       PHOTO - Screenshot of VICE video of Christopher Cantwell                  NOCUSTODIAN00046713   NOCUSTODIAN00046713
PX-2701       VID - Video recording of Fields on August 12, 2017 with VA                NOCUSTODIAN00046714   NOCUSTODIAN00046714
PX-2702       VID - Video recording from August 12, 2017                                NOCUSTODIAN00046716   NOCUSTODIAN00046716
PX-2703       VID - Video recording of August 11, 2017 torchlight rally                 NOCUSTODIAN00046718   NOCUSTODIAN00046718
PX-2704       INTENTIONALLY LEFT BLANK
PX-2705       AUD - Audio recording of Radical Agenda, Episode entitled,                NOCUSTODIAN00046720   NOCUSTODIAN00046720
              "Christmas Eve"
PX-2706       AUD - Audio recording of Radical Agenda, Episode 254 - "Pre-Game"         NOCUSTODIAN00046721   NOCUSTODIAN00046721

PX-2707       AUD - Audio recording of Radical Agenda, Episode 248 - "Catch Up"         NOCUSTODIAN00046722   NOCUSTODIAN00046722

PX-2708       AUD - Audio recording of Outlaw Conservative - S013007                    NOCUSTODIAN00046723   NOCUSTODIAN00046723
PX-2709       AUD - Audio recording of Radical Agenda, Episode 244 - "The               NOCUSTODIAN00046724   NOCUSTODIAN00046724
              Goldstein Globes"
PX-2710       AUD - Audio recording of Radical Agenda, Episode 242 - "Shut Up,          NOCUSTODIAN00046725   NOCUSTODIAN00046725
              Meg"
PX-2711       AUD - The Krypto Report - Episode XXII: The Charlottesville Putsch        NOCUSTODIAN00046726   NOCUSTODIAN00046726
              [UPDATE: RE-UPLOADED] Ray"
PX-2712       AUD - Audio recording of Radical Agenda, Episode 243 - "Tucked"           NOCUSTODIAN00046727   NOCUSTODIAN00046727
PX-2713       AUD - Audio recording of Radical Agenda, Episode 318 - "Political         NOCUSTODIAN00046728   NOCUSTODIAN00046728
              Violence"
PX-2714       AUD - Audio recording of Radical Agenda, Episode 301 - "Vanguard          NOCUSTODIAN00046729   NOCUSTODIAN00046729
              America"
PX-2715       AUD - Audio recording of Radical Agenda, Episode 253 - "Ending the        NOCUSTODIAN00046730   NOCUSTODIAN00046730
              Argument"
PX-2716       INTENTIONALLY LEFT BLANK
PX-2717       AUD - Audio recording of Radical Agenda, S03E014                          NOCUSTODIAN00046732   NOCUSTODIAN00046732
PX-2718       VID - Video recording from August 12, 2017                                NOCUSTODIAN00046733   NOCUSTODIAN00046733
PX-2719       AUD - Audio recording of Radical Agenda, Episode 329 - "News              NOCUSTODIAN00046734   NOCUSTODIAN00046734
              Phones"
PX-2720       INTENTIONALLY LEFT BLANK
PX-2721       AUD - Audio recording of VICE - Charlottesville: Race and Terror          NOCUSTODIAN00046736   NOCUSTODIAN00046736
PX-2722       VID - Video recording of August 12, 2017 - News2Share                     NOCUSTODIAN00046738   NOCUSTODIAN00046738
PX-2723       VID - Video recording from August 12, 2017                                NOCUSTODIAN00046740   NOCUSTODIAN00046740
PX-2724       VID - Video recording of August 11, 2017 torchlight rally                 NOCUSTODIAN00046741   NOCUSTODIAN00046741
PX-2725       INTENTIONALLY LEFT BLANK
PX-2726       INTENTIONALLY LEFT BLANK
PX-2727       AUD - Audio recording of Radical Agenda, S05E069                          NOCUSTODIAN00046745   NOCUSTODIAN00046745
PX-2728       DOC - Document regarding Traditionalist Worker Party                      NOCUSTODIAN00046746   NOCUSTODIAN00046758
PX-2729       DISCOVERY - iDiscovery Solutions tracking chart on Matthew                NOCUSTODIAN00046789   NOCUSTODIAN00046789
              Parrott's device/accounts
PX-2730       FILING - William B. v. James Fields et al., Declaration of Matthew        NOCUSTODIAN00046803   NOCUSTODIAN00046803
              Parrott
PX-2731       FILING - New York State Criminal Disposition Information for              NOCUSTODIAN00047205   NOCUSTODIAN00047208
              Christopher Cantwell
PX-2732       TWITTER - Tweet by Jeff Schoep                                            NOCUSTODIAN00047445   NOCUSTODIAN00047445
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Exhibit No.   Description                                                                Beginning Bates       End Bates
PX-2733       TWITTER - Tweet by Jeff Schoep                                             NOCUSTODIAN00047447   NOCUSTODIAN00047447
PX-2734       PHOTO - Photo of NSM member carrying a NSM shield                          NOCUSTODIAN00047448   NOCUSTODIAN00047448
PX-2735       TWITTER - Tweets by Jeff Schoep                                            NOCUSTODIAN00047450   NOCUSTODIAN00047450
PX-2736       TWITTER - Tweets by Jeff Schoep                                            NOCUSTODIAN00047451   NOCUSTODIAN00047451
PX-2737       DOC - Document regarding Nationalist Front                                 NOCUSTODIAN00047452   NOCUSTODIAN00047454
PX-2738       PHOTO - Photo of August 11, 2017                                           NOCUSTODIAN00047460   NOCUSTODIAN00047460
PX-2739       ARTICLE - Anti-Defamation League article entitled, "White                  NOCUSTODIAN00047463   NOCUSTODIAN00047464
              Supremacists Demonstrate in Front of the Menorah at Chicago's Daley
              Plaza"
PX-2740       VK - VK post by Jeff Schoep                                                NOCUSTODIAN00047465   NOCUSTODIAN00047465
PX-2741       PHOTO - Photo of Handwritten page in notebook                              NOCUSTODIAN00047466   NOCUSTODIAN00047466
PX-2742       ARTICLE - The Krypto Report article entitled, "Episode - XXII The          NOCUSTODIAN00047467   NOCUSTODIAN00047469
              Charlottesville Putsch"
PX-2743       ARTICLE - Wikipedia article entitled, "Black Sun (symbol)"                 NOCUSTODIAN00047471   NOCUSTODIAN00047474
PX-2744       VK - VK Post by Burt C.                                                    NOCUSTODIAN00047476   NOCUSTODIAN00047476
PX-2745       DOC - National Socialist Movement document entitled, "America's            NOCUSTODIAN00047491   NOCUSTODIAN00047492
              National Socialist Party"
PX-2746       ARTICLE - The Krypto Report Vault YouTube feed                             NOCUSTODIAN00047493   NOCUSTODIAN00047494
PX-2747       ARTICLE - The Washington Post article by Ian Shapira entitled, "White      NOCUSTODIAN00047495   NOCUSTODIAN00047505
              supremacist is guilty in Charlottesville parking garage beating of black
              man"
PX-2748       ARTICLE - Nationalist Front Webpage article entitled, "Unity               NOCUSTODIAN00047528   NOCUSTODIAN00047543
              Statement"
PX-2749       ARTICLE - The Krypto Report SoundCloud                                     NOCUSTODIAN00047544   NOCUSTODIAN00047544
PX-2750       TWITTER - Tweet by Jeff Schoep                                             NOCUSTODIAN00047547   NOCUSTODIAN00047547
PX-2751       ARTICLE - Wikipedia article entitled, "Runic insignia of the               NOCUSTODIAN00047548   NOCUSTODIAN00047552
              Schutzstaffel"
PX-2752       DOC - Document containing names and headshots of individuals               NOCUSTODIAN00047553   NOCUSTODIAN00047553
PX-2753       PHOTO - Photo of man speaking National Socialist Movement poster           NOCUSTODIAN00047554   NOCUSTODIAN00047554

PX-2754       ARTICLE - Anti-Defamation League article entitled, "Day of the Rope"       NOCUSTODIAN00047557   NOCUSTODIAN00047558

PX-2755       DOC - Albemarle County Circuit Criminal Division Case Details              NOCUSTODIAN00047559   NOCUSTODIAN00047560
PX-2756       PHOTO - Photo of Nathan Damigo with Ben D. and others at Battle of         NOCUSTODIAN00047561   NOCUSTODIAN00047561
              Berkeley
PX-2757       DOC - State of California Statement of Information for Identity Evropa     NOCUSTODIAN00047563   NOCUSTODIAN00047563

PX-2758       PHOTO - Photo of Nathan Damigo running                                     NOCUSTODIAN00047590   NOCUSTODIAN00047590
PX-2759       DOC - Document regarding National Socialist Movement                       NOCUSTODIAN00047593   NOCUSTODIAN00047595
PX-2760       TWITTER - Tweet by Jeff Schoep                                             NOCUSTODIAN00047596   NOCUSTODIAN00047596
PX-2761       PHOTO - Photo of Robert Azzmador Ray on August 11, 2017                    NOCUSTODIAN00047601   NOCUSTODIAN00047601
PX-2762       VK - VK post by Burt C.                                                    NOCUSTODIAN00047602   NOCUSTODIAN00047602
PX-2763       ARTICLE - Anti-Defamation League article entitled, "14 Words"              NOCUSTODIAN00047607   NOCUSTODIAN00047608
PX-2764       VK - VK post by Burt C.                                                    NOCUSTODIAN00047610   NOCUSTODIAN00047610
PX-2765       ARTICLE - BeeLyrics article entitled, "White Man Marches On Lyrics"        NOCUSTODIAN00047611   NOCUSTODIAN00047612

PX-2766       PHOTO - Photo of Nathan Damigo at Berkeley                                 NOCUSTODIAN00047614   NOCUSTODIAN00047614
PX-2767       ARTICLE - Anti-Defamation League article entitled, "American Identity      NOCUSTODIAN00047619   NOCUSTODIAN00047620
              Movement (AIM)"
PX-2768       TWITTER – Tweet by Jeff Schoep                                             NOCUSTODIAN00047631   NOCUSTODIAN00047632
PX-2769       PHOTO - Photo of Robert "Azzmador" Ray holding banner                      NOCUSTODIAN00047639   NOCUSTODIAN00047639
PX-2770       DOC - National Socialist Movement document regarding an                    NOCUSTODIAN00047643   NOCUSTODIAN00047644
              announcement
PX-2771       DOC - National Socialist Movement document entitled, "Public Release:      NOCUSTODIAN00047646   NOCUSTODIAN00047648
              3-1-19 - Announcement:
PX-2772       ARTICLE - Southern Poverty Law Center article entitled, "National          NOCUSTODIAN00047651   NOCUSTODIAN00047653
              Socialist Movement"
PX-2773       DOC - Corporation Registration information for The National Socialist      NOCUSTODIAN00047655   NOCUSTODIAN00047656
              Movement
PX-2774       DOC - National Socialist Movement document entitled, "NSM Little           NOCUSTODIAN00047662   NOCUSTODIAN00047663
              Rock Rally After Action Report"
PX-2775       INTENTIONALLY LEFT BLANK
PX-2776       DOC - National Socialist Movement document entitled, "NSM Border           NOCUSTODIAN00047669   NOCUSTODIAN00047671
              Ops: After Action report from Arizona"
PX-2777       ARTICLE - Daily Stormer article by weev entitled, "Operational             NOCUSTODIAN00047679   NOCUSTODIAN00047687
              Security for Right Wing Rallies"
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Exhibit No.   Description                                                               Beginning Bates       End Bates
PX-2778       ARTICLE - Article entitled, "White nationalist Patrick [C.] keeps         NOCUSTODIAN00047697
              evading his Twitter ban"                                                                        NOCUSTODIAN00047698
PX-2779       ARTICLE - Article by Bert Johnson entitled, "Californian who Led          NOCUSTODIAN00047704   NOCUSTODIAN00047709
              Charlottesville White Supremacist Rally used Berkeley as a Test Run"
PX-2780       ARTICLE - Wikipedia article entitled, "Blood and Soil"                    NOCUSTODIAN00047710   NOCUSTODIAN00047718
PX-2781       DOC - Nationalist Front document entitled, "For Our Children. For Our     NOCUSTODIAN00047719   NOCUSTODIAN00047720
              Future."
PX-2782       ARTICLE - Daily Stormer article by Robert "Azzmador" Ray entitled,        NOCUSTODIAN00047727   NOCUSTODIAN00047733
              "Roving Band of Bull-Fruits Gang-Rape Mentally Disabled Man in
              Public Park"
PX-2783       DOC - Nationalist Front document regarding leadership                     NOCUSTODIAN00047746   NOCUSTODIAN00047749
PX-2784       ARTICLE - Wikipedia article entitled, "Fourteen Words"                    NOCUSTODIAN00047752   NOCUSTODIAN00047763
PX-2785       ARTICLE - Daily Stormer article by Robert "Azzmador" Ray entitled,        NOCUSTODIAN00047786   NOCUSTODIAN00047794
              "Sheboon Ice Cream Lovers Go Full Ape at Mickey D's"
PX-2786       ARTICLE - The Krypto Report article by Robert "Azzmador" Ray              NOCUSTODIAN00047814   NOCUSTODIAN00047816
              entitled, "Episode XXII: The Charlottesville Putsch [UPDATE: RE-
              UPLOADED]"
PX-2787       ARTICLE - Anti-Defamation League article entitled, "National Socialist    NOCUSTODIAN00047817   NOCUSTODIAN00047825
              Movement/Nationalist Front"
PX-2788       ARTICLE - Daily Stormer, Philly March Ground Report: Cops and             NOCUSTODIAN00047826   NOCUSTODIAN00047831
              Trumpenkriegers Work Together to Defeat Kikes and Antifa Faggots
PX-2789       ARTICLE - The Krypto Report: Member Uploads Page                          NOCUSTODIAN00047832   NOCUSTODIAN00047839
PX-2790       ARTICLE - Unicorn Riot article by Chris Schiano and Freddy Martinez       NOCUSTODIAN00047841   NOCUSTODIAN00047845
              entitled, "‘Identity Evropa’ Leader Fails To Sneakily Rebrand Neo-Nazi
              Group"
PX-2791       DOC - Document regarding National Socialist Movement                      NOCUSTODIAN00047852   NOCUSTODIAN00047865
PX-2792       TWITTER - Tweets by Jeff Schoep                                           NOCUSTODIAN00047873   NOCUSTODIAN00047877
PX-2793       ARTICLE - Daily Stormer article by weev entitled, "D.C. March Group       NOCUSTODIAN00047879   NOCUSTODIAN00047883
              Report: Alt-Right Protesters Clash with Kike Shock Troops in First
              Battle of Lafayette Square"
PX-2794       ARTICLE - Pacific Standard article by Gabriel Thompson entitled, "My      NOCUSTODIAN00047888   NOCUSTODIAN00047900
              Brother, The White Nationalist"
PX-2795       ARTICLE - The Krypto Report: Podcasts Archive                             NOCUSTODIAN00047909   NOCUSTODIAN00047913
PX-2796       ARTICLE - Wikipedia article entitled,"Sturmabteilung"                     NOCUSTODIAN00047927   NOCUSTODIAN00047939
PX-2797       ARTICLE - Daily Stormer article by Robert "Azzmador" Ray entitled,        NOCUSTODIAN00047948   NOCUSTODIAN00047955
              "Happy Birthday, My Leader"
PX-2798       ARTICLE - Daily Mail article by Ian Birrell entitled, "Born in the        NOCUSTODIAN00047969   NOCUSTODIAN00047979
              USSA: Neo-Nazi leader of Charlottesville - Reader Mode"
PX-2799       ARTICLE - Mourning the Ancient article entitled, "Bio of Commander        NOCUSTODIAN00047980   NOCUSTODIAN00047987
              Jeff Schoep"
PX-2800       ARTICLE - NBC news article by Ben Collins, Brandy Zadrozny, and           NOCUSTODIAN00048005   NOCUSTODIAN00048011
              Emmanuelle Saliba entitled, "After George Floyd White Nationalist
              Group Posing as Antifa Called for Violence on Twitter"
PX-2801       ARTICLE - The California Report article by John Sepulvado & Bert          NOCUSTODIAN00048023   NOCUSTODIAN00048036
              Johnson entitled, "Californian Who Helped Lead Charlottesville Protests
              Used Berkeley as a Test Run"
PX-2802       ARTICLE - Daily Stormer article by Robert "Azzmador" Ray entitled,        NOCUSTODIAN00048037   NOCUSTODIAN00048042
              "Texas is Ours Event Report!"
PX-2803       ARTICLE - Northern California Anti-Racist Action article entitled,        NOCUSTODIAN00048044   NOCUSTODIAN00048054
              "East Bay Identity Evropa Organizer Brodin Sutherland Exposed;
              Brother in Law Enforcement"
PX-2804       ARTICLE - Daily Stormer article by Robert "Azzmador" Ray entitled,        NOCUSTODIAN00048056   NOCUSTODIAN00048067
              "Donating to the Daily Stormer Legal Defense Fund is Your Duty as a
              White Man"
PX-2805       PHOTO - Photo of Robert Azzmador Ray and Christopher Cantwell on          NOCUSTODIAN00048068   NOCUSTODIAN00048068
              August 11, 2017
PX-2806       VID - Video of Patrick C. in Charlottesville                              NOCUSTODIAN00048070   NOCUSTODIAN00048070
PX-2807       DOC - Arizona Corporation Commission Corporations Division -              NOCUSTODIAN00048073   NOCUSTODIAN00048078
              Foundation for American Society
PX-2808       TWITTER - Tweet by Richard Spencer                                        NOCUSTODIAN00048079   NOCUSTODIAN00048082
PX-2809       TWITTER - Tweet by Richard Spencer                                        NOCUSTODIAN00048079
                                                                                                              NOCUSTODIAN00048082
PX-2810       PHOTO - Photo of Robert Azzmador Ray and Christopher Cantwell on          NOCUSTODIAN00048118   NOCUSTODIAN00048118
              August 11, 2017
PX-2811       ARTICLE - Daily Stormer article by Robert "Azzmador" Ray entitled,        NOCUSTODIAN00048171   NOCUSTODIAN00048175
              "Join Azzmador and Vanguard Texas at the Daily Stormer Houston
              Blitzkrieg This Saturday!"
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Exhibit No.   Description                                                             Beginning Bates       End Bates
PX-2812       ARTICLE - Expressen article by Anne-Sofie Naslund entitled,             NOCUSTODIAN00048184   NOCUSTODIAN00048193
              "Naziledaren Schoeps mal: "Tatillbaka USA till de vita""
PX-2813       ARTICLE - Daily Stormer article by Robert "Azzmador" Ray (with          NOCUSTODIAN00048194   NOCUSTODIAN00048201
              Andrew Anglin) entitled, "Charlottesville: Why You Must Attend and
              What to Bring and Not to Bring!"
PX-2814       ARTICLE - Southern Poverty Law Center article entitled, “The Brawler”   NOCUSTODIAN00048222   NOCUSTODIAN00048231

PX-2815       ARTICLE - The Daily Stormer Tag Archives: Salting the Earth             NOCUSTODIAN00048232   NOCUSTODIAN00048239
PX-2816       ARTICLE - Wikipedia article entitled, "Schutzstaffel"                   NOCUSTODIAN00048255   NOCUSTODIAN00048296
PX-2817       DOC - Document entitled, "Michigan Department of Labor & Economic       NOCUSTODIAN00048297   NOCUSTODIAN00048300
              Growth Bureau of Commercial Services - Articles of Incorporation for
              Use by Domestic Nonprofit Corporation"
PX-2818       ARTICLE - Anti-Defamation League article entitled, "Hate on Display:    NOCUSTODIAN00048301   NOCUSTODIAN00048360
              Hate Symbols Database"
PX-2819       ARTICLE - Daily Stormer article by Andrew Anglin entitled, "Heather     NOCUSTODIAN00048361   NOCUSTODIAN00048367
              Heyer: Woman Killed in Road Rage Incident was a Fat, Childness 32-
              year-old Slut"
PX-2820       VID - Video of Robert "Azzmador" Ray interview on August 11, 2017       NOCUSTODIAN00048368   NOCUSTODIAN00048368

PX-2821       VID - Video of Robert "Azzmador" Ray interview on August 11, 2017       NOCUSTODIAN00048368   NOCUSTODIAN00048368

PX-2822       ARTICLE - Daily Stormer article by Robert "Azzmador" Ray entitled,      NOCUSTODIAN00048369   NOCUSTODIAN00048400
              "The Battle of Charlottesville Full Video!"
PX-2823       ARTICLE - Southern Poverty Law Center article by Hannah Gais            NOCUSTODIAN00048422   NOCUSTODIAN00048425
              entitled, "YouTube Takes Down Red Ice's Main Channel"
PX-2824       ARTICLE - Daily Stormer article by Andrew Anglin entitled "Register     NOCUSTODIAN00048427   NOCUSTODIAN00048435
              Now for the IRL Troll Army AKA The Stormer Book Club"

PX-2825       VID - Joe Rogan Interview introducing Proud Boys                        NOCUSTODIAN00048437   NOCUSTODIAN00048437
PX-2826       ARTICLE - Champion Helmets products page for helmets and gloves         NOCUSTODIAN00048443   NOCUSTODIAN00048459
PX-2827       ARTICLE - Mother Jones article by Shane Bauer entitled, "A Punch in     NOCUSTODIAN00048460   NOCUSTODIAN00048462
              the Face Was Just the Start of the Alt-Right's Attack on a Berkeley
              Protester"
PX-2828       ARTICLE - The Modesto Bee article entitled, "Polo-wearing               NOCUSTODIAN00048463   NOCUSTODIAN00048470
              intellectual, or racist bigot? A look at Nathan Damigo of Oakdale"
PX-2829       ARTICLE - Northern California Anti-Racist Action (NoCARA) article       NOCUSTODIAN00048471   NOCUSTODIAN00048505
              entitled, "DIY Division: The Violent neo-Nazi Group Central to the
              California Alt-Right and Alt-Light Protest Movements"
PX-2830       ARTICLE - Southern Poverty Law Center Profile of Nathan Damigo          NOCUSTODIAN00048535   NOCUSTODIAN00048540

PX-2831       ARTICLE - Daily Stormer article entitled, "#UniteTheRight           NOCUSTODIAN00048541       NOCUSTODIAN00048576
              Charlottesville Live Updates"
PX-2832       ARTICLE - Mother Jones article by Shane Bauer entitled, "I Met the  NOCUSTODIAN00048664       NOCUSTODIAN00048666
              White Nationalist Who "Flacon Punched" a 95-Pound Female Protester"

PX-2833       ARTICLE - The Daily Stormer Archives: articles by Robert "Azzmador"     NOCUSTODIAN00048672   NOCUSTODIAN00048700
              Ray
PX-2834       ARTICLE - Expressn Article entitled, "Nazi Leader Schoep's Goal:        NOCUSTODIAN00048702   NOCUSTODIAN00048713
              'Take Back the United States to the Whites'"
PX-2835       VID - Video of Nathan Damigo                                            NOCUSTODIAN00048723   NOCUSTODIAN00048723
PX-2836       VID - Video of Nathan Damigo                                            NOCUSTODIAN00048723   NOCUSTODIAN00048723
PX-2837       VIDEO - Video of August 12, 2017                                        NOCUSTODIAN00048727
                                                                                                            NOCUSTODIAN00048727
PX-2838       VIDEO - Video of August 12, 2017                                        NOCUSTODIAN00048727
                                                                                                            NOCUSTODIAN00048727
PX-2839       VIDEO - Video of August 12, 2017                                        NOCUSTODIAN00048728   NOCUSTODIAN00048728
PX-2840       VID - Video of Patrick C.                                               NOCUSTODIAN00048813   NOCUSTODIAN00048813
PX-2841       AUD - Fash the Nation interview with Nathan Damigo                      NOCUSTODIAN00048874   NOCUSTODIAN00048874
PX-2842       AUD - Fash the Nation interview with Nathan Damigo                      NOCUSTODIAN00048874   NOCUSTODIAN00048874
PX-2843       AUD - Fash the Nation interview with Nathan Damigo                      NOCUSTODIAN00048874   NOCUSTODIAN00048874
PX-2844       VID - Video recording of Nathan Damigo at "Free Speech" Rally           NOCUSTODIAN00048876   NOCUSTODIAN00048876
PX-2845       VID - Video recording of Nathan Damigo at "Free Speech" Rally           NOCUSTODIAN00048876   NOCUSTODIAN00048876
PX-2846       VID - Video recording of Nathan Damigo at "Free Speech" Rally           NOCUSTODIAN00048876   NOCUSTODIAN00048876
PX-2847       VID - Video of Nathan Damigo                                            NOCUSTODIAN00048877   NOCUSTODIAN00048877
PX-2848       VID - Video of Nathan Damigo                                            NOCUSTODIAN00048877   NOCUSTODIAN00048877
PX-2849       VID - Video recording of Nathan Damigo at "Free Speech" Rally           NOCUSTODIAN00049362   NOCUSTODIAN00049362
PX-2850       VIDEO - Nathan Damigo Periscope video                                   NOCUSTODIAN00048881   NOCUSTODIAN00048881
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PX-2851       VIDEO - Nathan Damigo Periscope video                                       NOCUSTODIAN00048881   NOCUSTODIAN00048881
PX-2852       VIDEO - Nathan Damigo Periscope video                                       NOCUSTODIAN00048881   NOCUSTODIAN00048881
PX-2853       AUD - Audio recording of Robert "Azzmador" Ray                              NOCUSTODIAN00048884   NOCUSTODIAN00048884
PX-2854       VID - Frontline documentary video of ProPublica reporter on                 NOCUSTODIAN00048890   NOCUSTODIAN00048890
              Charlottesville
PX-2855       VID - Video of Nathan Damigo                                                NOCUSTODIAN00048891   NOCUSTODIAN00048891
PX-2856       AUD - Audio recording of The War Room podcast, Episode 29                   NOCUSTODIAN00048910   NOCUSTODIAN00048910
PX-2857       PHOTO - Photo of August 11, 2017                                            NOCUSTODIAN00048915   NOCUSTODIAN00048915
PX-2858       ARTICLE - LeagueoftheSouth.com article by Michael Hill entitled,            NOCUSTODIAN00048916   NOCUSTODIAN00048917
              "League will be at Unite the Right rally, 12 August, Charlottesville, VA"

PX-2859       TWITTER – Tweets by Michael Tubbs                                           NOCUSTODIAN00048918   NOCUSTODIAN00048918
PX-2860       ARTICLE - League of the South article entitled, "Southern Defense           NOCUSTODIAN00048919   NOCUSTODIAN00048922
              Force formed"
PX-2861       PHOTO - Photo of James Fields with Vanguard members on August 12,           NOCUSTODIAN00049396   NOCUSTODIAN00049396
              2017
PX-2862       PHOTO - Photo of James Fields with Vanguard members on August 12,           NOCUSTODIAN00049409   NOCUSTODIAN00049409
              2017
PX-2863       VID - Video recording of RWW News: League of the South President            NOCUSTODIAN00048924   NOCUSTODIAN00048924
              Burns Talmud, Israeli Flag
PX-2864       PHOTO - Photo of Elliott Kline and James Fields on August 12, 2017          NOCUSTODIAN00049408   NOCUSTODIAN00049408

PX-2865       TWITTER – Tweet by Michael Tubbs                                            NOCUSTODIAN00048925   NOCUSTODIAN00048925
PX-2866       ARTICLE - Southern Poverty Law Center article entitled, "C-4 and the        NOCUSTODIAN00048932   NOCUSTODIAN00048934
              Confederacy"
PX-2867       TWITTER - Tweet by Michael Tubbs                                            NOCUSTODIAN00049415   NOCUSTODIAN00049418
PX-2868       PHOTO - Vanguard poster depicting Adolf Hitler                              NOCUSTODIAN00048935   NOCUSTODIAN00048935
PX-2869       VID - Video recording of Skyclad                                            NOCUSTODIAN00048939   NOCUSTODIAN00048939
PX-2870       VID - Video recording of church service in Charlottesville with Seth        NOCUSTODIAN00048951   NOCUSTODIAN00048951
              Wispelwey
PX-2871       PHOTO - Photo of Matthew Heimbach on August 12, 2017                        NOCUSTODIAN00048969   NOCUSTODIAN00048969
PX-2872       PHOTO - Photo of Richard Spencer being arrested                             NOCUSTODIAN00048970   NOCUSTODIAN00048970
PX-2873       PHOTO - Photo of August 12, 2017                                            NOCUSTODIAN00048971   NOCUSTODIAN00048971
PX-2874       PHOTO - Photo of Hitler salute in front of crowd                            NOCUSTODIAN00048976   NOCUSTODIAN00048976
PX-2875       PHOTO - Photo of August 12, 2017                                            NOCUSTODIAN00048977   NOCUSTODIAN00048977
PX-2876       VID - Video recording by Daniel S. of August 13, 2017                       NOCUSTODIAN00048978   NOCUSTODIAN00048978
PX-2877       VID - Video recording by Daniel S. of August 12, 2017                       NOCUSTODIAN00048979   NOCUSTODIAN00048979
PX-2878       DOC - YouTube page for Ludacris song                                        NOCUSTODIAN00048980   NOCUSTODIAN00048980
PX-2879       DOC - Link from Discord Charlottesville 2.0 flags_banners_signs             NOCUSTODIAN00048981   NOCUSTODIAN00048991
              posted by Tyrone
PX-2880       VID - Video recording by Daniel S. of August 11, 2017                       NOCUSTODIAN00048992   NOCUSTODIAN00048992
PX-2881       PHOTO - Reaction Info to Photo posted in Charlottesville 2.0                NOCUSTODIAN00048993   NOCUSTODIAN00048993
PX-2882       PHOTO - U.S. Marine Corp photo of two individuals shaking hands             NOCUSTODIAN00048994   NOCUSTODIAN00048994
PX-2883       TWITTER – Tweet by Tyler                                                    NOCUSTODIAN00048923   NOCUSTODIAN00048923
PX-2884       VID - Video recording by Daniel S. of August 11, 2017                       NOCUSTODIAN00049020   NOCUSTODIAN00049020
PX-2885       VID - Video of August 12, 2017                                              NOCUSTODIAN00049021   NOCUSTODIAN00049021
PX-2886       FILING - United States v. Benjamin D. - Guilty Plea                         NOCUSTODIAN00049026   NOCUSTODIAN00049026
PX-2887       SMS - Text message conversation between Benjamin D. and Michael M.          NOCUSTODIAN00049034   NOCUSTODIAN00049034

PX-2888       SMS - Text message conversation between Benjamin D. and Michael M. NOCUSTODIAN00049048            NOCUSTODIAN00049048

PX-2889       SMS - Text message conversation between Benjamin D. and Michael M. NOCUSTODIAN00049049            NOCUSTODIAN00049049

PX-2890       FILING - United States of America v. Benjamin D., Photo of RAM at  NOCUSTODIAN00049053            NOCUSTODIAN00049053
              Huntington Beach
PX-2891       PHOTO - Photo of Benjamin D.                                       NOCUSTODIAN00049054            NOCUSTODIAN00049054
PX-2892       SMS - Text message conversation between Benjamin D. and Michael M. NOCUSTODIAN00049055            NOCUSTODIAN00049055

PX-2893       PHOTO - Photo of books on sand with Benjamin D.                    NOCUSTODIAN00049055            NOCUSTODIAN00049055
PX-2894       SMS - Text message conversation between Eric B. and Benjamin D.    NOCUSTODIAN00049056            NOCUSTODIAN00049056
PX-2895       SMS - Text message conversation between Benjamin D. and Michael M. NOCUSTODIAN00049058            NOCUSTODIAN00049058

PX-2896       SMS - Text message conversation between Benjamin D. and Michael M. NOCUSTODIAN00049061            NOCUSTODIAN00049061

PX-2897       PHOTO - Photo of books around fire                                 NOCUSTODIAN00049064            NOCUSTODIAN00049064
PX-2898       SMS - Text message conversation between Benjamin D. and Michael M. NOCUSTODIAN00049068            NOCUSTODIAN00049068
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PX-2899       POST - Post by Christopher Cantwell                                     NOCUSTODIAN00049069   NOCUSTODIAN00049069
PX-2900       PHOTO - Photo of August 12, 2017                                        NOCUSTODIAN00048936   NOCUSTODIAN00048936
PX-2901       PHOTO - Photo of August 12, 2017                                        NOCUSTODIAN00048937   NOCUSTODIAN00048937
PX-2902       PHOTO - Photo of TWP member who assaulted Deandre H.                    NOCUSTODIAN00048938   NOCUSTODIAN00048938
PX-2903       PHOTO - Photo of Benjamin D. on August 11, 2017                         NOCUSTODIAN00049153   NOCUSTODIAN00049153
PX-2904       PHOTO - Photo of Nathan Damigo with R.A.M. at Berkeley                  NOCUSTODIAN00049156   NOCUSTODIAN00049156
PX-2905       PHOTO - Photo of Benjamin D.                                            NOCUSTODIAN00049218   NOCUSTODIAN00049218
PX-2906       FILING - United States of America v. Benjamin D., Tweet by R.A.M.       NOCUSTODIAN00049231   NOCUSTODIAN00049231

PX-2907       PHOTO - Photo of Cole W. at torch march on August 11, 2017              NOCUSTODIAN00049233   NOCUSTODIAN00049233
PX-2908       PHOTO - Photos of Benjamin D. and Cole W. on August 12, 2017            NOCUSTODIAN00049234   NOCUSTODIAN00049234
PX-2909       FILING - United States of America v. Benjamin D., Photo of Benjamin     NOCUSTODIAN00049236   NOCUSTODIAN00049236
              D.
PX-2910       VID - Video recording of Matthew Heimbach                               NOCUSTODIAN00049237   NOCUSTODIAN00049237
PX-2911       PHOTO - Photo of Christopher Cantwell at Pikeville with Matthew         NOCUSTODIAN00049238   NOCUSTODIAN00049238
              Heimbach
PX-2912       PHOTO - Photo of Christopher Cantwell at D.C. free speech rally         NOCUSTODIAN00049239   NOCUSTODIAN00049239
PX-2913       FILING - Court Proceedings, Commonwealth of Virginia v. Christopher     NOCUSTODIAN00049240   NOCUSTODIAN00049273
              Cantwell
PX-2914       VID - Video recording of Charlottesville 1.0 Periscope Spencer speech   NOCUSTODIAN00049312   NOCUSTODIAN00049312
              "It's going south!"
PX-2915       VID - Video recording of The Foundry Podcast with Matthew Parrott       NOCUSTODIAN00049315   NOCUSTODIAN00049315

PX-2916       VID - Video recording of Battle of Berkeley                             NOCUSTODIAN00049317   NOCUSTODIAN00049317
PX-2917       VID - Video recording of Jeff Schoep speech                             NOCUSTODIAN00049356   NOCUSTODIAN00049356
PX-2918       VID - Video recording of Jeff Schoep speech in Pikeville, KY            NOCUSTODIAN00049357   NOCUSTODIAN00049357
PX-2919       INTENTIONALLY LEFT BLANK
PX-2920       INTENTIONALLY LEFT BLANK
PX-2921       DISC - Discord post                                                     NOCUSTODIAN00049363   NOCUSTODIAN00049364
PX-2922       DISC - Discord post                                                     NOCUSTODIAN00049393   NOCUSTODIAN00049395
PX-2923       VID - Video recording of Jeff Schoep Pikeville Pre-Rally Speech         NSM00000112           NSM00000112
PX-2924       VID - Video recording of Jeff Schoep Pikeville Pre-Rally Speech         NSM00000126           NSM00000126
PX-2925       SMS - Text message from Natalie Romero to Kimberly                      ROMERO00000011-C      ROMERO00000011-C
PX-2926       SMS - Text message from Natalie Romero to Jhonathan                     ROMERO00000018-C      ROMERO00000018-C
PX-2927       SMS - Text message from Natalie Romero                                  ROMERO00000021-C      ROMERO00000021-C
PX-2928       SMS - Text message from Natalie Romero to Andrea                        ROMERO00000025-C      ROMERO00000025-C
PX-2929       SMS - Text message from Natalie Romero to Zaaklr                        ROMERO00000165-C      ROMERO00000165-C
PX-2930       SMS - Text message from Natalie Romero to Ms. Lauren                    ROMERO00000184-C      ROMERO00000184-C
PX-2931       EMAIL - Email from Natalie Romero to Cady                               ROMERO00000221-C      ROMERO00000221-C
PX-2932       SMS - Text message from Natalie Romero to Clara                         ROMERO00000252-C      ROMERO00000252-C
PX-2933       SMS - Text message from Natalie Romero to Jose                          ROMERO00000262-C      ROMERO00000262-C
PX-2934       SMS - Text message from Natalie Romero to Dean and Mrs. Andrea          ROMERO00000285-C      ROMERO00000285-C
PX-2935       SMS - Text message from Natalie Romero to Sarra                         ROMERO00000300-C      ROMERO00000300-C
PX-2936       SMS - Text message from Natalie Romero                                  ROMERO00000314-C      ROMERO00000314-C
PX-2937       SMS - Text message from Natalie Romero to Brian                         ROMERO00000320-C      ROMERO00000320-C
PX-2938       SMS - Text message from Natalie Romero to Grammy Bear                   ROMERO00000324-C      ROMERO00000324-C
PX-2939       SMS - Text message from Natalie Romero to Papa Bear and Mama            ROMERO00000334-C      ROMERO00000334-C
PX-2940       SMS - Text message from Natalie Romero to Wifeyy                        ROMERO00000338-C      ROMERO00000338-C
PX-2941       SMS - Text message from Natalie Romero to Jonathan                      ROMERO00000341-C      ROMERO00000341-C
PX-2942       SMS - Natalie Romero to Dean B.                                         ROMERO00000611-C      ROMERO00000611-C
PX-2943       DOC - UVA Student Disability Access Center Accommodations               ROMERO00000617-C      ROMERO00000618-C
PX-2944       EMAIL - Email from Kendall K to Natalie Romero regarding "expenses"     ROMERO00000640-C      ROMERO00000640-C

PX-2945       MEDICAL - Receipt for Natalie Romero from UVA Health                    ROMERO00000641-C      ROMERO00000641-C
PX-2946       MEDICAL - Receipt for Natalie Romero from Mudhouse Bella IR LLC         ROMERO00000642-C      ROMERO00000642-C

PX-2947       MEDICAL - Receipt for Natalie Romero from UVA Health                    ROMERO00000643-C      ROMERO00000643-C
PX-2948       MEDICAL - Receipt for Natalie Romero from Walgreens                     ROMERO00000645-C      ROMERO00000645-C
PX-2949       MEDICAL - Receipt for Natalie Romero from Walgreens                     ROMERO00000646-C      ROMERO00000646-C
PX-2950       MEDICAL - Billing record for Natalie Romero from UVA Health             ROMERO00000684-C      ROMERO00000695-C
PX-2951       MEDICAL - Billing record for Natalie Romero from UVA Health             ROMERO00000696-C      ROMERO00000698-C
PX-2952       MEDICAL - Health record for Natalie Romero from UVA Health              ROMERO00000702-C      ROMERO00000702-C
PX-2953       SMS - Text message from Natalie Romero to Wifeyy                        ROMERO00000703-C      ROMERO00000703-C
PX-2954       SMS - Text message from Natalie Romero to Mrs. Andrea                   ROMERO00000708-C      ROMERO00000708-C
PX-2955       SMS - Text message from Natalie Romero to Alvin                         ROMERO00000709-C      ROMERO00000709-C
PX-2956       DOC - Document written by Natalie Romero, entitled "Part 1: What do     ROMERO00000725-C      ROMERO00000725-C
              you fight for?"
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PX-2957       MEDICAL - Billing record for Natalie Romero from UVA Health          ROMERO00000731-C   ROMERO00000734-C
PX-2958       MEDICAL - Insurance record for Natalie Romero from Aetna             ROMERO00000737-C   ROMERO00000742-C
PX-2959       MEDICAL - Billing record for Natalie Romero from UVA Health          ROMERO00000743-C   ROMERO00000752-C
PX-2960       MEDICAL - Health record for Natalie Romero from Jeffrey Y./UVA       ROMERO00000763-C   ROMERO00000770-C
              Health System
PX-2961       MEDICAL - Health record for Natalie Romero from Jeffrey Y./UVA       ROMERO00000807-C   ROMERO00000820-C
              Health System
PX-2962       MEDICAL - Billing record for Natalie Romero from UVA Health          ROMERO00000821-C   ROMERO00000838-C
PX-2963       MEDICAL - Health record for Natalie Romero from Lindsey C./UVA       ROMERO00000839-C   ROMERO00000877-C
              Health System
PX-2964       SMS - Text message from Natalie Romero to Mrs. Andrea                ROMERO00000890-C   ROMERO00000890-C
PX-2965       SMS - Text message from Natalie Romero to Alvin                      ROMERO00000893-C   ROMERO00000893-C
PX-2966       SMS - Text message from Natalie Romero to Alvin                      ROMERO00000896-C   ROMERO00000896-C
PX-2967       SMS - Text message from Alvin to Natalie Romero                      ROMERO00000898-C   ROMERO00000898-C
PX-2968       SMS - Text message from Natalie Romero to Alvin                      ROMERO00000905-C   ROMERO00000905-C
PX-2969       SMS - Text message from Natalie Romero to Jaimeee                    ROMERO00000906-C   ROMERO00000906-C
PX-2970       SMS - Text message from Natalie Romero to Papa Bear                  ROMERO00000907-C   ROMERO00000907-C
PX-2971       SMS - Text message from Natalie Romero to Sierra                     ROMERO00000910-C   ROMERO00000910-C
PX-2972       SMS - Text message from Natalie Romero to Frank                      ROMERO00000911-C   ROMERO00000911-C
PX-2973       SMS - Text message from Natalie Romero to Jose                       ROMERO00000917-C   ROMERO00000917-C
PX-2974       SMS - Text message from Natalie Romero to Chelsea Alvarado           ROMERO00000942-C   ROMERO00000942-C
PX-2975       SMS - Text message from Natalie Romero                               ROMERO00000943-C   ROMERO00000943-C
PX-2976       SMS - Text message from Natalie Romero to Dr. G                      ROMERO00000946-C   ROMERO00000946-C
PX-2977       SMS - Text message from Natalie Romero to Dr. G                      ROMERO00000947-C   ROMERO00000947-C
PX-2978       SMS - Text message from Natalie Romero to Dr. G                      ROMERO00000950-C   ROMERO00000950-C
PX-2979       SMS - Text message from Natalie Romero to Dr. G                      ROMERO00000951-C   ROMERO00000951-C
PX-2980       SMS - Text message from Natalie Romero to Dr. G                      ROMERO00000952-C   ROMERO00000952-C
PX-2981       SMS - Text message from Natalie Romero to Mama                       ROMERO00000953-C   ROMERO00000953-C
PX-2982       SMS - Text message from Natalie Romero to James                      ROMERO00000956-C   ROMERO00000956-C
PX-2983       SMS - Text message from Natalie Romero to James                      ROMERO00000957-C   ROMERO00000957-C
PX-2984       SMS - Text message from Natalie Romero to James                      ROMERO00000958-C   ROMERO00000958-C
PX-2985       SMS - Text message from Natalie Romero to James                      ROMERO00000959-C   ROMERO00000959-C
PX-2986       DOC - Week 1 - Week 4 Journals by Natalie Romero                     ROMERO00000961-C   ROMERO00000962-C
PX-2987       SMS - Text message from Natalie Romero                               ROMERO00001018-C   ROMERO00001018-C
PX-2988       SMS - Text message from Natalie Romero to James                      ROMERO00001031-C   ROMERO00001031-C
PX-2989       SMS - Text message from Natalie Romero to James                      ROMERO00001032-C   ROMERO00001032-C
PX-2990       EMAIL - Email from Lisa K. to Natalie Romero                         ROMERO00001069-C   ROMERO00001070-C
PX-2991       SMS - Text message from Natalie Romero to Wifeyy                     ROMERO00001162-C   ROMERO00001162-C
PX-2992       SMS - Text message from Natalie Romero to Wifeyy                     ROMERO00001166-C   ROMERO00001166-C
PX-2993       SMS - Text message from Natalie Romero to Wifeyy                     ROMERO00001167-C   ROMERO00001167-C
PX-2994       SMS - Text message from Natalie Romero to FBI-Donna                  ROMERO00001169-C   ROMERO00001169-C
PX-2995       MEDICAL - Health record for Natalie Romero from UVA Health           ROMERO00001170-C   ROMERO00001250-C
PX-2996       MEDICAL - Insurance record for Natalie Romero from Aetna             ROMERO00001269-C   ROMERO00001284-C
PX-2997       PHOTO - Photo of group of protesters with "Reclaim Our Grown" sign   ROMERO00001290-C   ROMERO00001290-C

PX-2998       PHOTO - Photo of August 11, 2017                                     ROMERO00001296-C   ROMERO00001296-C
PX-2999       PHOTO - Photo of KKK members in robes burning cross                  ROMERO00001317-C   ROMERO00001317-C
PX-3000       PHOTO - Riot police line between protestors                          ROMERO00001320-C   ROMERO00001320-C
PX-3001       PHOTO - Photo of August 11, 2017                                     ROMERO00001321-C   ROMERO00001321-C
PX-3002       PHOTO - Photo of 3 counterprotesters on the UVa Thomas Jefferson     ROMERO00001332-C   ROMERO00001332-C
              statue holding signs with the slogans, "End Hate Now" and "TJ is a
              Racist"
PX-3003       PHOTO - Photo of counterprotesters confronting the Unite the Right   ROMERO00001347-C   ROMERO00001347-C
              rally participants
PX-3004       FB - Facebook conversation between Natalie Romero and Ericka C.      ROMERO00001512-C   ROMERO00001512-C
PX-3005       PHOTO - Photo of August 11, 2017                                     ROMERO00001576-C   ROMERO00001576-C
PX-3006       PHOTO - Photo of August 11, 2017                                     ROMERO00001593-C   ROMERO00001593-C
PX-3007       PHOTO - Photo of August 11, 2017                                     ROMERO00001599-C   ROMERO00001599-C
PX-3008       PHOTO - Photo of August 12, 2017                                     ROMERO00001629-C   ROMERO00001629-C
PX-3009       PHOTO - Photo of August 12, 2017                                     ROMERO00001633-C   ROMERO00001633-C
PX-3010       PHOTO - Photo of August 11, 2017                                     ROMERO00001663-C   ROMERO00001663-C
PX-3011       PHOTO - Photo of August 11, 2017                                     ROMERO00001664-C   ROMERO00001664-C
PX-3012       PHOTO - Photo of car attack on August 12, 2017                       ROMERO00001665-C   ROMERO00001665-C
PX-3013       PHOTO - Photo of August 12, 2017                                     ROMERO00001669-C   ROMERO00001669-C
PX-3014       PHOTO - Photo of August 12, 2017                                     ROMERO00001670-C   ROMERO00001670-C
PX-3015       PHOTO - Photo of August 12, 2017                                     ROMERO00001671-C   ROMERO00001671-C
PX-3016       PHOTO - Photo of August 12, 2017                                     ROMERO00001676-C   ROMERO00001676-C
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Exhibit No.   Description                                                             Beginning Bates    End Bates
PX-3017       PHOTO - Photo of August 12, 2017                                        ROMERO00001687-C   ROMERO00001687-C
PX-3018       PHOTO - Photo of August 12, 2017                                        ROMERO00001721-C   ROMERO00001721-C
PX-3019       PHOTO - Photo of August 12, 2017                                        ROMERO00001726-C   ROMERO00001726-C
PX-3020       VID - Video recording of August 12, 2017                                ROMERO00001745-C   ROMERO00001745-C
PX-3021       VID - Video recording of August 12, 2017                                ROMERO00001747-C   ROMERO00001747-C
PX-3022       VID - Video recording of August 12, 2017                                ROMERO00001753-C   ROMERO00001753-C
PX-3023       VID - Video recording of August 12, 2017                                ROMERO00001760-C   ROMERO00001760-C
PX-3024       VID - Video recording of August 12, 2017                                ROMERO00001763-C   ROMERO00001763-C
PX-3025       EMAIL - Email from Dr. Jessica S. to Natalie Romero regarding "NR       ROMERO00001776-C   ROMERO00001776-C
              ESA Letter"
PX-3026       PHOTO - Photo of Natalie Romero's medicine                              ROMERO00001793-C   ROMERO00001793-C
PX-3027       MEDICAL - Health record for Natalie Romero from UVA Health              ROMERO00001795-C   ROMERO00001795-C
PX-3028       PHOTO - Photo of Natalie Romero's injuries                              ROMERO00001805-C   ROMERO00001805-C
PX-3029       PHOTO - Photo of Natalie Romero's injuries                              ROMERO00001807-C   ROMERO00001807-C
PX-3030       PHOTO - Photo of Natalie Romero's injuries                              ROMERO00001811-C   ROMERO00001811-C
PX-3031       PHOTO - Photo of Natalie Romero's injuries                              ROMERO00001812-C   ROMERO00001812-C
PX-3032       PHOTO - Photo of Natalie Romero's injuries                              ROMERO00001813-C   ROMERO00001813-C
PX-3033       PHOTO - Photo of Natalie Romero's injuries                              ROMERO00001816-C   ROMERO00001816-C
PX-3034       PHOTO - Photo of Natalie Romero's injuries                              ROMERO00001817-C   ROMERO00001817-C
PX-3035       PHOTO - Photo of Natalie Romero's injuries                              ROMERO00001819-C   ROMERO00001819-C
PX-3036       PHOTO - Photo of Natalie Romero's injuries                              ROMERO00001828-C   ROMERO00001828-C
PX-3037       PHOTO - Photo of Natalie Romero's injuries                              ROMERO00001834-C   ROMERO00001834-C
PX-3038       PHOTO - Photo of Natalie Romero's injuries                              ROMERO00001854-C   ROMERO00001854-C
PX-3039       PHOTO - Photo of Natalie Romero's injuries                              ROMERO00001881-C   ROMERO00001881-C
PX-3040       PHOTO - Photo of Natalie Romero's injuries                              ROMERO00001885-C   ROMERO00001885-C
PX-3041       VID - Video recording of Natalie Romero reading her poem written to     ROMERO00001896-C   ROMERO00001896-C
              James Fields
PX-3042       FB - Facebook conversation between Natalie Romero and Brian             ROMERO00001899-C   ROMERO00001899-C
PX-3043       PHOTO - Photo of Natalie Romero's injuries                              ROMERO00001921-C   ROMERO00001921-C
PX-3044       PHOTO - Photo of Natalie Romero's injuries                              ROMERO00001962-C   ROMERO00001962-C
PX-3045       PHOTO - Photo of August 12, 2017                                        ROMERO00001977-C   ROMERO00001977-C
PX-3046       MEDICAL - Billing record for Natalie Romero from UVA Physicians         ROMERO00002003-C   ROMERO00002003-C
              Group
PX-3047       MEDICAL - Health record for Natalie Romero from the University of       ROMERO00002004-C   ROMERO00002151-C
              Virginia Health System
PX-3048       MEDICAL - Receipt for Natalie Romero from Mattress Firm                 ROMERO00002152     ROMERO00002152
PX-3049       DOC - Natalie Romero's diary entry                                      ROMERO00002153     ROMERO00002153
PX-3050       DOC - Natalie Romero's diary entry                                      ROMERO00002154     ROMERO00002154
PX-3051       DOC - Natalie Romero's diary entry                                      ROMERO00002155     ROMERO00002155
PX-3052       DOC - Natalie Romero's diary entry                                      ROMERO00002156     ROMERO00002156
PX-3053       DOC - Natalie Romero's diary entry                                      ROMERO00002157     ROMERO00002157
PX-3054       DOC - Natalie Romero's diary entry                                      ROMERO00002158     ROMERO00002158
PX-3055       MEDICAL - Health record for Natalie Romero from the University of       ROMERO00002159     ROMERO00002382
              Virginia Health System
PX-3056       MEDICAL - Health record for Natalie Romero from the University of       ROMERO00002383     ROMERO00002430
              Virginia Health System
PX-3057       MEDICAL - Health record for Natalie Romero from the University of       ROMERO00002431     ROMERO00002635
              Virginia Health System
PX-3058       MEDICAL - Billing records for Natalie Romero from the University of     ROMERO00002636     ROMERO00002671
              Virginia Health System
PX-3059       SMS - Text message from Carter H. to Robert "Azzmador" Ray              RR00000001         RR00000001
PX-3060       ARTICLE - Daily Stormer Vol. 19                                         RR00190091         RR00190190
PX-3061       EMAIL - Email from Christopher Cantwell to Robert "Azzmador" Ray        RR00193887         RR00193887

PX-3062       EMAIL - Email from Col B. to Robert "Azzmador" Ray                      RR00197884         RR00197885
PX-3063       EMAIL - Email from Christopher Cantwell to Robert "Azzmador" Ray        RR00197925         RR00197927

PX-3064       DOC - Document regarding Unite the Right Charlottesville 2.0, version   RR00197936         RR00197949
              dated 8/10/2017
PX-3065       EMAIL - Email from Syd C. to Azzmador                                   RR00198011         RR00198016
PX-3066       EMAIL - Email from Discord Support to Robert "Azzmador" Ray             RR00199823         RR00199824
PX-3067       EMAIL - Email from Robert "Azzmador" Ray to Alfred A.                   RR00200689         RR00200692
PX-3068       EMAIL - Email from Robert "Azzmador" Ray to Syd C.                      RR00200949         RR00200953
PX-3069       EMAIL - Email from Robert "Azzmador" Ray to Vanguard Texas              RR00201027         RR00201027
PX-3070       SMS - Text message from Robert "Azzmador" Ray to D'Marcus L.            RR00201133         RR00201133
PX-3071       SMS - Text message from Evan M. to Richard Spencer                      RS00007905         RS00007905
PX-3072       SMS - Text message from Richard Spencer to Jack T.                      RS00012454         RS00012454
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Exhibit No.   Description                                                            Beginning Bates   End Bates
PX-3073       INTENTIONALLY LEFT BLANK
PX-3074       SMS - Text message from Daniel F. and Richard Spencer                  RS00013419        RS00013419
PX-3075       SMS - Text message from Richard Spencer to Rebecca C.                  RS00013772        RS00013772
PX-3076       INTENTIONALLY LEFT BLANK
PX-3077       SMS - Text message from Colton M. to Richard Spencer                   RS00016085        RS00016085
PX-3078       SMS - Text message conversation between Richard Spencer and Mike       RS00016526        RS00016527
              M.
PX-3079       SMS - Text message from Richard Spencer to Samantha F.                 RS00028694        RS00028694
PX-3080       SMS - Text message from Evan M. to Richard Spencer                     RS00030215        RS00030215
PX-3081       SMS - Text message from Richard Spencer to Nathan Damigo               RS00031786        RS00031786
PX-3082       SMS - Text message conversation between Nathan Damigo and Richard      RS00031821        RS00031828
              Spencer
PX-3083       SMS - Text message conversation between Nathan Damigo and Richard      RS00031934        RS00031939
              Spencer
PX-3084       SMS - Text message conversation between Nathan Damigo and Richard      RS00031955        RS00031958
              Spencer
PX-3085       SMS - Text message conversation between Elliott Kline and Richard      RS00032999        RS00033002
              Spencer
PX-3086       SMS - Text message conversation between Elliott Kline and Richard      RS00033175        RS00033179
              Spencer
PX-3087       SMS - Text message from Elliott Kline to Richard Spencer               RS00033397        RS00033397
PX-3088       SMS - Text message from Elliott Kline to Richard Spencer               RS00033535        RS00033535
PX-3089       SMS - Text message from Elliott Kline to Richard Spencer               RS00033558        RS00033558
PX-3090       SMS - Text message from Elliott Kline to Richard Spencer               RS00033926        RS00033926
PX-3091       SMS - Text message from Richard Spencer to Elliott Kline               RS00033927        RS00033927
PX-3092       SMS - Text message from Elliott Kline to Richard Spencer               RS00033969        RS00033969
PX-3093       SMS - Text message from Elliott Kline to Richard Spencer               RS00033971        RS00033971
PX-3094       SMS - Text message from Richard Spencer to Elliott Kline               RS00034279        RS00034279
PX-3095       SMS - Text message conversation between Richard Spencer and            RS00036847        RS00036851
              Reinhard W.
PX-3096       SMS - Text message from Richard Spencer to Jason Kessler               RS00039520        RS00039520
PX-3097       SMS - Text message from Jason Kessler to Richard Spencer               RS00039521        RS00039521
PX-3098       SMS - Text message from Jason Kessler to Richard Spencer               RS00039522        RS00039522
PX-3099       SMS - Text message from Jason Kessler to Richard Spencer               RS00039532        RS00039532
PX-3100       SMS - Text message conversation between Jason Kessler and Richard      RS00039541        RS00039543
              Spencer
PX-3101       SMS - Text message conversation between Jason Kessler and Richard      RS00039566        RS00039569
              Spencer
PX-3102       SMS - Text message conversation between Jason Kessler and Richard      RS00039574        RS00039575
              Spencer
PX-3103       SMS - Text message from Richard Spencer to Jason Kessler               RS00039577        RS00039577
PX-3104       SMS - Text message from Richard Spencer to Jason Kessler               RS00039585        RS00039585
PX-3105       SMS - Text message conversation between Jason Kessler and Richard      RS00039596        RS00039600
              Spencer
PX-3106       SMS - Text message from Jason Kessler to Richard Spencer               RS00039624        RS00039624
PX-3107       SMS - Text message from Jason Kessler to Richard Spencer               RS00039625        RS00039625
PX-3108       SMS - Text message from Richard Spencer to Tim T.                      RS00076971        RS00076971
PX-3109       SMS - Text message from Laura S. to Richard Spencer                    RS00090021        RS00090021
PX-3110       SMS - Text message from Laura S. to Richard Spencer                    RS00090029        RS00090029
PX-3111       SMS - Text message from Richard Spencer to Laura S.                    RS00090059        RS00090059
PX-3112       SMS - Text message from Nathan Damigo to Richard Spencer               RS00093525        RS00093525
PX-3113       SMS - Text message from Elliott Kline to Richard Spencer               RS00094963        RS00094963
PX-3114       SMS - Text message from Richard Spencer to Elliott Kline               RS00095071        RS00095071
PX-3115       SMS - Text message from Elliott Kline to Richard Spencer               RS00095766        RS00095766
PX-3116       SMS - Text message from Elliott Kline to Richard Spencer               RS00095771        RS00095771
PX-3117       SMS - Text message from Ryan W. to Richard Spencer                     RS00100974        RS00100974
PX-3118       SMS - Text message from Jason Kessler to Richard Spencer               RS00101427        RS00101427
PX-3119       SMS - Text message from Jason Kessler to Richard Spencer               RS00101529        RS00101529
PX-3120       EMAIL - Email from Richard Spencer to Richard Spencer                  RS00308437        RS00308439
PX-3121       EMAIL - Email from Richard Spencer to Richard Spencer                  RS00308847        RS00308848
PX-3122       EMAIL - Email from Sam D., copying Evan M., Gregory R., Richard        RS00317854        RS00317856
              Spencer
PX-3123       EMAIL - Email from Evan M. to Richard Spencer, Nathan Damigo,          RS00546309        RS00546309
              Elliot Kline, Sam D.
PX-3124       EMAIL - Email from Jason Kessler to Sam D., Kyle B., Richard Spencer   RS00549263        RS00549263

PX-3125       EMAIL - Email from Jason Kessler to Kyle B., Sam D                     RS00549325        RS00549326
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Exhibit No.   Description                                                              Beginning Bates   End Bates
PX-3126       EMAIL - Email from Richard Spencer to Augustus Sol Invictus              RS00549331        RS00549332
PX-3127       EMAIL - Email from Google Calendar to Richard Spencer                    RS00549348        RS00549348
PX-3128       EMAIL - Email from Cory R. to Evan M. copying Richard Spencer,           RS00549906        RS00549906
              Cameron P., Elliott Kline, Gregory R.
PX-3129       EMAIL - Email from Gregory R. to Richard Spencer                         RS00550307        RS00550307
PX-3130       EMAIL - Email from Jason Kessler                                         RS00551293        RS00551293
PX-3131       EMAIL - Email from Ryan W. to Richard Spencer                            RS00552993        RS00552993
PX-3132       EMAIL - Email from Trezbond to Richard Spencer                           RS00554524        RS00554531
PX-3133       INTENTIONALLY LEFT BLANK
PX-3134       EMAIL - Email from Jason Kessler regarding Charlottesville               RS00678521        RS00678521
PX-3135       DOC - Excel spreadsheet re: attendee list                                RS00689740        RS00689740
PX-3136       TWITTER – Tweet by Richard Spencer                                       RS00747467        RS00747467
PX-3137       SMS - Text message from Richard Spencer to Matthew Heimbach              RS01007399        RS01007399
PX-3138       SMS - Text message conversation between Christopher Cantwell and         RS01007796        RS01007797
              Richard Spencer
PX-3139       SMS - Text message conversation between Scott H. and Richard Spencer     RS01007816        RS01007816

PX-3140       SMS - Text message from Richard Spencer to Scott H.                      RS01007817        RS01007818
PX-3141       SMS - Text message from Richard Spencer to Greg C., Evan M.              RS01007833        RS01007833
PX-3142       SMS - Text message from Richard Spencer to Greg C. and Evan M.           RS01007834        RS01007834
PX-3143       SMS - Text message from Jason Kessler to Richard Spencer                 RS01007851        RS01007851
PX-3144       SMS - Text message from Richard Spencer to Glenna G.                     RS01007855        RS01007855
PX-3145       SMS - Text message from Greg C. to Richard Spencer                       RS01007858        RS01007858
PX-3146       SMS - Text message conversation between Augustus Invictus and            RS01007861        RS01007864
              Nathan Damigo, Christopher Cantwell, Area code 951 number, Michael
              Hill, and Jason Kessler
PX-3147       SMS - Text message from Richard Spencer to David D.                      RS01007867        RS01007867
PX-3148       SMS - Text message from Christopher Cantwell to Richard Spencer          RS01007877        RS01007877
PX-3149       SMS - Text message conversation between Christopher Cantwell and         RS01007895        RS01007907
              Richard Spencer
PX-3150       SMS - Text message from Greg C. to Richard Spencer                       RS01007913        RS01007913
PX-3151       SMS - Text message conversation between Christopher Cantwell and         RS01007916        RS01007935
              Richard Spencer
PX-3152       SMS - Text message from Greg C. to Richard Spencer                       RS01007995        RS01007995
PX-3153       SMS - Text message from Richard Spencer to Mike Enoch                    RS01008244        RS01008244
PX-3154       SMS - Text message conversation between Matthew Heimbach and             RS01008258        RS01008260
              Richard Spencer
PX-3155       SMS - Text message from Richard Spencer to Nathan Damigo                 RS01008652        RS01008652
PX-3156       SMS - Text message from Dagna G. to Richard Spencer                      RS01009487        RS01009487
PX-3157       SMS - Text message from Christopher Cantwell                             RS01012398        RS01012398
PX-3158       DOC - Document containing Elizabeth Sines's statement of events of the   SINES00000001     SINES000000003
              August 11-12, 2017
PX-3159       SMS - Text message from Pat D. to Elizabeth Sines                        SINES00000132-C   SINES00000132-C
PX-3160       SMS - Text message from Elizabeth Sines to Tyler                         SINES00000148-C   SINES00000148-C
PX-3161       EMAIL - Email from Elizabeth Sines to Kimma regarding                    SINES00000170-C   SINES00000170-C
              Charlottesville Personal Reflections
PX-3162       SMS - Text message from Elizabeth Sines to Pat D.                        SINES00000823-C   SINES00000823-C
PX-3163       DOC - Elizabeth Sines's police statement                                 SINES00000824-C   SINES00000824-C
PX-3164       SMS - Text message from Elizabeth Sines to Will T.                       SINES00000827-C   SINES00000827-C
PX-3165       SMS - Text message from Elizabeth Sines to Will T.                       SINES00000828-C   SINES00000828-C
PX-3166       SMS - Text message from Elizabeth Sines to Liz M.                        SINES00000831-C   SINES00000831-C
PX-3167       SMS - Text message from Elizabeth Sines to Patt D.                       SINES00000833-C   SINES00000833-C
PX-3168       SMS - Text message from Elizabeth Sines to J.C.                          SINES00000835-C   SINES00000835-C
PX-3169       SMS - Text message from Elizabeth Sines to Tyler                         SINES00000836-C   SINES00000836-C
PX-3170       SMS - Text message from Tyler to Elizabeth Sines                         SINES00000837-C   SINES00000837-C
PX-3171       SMS - Text message from Elizabeth Sines to Tyler                         SINES00000838-C   SINES00000838-C
PX-3172       SMS - Text message from Tyler to Elizabeth Sines                         SINES00000839-C   SINES00000839-C
PX-3173       SMS - Text message from Elizabeth Sines to Tyler                         SINES00000843-C   SINES00000843-C
PX-3174       SMS Text message from Elizabeth Sines to Tyler                           SINES00000873-C   SINES00000873-C
PX-3175       SMS - Text message from Elizabeth Sines to Tyler                         SINES00000875-C   SINES00000875-C
PX-3176       SMS - Text message from Elizabeth Sines to Tyler                         SINES00000882-C   SINES00000882-C
PX-3177       SMS - Text message from Elizabeth Sines to Tyler                         SINES00000883-C   SINES00000883-C
PX-3178       SMS - Text message from Elizabeth Sines to Tyler                         SINES00000884-C   SINES00000884-C
PX-3179       EMAIL - Email from studenthealth@virgina.edu to Elizabeth Sines          SINES00000885-C   SINES00000885-C
              regarding "Appointment Reminder"
PX-3180       EMAIL - Email from Elizabeth Sines to Jackie W. regarding                SINES00000888-C   SINES0000890-C
              "Resources"
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Exhibit No.   Description                                                            Beginning Bates       End Bates
PX-3181       SMS - Text message from Elizabeth Sines to Pat D.                      SINES00000891-C       SINES00000891-C
PX-3182       SMS - Text message from Elizabeth Sines to Pat D.                      SINES00000902-C       SINES00000902-C
PX-3183       DOC - Document written by Elizabeth Sines                              SINES00000910         SINES00000910
PX-3184       DOC - Document regarding living in Charlottesville                     SINES00000911         SINES00000915
PX-3185       VID - Video recording of August 12, 2017                               SINES00000917-C       SINES00000917-C
PX-3186       MEDICAL - Health record for Elizabeth Sines from UVA Health            SINES00001015-C       SINES00001034-C
PX-3187       SMS - Text message from Elizabeth Sines to Will T.                     SINES00001069-C       SINES00001069-C
PX-3188       SMS - Text message from Elizabeth Sines to Will T.                     SINES00001070-C       SINES00001070-C
PX-3189       MEDICAL - Health record for Elizabeth Sines from UVA Health            SINES00001138-C       SINES00001156-C
PX-3190       VID - Video recording of Elizabeth Sines of August 12                  SINES00001175-C       SINES00001175-C
PX-3191       SMS - Text message from Elizabeth Sines to Tyler                       SINES00001248-C       SINES00001248-C
PX-3192       PHOTO - Photo taken at McGuffrey                                       SINES00001325-C       SINES00001325-C
PX-3193       PHOTO - Photo taken at McGuffrey                                       SINES00001332-C       SINES00001332-C
PX-3194       PHOTO - Photo of counter-protestors before the car attack              SINES00001334-C       SINES00001334-C
PX-3195       PHOTO - Photo of crowd of counterprotesters with signs at KKK rally    SINES00001342-C       SINES00001342-C
              in Charlottesville
PX-3196       PHOTO - Photo of crowd of counterprotesters with signs at KKK rally    SINES00001343-C       SINES00001343-C
              in Charlottesville
PX-3197       PHOTO - Photo of crowd of counterprotesters with signs at KKK rally    SINES00001346-C       SINES00001346-C
              in Charlottesville
PX-3198       PHOTO - Photo of crowd of counterprotesters with signs at KKK rally    SINES00001347-C       SINES00001347-C
              in Charlottesville
PX-3199       PHOTO - Photo of anti-Semitic sign at KKK rally in Charlottesville     SINES00001353-C       SINES00001353-C
PX-3200       FB - Facebook post by Elizabeth Sines                                  SINES00001955-C       SINES00001956-C
PX-3201       FB - Facebook message from Brian C. to Elizabeth Sines                 SINES00002018-C       SINES00002018-C
PX-3202       FB - Facebook post by Elizabeth Sines                                  SINES00002057-C       SINES00002057-C
PX-3203       FB - Facebook post by Elizabeth Sines                                  SINES00002160-C       SINES00002174-C
PX-3204       VID - Video recording of August 11, 2017                               SINES00002700-C       SINES00002700-C
PX-3205       FB - Facebook post by Elizabeth Sines                                  SINES00004546-C       SINES00004547-C
PX-3206       IG - Post by Elizabeth Sines                                           SINES00004593-C       SINES00004593-C
PX-3207       VID - Video recording of Elizabeth Sines of August 12                  SINES00004640-C       SINES00004640-C
PX-3208       FB - Facebook message from Elizabeth A. to Kimma B.                    SINES00004672-C       SINES00004672-C
PX-3209       VID - Video recording of car attack on August 12, 2017                 SINES00004686-C       SINES00004686-C
PX-3210       PR - SPRINT - Phone Records for Jeff Schoep (CDMA Cell Sites, Call     SPRINT_00000001       SPRINT_00000010
              Detail Report)
PX-3211       PR - SPRINT - Phone Records for James Fields (Agreement to Respect     SPRINT_00000026       SPRINT_00000041
              Confidential Information, Payment Update Notice, Text Message Detail
              Report, Location Information, Response Cover Sheet, and Key to
              Understanding CDMA Call Detail Reports)
PX-3212       DOC - Airline Ticket from Benjamin D.                                  NOCUSTODIAN00049063   NOCUSTODIAN00049063
PX-3213       DOC - Airline Ticket from Michael M.                                   NOCUSTODIAN00049067   NOCUSTODIAN00049067
PX-3214       DOC - Airline Ticket from Thomas G.                                    NOCUSTODIAN00049052   NOCUSTODIAN00049052
PX-3215       DOC - Certificate of Authenticity from Discord                         NOCUSTODIAN00049365   NOCUSTODIAN00049392
PX-3216       DOC - Identity Evropa Project Siege flyer                              NOCUSTODIAN00049348   NOCUSTODIAN00049353
PX-3217       INTENTIONALLY LEFT BLANK
PX-3218       INTENTIONALLY LEFT BLANK
PX-3219       INTENTIONALLY LEFT BLANK
PX-3220       INTENTIONALLY LEFT BLANK
PX-3221       INTENTIONALLY LEFT BLANK
PX-3222       INTENTIONALLY LEFT BLANK
PX-3223       INTENTIONALLY LEFT BLANK
PX-3224       FILING - Document from United States of America v. Benjamin D.         NOCUSTODIAN00049219   NOCUSTODIAN00049230
              entitled, "Plea Agreement, ECF 113"
PX-3225       MEDICAL - Health Record for Thomas Baker from UVA Health               BAKER00001602         BAKER00001607
PX-3226       PHOTO - Photo of books around fire                                     NOCUSTODIAN00049215   NOCUSTODIAN00049215
PX-3227       PHOTO - Photo of Juan C. and Benjamin D.                               NOCUSTODIAN00049217   NOCUSTODIAN00049217
PX-3228       PHOTO - Photo of Michael Tubbs on August 12, 2017
PX-3229       PHOTO - Photo of Nathan Damigo running away after punching             NOCUSTODIAN00047590   NOCUSTODIAN00047590
              someone
PX-3230       PHOTO - Photo of Nathan Damigo with R.A.M. at Berkeley                 NOCUSTODIAN00049156   NOCUSTODIAN00049156
PX-3231       PHOTO - Photo of Benjamin D., Michael M., and Nathan Damigo            NOCUSTODIAN00049235   NOCUSTODIAN00049235
PX-3232       INTENTIONALLY LEFT BLANK
PX-3233       PR - Extraction report for Jason Kessler's iPhone
PX-3234       VID - Video of August 12, 2017                                         NOCUSTODIAN00048875   NOCUSTODIAN00048875
PX-3235       VID - Video recording by Sandi B. of August 12, 2017                   NOCUSTODIAN00048885   NOCUSTODIAN00048885
PX-3236       VID - Video produced by NSM Media of the Charlottesville rally
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Exhibit No.   Description                                                                Beginning Bates       End Bates
PX-3237       VID - Video produced by NSM Media of the Charlottesville rally and
              hosted by YouTuber BraveryJerk
PX-3238       VID - Video recording Charlottesville rally turned violent                 NOCUSTODIAN00049317   NOCUSTODIAN00049317
PX-3239       VID - Video recording of "Live Satellite News"
PX-3240       INTENTIONALLY LEFT BLANK
PX-3241       VID - Video recording of Bodycam footage, McIntyre Park meeting
PX-3242       VID - Video recording of Bodycam footage, Walmart parking lot
PX-3243       VID - Video recording of Cantwell spraying, torch swinging, punching
PX-3244       VID - Video recording of interview with man in Daily Stormer t-shirt at    NOCUSTODIAN00048726   NOCUSTODIAN00048726
              protest regarding Confederate statue
PX-3245       VID - Video recording of Kline Red Ice Interview                           NOCUSTODIAN00044657   NOCUSTODIAN00044657
PX-3246       VID - Video of Nathan Damigo                                               NOCUSTODIAN00028701   NOCUSTODIAN00028701
PX-3247       VID - Video recording of August 12, 2017
PX-3248       VID - Video recording of National Geographic interview with Jason
              Kessler
PX-3249       INTENTIONALLY LEFT BLANK
PX-3250       INTENTIONALLY LEFT BLANK
PX-3251       INTENTIONALLY LEFT BLANK
PX-3252       VID - Video recording of Vanguard America and Elliot Kline marching        NOCUSTODIAN00049301   NOCUSTODIAN00049301

PX-3253       VID - Video of Robert "Azzmador" Ray on August 12, 2017                    NOCUSTODIAN00048882   NOCUSTODIAN00048882
PX-3254       VID - Video recording of August 12, 2017
PX-3255       VID - Video recording of August 12, 2017                                   NOCUSTODIAN00048888   NOCUSTODIAN00048888
PX-3256       PR - TMOBILE - Phone Records for Michael Tubbs (Call Detail Report,        TMOBILE_00000001      TMOBILE_00000007
              Subscriber Information, Certification, Subpoena to T-Mobile, Usage
              Details)
PX-3257       PR - VERIZON - Phone Records for Matthew Heimbach (Talk Activity,          VERIZON_00000001      VERIZON_00000003
              Subpoena to Verizon, Response Cover Letter)
PX-3258       PR - VERIZON - Phone Records for Jason Kessler (Message Detail,            VERIZON_00000004      VERIZON_00000018
              Subscriber Information, Historical SMS, Historical Call Detail with Cell
              Sites, Call Detail, Subpoena to Verizon, Volte Cell Site Information)

PX-3259       PR - VERIZON - Phone Records for Christopher Cantwell (Invoice for         VERIZON_00000019      VERIZON_00000044
              Subpoena, Location Information, Message Detail, Volte Cell Site
              Information, Historical SMS Detail Report, Subscriber Information, Cell
              Site Information, Message Detail, Call Detail and Cell Site Information
              Report)
PX-3260       EMAIL - Email from Walt H. to Megan B., Brenda L., Nathan M.,              WILLIS_00000351-C     WILLIS_00000352-C
              Devin Willis, Zoe K. regarding "Daily updates"
PX-3261       DOC - Document entitled, "Media Advisory for Immediate Release"            WILLIS_00000356-C     WILLIS_00000356-C
              regarding August 12, 2017 counter protesters
PX-3262       PHOTO - Photo of Devin Willis on August 12, 2017                           WILLIS_00001424-C     WILLIS_00001424-C
PX-3263       PHOTO - Photo of Devin Willis on August 12, 2017                           WILLIS_00001430-C     WILLIS_00001430-C
PX-3264       VID - Video recording of August 12, 2017                                   WILLIS_00001441-C     WILLIS_00001441-C
PX-3265       VID - Video recording of August 12, 2017                                   WILLIS_00001443-C     WILLIS_00001443-C
PX-3266       VID - Video recording of August 12, 2017                                   WILLIS_00001445-C     WILLIS_00001445-C
PX-3267       VID - Video recording of August 12, 2017                                   WILLIS_00001449-C     WILLIS_00001449-C
PX-3268       PHOTO - Photo of Devin Willis on August 12, 2017                           WILLIS_00001459-C     WILLIS_00001459-C
PX-3269       PHOTO - Seth Wispelwey holding young child                                 WISPELWEY00001099-C   WISPELWEY00001099-C
PX-3270       PHOTO - Photo of Seth Wispelwey on August 12, 2017                         WISPELWEY00002971-C   WISPELWEY00002971-C
PX-3271       PHOTO - Photo of Seth Wispelwey on August 12, 2017                         WISPELWEY00004601-C   WISPELWEY00004601-C
PX-3272       PHOTO - Photo of Seth Wispelwey on August 12, 2017                         WISPELWEY00004604-C   WISPELWEY00004604-C
PX-3273       PHOTO - Photo of Seth Wispelwey on August 12, 2017                         WISPELWEY00009624-C   WISPELWEY00009624-C
PX-3274       MEDICAL - Health record for Seth Wispelwey from UVA Health                 WISPELWEY00009964-C   WISPELWEY00009974-C
PX-3275       MEDICAL - Letter from Carol S. regarding Seth Wispelwey                    WISPELWEY00009975-C   WISPELWEY00009976-C
PX-3276       PHOTO - Photo of Seth Wispelwey on August 12, 2017                         WISPELWEY00010044-C   WISPELWEY00010044-C
PX-3277       MEDICAL - Health record for Seth Wispelwey from River Bend                 WISPELWEY00010135-C   WISPELWEY00010136-C
              Counseling
PX-3278       MEDICAL - Health record for Seth Wispelwey from UVA Health                 WISPELWEY00010137-C   WISPELWEY00010140-C
PX-3279       MEDICAL - Letter from Carol S. regarding Seth Wispelwey                    WISPELWEY00010147-C   WISPELWEY00010147-C
PX-3280       MEDICAL - Insurance records from Blue Shield for Seth Wispelwey            WISPELWEY00010148-C   WISPELWEY00010148-C
PX-3281       PHOTO - Photo of August 12, 2017                                           WISPELWEY00011653-C   WISPELWEY00011653-C
PX-3282       PHOTO - Photo of August 12, 2017                                           WISPELWEY00011675-C   WISPELWEY00011675-C
PX-3283       PHOTO - Photo of people in church on August 12, 2017                       WISPELWEY00011683-C   WISPELWEY00011683-C
PX-3284       PHOTO - Photo taken by Seth Wispelwey                                      WISPELWEY00015317     WISPELWEY00015317
PX-3285       MEDICAL - Health record for Seth Wispelwey for Banner Health Care,
                                                                                         WISPELWEY00015323     WISPELWEY00015343
              University of AZ
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Exhibit No.   Description                                                               Beginning Bates     End Bates
PX-3286       MEDICAL - Letter from Carol S. regarding Seth Wispelwey                   WISPELWEY00015344   WISPELWEY00015345
PX-3287       INSURANCE RECORDS - Highmark Insurance Records (Certified)                WISPELWEY00015346   WISPELWEY00015616
PX-3288       INSURANCE RECORDS - Highmark Insurance Business Certification             WISPELWEY00015617   WISPELWEY00015617
              for 2017 - 2019 Records
PX-3289       INTENTIONALLY LEFT BLANK
PX-3290       AUD - Audio recording of Christopher Cantwell phone call
PX-3291       AUD - Audio recording of Christopher Cantwell phone call
PX-3292       AUD - Audio recording of Christopher Cantwell phone call
PX-3293       AUD - Audio recording of Christopher Cantwell phone call
PX-3294       AUD - Audio recording of Christopher Cantwell phone call
PX-3295       AUD - Audio recording of Christopher Cantwell phone call
PX-3296       AUD - Audio recording of Christopher Cantwell phone call
PX-3297       AUD - Audio recording of Christopher Cantwell phone call
PX-3298       AUD - Audio recording of Christopher Cantwell phone call
PX-3299       AUD - Recording of White Rabbit Radio of Jason Kessler
PX-3300       DISCOVERY - Defendants' Exhibit A to Stipulation and Order for the
              Imaging, Preservation, and Production of Documents
PX-3301       DISCOVERY - Defendants' Federal Rule of Civil Procedure 26(a)
              Initial Disclosures
PX-3302       DISCOVERY - Defendants' Responses to Plaintiffs' First Requests for
              Admission
PX-3303       DISCOVERY - Defendants' Responses to Plaintiffs' First Set of
              Interrogatories and Requests for Production of Documents to All
              Defendants
PX-3304       DISCOVERY - Defendants' Responses to Plaintiffs' Second Set of
              Interrogatories
PX-3305       DISCOVERY - James Fields' Responses to Plaintiffs' Third Set of
              Interrogatories
PX-3306       DISCOVERY - Plaintiffs' Corrected First Set of Requests for Production
              of Documents to All Defendants
PX-3307       DISCOVERY - Plaintiffs' First Requests for Admission to Defendants
PX-3308       DISCOVERY - Plaintiffs' First Set of Interrogatories to All Defendants

PX-3309       DISCOVERY - Plaintiffs' Second Set of Interrogatories to All Individual
              Defendants, including Michael Peinovich and Richard Spencer

PX-3310       DISCOVERY - Plaintiffs' Second Set of Interrogatories to All Non-
              Defaulted Entity Defendants
PX-3311       DISCOVERY - Plaintiffs' Second Set of Requests for Production of
              Documents to Jason Kessler
PX-3312       DISCOVERY - Plaintiffs' Third Set of Interrogatories to James Fields
PX-3313       DISCOVERY - Robert "Azzmador" Ray's usernames and devices
PX-3314       DOC - Document entitled, "Operation Unite the Right Charlottesville
              2.0" - Report Version: 6/11/2017 Initial OPORD, Next Version release
              6/18/2017
PX-3315       DOC - Document entitled, "Operation Unite the Right Charlottesville
              2.0" - Report Version: 8/1/2017 OPORD
PX-3316       FILING - Defendant's Motion for Review and Revocation of Detention NOCUSTODIAN00045867        NOCUSTODIAN00045886
              Order, USA v. Cantwell
PX-3317       SMS - Cantwell produced text messages with various codefendants and
              third parties
PX-3318       SMS - Messages produced by Cantwell in answers
PX-3319       SMS/EMAILS - Collection of Text Messages from Matthew Parrott
PX-3320       Summary exhibit pursuant to Federal Rule of Evidence 1006 for April
              Muniz
PX-3321       Summary exhibit pursuant to Federal Rule of Evidence 1006 for Chelsea
              Alvarado
PX-3322       Summary exhibit pursuant to Federal Rule of Evidence 1006 for Devin
              Willis
PX-3323       Summary exhibit pursuant to Federal Rule of Evidence 1006 for
              Elizabeth Sines
PX-3324       Summary exhibit pursuant to Federal Rule of Evidence 1006 for Marcus
              Martin
PX-3325       Summary exhibit pursuant to Federal Rule of Evidence 1006 for Marissa
              Blair
PX-3326       Summary exhibit pursuant to Federal Rule of Evidence 1006 for Natalie
              Romero
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Exhibit No.   Description                                                            Beginning Bates       End Bates
PX-3327       Summary exhibit pursuant to Federal Rule of Evidence 1006 for Seth
              Wispelwey
PX-3328       Summary exhibit pursuant to Federal Rule of Evidence 1006 for
              Thomas Baker
PX-3329       FB - Facebook post by Chelsea Alvarado                                 ALVARADO00001172-C    ALVARADO00001172-C
PX-3330       FB - Facebook post by Chelsea Alvarado                                 ALVARADO00001295-C    ALVARADO00001295-C
PX-3331       FINANCIAL – Payroll for 2017 for Thomas Baker from Ivy Nursery         BAKER00001556         BAKER00001556
PX-3332       PHOTO - Photo of torch march on August 11, 2017                        JK00027404            JK00027404
PX-3333       DISC - Discord post                                                    JK00107678            JK00107678
PX-3334       DISC - Discord post                                                    NOCUSTODIAN00012264   NOCUSTODIAN00012264
PX-3335       DISC - Discord post                                                    NOCUSTODIAN00013310   NOCUSTODIAN00013310
PX-3336       DISC - Discord post                                                    NOCUSTODIAN00036652   NOCUSTODIAN00036652
PX-3337       DISC - Discord post                                                    NOCUSTODIAN00036773   NOCUSTODIAN00036773
PX-3338       DISC - Discord post                                                    NOCUSTODIAN00038721   NOCUSTODIAN00038721
PX-3339       PHOTO - Photo of August 12, 2017                                       NOCUSTODIAN00046257   NOCUSTODIAN00046257
PX-3340       VID - Video recording of Robert "Azzmador" Ray on August 12, 2017      NOCUSTODIAN00048722   NOCUSTODIAN00048722

PX-3341       ARTICLE - League of the South article by Michael Hill entitled, “The   NOCUSTODIAN00048926   NOCUSTODIAN00048931
              New Red Terror”
PX-3342       PHOTO - Photo of Benjamin D.                                           NOCUSTODIAN00049057   NOCUSTODIAN00049057
PX-3343       PHOTO - Photo of Cole W. at Unite the Right                            NOCUSTODIAN00049154   NOCUSTODIAN00049154
PX-3344       PHOTO - Photo of Benjamin D. at torch march on August 11, 2017         NOCUSTODIAN00049232   NOCUSTODIAN00049232
PX-3345       SMS - Text message conversation between Richard Spencer and            RS01007875            RS01007875
              Christopher Cantwell
PX-3346       PHOTO - Photo of August 12, 2017                                       SINES00004687-C       SINES00004687-C
PX-3347       AUD - Audio Clip from Radical Agenda EP339 – Cosmopolitan Bias         NOCUSTODIAN00049426   NOCUSTODIAN00049426
PX-3348       AUD - Audio Clip from Radical Agenda EP339 – Cosmopolitan Bias         NOCUSTODIAN00049428   NOCUSTODIAN00049428
PX-3349       AUD - Audio Clip from Radical Agenda EP340 – Agreeing With             NOCUSTODIAN00049429   NOCUSTODIAN00049429
              Liberals Blitzkrieg
PX-3350       AUD - Audio Clip from Radical Agenda EP340 – Agreeing With             NOCUSTODIAN00049427   NOCUSTODIAN00049427
              Liberals Blitzkrieg
PX-3351       Jason Kessler's social media posts
PX-3352       SMS - Text messages between Jason Kessler and Matthew Parrott          JK00121854            JK00121854
PX-3353       DOC - Letter from the City of Charlottesville to Jason Kessler         JK00438307            JK00438308
PX-3354       TWITTER - Tweet by Michael B.                                          NOCUSTODIAN00049423   NOCUSTODIAN00049423
PX-3355       VID - Tweet by Michael B.                                              NOCUSTODIAN00049422   NOCUSTODIAN00049422
PX-3356       DISC - Return of James Fields' discord account information             DOJ00006170           DOJ00006170
PX-3357       EMAIL - Email from Discord to James Fields                             DOJ00001079           DOJ00001080
PX-3358       MEDICAL - Health Record for Thomas Baker from UVA Health               BAKER00001716         BAKER00001745
PX-3359       FINANCIAL - Statement of Certification and 2018 W-2 Wage and Tax       BAKER00001710         BAKER00001713
              Statement for Thomas Baker
PX-3360       EMAIL - Email from Move Medical Massage & Sports Therapy LLC to        BAKER00001611         BAKER00001613
              Thomas Baker
PX-3361       MEDICAL - Statement of Certification for Marissa Blair Billing and     BLAIR00001018-C       BLAIR00001026-C
              Insurance Records from UnitedHealthcare for documents produced at
              BLAIR00000954-C through BLAIR00001003-C and BLAIR00001004-
              C through BLAIR00001017-C
PX-3362       TWITTER - Retweet by Elliot Kline                                      NOCUSTODIAN00012886   NOCUSTODIAN00012886
PX-3363       DISC - Impact Image of Discord Post                                    DISC-IMPACT00001310   DISC-IMPACT00001310
PX-3364       FB - Facebook conversation including Jason Kessler                     JK00451235            JK00451235
PX-3365
              FB - Facebook post by Americans Against Communism and Socialism        ROMERO00001645-C      ROMERO00001645-C
PX-3366
              FB - Facebook post by Americans Against Communism and Socialism        ROMERO00001655-C      ROMERO00001655-C
PX-3367
              FB - Facebook post by Americans Against Communism and Socialism        ROMERO00001647-C      ROMERO00001647-C
PX-3368
              FB - Facebook post by Americans Against Communism and Socialism        ROMERO00001648-C      ROMERO00001648-C
PX-3369       EMAIL - Email from Natalie Romero to Charlottesville Victim Witness
              Assistance Program                                                     ROMERO00000546-C      ROMERO00000547-C
PX-3370       EMAIL - Email from Jackie W. to Natalie Romero                         ROMERO00000536-C      ROMERO00000537-C
PX-3371       EMAIL - Email from Natalie Romero to Emma                              ROMERO00000519-C      ROMERO00000520-C
PX-3372       EMAIL - Email from Termeh regarding Natalie Romero's participation
              in Jterm                                                               ROMERO00000507-C      ROMERO00000509-C
PX-3373
              EMAIL - Email from Laura regarding Natalie Romero's reenrollment       ROMERO00001065-C      ROMERO00001067-C
PX-3374       EMAIL - Email from Natalie Romero to Jordy                             ROMERO00001007-C      ROMERO00001007-C
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Exhibit No.   Description                                                              Beginning Bates       End Bates
PX-3375       DOC - Letter regarding medical clearance for reenrollment                ROMERO00000963-C      ROMERO00000964-C
PX-3376
              DOC - Letter from Jessica S. regarding Natalie Romero's reenrollment     ROMERO00000665-C      ROMERO00000665-C
PX-3377       DOC - Commonwealth of Virginia v. Christopher Cantwell, Transcript
              of November 9, 2017 Hearing                                              CC00206700            CC00206989
PX-3378       PHOTO - Photo of internet depiction of "Pepe the Frog"
PX-3379       DOC - Document entitled "Propaganda" from the Traditionalist Worker
              Party Website                                                            NOCUSTODIAN00044711   NOCUSTODIAN00044727
PX-3380       VID - Video recording of violence at Lee Park                            NOCUSTODIAN00049425   NOCUSTODIAN00049425
PX-3381       PHOTO - Photo of August 12, 2017                                         NOCUSTODIAN00049430   NOCUSTODIAN00049430
PX-3382       VID - Video recording of Robert Ray Azzmador on August 11, 2017          NOCUSTODIAN00049431   NOCUSTODIAN00049431
PX-3383       PHOTO - Photo of August 12, 2017                                         NOCUSTODIAN00049432   NOCUSTODIAN00049432
PX-3384       VID - Video of Richard Spencer speech                                    NOCUSTODIAN00049433   NOCUSTODIAN00049433
PX-3385       ARTICLE - Southern Poverty Law Center article entitled, "Black Civil
              Rights Advocate Takes Control of Neo-Nazi Hate Group the National
              Socialist Movement"                                                      NOCUSTODIAN00049434   NOCUSTODIAN00049439
PX-3386       VID - Video of August 12, 2017                                           NOCUSTODIAN00049457   NOCUSTODIAN00049457
PX-3387       ARTICLE - NSM Article by Jeff Schoep entitled "Self-Motivation: For
              the National Socialist it's do or die"                                   NOCUSTODIAN00049458   NOCUSTODIAN00049462
PX-3388       AUD - Audio recording of the Daily Traditionalist podcast with
              Matthew Heimbach                                                         NOCUSTODIAN00049463   NOCUSTODIAN00049463
PX-3389
              ARTICLE - Daily Stormer Article by Andrew Anglin entitled "Daily
              Stormer Endorses rebranding Swastika as Love Symbol - Jews Do Not"       NOCUSTODIAN00049464   NOCUSTODIAN00049473
PX-3390       ARTICLE - BBC Article by Joel Gunter entitled "A reckoning in
              Charlottesville"                                                         NOCUSTODIAN00049474   NOCUSTODIAN00049488
PX-3391
              VID - Video by Daniel S. of the Shelbysville and Murgressboro TN Rally   NOCUSTODIAN00049489   NOCUSTODIAN00049489
PX-3392       VID - Video of Robert Azzmador Ray Speech                                NOCUSTODIAN00049490   NOCUSTODIAN00049490
PX-3393       MEDICAL - AETNA Certification for Chelsea Alvarado                       ALVARADO00001452      ALVARADO00001452
PX-3394       VID - Video of TWP Entering Lee Park                                     NOCUSTODIAN00049491   NOCUSTODIAN00049491
PX-3395       AUD - Audio recording of Richard Spencer                                 NOCUSTODIAN00049492   NOCUSTODIAN00049492
PX-3396       TWEET - Tweet regarding fatalities in Charlottesville                    NOCUSTODIAN00049493   NOCUSTODIAN00049493
PX-3397       PHOTO - Screenshot of video showing Ben D. and Nathan Damigo in
              Berkeley                                                                 NOCUSTODIAN00049504   NOCUSTODIAN00049504
PX-3398       PHOTO - Screenshot of video showing Ben D. in Berkeley                   NOCUSTODIAN00049505   NOCUSTODIAN00049505
PX-3399       PHOTO - Screenshot of video showing Ben D. in Berkeley                   NOCUSTODIAN00049506   NOCUSTODIAN00049506
PX-3400       VIDEO - Video recording of August 11 torch march
PX-3401       DISC - Impact Image of Discord Post                                      DISC-IMPACT00001311   DISC-IMPACT00001311
PX-3402       DISC - Impact Image of Discord Post                                      DISC-IMPACT00001312   DISC-IMPACT00001316
PX-3403       DISC - Impact Image of Discord Post                                      DISC-IMPACT00001317   DISC-IMPACT00001317
PX-3404       DISC - Impact Image of Discord Post                                      DISC-IMPACT00001318   DISC-IMPACT00001318
PX-3405       DISC - Impact Image of Discord Post                                      DISC-IMPACT00001319   DISC-IMPACT00001319
PX-3406       DISC - Impact Image of Discord Post                                      DISC-IMPACT00001320   DISC-IMPACT00001320
PX-3407       DISC - Impact Image of Discord Post                                      DISC-IMPACT00001321   DISC-IMPACT00001321
PX-3408       DISC - Impact Image of Discord Post                                      DISC-IMPACT00001322   DISC-IMPACT00001322
PX-3409       DISC - Impact Image of Discord Post                                      DISC-IMPACT00001323   DISC-IMPACT00001323
PX-3410       DISC - Impact Image of Discord Post                                      DISC-IMPACT00001324   DISC-IMPACT00001324
PX-3411       DISC - Impact Image of Discord Post                                      DISC-IMPACT00001325   DISC-IMPACT00001325
PX-3412       DISC - Impact Image of Discord Post                                      DISC-IMPACT00001326   DISC-IMPACT00001326
PX-3413       DISC - Impact Image of Discord Post                                      DISC-IMPACT00001327   DISC-IMPACT00001327
PX-3414       DISC - Impact Image of Discord Post                                      DISC-IMPACT00001328   DISC-IMPACT00001328
PX-3415       DISC - Impact Image of Discord Post                                      DISC-IMPACT00001329   DISC-IMPACT00001329
PX-3416       DISC - Impact Image of Discord Post                                      DISC-IMPACT00001330   DISC-IMPACT00001330
PX-3417       DISC - Impact Image of Discord Post                                      DISC-IMPACT00001331   DISC-IMPACT00001331
PX-3418       DISC - Impact Image of Discord Post                                      DISC-IMPACT00001332   DISC-IMPACT00001332
PX-3419       DISC - Impact Image of Discord Post                                      DISC-IMPACT00001333   DISC-IMPACT00001333
PX-3420       DISC - Impact Image of Discord Post                                      DISC-IMPACT00001334   DISC-IMPACT00001334
PX-3421       DISC - Impact Image of Discord Post                                      DISC-IMPACT00001335   DISC-IMPACT00001335
PX-3422       DISC - Impact Image of Discord Post                                      DISC-IMPACT00001336   DISC-IMPACT00001336
PX-3423       DISC - Impact Image of Discord Post                                      DISC-IMPACT00001337   DISC-IMPACT00001337
PX-3424       DISC - Impact Image of Discord Post                                      DISC-IMPACT00001338   DISC-IMPACT00001338
PX-3425       DISC - Impact Image of Discord Post                                      DISC-IMPACT00001339   DISC-IMPACT00001339
PX-3426       DISC - Impact Image of Discord Post                                      DISC-IMPACT00001340   DISC-IMPACT00001340
PX-3427       DISC - Impact Image of Discord Post                                      DISC-IMPACT00001341   DISC-IMPACT00001341
PX-3428       DISC - Impact Image of Discord Post                                      DISC-IMPACT00001342   DISC-IMPACT00001342
PX-3429       DISC - Impact Image of Discord Post                                      DISC-IMPACT00001343   DISC-IMPACT00001343
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Exhibit No.   Description                                                                Beginning Bates       End Bates
PX-3430       DISC - Impact Image of Discord Post                                        DISC-IMPACT00001344   DISC-IMPACT00001344
PX-3431       DISC - Impact Image of Discord Post                                        DISC-IMPACT00001345   DISC-IMPACT00001345
PX-3432       DISC - Impact Image of Discord Post                                        DISC-IMPACT00001346   DISC-IMPACT00001346
PX-3433       DISC - Impact Image of Discord Post                                        DISC-IMPACT00001347   DISC-IMPACT00001347
PX-3434       DISC - Impact Image of Discord Post                                        DISC-IMPACT00001348   DISC-IMPACT00001350
PX-3435       DISC - Impact Image of Discord Post                                        DISC-IMPACT00001351   DISC-IMPACT00001351
PX-3436       DISC - Impact Image of Discord Post                                        DISC-IMPACT00001352   DISC-IMPACT00001354
PX-3437       DISC - Impact Image of Discord Post                                        DISC-IMPACT00001355   DISC-IMPACT00001355
PX-3438       NEWS - Bet news article entitled, "Leaked Alt-Right Chats Show White
              Supremacists Created 'Back to the Fuhrer' Meme With the Car that
              Struck Protesters"                                                         NOCUSTODIAN00013778   NOCUSTODIAN00013784
PX-3439       FILING - Certified Copy of pleadings in United States v. Fields            318cr1100004029       318cr1100004029
PX-3440       FILING - Certified Copy of Indictment in United States v. Fields,
                                                                                         318cr1100004030       318cr1100004037
              Docket Entry 1
PX-3441       FILING - Certified Copy of Certificate of the Assistant Attorney General
                                                                                         318cr1100004038       318cr1100004038
              in United States v. Fields, Docket Entry 1-1
PX-3442       FILING - Certified Copy of Certificate of the Assistant Attorney General
                                                                                         318cr1100004039       318cr1100004039
              in United States v. Fields, Docket Entry 1-2
PX-3443       FILING - Certified Copy of Guilty Plea in United States v. Fields,
                                                                                         318cr1100004040       318cr1100004040
              Docket Entry 43
PX-3444       FILING - Certified Copy of Statement of Offense in United States v.
                                                                                         318cr1100004041       318cr1100004044
              Fields, Docket Entry 44
PX-3445       MEDICAL - Charlottesville Radiology LTD Statement of Certification
              certifying medical records for Thomas Baker 8/1/2017 to 9/17/2021 for      BAKER00001615         BAKER00001615
              documents produced at BAKER00000483c
PX-3446       FINANCIAL - Ivy Nursey Inc. Statement of Certification certifying
              employment records for Thomas Baker for documents produced at              BAKER00001616         BAKER00001616
              BAKER00001553
PX-3447
              MEDICAL - UVA Health Statement of Certification certifying medical
              records and bills for Thomas Baker 8/12/2027 through 10/1/2021 for         BAKER00001617         BAKER00001617
              documents produced at BAKER00001618 to BAKER00001708.
PX-3448       MEDICAL - Medical Bills and Medical Records for Thomas Baker from
                                                                                         BAKER00001618         BAKER00001708
              UVA Health, certified on 10/5/2021.
PX-3449       MEDICAL - Pivot Physical Therapy Statement of Certification
              certifying medical records for Thomas Baker from 9/1/2017 to
                                                                                         BAKER00001709         BAKER00001709
              10/6/2021 for documents produced at BAKER00001218-C,
              BAKER00001268-C, and BAKER00001376-C.
PX-3450       MEDICAL - Medical Records from UVA Imaging records for Thomas
                                                                                         BAKER00001746         BAKER00001754
              Baker
PX-3451       MEDICAL - UVA Imaging Statement of Certification certifying medical
              records for Thomas Baker documents produced at BAKER00001746 to            BAKER00001755         BAKER00001755
              BAKER00001754
PX-3452       MEDICAL - UVA Health Statement of Certification certifying medical
              records for Marissa Blair produced at BLAIR00000894-C to                   BLAIR00000890-C       BLAIR00000893-C
              BLAIR00000905-C
PX-3453       MEDICAL - Central Virginia Family Physicians Medical Group
              Statement of Certification for documents produced at BLAIR00000737-        BLAIR00002254         BLAIR00002254
              C through BLAIR00000750-C
PX-3454       MEDICAL - Counseling Alliance of VA, LLC Statement of
              Certification for documents produced at BLAIR00000842-C through            BLAIR00002255         BLAIR00002255
              BLAIR00000851-C
PX-3455       MEDICAL - Women's Health Services of Central Virginia, Inc.
              Statement of Certificate certifying medical records for documents          BLAIR00002256         BLAIR00002256
              produced at BLAIR00000854-C through BLAIR00000889-C
PX-3456
              MEDICAL - UVA Health Statement of Certification for Marcus Martin
              for documents at MARTIN00000550-C through MARTIN00000567-C,                MARTIN00001652        MARTIN00001652
              and MARTIN00001626-C through MARTIN00001651-C.
PX-3457
              MEDICAL - UVA Health Statement of Certification for Marcus Martin
              for documents produced at MARTIN00001523-C through
                                                                                         MARTIN00001653        MARTIN00001653
              MARTIN00001574-C, MARTIN00001575-C through
              MARTIN00001623-C, MARTIN00001624-C, MARTIN00001625-C.
PX-3458       MEDICAL - Counseling Alliance of VA, LLC Statement of
              Certification for Marcus Martin for documents produced at                  MARTIN00001654        MARTIN00001654
              MARTIN00000652-C through MARTIN00000658-C.
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Exhibit No.   Description                                                              Beginning Bates       End Bates
PX-3459       FINANCIAL - Statement of Certification certifying employment records
                                                                                       MARTIN00001655        MARTIN00001655
              for Marcus Martin.
PX-3460       MEDICAL - Optima Health Statement of Certification for Marcus
              Martin for documents produced at MARTIN00000636-C through                MARTIN00001656        MARTIN00001656
              MARTIN00000651-C.
PX-3461       MEDICAL - UVA Imaging Statement of Certification for Marcus
              Martin for documents produced at MARTIN00001658 through                  MARTIN00001657        MARTIN00001657
              MARTIN00001667.
PX-3462       MEDICAL - Medical Records from UVA Imaging records for Marcus
                                                                                       MARTIN00001658        MARTIN00001667
              Martin
PX-3463       FILING - Certified Order for Dismissal and Docket regarding United
                                                                                       NOCUSTODIAN00049494   NOCUSTODIAN00049500
              States v. Michael Tubbs, Case No. 90-75-02-CR-3
PX-3464       ARTICLE - The New York Times article entitled, "U.S. Indicts 3 After
                                                                                       NOCUSTODIAN00049501   NOCUSTODIAN00049503
              Searches Find Explosives And Racists Literature"
PX-3465       MEDICAL - Move Medical & Sports Massage Statement of
              Certification certifying medical records for Thomas Baker produced at    TBD                   TBD
              (production no. forthcoming)
PX-3466       MEDICAL - Medical Records for Thomas Baker from Move Medical &
                                                                                       TBD                   TBD
              Sports Massage
PX-3467       MEDICAL - Sentara Statement of Certification certifying medical bills
                                                                                       TBD                   TBD
              for Thomas Baker produced at (production no. forthcoming)
PX-3468       MEDICAL - Medical bills for Thomas Baker from Sentara                    TBD                   TBD
PX-3469       MEDICAL - Medical bills for Marcus Martin from Roberts Home
                                                                                       TBD                   TBD
              Medical
PX-3470       MEDICAL – 2020 treatment records with Certification for April Muniz
                                                                                       MUNIZ00006703         MUNIZ00006705
              from Julie Convisser LCSW
PX-3471       MEDICAL - Certification of United Healthcare Health Insurance
              Records for Chelsea Alvarado                                             ALVARADO00001451      ALVARADO00001451
PX-3472       AUD - Audio recording of Radical Agenda - Season 4, Episode 44           TBD                   TBD
PX-3473       FB - Facebook profile for Matthew Parrott                                MP00163663            MP00164062
PX-3474       VID - Video taken by Emily Gorcenski on A11 of students at the statue,
              including devin and natalie
